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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK



STATE OF NEW YORK, et al.,

   Plaintiffs,

   v.                                    18-CV-2921 (JMF)

UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

   Defendants.


THE NEW YORK IMMIGRANT
COALITION et al.,

                  Plaintiffs,
                                         18-CV-5025 (JMF)
           v.

UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

                  Defendants.


          PLAINTIFFS’ JOINT PROPOSED POST-TRIAL FINDINGS OF FACT
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I.     PARTIES AND WITNESSES

       A.      Plaintiffs

               1.     The Governmental Plaintiffs

1.    The governmental plaintiffs include 18 states (New York, Colorado, Connecticut,

Delaware, Illinois, Iowa, Maryland, Massachusetts, Minnesota, New Jersey, New Mexico, North

Carolina, Oregon, Pennsylvania, Rhode Island, Vermont, Virginia and Washington), 15 cities

and counties (the cities of Central Falls, Chicago, Columbus, New York, Philadelphia, Phoenix,

Pittsburgh, Providence, and Seattle; city and county of San Francisco; counties of Cameron, El

Paso, Hidalgo, and Monterey), the District of Columbia, and the United States Conference of

Mayors. Docket No. 210.

2.    The governmental plaintiffs are diverse. They comprise large and small states, urban

centers and rural areas, communities from North to South and coast to coast. Collectively, the

state and local governments challenging the Defendants’ decision collectively represent more

than 39% of the population of the United States. These jurisdictions are each home to immigrant

and Hispanic communities; as detailed more fully below, they will be directly and deleteriously

affected by Defendants’ demand for citizenship information. See, e.g., Warshaw Aff. (Docket

No. 526-1) ¶¶ 39, 54, Tables 5, 7.

               2.     The New York Immigration Coalition

3.    Plaintiff New York Immigration Coalition (“NYIC”) is an umbrella policy and advocacy

organization for nearly 200 groups in New York State, representing the collective interests of

New York’s diverse immigrant communities and organizations. Choi Aff. (Docket No. 489-1) ¶

2; Plum Aff. (Docket No. 498-19) ¶ 2.

4.    As a statewide organization, NYIC and its members serve a community of approximately

four million immigrants across New York. Choi. Aff. ¶ 23.


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5.    NYIC’s mission is to unite immigrants, members, and allies so that all New Yorkers can

thrive; it envisions a New York State that is stronger because all people are welcome, treated

fairly, and given the chance to pursue their dreams. Choi Aff. ¶ 3; Plum Aff. ¶ 3.

6.    NYIC pursues solutions to advance the interests of New York’s diverse immigrant

communities and advocates for laws, policies, and programs that lead to justice and opportunity

for all immigrant groups. Choi Aff. ¶ 3; Plum Aff. ¶ 3.

7.    NYIC seeks to build the power of immigrants and the organizations that serve them to

ensure their sustainability, improve people’s lives, and strengthen New York State. Choi Aff. ¶

3; Plum Aff. ¶ 3.

8.    NYIC’s nearly 200 members are dues-paying, nonprofit organizations that are committed

to advancing work on immigrant justice, empowerment, and integration and they are located

throughout New York State and beyond, all sharing NYIC’s mission to serve and empower

immigrant communities. Choi Aff. ¶ 4; Plum Aff. ¶ 4.

9.     NYIC’s members include grassroots community groups, social services providers, large-

scale labor and academic institutions, and organizations working in economic, social, and racial

justice; representatives of NYIC’s member organizations serve on the NYIC Board of Directors.

Choi Aff. ¶ 4; Plum Aff. ¶ 4.

10.   As an organization, NYIC has an ongoing commitment to promoting engagement in the

Decennial Census among individuals served by its member organizations—in large part because

of how critical the population count determined by the Census is for NYIC’s member

organizations’ levels of governmental funding and political representation at the federal, state,

and local levels. Plum Aff. ¶ 10.




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11.   For example, NYIC partnered with the New York Community Media Alliance to launch

an outreach campaign to boost immigrant participation in the 2010 Census. Id.

12.   As part of that effort, NYIC coordinated public service announcements in 24 languages

that appeared in 69 newspapers and held press briefings with elected officials, helping to

increase New York City’s mail-in 2010 Census participation rate by approximately 3%. Id.

               3.     Make the Road New York

13.   Make the Road New York (“MRNY”) is a nonprofit membership organization with

offices and service centers in Brooklyn, Queens, Staten Island, Suffolk County, and White

Plains. Altschuler Aff. (Docket No. 503-1) ¶ 2.

14.   MRNY’s mission is to build the power of immigrant and working-class communities,

which it advances by engaging in four core strategies: Legal and Survival Services,

Transformative Education, Community Organizing and Policy Innovation. Id. ¶ 3.

15.   MRNY has more than 23,000 members who reside in New York City, Nassau County,

Suffolk County, and Westchester County. Id. ¶ 4

16.   These members lead multiple organizing committees across numerous issues and program

areas of concern to the organization, take on leadership roles in the campaigns, determine

priorities, and elect the representatives who comprise most of the Board of Directors. Id.

               4.     American-Arab Anti-Discrimination Committee & ADC Research
                      Institute

17.   Plaintiff American-Arab Anti-Discrimination Committee (“ADC”), a civil rights

membership organization committed to defending and promoting the rights and liberties of Arab-

Americans and other persons of Arab heritage, is the largest American-Arab grassroots civil

rights organization in the United States. Khalaf Aff. (Docket No. 498-16) ¶ 6.




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18.    Senator James G. Abourzek founded ADC in 1981 in response to stereotyping,

defamation, and discrimination directed at Americans of Arab origin. Id. ¶ 4.

19.    In 1981, Senator Abourzek founded Plaintiff ADC Research Institute (“ADCRI”), a

501(c)(3) corporation. Id. ¶ 5.

20.    ADCRI sponsors a wide range of programs on behalf of Arab Americans and of

consequence to the wider American community. Id.

21.    ADC’s mission includes focuses on combating stereotypes and discrimination against and

affecting the Arab-American community in the United States, serving as its public voice on

domestic policy issues, and promoting greater understanding of Arab history and culture. Id. ¶ 7.

22.    ADC advocates, educates, and organizes to defend and promote human rights and civil

liberties of Arab-Americans and other persons of Arab heritage, from recent immigrants to

citizens born in the United States. Id.

23.    ADC also has a legal department, which focuses on issues that impact the Arab-American

community such as immigration, employment discrimination, and educational discrimination.

Id. ¶ 9.

24.    ADC serves as a membership organization, with several thousand dues-paying members

who reside in all 50 states and the District of Columbia. Id. ¶¶ 8, 31, 33-35.

25.    Many of these members are active in ADC’s 28 local chapters, which are in 20 states and

the District of Columbia. Id. ¶¶ 8, 32.

26.    This includes active chapters with members leading local efforts, including in Tucson and

Phoenix, Arizona, Los Angeles and Orange County, California, Miami and Orlando, Florida,

New York, New York, and Austin and Dallas, Texas. Id. ¶¶ 8, 32-33.




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27.    ADC’s members play a key role in the organization’s operations, leading chapter-based

activities and electing a majority of the organization’s Board of Directors. Id. ¶¶ 31, 33.

28.    ADCRI sponsors programs in support of the constitutional rights of Arab-Americans, as

well as research studies, publications, seminars, and conferences that document discrimination

faced by Arab-Americans in the workplace, schools, media and government agencies. Id. ¶ 10.

29.    Since the 1980s, ADC has served in numerous capacities on the Census Bureau advisory

committees, and both ADC and ADCRI have actively promoted Arab-American census

participation. Id. ¶ 13.

30.    For example. in the months leading up to and during the 2010 Decennial Census, ADC

and ADCRI conducted outreach work with the Arab-Americans community regarding

completing census forms, holding outreach events to counter concerns of sharing of information

with government and law enforcement agencies, and engaged in efforts to “get out the count” in

that community by hosting townhalls and symposiums in select cities across the country. Id. ¶

14.

31.    Because of the importance of having Arab-Americans accurately counted in the 2020

Decennial Census, ADC and ADCRI have already begun preparations for outreach to the Arab-

American community by educating community members about the Decennial Census and its

importance and now have increased their spending and efforts due to the addition of a citizenship

question. Id. ¶¶ 15–16.

               5.      CASA de Maryland (“CASA”)

32.    Plaintiff CASA de Maryland, Inc. (“CASA”) is a nonprofit 501(c)(3) membership

organization headquartered in Prince George’s County, Maryland with offices in Maryland,

Virginia and Pennsylvania. Escobar Aff. (Docket No. 498-3) ¶ 4.




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33.    Founded in 1985, CASA is the largest membership-based immigrants’ rights organization

in the mid-Atlantic region, with more than 90,000 members, including members in Prince

George’s County and Baltimore, Maryland. Id. ¶ 4.

34.    CASA’s mission is to create a more just society by increasing the power of and improving

the quality of life of low-income immigrant communities. Id. ¶ 5.

35.    To advance this mission, CASA offers social, health education, job training, employment,

and legal services to immigrant communities. Id.

36.    CASA helps nearly 20,000 people a year providing services in its offices, by phone, and

through email. Id.

37.    CASA has an ongoing commitment to promoting engagement in the Decennial Census

among its members, constituents, and communities. Id. ¶ 7.

38.    CASA supports member participation in the Decennial Census as a means to advance

CASA’s overall mission by increasing recognition of low-income immigrant populations, which

increases both the political power of those communities and the government funding directed to

those communities, in turn improving the quality of life for those communities. Id.

39.    With a thirty-year history working with immigrant communities, CASA has cultivated a

position of trust with these communities that has made CASA a “go-to” organizational partner

for outreach and education surrounding the Decennial Census. Id. ¶ 8.

40.    In 2010, CASA partnered with various local government campaigns related to the census

throughout Maryland, receiving dedicated funding to conduct door-to-door outreach, facilitate

group educational sessions, and work with local, ethnic media to inform, engage, and encourage

participating in the Census among Limited English Proficient immigrant communities in the

region. Id. ¶ 9.




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41.   Beyond the Decennial Census, CASA provides various services to help members navigate

public benefits including health, education, and legal services. Id. ¶ 5.

42.   Through its Health and Social Service Program, CASA provides assistance to members

navigating Supplemental Nutritional Assistance Program (SNAP) and Special Supplemental

Nutrition Program for Women Infants and Children (WIC). Id. ¶ 11.

43.   CASA’s Legal Program further provides legal counseling related to employment

discrimination, wage theft, and other employment related issues. Id. ¶ 14.

44.   Through other programs, CASA assists members enrolling in Medicaid, Children’s Health

Insurance Program (CHIP), Title I funded public schools, early education programs, and

unemployment insurance. Id. ¶¶ 12–13.

       B.      Defendants and Key Players

               1.      Census Bureau

45.   Defendant Census Bureau is an agency within, and under the jurisdiction of, the

Department of Commerce. 13 U.S.C. § 2. The Census Bureau is the agency responsible for

planning and administering the Decennial Census. Thompson Aff. (Docket No. 516-1) ¶ 17.

46.   Defendant Dr. Ron Jarmin is performing the nonexclusive duties of Director or Acting

Director of the Census Bureau. PX-26 (AR).

47.   Dr. John Abowd is the Chief Scientist and Associate Director for Research and

Methodology at the United Stated Census Bureau. Nov. 13 Trial Tr. at 876.

48.   Enrique Lamas is performing the nonexclusive functions and duties of the Deputy

Director of the Census Bureau. PX-26 (AR).

49.   Burton Reist is the Chief of the Decennial Communications and Stakeholder Relations at

the Census Bureau. PX-4 at AR 3772 (AR).




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50.   Victoria Velkoff is Division Chief of the American Community Survey Office at the U.S.

Census Bureau. PX-164.

51.   Michael Berning, J. David Brown, Misty Heggeness, Shawn Klimek, Lawrence Warren,

and Moises Yi were members of the “SWAT Team” that prepared analyses of the inclusion of a

citizenship question on the 2020 Decennial Census between December 2017 and March 2018.

PX-147 (AR); Nov. 13 Trial Tr. at 882–83.

              2.      Commerce Department

52.   Defendant United States Department of Commerce is a cabinet agency within the

executive branch of the United States Government, and is an agency within the meaning of 5

U.S.C. § 552(f). The Commerce Department is responsible for planning, designing, and

implementing the 2020 Decennial Census. 13 U.S.C. § 4.

53.   Defendant Wilbur Ross is the Secretary of Commerce. See PX-26 (AR).

54.   Earl Comstock is the Deputy Chief of Staff and Director of Policy, running the Office of

Policy and Strategic Planning within the Office of the Secretary of Commerce, reporting directly

to Secretary Ross. Comstock Dep. (Docket No. 491-2) at 35.

55.   Karen Dunn Kelley is the Presidentially appointed Under Secretary For Economic Affairs

at the U.S. Department of Commerce responsible for the operations of the Census Bureau.

Kelley Dep. (Docket No. 493-2) at 25:8-12.

56.   James W. Uthmeier is Senior Counsel to the General Counsel, Regulatory Reform Officer,

Department of Commerce. PX-33 (AR).

57.   Wendy Teramoto was a Senior Advisor and Chief of Staff to Secretary Ross. Teramoto

Dep. (Docket No. 509-2) at 78.

58.   Sahra Park-Su was a Senior Policy Advisor at the Department of Commerce who reported

to both Undersecretary Kelley and Earl Comstock. Park-Su Dep. (Docket No. 494-2) at 26-28.


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59.   David Langdon is a Policy Advisor within the Office of Policy and Strategic Planning,

reporting to Mr. Comstock. Langdon Dep. (Docket No. 510-2) at 54–55.

60.   Tad Kassinger was the former General Counsel of the Commerce Department who is one

of Secretary Ross’ personal attorneys. Comstock Dep. at 226–29.

61.   Peter Davison is the General Counsel for the Department of Commerce. Gore Dep.

(Docket No. 491-2) at 97-98.

62.   Mike Walsh is the Deputy General Counsel for the Department of Commerce. Park-Su

Dep. at 40.

              3.     Department of Justice (“DOJ”)

63.   Jeff Sessions was Attorney General of the United States. Gore Dep. at 77-78.

64.   John Gore is the Acting Assistant Attorney General for Civil Rights at the U.S. DOJ. Gore

Dep. at 18:16-22.

65.   Arthur E. Gary is General Counsel for the Justice Management Division in the U.S. DOJ.

PX-32 (AR).

              4.     Other Key Players

66.   Stephen Bannon was the White House Chief Strategist and Senior Counselor to the

President.

67.   Kris Kobach was the Kansas Secretary of State, and served as Vice Chair of the

Presidential Commission on Election Integrity. PX-19 (AR), PX-614 (AR).

68.   A. Mark Neuman was the point person for the Trump transition team on Census issues.

Teramoto Dep. at 126–127.




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       C.      Witnesses

               1.     Fact Witnesses

69.   Evelyn Rodriguez is an employee of the City of Chicago who submitted testimony

regarding the effects of a citizenship question on the 2020 Decennial Census on the City of

Chicago. Rodriguez Aff. (Docket No. 488-1); Supp. Rodriguez Aff. (Docket No. 488-2).

70.   Monica Sarmiento is the Executive Director of Virginia Coalition for Immigrant Rights

(VACIR) who submitted testimony regarding the effects of a citizenship question on the 2020

Decennial Census on immigrant communities and organizations that support those communities.

Sarmiento Aff. (Docket No. 488-3); Supp. Sarmiento Aff. (Docket No. 488-4).

71.   Stephen K. Choi is the Executive Director of the New York Immigrant Coalition (NYIC)

who submitted testimony regarding the effects of a citizenship question on the 2020 Decennial

Census on NYIC and the immigrant communities it serves. Choi Aff. ¶ 1; Supp. Choi Aff.

(Docket No. 489-2) at ¶ 1.

72.   Susan Brower is the State Demographer for the State of Minnesota who submitted

testimony on Minnesota’s Census outreach efforts, Minnesota’s redistricting processes, and

Minnesota’s desire not to have block-level citizenship data provided or published. Brower Aff.

(Docket No. 498-1); Supp. Brower Aff. (Docket No. 498-2).

73.   George Escobar is the Chief of Programs and Services at CASA who submitted testimony

regarding the effects of a citizenship question on the 2020 Decennial Census on CASA and the

immigrant and Hispanic communities it serves. Escobar Aff. ¶ 1; Supp. Escobar Aff. (Docket

No. 498-4) at ¶ 1.

74.   Marchelle Franklin is the Human Services Director for the City of Phoenix who submitted

testimony regarding the effects of a differential undercount on services provided by the City of

Phoenix. Franklin Aff. (Docket No. 498-5); Supp. Franklin Aff. (Docket No. 498-6).


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75.    Emily Freedman is the Director of Community Development for the City of Providence

who submitted testimony regarding the effect of a differential undercount and inaccurate census

count on funding Providence receives under certain federal programs. Freedman Aff. (Docket

No. 498-7); Supp. Freedman Aff. (Docket No. 498-8).

76.    Jesús G. García is the Cook County Board Commissioner for the 7th District, located in

Chicago, Illinois, who submitted testimony regarding a survey issued to constituents evaluating

views on a citizenship question on the 2020 Decennial Census, other evidence of community

fears of a citizenship question on the 2020 Decennial Census, outreach efforts for the 2020

Decennial Census, the effect of an undercount on funding and distribution of County services,

and the effect of an undercount on redistricting within Cook County. Garcia Aff. (Docket No.

498-9); Supp. Garcia Aff. (Docket No. 498-10).

77.    Katherine Harvell Haney is the Chief Financial Officer at the Massachusetts Office of

Health and Human Services who provided testimony regarding the effect of a differential

undercount and inaccurate census count on funding received by Massachusetts under several

federal programs. Haney Aff. (Docket No. 498-12); Supp. Haney Aff. (Docket No. 498-13).

78.    Jason Harmon is the Director of the Office of Every Student Succeeds Act (ESSA)

Funded Programs at the New York State Education Department (NYSED) who provided

testimony regarding the effect of a differential undercount on Title I, Title II, and Title IV

education funding on the State of New York and on local school districts. Harmon Aff. (Docket

No. 498-14); Supp. Harmon Aff. (Docket No. 498-15).

79.    Samer E. Khalaf is the National President of the American-Arab Anti-Discrimination

Committee (ADC) and ADC Research Institute (ADCRI) who provided testimony regarding the




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effects of a citizenship question on the 2020 Decennial Census on ADC and ADCRI and Arab-

American communities they serve. Khalaf Aff. ¶ 1; Supp. Khalaf Aff. (Docket No. 498-17).

80.   Christine Pierce is the Senior Vice President of Data Science for the Nielsen Company

(US) LLC (“Nielsen”) who provided testimony regarding her conversation with Secretary Ross

that contradicts the description of the conversation Secretary Ross used to justify his decision to

add a citizenship question in his March 26 Memorandum. Pierce Aff. (Docket No. 498-18).

81.   Elizabeth Plum is the Vice President of Policy for the NYIC who provided testimony

regarding NYIC’s census outreach efforts and the effects of a citizenship question on the 2020

Decennial Census on NYIC and the immigrant communities it serves. Plum Aff. ¶ 1; Supp. Plum

Aff. (Docket No. 498-20).

82.   Arturo Vargas is the Chief Executive Officer of the NALEO Educational Fund who

provided testimony regarding NALEO’s usual role in census operations, its role with respect to

the decision to add a citizenship question, and its opposition to adding a citizenship question to

the 2020 Decennial Census. Vargas Aff. (Docket No. 498-21); Supp. Vargas Aff (Docket No.

498-22).

83.   Jacqueline Tiema-Massie is the Director of Planning, Research, and Development as well

as the Director of Grants Management for the Chicago Department of Family and Support

Services (“DFSS”) who provided testimony regarding the effects of an inaccurate Census

enumeration and a differential undercount on services provided by DFFS to the Chicago

community, and federal funding programs overseen by DFFS. Tiema-Massie Aff. (Docket No.

501-1); Supp. Tiema-Masse Aff. (Docket No. 501-2).

84.   Daniel Altschuler is the Director of Civic Engagement and Research for Plaintiff Make

the Road New York (“MRNY”) who provided testimony regarding the effects of a citizenship




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question on the 2020 Decennial Census on MRNY and the immigrant communities it serves.

Altschuler Aff.; Supp. Altschuler Aff. (Docket No. 503-2).

85.   Todd A. Breitbart was until his retirement a Senior Research Analyst working on

redistricting for successive Minority (Democratic) Leaders of the New York State Senate, who

provided testimony regarding the redistricting process in New York and the effects of a

differential undercount resulting from a citizenship question on the 2020 Decennial Census on

redistricting. Breitbart Aff. (Docket No. 504-1); Supp. Breitbart Aff. (Docket No. 504-2).

86.   Sarah Cullinane is the Director of Make the Road New Jersey who provided testimony

regarding the effects of anti-immigrant rhetoric by the Trump Administration on immigrant

communities and the likelihood that such rhetoric would impact their decision to respond to a

2020 Decennial Census with a citizenship question. Cullinane Aff. (Docket No. 505-1); Supp.

Cullinane Aff. (Docket No. 505-2).

87.   Gregory E. Lucyk is a member of the Board of Directors of One Virginia 2021: Virginians

for Fair Redistricting who provided testimony regarding a differential undercount on Virginia

redistricting, and the effects of inaccurate districts on Virginia residents. Lucyk Aff. (Docket No.

506-1).

88.   Dr. John Abowd is the Chief Scientist at the United States Census Bureau and Associate

Director for Research and Methodology at the United States Census Bureau who testified as a

fact witness generally regarding Census Bureau testing and enumeration processes and

specifically regarding the processes and analyses presented to the Department of Commerce in

response to the DOJ’s request to add a citizenship question to the 2020. See Census. Nov. 13

Trial Tr. at 876:8-877:4.




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               2.      Expert Witnesses

89.   Dr. Dione Sunshine Hillygus is a Professor of Political Science and Public Policy and

Director of the Initiative on Survey Methodology at Duke University. Nov. 5 Trial Tr. at 24:18-

26:9. Generally, Dr. Hillygus provided expert testimony in this case evaluating: the likely impact

of a citizenship question on the participation of Hispanics and noncitizen households; the claims

made by Secretary Ross in his memo; the potential effectiveness or not of the census efforts to

mitigate their predicted differential and self-response through the nonresponse follow up

operations and the outreach campaign; and the extent to which this process has, in fact, followed

Census Bureau guidelines. Nov. 5 Trial Tr. at 29:9-17.

90.   Dr. Hermann Habermann is the former Chief Statistician of the United States (1988–

1992), Deputy Director and Chief Operating Officer of the United States Census Bureau (2002–

2007), and Director of the United Nations Statistics Division (1994–2002). Habermann Aff.

(Docket No. 498-11). Dr. Habermann submitted testimony regarding the lack of need for block-

level citizenship data, insufficient coordination between the Census Bureau and DOJ, the

superiority of administrative records for obtaining block-level citizenship data, the need for

pretesting of a citizenship question on the 2020 Decennial Census, the likely damage to the

credibility of the Census and Census Bureau by the inclusion of a citizenship question, and the

lack of support in United Nations recommendation for Secretary Ross’s decision. Id.

91.   Dr. Jennifer Van Hook is the Roy C. Buck Professor of Sociology and Demography at the

Pennsylvania State University who gave expert testimony regarding unit and item nonresponse

rates of Hispanics and immigrants to citizenship and place of birth questions, including increases

in such nonresponse rates since 2016. Van Hook Aff. (Docket No. 489-3).

92.   Dr. William P. O’Hare a professional demographer and researcher with four decades of

experience utilizing Census Bureau data for a variety of purposes, and who provided expert


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testimony regarding the likelihood that reduced self-response rates as a result of the addition of a

citizenship question to the 2020 Decennial Census would result in an undercount. O’Hare Aff.

(Docket No. 507-1).

93.   Dr. Andrew Reamer is a research professor in the George Washington Institute of Public

Policy (GWIPP) at George Washington University who provided expert testimony regarding the

effect of a Census undercount on distribution of federal funding. Reamer Aff. (Docket No. 508-

1).

94.   Dr. Christopher Warshaw is an Assistant Professor of Political Science at George

Washington University who provided expert testimony regarding the effects of a Census

undercount differentially affecting specific demographic groups on the population of the fifty

states and of selected cities and counties, on apportionment of representatives across states for

the U.S. House of Representatives, on distribution of voting power within states, and on the

distribution of political power within the United States. Warshaw Aff. ¶¶ 1–2.

95.   John Thompson is the former Director of the United States Census Bureau from August

2013 to June 2017 who provided expert testimony regarding the adequacy of testing of a

citizenship question on the 2020 Decennial Census, the effectiveness of NRFU, and the

likelihood of a differential net undercount. Thompson Aff. (Docket. No. 516-1).

96.   Dr. Joseph J. Salvo is the Director of the Population Division at the New York City

Department of City Planning (essentially, the city’s chief demographer). November 6 Trial Tr. at

289:6-19. Dr. Salvo provided expert testimony regarding the the effect of decreased self-

response rates on the components of net undercounts, NRFU operations, such as proxies, the use

of administrative records and imputation at the local level, and the effect of decreased self-

response rates on the provision of services in New York City. Nov. 6 Trial Tr. at 298:23-301:5,




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304:5-13. In addition, Dr. Salvo provided fact testimony on the efforts of New York City to

mitigate the expected decrease in self-response resulting from a citizenship question. Nov. 6

Trial Tr. at 399:9–400:17.

97.   Dr. Matthew A. Barreto is a professor of political science and Chicano studies at the

University of California, Los Angeles. Nov. 9 Trial Tr. at 580:14-17. Dr. Barreto surveyed social

science literature and conducted a survey experiment designed to ascertain the impacts of a

citizenship question on the Decennial Census. Nov 9 Trial Tr. at 588:18–23.

98.   Dr. Barreto provided expert testimony evaluating the expected effects of a citizenship

question on the 2020 Decennial Census, from its effects on initial response rates, through non-

response follow up and imputation, and ultimately to the quality of data that would be gathered

in 2020; the net differential impact of each of these areas on Hispanic and immigrant

communities in particular; and the expected impacts of a citizenship question on the differential

net undercount. Nov. 9 Trial Tr. at 590:2–591:12.

99.   Dr. Lisa Handley is a consultant who specializes in voting rights in redistricting and in

electoral district design more generally. Nov. 13 Trial Tr. at 787:5-10. Dr. Handley provided

expert testimony regarding the sufficiency of ACS data for purposes of ascertaining whether an

electoral system or redistricting plan dilutes minority votes. Nov. 13 Trial Tr. at 796:22–797:12.

100. Dr. John Abowd is the Chief Scientist at the United States Census Bureau and Associate

Director for Research and Methodology at the United States Census Bureau. Nov. 13 Trial Tr. at

876:8–877:4.

101. Dr. Abowd provided expert testimony regarding the testing of a citizenship question on

the ACS, the effect of a citizenship question on self-response rates on the 2020 Decennial

Census, and the effectiveness of NRFU. Nov. 14 Trial Tr. at 1075:14–1078:7.




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        D.     Administrative Record and Written Discovery

               1.     Administrative Record

102. Defendants produced an Administrative Record along with a certification and index on

June 8, 2018 with only 1,320 pages. Docket No. 173; PX-1 (AR). These materials allude to but

contain little documentation of internal deliberations before December 2017 or communications

between the Departments of Commerce and Justice. PX-1 (AR).

103. On June 21, 2018, Secretary Ross filed a supplemental memorandum significantly

revising the narrative as to the origin and genesis of how a citizenship question came to be

placed on the Decennial Census. Docket No. 189; PX-2 (AR).

104. On July 3, 2018, and memorialized in the July 5, 2018 order, this Court ordered the

Defendants to produce a complete Administrative Record by July 23, 2018, and authorized

limited extra record discovery. Docket No. 199. The Court granted additional time to produce a

complete Administrative Record on July 23, 2018. Docket No. 211.

105. Defendants produced supplemental Administrative Record documents on July 23, 2018

(Bates 0001322-0003735) and July 27, 2018 (Bates 0003736-0012464). Docket Nos. 212, 216,

217; PX-3 (AR); PX-4 (AR). The productions of July 23, 2018 and July 27, 2018 contain

additional information about Department of Commerce deliberations preceding the December

12, 2017 letter from DOJ, and communications between Commerce and DOJ. PX-3 (AR); PX-4

(AR).

106. Defendants released additional Administrative Record documents after review by the

Disclosure Review Board (“DRB”) on August 28, 2018 and September 4, 2018, without Bates

numbers. PX-5 (AR); PX-6 (AR).

107.    Defendants produced additional small supplements to the Administrative Record on

September 11, 2018 (Bates 0012464-0012543). PX-7 (AR).


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108. Defendants produced additional sets of documents, including in responses to motions to

compel, on various dates (Bates 00012544-0012826). PX-8 (AR); PX-9 (AR); PX-10 (AR); PX-

11 (AR); PX-12 (AR).

109. Defendants produced an additional Administrative Record production on October 1, 2018

(Bates 0012827-0013022), PX-13 (AR), along with further documents (Bates 0013023-0013024)

on October 1, 2018, PX-14 (AR).

110. The parties agreed that all documents bearing prefix-less Bates stamps between 000001

and 0013024 are part of the Administrative Record. Parties’ Stipulation No. 63 (Docket No.

523).

111. Defendants produced focus group materials on October 3, 2018 (Bates 0013025-0013099

and a native file titled “noisy_7”). PX-15; PX-16 (AR, excluding “noisy_7”). The parties

disputed whether the focus group materials, including the native file titled “noisy_7,” are

properly part of the Administrative Record. Parties’ Stipulations No. 63; Parties’ Stipulations

No. 64 (Docket No. 524).

               2.       Document Requests

112. Plaintiffs requested documents from Defendants Secretary Ross, Director Jarmin, the

Department of Commerce, and the Census Bureau on July 12, 2018.

113. Defendants responded in ten productions of documents bearing the Bates numbers with

the prefix “COM_DIS,” along with additional piecemeal documents between August 13, 2018

and October 16, 2018.

114. A substantial number of the documents produced bearing the Bates prefix “COM_DIS”

were stipulated to be a part of the Administrative Record. Parties’ Stipulations. No. 63.

115. Plaintiffs requested documents from DOJ on July 20, 2018.




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116. DOJ responded in eight productions with additional piecemeal documents, particularly

documents for which the deliberative process privilege claim was overturned, between August 3,

2018 and October 23, 2018.

               3.     Interrogatories

117. On July 12, 2018, Plaintiffs served its first set of interrogatories on Defendants Ross and

Department of Commerce.

118. Plaintiff’s First Interrogatory read:

       “With regard to the document found in the Administrative Record at 1321, please
       IDENTIFY:

       a. the “senior Administration officials” who “previously raised” reinstating the
       citizenship question;

       b. the “various discussions with other government officials about reinstating a
       citizenship question to the Census”;

       c. the consultations Secretary and his staff participated in when they “consulted
       with Federal governmental components”;

       d. the date on which the “senior Administration officials” who “previously raised”
       reinstating the citizenship question first raised this subject; and

       e. all PERSONS with whom the “senior Administration officials had previously
       raised” reinstating the citizenship question.

PX-302.

119. On August 13, 2018, Defendants responded to Plaintiff’s first set of interrogatories. PX-

300.

120. Defendants initially responded to Plaintiffs’ first interrogatory by stating, “Defendants

have not to date been able to identify individuals responsive to subpart a,” but provided “Mary

Blanche Hankey, James McHenry, Gene Hamilton, John Gore, Danielle Curtrona, Jefferson

Sessions, Kris Kobach, Steve Bannon, and Wilbur Ross,” in response to subparts b and c. PX-

300.


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121. On August 29, 2018, Plaintiffs served a second set of interrogatories asking an additional

interrogatory of Defendants regarding the existence of a RCT proposal for the addition of a

citizenship question to the 2020 Decennial Census. PX-303.

122. On August 30, 2018, Defendants Ross and Department of Commerce initially responded

to Plaintiffs’ first interrogatory by saying they “construed subparts a, b, and c, as coextensive,”

and identified Mary Blanche Hankey, James McHenry, Gene Hamilton, Danielle Cutrona, John

Gore, and Jefferson Sessions, along with Kris Kobach and Steve Bannon. PX-511 at 2–3.

123. With regard to conversations between Secretary Ross and the Attorney General,

Defendants in the August 30, 2018 initial response to Plaintiffs’ first interrogatory stated that

“Secretary Ross discussed the possible reinstatement of a citizenship question on the 2020

decennial census with Attorney General Sessions in August 2017. In addition, it is possible that

the two had an additional discussion concerning the issue, and although the date of that

conversation is unknown, Defendants believe it took place earlier in 2017.” PX-511 at 3.

124. In their August 30, 2018 initial response to Plaintiffs’ first interrogatory, Defendants

further stated that “Defendants cannot confirm that the Secretary spoke to Steve Bannon

regarding the Citizenship Question.” PX-511 at 3.

125. On September 5, 2018 Plaintiffs further supplemented their response to Plaintiffs’ first

interrogatory, but the response remained substantially the same. PX-301.

126. On September 11, 2018, Plaintiffs served a third set of interrogatories asking two

additional questions of Defendants, one regarding Question 31 of the Census Bureau’s response

to questions from the Department of Commerce and the other regarding Defendants responses to

Requests for Admission.




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127. On September 28, 2018, Defendants responded to Plaintiff’s second set of interrogatories.

PX-303.

128. On October 11, 2018, Defendants again supplemented their responses to Plaintiffs’ first

interrogatory and made substantial changes to the September 5 response. PX-302.

129. For the first time, on October 11, 2018, Defendants stated definitively in response to

Plaintiffs’ first interrogatory that “Secretary Ross discussed the possible reinstatement of

citizenship question on the 2020 decennial census with Attorney General Sessions in the Spring

of 2017 and at subsequent times.” PX-302.

130. On October 11, 2018, Defendants also added for the first time that “Secretary Ross recalls

that Steven Bannon called Secretary Ross in the Spring of 2017 to ask Secretary Ross if he

would be willing to speak to then-Kansas Secretary of State Kris Kobach about Secretary

Kobach’s ideas about a possible citizenship question on the decennial census.” PX-302.

131. On October 23, 2018, Defendants responded to Plaintiffs’ third set of interrogatories.

               4.      Requests for Admission

132. On September 7, 2018, Plaintiffs served Requests for Admission on Defendant

Department of Commerce.

133. On September 11, 2018, Plaintiffs served Requests for Admission on Defendant Census

Bureau.

134. On October 23, 2018 Defendants Department of Commerce and Census Bureau Provided

Reponses to Plaintiffs’ Requests for Admission. PX-297; PX-298(R).




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II.     BACKGROUND ON THE CENSUS, THE CITIZENSHIP QUESTION, AND
        CENSUS BUREAU PROCESSES

        A.        Decennial Census Overview

135. The U.S. Constitution requires the federal government to conduct a Decennial Census

counting the total number of “persons”—with no reference to citizenship status—residing in

each state. Parties’ Stipulations (Docket No. 480-1) ¶ 1.

136. The Constitution provides that Representatives “shall be apportioned among the several

States . . . according to their respective Numbers”; which requires “counting the whole number

of persons in each State.” Id. ¶ 2.

137. The Constitution requires that this count be an “actual Enumeration” conducted every ten

years. Id. ¶ 3.

138. Through the Census Act, Congress assigned the responsibility of making this enumeration

to the Secretary of Commerce. Id. ¶ 4.

139. The Census Act also created the Census Bureau within the Department of Commerce to

spearhead the effort to conduct the enumeration. Thompson Aff. (Docket No. 516-1) ¶ 17.

140. The Secretary of Commerce is charged with the responsibility to take a Decennial Census

to create an actual enumeration of the United States population. Parties’ Stipulations ¶ 5.

141. The central constitutional purpose of the Census Bureau in taking the Decennial Census is

to conduct an accurate enumeration of the population. Id. ¶ 6.

142. The Secretary of Commerce must comply with legal requirements established by the

Constitution, statutes, and regulations governing the census. For example, the Secretary’s

decisions must be consistent with the “constitutional goal of equal representation” and that bear a

“reasonable relationship to the accomplishment of any actual enumeration of the population.”

Wisconsin v. City of New York, 517 U.S. 1, 19–20 (1996).



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143. To enable a person-by-person count, the Census Bureau sends a questionnaire to virtually

every housing unit in the United States, which is directed to every person living in the United

States and all persons living in the United States are legally required to respond. Parties’

Stipulations ¶ 7.

144. For the 2020 Decennial Census, households will also be given the option to complete the

questionnaire via the internet. Thompson Aff. ¶ 18.

145. If the Census Bureau does not receive a response to the questionnaire it then sends a

Census Bureau staffer known as an enumerator to the housing unit to attempt to conduct an in

person interview in order to collect the data. This process is called Non Response Follow Up

(“NRFU”). Parties’ Stipulations ¶ 8.

146. If the initial NRFU visit does not result in collecting complete data for a household,

administrative records may be used to enumerate a limited number of those households for which

there is high quality administrative data about the household. Id. ¶ 9.

147. For those households without high-quality administrative records, an enumerator will

attempt to re-contact the household in person. Id. ¶ 10.

148. If a third attempt to contact a household does not yield a response, a case will become

“proxy-eligible.” Id. ¶ 11.

149. A proxy is someone who is not a member of the household—such as a neighbor, landlord,

Postal worker, or other knowledgeable person who can provide information about the unit and

the people who live there. Id. ¶ 12.

150. For a proxy-eligible case an enumerator will attempt three proxies after each re-contact

attempt that does not result in an interview. Id. ¶ 13.




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151. After the NRFU process is completed, the Census Bureau then counts the responses from

every household, including those completed through the NRFU process, to determine the

population count in each state. Id. ¶ 14.

152. Data from the Decennial Census is reported down to the census block level. Id. ¶ 15.

153. The population data collected through the Decennial Census determines the

apportionment of seats in the U.S. House of Representatives among the states. Id. ¶ 16.

154. Apportionment in the U.S. House of Representatives is based on total population,

including both citizens and non-citizens. Evenwel v. Abbott, 136 S. Ct. 1120, 1128-29 (2016).

155. The population data collected through the Decennial Census also determines the number

of electoral votes each state has in the Electoral College. Parties’ Stipulations ¶ 17.

156. States also use Decennial Census data to draw congressional, state, and local legislative

districts. Parties’ Stipulations ¶ 18.

157. The federal government also uses Decennial Census data to allocate hundreds of billions

of dollars in public funding each year, including to states and local governments. Id. ¶ 19.

158. At least $900 billion from 320 different census-derived federal grant and funding

programs is distributed annually to states and localities for a variety of purposes, including

education, public housing, transportation, health care and other services. Thompson Aff. ¶ 27;

Reamer Aff. (Docket No. 508-1) ¶ 9.

159. These funds determine the ability of state and local governments to provide for quality

education, public housing, transportation, health care and other services, for all their residents,

citizens and non-citizens alike. Thompson Aff. ¶ 27; Reamer Aff. ¶¶ 13, 40, 45, 48, 50 , 53, 55–

60, 63, 66–68, 72, 75; Franklin Aff. (Docket No. 498-5) ¶¶ 6-10; Freedman Aff. (Docket No.




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498-7) ¶¶ 9, 11, 13; Haney Aff. (Docket No. 498-12) ¶¶ 5, 7, 8; Harmon Aff. (Docket No. 498-

14) ¶¶ 5, 9, 13, 15–17; Tiema-Massie Aff. (Docket No. 501-1) ¶¶ 9–12, 15, 17–18, 20.

160. The population of the United States as a whole has been over-counted in the Decennial

Census; for example, in 2000 there was a measured net overcount. Thompson Aff. ¶ 21.

161. Some demographic groups have proven more difficult to count in the Decennial Census

than others. The Census Bureau refers to these groups as “hard-to-count.” Parties’ Stipulations ¶

21.

162. Racial and ethnic minorities, immigrant populations, and non-English speakers have

historically been some of the hardest groups to count accurately in the Decennial Census. Id. ¶

22.

163. Individuals identifying as Hispanic were undercounted by almost 5% in the 1990

Decennial Census. Id. ¶ 23.

164. The 2010 Decennial Census undercounted on net more than 1.5 million Hispanic and

African American individuals. Id. ¶ 24.

165. The Census Bureau describes the “differential undercount” for a particular racial and

ethnic population as the difference between the measured net undercount for that group and the

measured net undercount for the White non-Hispanic population. Thompson Aff. ¶ 23.

166. The Census Bureau has developed a range of strategies to address the differential

undercount of “hard-to-count” populations—including targeted marketing and outreach efforts,

partnerships with community organizations, deployment of field staff to follow up with

individuals who do not respond, and retention of staff with foreign language skills. Parties’

Stipulations ¶ 26.




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167. In the 2000 and 2010 Decennial Censuses, the Census Bureau designed and implemented

public advertising campaigns to reach hard-to-count immigrant communities, including using

paid media in over a dozen different languages to improve responsiveness. Id. ¶ 27.

168. For the 2000 and 2010 Decennial Censuses, the Census Bureau also partnered with local

businesses, faith-based groups, community organizations, elected officials, and ethnic

organizations to reach these communities and improve the accuracy of the count. Id. ¶ 28.

        B.      The Long Form and the American Community Survey

169. From at least the 1970 Decennial Census through the 2000 Decennial Census, in lieu of

the short-form questionnaire the Census Bureau sent a long form questionnaire to approximately

one in six households. Id. ¶ 31.

170. For the 1970 Decennial Census, the long form questionnaire, which contained additional

questions, was sent to approximately one in five households. Id. ¶ 32.

171. For the 2000 Decennial Census, the long form questionnaire, which contained additional

questions, was sent to approximately one in six households. Id. ¶ 33.

172. Data collected from the sample households surveyed with the long form were used to

generate statistical estimates. Id. ¶ 34.

173. After the 2000 Decennial Census, the long form questionnaire was replaced by the

American Community Survey (“ACS”). Id. ¶ 37.

174. The ACS began operating in 2000 and was at full sample size for housing units in 2005,

and for group quarters in 2006. Id. ¶ 39.

175. The ACS is a yearly survey of approximately 2% of households—about 3.5 million—

across the United States. Id. ¶ 40.

176. The data collected by the ACS allows the Census Bureau to produce estimates of Citizen

Voting Age Population (“CVAP”). Id. ¶ 44.


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177. CVAP data based on responses to the ACS are reported by the Census Bureau down to the

census block group level. Id. ¶ 45.

178. Margins of error are reported with the ACS estimates and provide a measure of the

sampling error associated with each estimate. Parties’ Stipulations ¶ 46.

179. The ACS is intended to provide information on characteristics of the population, and the

social and economic needs of communities. Parties’ Stipulations ¶ 47.

180. Unlike the Decennial Census, the ACS is not a complete enumeration, but rather a sample

survey that is used to generate statistical estimates. Id. ¶ 48.

181. Because ACS estimates are statistical estimates based on a sample, the tabulations are

weighted to reflect sampling probabilities and eligibility for NRFU, as well as well as to control

to official population totals as established by the Population Estimates program. Id. ¶ 49.

182. Because the ACS collects information from only a small sample of the population, it

produces annual estimates only for “census tract[s]” and “census-block groups.” Id. ¶ 50.

183. Although the ACS survey is conducted annually, ACS data from individual years can also

be aggregated to produce multi-year estimates (commonly referred to as “1-year”, “3-year” or

“5-year” estimates depending on the number of years aggregated together). Id. ¶ 51.

184. Multi-year ACS estimates have larger sample sizes than 1-year ACS estimates.

Cumulating the five-year pooled estimates yields approximately a one-in–every-eight household

sample. Id. ¶ 52.

185. Multi-year ACS estimates have greater levels of statistical precision for estimates

concerning smaller geographical units. Id. ¶ 53.

186. 1-year ACS estimates produce “[d]ata for areas with populations of 65,000+”; 1-year

supplemental ACS estimates produce “[d]ata for areas with populations of 20,000+”, 3-year ACS




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estimates produced “[d]ata for areas with populations of 20,000+” until they were discontinued

after the 2011-2013 3-year estimates, and 5-year ACS estimates produce “[d]ata for all areas.”

Id. ¶ 54.

        C.     History of a Citizenship Question on the Census

187. The 1950 Decennial Census asked for the individual’s place of birth, and whether a

foreign-born individual had been naturalized. Parties’ Stipulations ¶ 29.

188. A question concerning citizenship did not appear on the Decennial Census questionnaire

sent to every household in the United States (commonly referred to as the “short form”) in 1970,

1980, 1990, 2000, or 2010. Id. ¶ 30.

189. In the 1970, 1980, 1990, and 2000 Decennial Censuses, the long form Decennial Census

questionnaire contained a question about citizenship status. Id. ¶ 35.

190. In the 1990 and 2000 Decennial Censuses, the citizenship status question on the long form

questionnaire was preceded by a question about place of birth. Id. ¶ 36.

191. The citizenship data collected from the long form questionnaire in 2000 were made

available by the Census Bureau at the census block group level. Thompson Aff. ¶ 39.

192. Citizenship data broken down by race collected from the 2000 Census long form were not

made available by the Census Bureau at the census block level. Id.

193. The 2000 Decennial Census short form questionnaire did not include a question on

citizenship. Parties’ Stipulations ¶ 55.

194. The 2010 Decennial Census questionnaire did not include a question on citizenship. Id. ¶

56.

195. A question concerning citizenship status currently appears as among one of more than 50

questions on the 28-page ACS questionnaire. Parties’ Stipulations ¶ 41.




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196. The citizenship status question on the ACS is preceded by a question asking where the

person was born. Id. ¶ 42.

197. The citizenship question that appears on the ACS is not a binary yes/no question. The

ACS citizenship question, asks whether the person was born in the United States, a U.S. territory,

or abroad. Id. ¶ 43.

198. For U.S. citizens, the ACS citizenship question also asks more detailed information about

a person’s place of birth; and for some U.S. citizens, it also requests information about the

citizenship status of their parents, and whether they became a U.S. citizen by naturalization.

Thompson Aff. ¶ 41.

199. A planned question on the 2020 Decennial Census questionnaire asks, “Is this person a

citizen of the United States?,” with the answer options:

       “Yes, born in the United States”;

       “Yes, born in Puerto Rico, Guam, the U.S. Virgin Islands, or Northern Marianas”;

       “Yes, born abroad of U.S. citizen parent or parents”;

       “Yes, U.S. citizen by naturalization – Print year of naturalization”; and

       “No, not a U.S. citizen”.

Parties’ Stipulations ¶ 57.

       D.      The Census Bureau Has Had a Long Standing Objection to the Inclusion of a
               Citizenship Question on the Decennial Census

200. In 1980, the Census Bureau opposed adding a citizenship question to the Decennial

Census, arguing in federal court that “any effort to ascertain citizenship will inevitably

jeopardize the overall accuracy of the population count. . . . Questions as to citizenship are

particularly sensitive in minority communities and would inevitably trigger hostility, resentment




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and refusal to cooperate.” Fed’n for Am. Immigration Reform v. Klutznick, 486 F. Supp. 564, 568

(D.D.C. 1980).

201. Prior to the 1990 Decennial Census, the Census Bureau once again opposed the addition

of inquiries into immigration status on the Decennial Census. PX-306 at 7–9, 13–17.

202. In 2016, four former Census Bureau Directors appointed by presidents of both political

parties filed a Supreme Court amicus brief in which they explained that “a [person-by-person]

citizenship inquiry would invariably lead to a lower response rate to the Census in general,” and

would “seriously frustrate the Census Bureau’s ability to conduct the only count the Constitution

expressly requires: determining the whole number of persons in each state in order to apportion

House seats among the states.” PX-309 at 25.

       E.      Standards for Changing the Content of a Question Prior to Its Addition to
               the Decennial Census

               1.     Census Bureau Quality Standards

203. The Census Bureau’s Quality Standards lay out the necessity to conduct pre-testing. PX-

260.

204. Dr. Hillygus testified that the Census Bureau must follow these standards. Nov. 5 Trial Tr.

at 135:23–136:5.

205. Dr. Abowd testified that if the Census Bureau did not comply with these standards, then

OMB would evaluate that noncompliance in deciding whether to grant clearance for the

inclusion of a citizenship question on the 2020 Decennial Census. Nov. 14 Trial Tr. at 1253:9–

1254:3.

206. Dr. Abowd testified that these quality standards apply to the addition of a citizenship

question to the 2020 Decennial Census. Nov. 14 Trial Tr. at 1105:9–1105:11; 1276:19–1277:2.




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207. Sub-Requirement A2-3.3 requires that “[d]ata collection instruments and supporting

materials must be pretested with respondents to identify problems (e.g., problems related to

content, order/context effects, skip instructions, formatting, navigation, and edits) and then

refined, prior to implementation, based on the pretesting results.” PX-260 at 8.

208. Pursuant to A2-3.3-1c and A2-3.3-1d of these same Census Quality Standards, pretesting

must be performed when “c. Review by cognitive experts reveals that adding pretested questions

to an existing instrument may cause potential context effects” and “d. An existing data collection

instrument has substantive modifications (e.g., existing questions are revised or new questions

added).” Id.

209. The Census Bureau’s Statistical Quality Standards also state that “an existing data

collection instrument has substantive modifications” when “existing questions are revised or new

questions added.” Id.

210. Dr. Abowd testified that, generally speaking, survey questionnaires must be pretested

under the Census Bureau Quality Standards. Nov. 14 Trial Tr. at 1278:5-11.

211. Dr. Abowd testified, therefore, that pretesting of a citizenship question on the Decennial

Census was required under the Census Bureau Quality Standards unless one of two exceptions

applied. Nov. 14 Trial Testimony at 1279:13-1280:8.

212. One exception is that “On rare occasions, cost or schedule constraints may make it

infeasible to perform complete pretesting. In such cases, subject matter and cognitive experts

must discuss the need for and feasibility of pretesting. The program manager must document any

decisions regarding such pretesting, including the reasons for the decision. If no acceptable

options for pretesting can be identified, the program manager must apply for a waiver.” PX-260

at 8.




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213. The Census Bureau never applied for a waiver pursuant to this exception before a

citizenship question was decided to be added to the 2020 Decennial Census. Nov. 14 Trial Tr. at

1279:6–1279:12.

214. Another exception is that “Pretesting is not required for questions that performed

adequately in another survey.” PX-260 at 8.

215. In January of 2018, the Census Bureau reported to the Commerce Department that 29.9%

of all people identified as noncitizens by administrative records reported themselves as citizens

on the 2000 long-form census questionnaire. PX-22 (AR).

216. In January of 2018, the Census Bureau reported to the Commerce Department that 32.7%

of all people identified as noncitizens by administrative records reported themselves as citizens

on the 2010 ACS. PX-22 (AR).

217. In January of 2018, the Census Bureau reported to the Commerce Department that 34.7%

of all people identified as noncitizens by administrative records reported themselves as citizens

on the 2016 ACS. PX-22 (AR).

218. In August of 2018, the Census Bureau reported that between 30% and 37% of all people

identified as noncitizens by administrative records reported themselves as citizens on the ACS.

PX-162.

219. The Census Bureau views this “disagreement” between administrative records and ACS

survey responses as a “problem with the ACS citizenship question.” Nov. 14 Trial Tr. at

1282:15-19.

220. There is no consensus view within the Census Bureau on how to deal with this problem.

Nov. 14 Trial Tr. at 1282:20-22.




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221. Given this problem, the Census Bureau plans on conducting a content review process to

determine how the citizenship question is performing on the ACS. Nov. 14 Trial Tr. at 1282:23-

1283:6; 1284:25-1285:8.

222. Dr. Abowd testified that in light of the disagreement rate, he does not believe that the

citizenship question on the ACS performs adequately. November 14 Trial Tr. at 1287:20-

1288:2.

223. Dr. Hillygus testified that in light of the disagreement rate, there is a real need to do

pretesting prior to adding a citizenship question to the decennial short form. Nov. 5 Trial Tr. at

169:19-23.

224. Dr. Hillygus testified that, even if applicable on its face, this exception would not make

sense to apply to the Decennial Census in these circumstances. Nov. 5 Trial Tr. at 167:2-17.

225. Application of this exception would mean that the Census Bureau Quality Standards

mandate less testing for the Decennial Census than for the ACS, and also that a question could be

added to the Decennial Census without pretesting. Nov. 5 Trial Tr. at 167:2-17.

               2.      Blumerman Memorandum

226. Lisa Blumerman was Associate Director of Decennial Census Programs on April 29,

2016. PX-271; Nov. 13 Trial Tr. at 995:12-15.

227. Associate Director Blumerman is the signatory for a memorandum dated April 29, 2016

(the “Blumerman Memorandum”). PX 271.

228. The Blumerman Memorandum “officially documents the U.S. Census Bureau’s plan to

develop and transmit to Congress” questions planned for the 2020 Decennial Census. PX-271.

229. The Blumerman Memorandum provides a description of how content review was

conducted and presented to members of the 2020 Decennial Census executive steering

committee. Nov. 13 Trial Tr. at 995:18-996:3.


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230. That description reads: “Federal agencies with known uses of the 2020 Census or ACS

content, and select other agencies, will receive a letter with instructions for how federal data

users may provide updates to the documentation of data uses. Responses should be received

before July 1, 2016. Census Bureau staff may follow up with federal users directly if more

clarification is required.” PX-271.

231. The Blumerman Memorandum contains a description of how the Census Bureau

determines the content of the 2020 Decennial Census. PX-271.

232. As part of that description, the Blumerman Memorandum states that “Final proposed

questions are based on the results of extensive cognitive testing, field testing, other ongoing

research, and input from advisory committees.” PX-271.

233. This sentence describes the process for the 2020 Decennial Census that was presented to

the Census Bureau’s 2020 executive steering committee. Nov. 13 Trial Tr. at 995:25-996:10.

234. Consistent with the Blumerman Memorandum, all questions on the 2010 census were the

subject of extensive cognitive testing. Nov. 13 Trial Tr. at 997:11-14.

235. Consistent with the Blumerman Memorandum, all questions on the 2010 Census were

field tested. Nov. 13 Trial Tr. at 997:19-23.

               3.      Census Bureau’s Process

236. The Census Bureau has a well-established process for adding or modifying questions to

the Decennial Census. PX-134 (AR); PX-3 at AR 3560 (AR); PX-4 at AR 3890, 9867-3891

(AR); Docket No. 516-1 at ¶ 45.

237. The Census Bureau follows this established process when adding or changing content on

the Decennial Census to ensure that the data fulfill legal and regulatory requirements established

by Congress. PX-4 at AR 3890 (AR).




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238. One step in the process is for the Department of Commerce to receive requests from the

Congress or other agencies in the Executive Branch. PX-4 AR at 3890 (AR); PX-3 at AR 2304

(AR); PX-134 (AR); Thompson Aff. ¶ 57.

239. After receipt, the Department of Commerce must work with OMB to determine whether

the requested data fulfill legal, regulatory, or Constitutional requirements. PX-4 AR at 3890

(AR); PX-3 at AR 2304 (AR); PX-134 (AR).

240. As part of the established process, the Department of Commerce must notify Congress of

the subjects to be covered by the census. For the 2020 Decennial Census, this notification was

required by March 28, 2017. PX-4 at AR 3890 (AR).

241. Another step in the established process is for the Department of Commerce to notify

Congress of its intent to add the question. PX-4 AR at 3890 (AR); PX-3 at AR 2304 (AR); PX-

134 (AR).

242. For the 2020 Decennial Census, this notification must occur by March 31, 2018. PX-4 AR

at 3890 (AR); PX-3 at AR 2304 (AR); PX-134 (AR).

243. Another step in the established process is to for the Department of Commerce to notify the

public with a Federal Register Notice and invite comments on the proposed question. PX-134

(AR); PX-3 at AR 3560 (AR); PX-4 at AR 3890, 9867 (AR).

244. Another step in the established process is for the Census Bureau to field test the wording

of the new question. PX-134 (AR); PX-3 at AR 3560 (AR); PX-4 at AR 3890, 9867 (AR);

Thompson Aff. ¶ 62.

245. Testing requires approval from OMB, which requires providing notice to the public and

inviting comments through a Federal Register Notice. PX-134 (AR); PX-3 at AR 3560 (AR);

PX-4 at AR 3890, 9867 (AR).




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246. The OMB must respond to comments from the public after 30 days. Subsequently, the

OMB may issue final approval. PX-4 at AR 3891, 9867 (AR); PX-134 (AR).

247. Another step in the established process is for the Census Bureau to make operational

adjustments, including re-designing paper questionnaires, adjusting the paper data capture

system, and redeveloping training modules for enumerators and Census Questionnaire

Assistance Agents. PX-3 at AR 3560 (AR); PX-4 at AR 3891, 9865, 9867 (AR).

248. The Census Bureau has described this well-established process consistently over time.

PX-4 at AR 3890-3891, 9867 (AR); PX-3 at AR 2304, 3560 (AR).

249. Not all of these steps were followed prior to the addition of a citizenship question to the

2020 Decennial Census. November 14 Trial Tr. at 1264:20-25.

               4.     Guidance Governing Statistical Agency Independence

250. The Census Bureau is a federal statistical agency; OMB has designated the Census Bureau

as a “principal statistical agency.” Nov. 14 Trial Tr. at 1102:2-11: PX-355 at 23; Habermann Aff.

(Docket No. 498-11) ¶ 19.

251. The Census Bureau and the Department of Commerce are subject to OMB Statistical

directives. Habermann Aff. ¶ 20; PX-354; PX-359.

252. These directives recognize the importance of trust and the critical role that agency

independence plays in maintaining public trust. Habermann Aff. ¶¶ 70-72; PX-354.

253. To ensure trust, OMB Statistical Directive Number 1 requires that “a Federal statistical

agency must be independent from political and other undue external influence in developing,

producing, and disseminating statistics.” PX-354 at 4.

254. The Committee on National Statistics (CNSTAT) is a standing unit of the National

Academies of Sciences, Engineering, and Medicine. PX-355 at 10.




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255. CNSTAT publishes a document titled “Principles and Practices for a Federal Statistical

Agency: Sixth Edition.” PX-355.

256. The purpose of Principles and Practices is to assist officials in various cabinet departments

and independent agencies, as well as the statistical agencies’ leadership and staff, to be fully

aware of the standards and ideals that are fundamental to the agencies’ work. PX-355 at 10.

257. Principle 4 is titled “Independence from Political and Other Undue External Influence”

and reads as follows:

       To be credible, trustworthy, and unhindered in its mission, a statistical agency
       must maintain a position of independence from undue external influences (even as
       it proactively seeks input on its program and priorities). It must avoid even the
       appearance that its collection, analysis, or dissemination processes might be
       manipulated for political or partisan purposes or that individually identifiable data
       collected under a pledge of confidentiality might be turned over for
       administrative, regulatory, or law enforcement uses. Protection from undue
       outside influences requires that a statistical agency have authority for professional
       decisions on its programs, including authority over the selection and promotion of
       staff; the processing, secure storage, and maintenance of data; and the timing and
       content of data releases, accompanying press releases, and documentation. The
       credibility that comes from independence is essential for users to maintain
       confidence in the accuracy and objectivity of a statistical agency’s data and for
       data providers to be willing to cooperate with agency requests.

PX-355 at 24.

       F.       Examples of Testing Questions on Other Surveys

258. After the 1990 Census, the Census Bureau investigated the possibility of adding a

question regarding respondents’ social security numbers (SSNs) on the census short form. Nov.

13 Trial Tr. at 998:25-999:4.

259. The Census Bureau conducted an RCT comparing a version of the short form with and

without a question asking for a social security number. Nov. 13 Trial Tr. at 999:5-8.

260. That RCT assessed the impact on self-response rates of a social security question. Nov. 13

Trial Tr. at 999:9-11.



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261. In the RCT, the self-response rate fell off in the group that had the social security number

question by 3.4 percent. Nov. 13 Trial Tr. at 999:12-15.

262. The conclusion that was drawn from the RCT was that asking for a social security number

would be sensitive. Nov. 13 Trial Tr. at 999:16-18.

263. For certain subpopulations, the citizenship would be more sensitive than the SSN

question. Nov. 13 Trial Tr. at 999:25-1000:8.

264. This RCT to assess the effect of the SSN question was performed before any decision was

made to add a question requiring respondents to provide their social security number to the

census. Nov. 13 Trial Tr. at 1000:9-13.

265. Today, the census does not ask for individuals’ social security numbers, in part because of

concerns about self-response rates. Nov. 13 Trial Tr. at 999:19- 999:24.

266. Dr. Thompson provided the example that, following the 1990 Decennial Census, there

was a proposal to revise the questionnaire to allow respondents to indicate that they identified

with multiple races. Thompson Aff. ¶ 48.

267. In response, a review was conducted over four years and included extensive cognitive and

field testing conducted by the Census Bureau. Thompson Aff. ¶ 48.

268. This review also included the development and extensive testing of a question to be

included on the 2000 Decennial Census questionnaire. Thompson Aff. ¶ 48.

269. Dr. Thompson described how planning for the 2020 Decennial Census included an

extensive research and testing program to determine how the questions on race and ethnicity

could be improved. Thompson Aff. ¶ 49.




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270. This research started more than ten years prior to the 2020 Decennial Census in 2008

when the design of the Alternate Questionnaire Experiment for the 2010 Decennial Census

began. Thompson Aff. ¶ 49.

271. This testing involved three components: 1) a questionnaire sent by mail; 2) a telephone re-

interview of the mail respondents; and 3) a series of focus groups. Thompson Aff. ¶ 49.

272. The proposed changes were then subjected to additional testing through the 2015 National

Content Test. Thompson Aff. ¶ 51.

273. The 2015 National Content Test included a nationally representative sample of 1.2 million

housing units in the United States, including Puerto Rico and a re-interview with 75,000

respondents. Thompson Aff. ¶ 52, 53.

274. Despite all of this extensive testing and research, in January 2018, Albert Fontenot, the

Associate Director for Decennial Census Programs announced that the Census Bureau would not

be making a change to the race and ethnicity questions for the 2020 questionnaire because a final

decision had to be made by December 31, 2017 in order to allow the Census Bureau adequate

time to deliver the final question wording for the 2020 Decennial Census to Congress by March

31, 2018. Thompson Aff. ¶ 54.

275. Dr. Abowd gave an example of what he described as another question that had been taken

form a different survey and added to the Decennial Census. Nov. 14 Trial Tr. at 1112:20-24.

276. The example was a change made to the question about Hispanic ethnicity in 1970 that was

imported from the Current Population Survey into the 5% sample long form decennial

questionnaire. Nov. 14 Trial Tr. at 1112:5-24.

277. The Census Bureau’s statistical quality standards were not in effect in 1970. Nov. 14 Trial

Tr. at 1257:20-23.




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278. This change was made to only a sample of census forms sent out in the 1970 census. Nov.

14 Trial Tr. at 1257:24-1258:5.

279. This change had been tested one or two years prior. Nov. 14 Trial Tr. at 1258:11-17.

280. Subsequent testing reflected that the 1970 Hispanic ethnicity question included on the 5%

sample long form decennial questionnaire engendered substantial cognitive misunderstanding.

Nov. 9 Trial Tr. at 738:23-739:22; PX-475.

281. The citizenship question on the ACS was most recently tested in 2006, 14 years prior to

the Secretary’s decision in 2018. Nov. 14 Trial Tr. at 1258:18-23.

282. There is evidence that there is a different political macro-environment between 2006 and

2018, and that 2018 will be a difficult macro-environment for a citizenship question in the census

in 2020. Nov 9 Trial Tr. at 617:21-620:13; 630:7-631:12, 737:8-737:16; Nov. 14 Trial Tr. at

1258:25-1259:7.

283. Dr. Abowd gave another example in his testimony of what was described as an “untested”

question that had been added to the Decennial Census. Nov. 14 Trial Tr. at 1111:9-24.

284. Dr. Abowd’s example was the alteration to the race question on the 1990 census with

respect to Asian and Pacific Islander (API) race category. Nov. 14 Trial Tr. at 1111:9-24.

285. The Census Bureau’s current statistical quality standards were not in effect in 1990. Nov.

14 Trial Tr. at 1259:13-15.

286. As proposed in 1988, the race question would have consisted of seven pre-listed

categories and a write in space where a respondent could indicate their race was API. PX-380.

287. The 1990 Decennial Census was changed to include a pre-listed category for API. PX-

380.




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288. The Census Bureau had strongly recommended the change in form to the race question.

PX-380; Nov. 14 Trial Tr. at 1260:1-10.

289. The Census Bureau does not recommend the change to the 2020 Decennial Census to

include a citizenship questionnaire. Nov. 14 Trial Tr. at 1260:11-23.

290. The change to the race question was supported by the API community. PX-380; Nov. 14

Trial Tr. at 1260:24-1261:4.

291. The change to include a citizenship question is not supported by the Hispanic or

immigrant communities. Nov. 14 Trial Tr. at 1261:5-9.

III.   PROCESS OF ADOPTING CITIZENSHIP QUESTION

292. As set forth below, the overwhelming evidence shows that Secretary Ross wanted to add a

citizenship question to the 2020 Decennial Census prior to, and independent of, DOJ’s December

12 request. The Secretary and his aides pursued this goal vigorously for the better part of a year,

with no apparent interest in promoting more vigorous enforcement of the Voting Rights Act

(“ACT”). Secretary Ross and his staff had many meetings on the subject, the Secretary

demanded repeated status updates, and openly worried that he had run out of time to add the

question. None of the emails in which the Secretary expressed deepening concern that

Commerce might not be able to add the question explained why he cared so much about adding

the question. Nor have his aides been able to explain the Secretary’s interest. Initially, the

Secretary and his aides tried to get other agencies to request addition of a citizenship question.

When that failed, they considered having the Commerce Department request the change. In the

end, and notwithstanding its earlier refusal, they persuaded DOJ to make the request.




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       A.      Secretary Ross’ Spring 2017 Communications with Steve Bannon, Kris
               Kobach and Others About Adding a Citizenship Question to the Decennial
               Census (February 2017—April 2017)

293. Shortly after his appointment to Secretary of Commerce, Secretary Ross “began

considering” whether to add to the Decennial Census questionnaire “a citizenship question,

which other senior Administration officials had previously raised.” PX-2 (AR).

294. Secretary Ross’ interest in adding a citizenship question began after the issue was raised

by “senior Administration officials.” Id. According to the Secretary, questions about the census

were “in the air,” in these early days of the Administration and so it was “natural” for him to

discuss a citizenship question with high ranking Administration officials. PX-688.

295. It appears that Secretary Ross heard about a citizenship question from other senior

Administration officials as well. According to his own June 21, 2018 memorandum, “senior

Administration officials” had raised a citizenship question “previously” to his first considering

the question. PX-2 (AR). The conversations the Secretary admits that he has had with Attorney

General Sessions and Mr. Bannon, as far as Defendants have disclosed, occurred after the

Secretary first began considering a citizenship question. Compare PX-30 (AR), PX-55 at 1

(AR), and PX-79 (AR) (Secretary’s February and March consideration) with PX-19 at 1-2 (AR),

PX-58 (AR), and PX-302 at 1-3 (Subsequent conversations with Sessions and Bannon).

296. Although the Secretary’s own June 21 memo expressly states that the other senior

Administration officials had raised a citizenship question “previous[]” to the Secretary’s initial

consideration of the issue, in discovery the Secretary and the Commerce Department claim that

they now do not distinguish between the “other senior Administration officials,” who first raised

the issue and other federal government officials who the Secretary and staff later consulted. PX-

2 (AR). As a result, they have not disclosed the identities of the “senior Administration




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officials.” PX-302 at 2-3. Defendants’ explanation for failing to disclosing these identities is not

credible.

297. The Commerce Department admits that, on or about January 31, 2017, press reported that

the Chair of the White House Domestic Policy Council, Andrew Bremberg, released a draft

Executive Order proposing census questions to determine immigration and citizenship status.

PX-298(R) at RFA 42.

298. On or before February 2, 2017, David Langdon asked Earl Comstock about his interest in

Congressional notification of Decennial Census topics and Comstock indicated that he was

“very” interested and the Secretary would be as well. PX-30 (AR); Langdon Dep. at 81.

299. Following that conversation, Mr. Langdon set up briefings regarding those same topics

during and after the transition period. PX-30 (AR); PX-79 (AR); PX-80 (AR); Langdon Dep. at

93-98.

300. By March 2017, Secretary Ross asked Mr. Comstock whether noncitizens were included

in the census. PX-55 (AR); Comstock Dep. at 62–64.

301. On March 10, 2017, Mr. Comstock sent Secretary Ross an email responding to Secretary

Ross’ question. Mr. Comstock told Secretary Ross that the Census Bureau made clear that

“undocumented residents (aliens) in the 50 states” are “included in the apportionment population

counts,” and pasted in an article entitled “The Pitfalls of Counting Illegal Immigrants.” PX-55

(AR); PX-298(R) at RFA 55; Comstock Dep. at 65–68.

302. On March 10, 2017, Mr. Langdon offered to set up a briefing for Mr. Comstock to

understand the congressional notification process for the Decennial Census. PX-79 (AR).

303. On March 15, 2017, Secretary Ross and Wendy Teramoto had a telephone discussion with

Marc Neuman and Ted Kassinger about the census. PX-193 at 28.




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304. On or about April 5, 2017 Secretary Ross discussed the addition of a citizenship question

on the 2020 Decennial Census with Mr. Bannon. PX-58 (AR); PX-19 at 1-2 (AR); PX-302 at 3;

PX-298(R) at RFA 56.

305. During their conversation on or about April 5, 2017, Mr. Bannon advised Secretary Ross

that he wanted a citizenship question included on the 2020 Decennial Census. PX-58 (AR); PX-

19 at 1 (AR); PX-302 at 3.

306. The Commerce Department admits that Secretary Ross knew by spring of 2017 that Mr.

Bannon wanted him to speak with Kris Kobach about including a citizenship question on the

2020 Decennial Census. PX-298(R) at RFA 51.

307. When Secretary Ross spoke with Mr. Bannon, Mr. Bannon asked Secretary Ross to speak

with Mr. Kobach about his ideas about adding a citizenship question on the 2020 census. PX-58

(AR); PX-19 at 1 (AR); PX-302 at 3; PX-298(R) at RFA 56. Mr. Kobach stated that Mr. Bannon

“direct[ed]” him and Secretary Ross to have this conversation. PX-19 at 1 (AR).

308. Following the call with Mr. Bannon, Secretary Ross discussed with Mr. Kobach the

possibility of adding a citizenship question to the Decennial Census. PX-58 (AR); PX-19 at 1

(AR); Comstock Dep. at 205–208; Teramoto Dep. at 38–47; PX-302 at 2-3.

309. During the course of their discussion, Secretary Ross and Mr. Kobach discussed the

potential effect of adding a citizenship question on how non-citizens are counted for purposes of

apportionment. PX-19 at 2 (AR).

310. The Commerce Department admits that Secretary Ross’ conversation with Kris Kobach

about adding a citizenship question to the 2020 Decennial Census came before any request from

DOJ to add a citizenship question to the Decennial Census. PX-298(R) at RFA 80.




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311. Shortly after Secretary Ross’ call with Steve Bannon, Mr. Comstock contacted Mr.

Neuman. On April 11, 2017, Mr. Neuman emailed Mr. Comstock a link to the Supreme Court’s

decision in LULAC v. Perry, which considered citizen voting age population in assessing claims

under section 2 of the VRA. PX-188 (AR).

312. On April 13, 2017 Mr. Comstock emailed Mr. Neuman asking when Census would need

to notify Congress regarding census questions. PX-87 (AR); PX-186 (AR).

313. Mr. Neuman responded to Mr. Comstock on April 14, 2017 that the notification deadline

for topics had already passed, but there would be another opportunity next year, when the

questions are due. PX-87 (AR).

314. On April 20, 2017 Secretary Ross’ personal assistant Brooke Alexander emailed Mr.

Comstock and Ms. Teramoto on Secretary Ross’ behalf noting that then-Census Bureau Director

John Thompson had an upcoming meeting on April 29 with the Census National Advisory

Committee on Racial, Ethnic and Other Populations, and admonishing them that “[w]e must get

our issue resolved before this!” PX-81 (AR); Comstock Dep. at 137–41; Cont. Teramoto Dep.

(Docket No. 509-3) at 195–97.

315. In the spring of 2017, Secretary Ross discussed adding a citizenship question to the

Decennial Census with Jeff Sessions. PX-302 at 3.

       B.     Secretary Ross’ Demand for a Citizenship Question and His Staff’s Efforts to
              Enlist Another Agency to Request the Addition of a Citizenship Question

316. Secretary Ross decided he wanted to add a citizenship question to the Census soon after

he was confirmed, very likely in March or April of 2017. Comstock Dep. at 54, 82, 146; PX-83.

317. As early as May 2, 2017 Secretary Ross emailed Mr. Comstock stating that he was

“mystified why nothing have [sic] been done in response to my months old request that we

include a citizenship question [on the 2020 Decennial Census].” PX-88 (AR); PX-298(R) at



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RFA 62; Comstock Dep. at 145–46; Teramoto Dep. at 28–32. By simple arithmetic, “months

old” would place the request at the beginning of March or earlier.

318. That same day, Mr. Comstock responded to Secretary Ross promising “[o]n the

citizenship question we will get that in place.” PX-88 (AR); PX-298(R) at RFA 63; Comstock

Dep. at 151–52.

319. As of May 2017, Commerce had not identified any legitimate need for addition of a

citizenship question internal to the Commerce Department that would permit adding the question

to the census. Mr. Comstock believed that he needed another agency to request addition of the

question because OMB and the Paperwork Reduction Act required Commerce to “justify” why a

citizenship question was “need[ed],” and Mr. Comstock understood that simply saying that “the

Secretary wanted it” would not “clear [the] legal thresholds.” Comstock Dep. at 153-54.

320. Mr. Comstock set out in the spring of 2017 to come up with a “legal rationale” to support

the Secretary’s request to add a citizenship question. Comstock Dep. at 265-66. Mr. Comstock

testified that it was his job to “help [the Secretary] find the best rationale” for adding the

question, because “[t]hat’s what a policy person does.” Comstock Dep. at 267. Mr. Comstock

testified that he did not “need to know what [the Secretary’s] rationale might be, because it may

or may not be one that is … legally-valid.” Comstock Dep. at 267.

321. Mr. Comstock advised Secretary Ross on May 2, 2017 that he had been advised it would

be necessary to “work with Justice to get them to request that citizenship be added back to a

census question . . . .” PX-88 (AR); PX-298 (R) at RFA 64; Comstock Dep. at 151–58.

322. Mr. Comstock advised Secretary Ross on May 2, 2017 that he had been advised it would

be necessary to “work with Justice to get them to request that citizenship be added back to a

census question . . . .” PX-88 (AR); PX-298 (R) at RFA 64; Comstock Dep. at 151–58.




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323. Mr. Comstock advised Secretary Ross on May 2, 2017 that he had been advised it would

be necessary to “work with Justice to get them to request that citizenship be added back to a

census question . . . .” PX-88 (AR); PX-298 (R) at RFA 64; Comstock Dep. at 151–58.

324. Prior to May 2017 DOJ had not requested that a citizenship question be added to the 2020

Decennial Census. PX-298 (R) at RFA 66; Gore Dep. at 168-69 (objection).

325. Two days after advising Secretary Ross that “we will get [the citizenship question] in

place,” on May 4, 2017, Mr. Comstock sent an email to Eric Branstad asking him to identify the

“best counterpart at DOJ” to speak with “[r]egarding [the] Census.” PX-84 (AR); PX-524 (AR);

PX-537 (AR).

326. Eric Branstad was the Senior White House Advisor at the Department of Commerce. PX-

84 (AR).

327. Mr. Branstad responded with the name “Mary Blanche Hankey,” who previously served

as legislative counsel to then-Senator Jeff Sessions, and was the White House liaison at the DOJ.

PX-84 (AR); PX-524 (AR); PX-537 (AR).

328. On May 4, 2017, after corresponding with Mr. Branstad, Mr. Comstock sent an email to

Ms. Hankey, and asked to set up a meeting. PX-524 (AR); PX-537 (AR); PX-51 (AR); PX-298

(R) at RFA 68.

329. When Mr. Comstock contacted DOJ on May 4, 2017 for the purpose of adding a

citizenship question to the 2020 Decennial Census, Mr. Comstock was not seeking to promote

more effective enforcement of the VRA. PX-524 (AR); PX-537 (AR); PX-51 (AR); Comstock

Dep. at 167–172.

330. Mr. Comstock and Ms. Hankey spoke in person in May 2017 and later directed Comstock

to speak James McHenry in DOJ. PX-524 (AR); PX-537 (AR).




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331. James McHenry was Director of DOJ’s Executive Office for Immigration Review

(EOIR). PX-485.

332. Mr. McHenry had no responsibility for enforcement of the VRA. PX-485; PX-298 (R) at

RFA 71; Comstock Dep. at 270–71; Gore Dep. at 65.

333. After May 2, 2017, Mr. Comstock spoke on multiple occasions with Mr. McHenry at DOJ

for the purpose of adding a citizenship question to the 2020 Decennial Census. PX-524 (AR); PX-

537 (AR); PX-51 (AR); PX-298 (R) at RFA 70; Comstock Dep. at 174–179, 270–73.

334. Mr. McHenry advised Mr. Comstock that “after considering the matter . . . Justice staff did

not want to raise the question given the difficulties Justice was encountering in the press at the

time (the whole Comey) matter” and Mr. McHenry “directed [Comstock] to Gene Hamilton at the

Department of Homeland Security.” PX-48 (AR); PX-524 (AR); PX-537 (AR).

335. Having failed to obtain DOJ’s cooperation, Mr. Comstock then contacted Eugene (Gene)

Hamilton at Department of Homeland Security for the purpose of adding a citizenship question

to the 2020 Decennial Census. PX-524 (AR); PX-537 (AR). They spoke several times. PX-51

(AR); PX-298 (R) at RFA 73; Comstock Dep. at 179–85, 277–83.

336. The Department of Homeland Security has no responsibility for enforcement of the VRA.

PX-298 (R) at RFA 74; Comstock Dep. at 277.

337. Eugene (Gene) Hamilton had no responsibility for enforcement of the VRA. PX-298 (R)

at RFA 77; Comstock Dep. at 277.

338. When Mr. Comstock contacted Mr. Hamilton at the Department of Homeland Security for

the purpose of adding a citizenship question to the 2020 Decennial Census, Mr. Comstock was

not seeking to promote more effective enforcement of the VRA. PX-298 (R) at RFA 75;

Comstock Dep. at 179–85, 277–83.




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339. Eventually, Mr. Hamilton told Mr. Comstock that the Department of Homeland Security

would not request a citizenship question. PX-524 (AR); PX-537 (AR).

340. Mr. Hamilton told Mr. Comstock that “it was best handled by the Department of Justice.”

PX-48 (AR); PX-524 (AR); PX-537 (AR).

        C.     Secretary Ross’ Staff Investigates Whether the Commerce Department Can
               Add a Citizenship Question On Its Own While Mr. Kobach and Capitol Hill
               Allies Press for a Citizenship Question

341. On May 24, 2017, Secretary Ross met with Mr. Comstock, Mr. Langdon, and others “all

afternoon.” PX-150 (AR).

342. On or before May 24, 2017, Mr. Langdon, on behalf of Mr. Comstock, requested

information from Census Bureau staff including Burton Reist regarding whether and/or how the

census counts non-citizens and illegal immigrants for purposes of apportionment. PX-150 (AR);

Cont. Langdon Dep. (Docket No. 510-3) at 174-183, 184.

343. During that meeting, Secretary Ross asked questions about the content of the Decennial

Census and “seemed . . . puzzled why citizenship is not included in the 2020” census. PX-85

(AR); PX-150 (AR); Cont. Langdon Dep. at 160-163.

344. Following that meeting, Mr. Langdon requested further information from Census Bureau

staff including Mr. Reist regarding “the criteria used to pick topics for 2020 versus ACS. Say,

citizenship.” PX-150 (AR).

345. Also on May 24, 2017, Mr. Langdon sent an email to Mr. Comstock entitled “Counting of

illegal immigrants,” which states “the counting of illegal immigrants (or of the larger group of

non-citizens) has a solid and fairly long legal history . . . [there is] a Bush 41 era DOJ opinion

that proposed legislation to exclude illegal aliens from the decennial census was illegal.” PX-565

(AR).




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346. Mr. Comstock responded to Mr. Langdon on May 24, 2017, asking for further information

on the selection of questions for the census versus the ACS, and passing along the Supreme

Court decision that Mr. Neuman had previously provided for the proposition that the government

might have a use for citizenship data. PX-565 (AR).

347. Later on May 24, 2017, at nearly 11:00 PM, Mr. Langdon made an apparently urgent

request to Acting Associate Director of the 2020 Decennial Census Lisa Blumerman to respond

to his inquiry related to a citizenship question, asking for a response, “Ideally this evening.” PX-

150 (AR); Cont. Langdon Dep. at 172-174.

348. Mr. Langdon made this request specifically in the context of pursing the addition of a

citizenship question. Cont. Langdon Dep. at 167-169.

349. Mr. Langdon reported back to Mr. Comstock that he made that request. PX-543 (AR).

350. Following his failed discussions with Mr. Hamilton, Mr. Comstock asked James Uthmeier

to investigate “how Commerce could add the question to the Census itself.” PX-48 (AR); PX-

524 (AR); PX-537 (AR).

351. On July 14, 2017, Mr. Kobach emailed Secretary Ross. PX-19; PX-298 (R) at RFA 81;

Comstock Dep. at 205–06; Teramoto Dep. at 40–46.

352. In his July 14, 2017 email, Mr. Kobach wrote to Secretary Ross to remind Secretary Ross

of their prior telephone discussion “a few months ago.” PX-19 (AR); PX-298 (R) at RFA 82;

Comstock Dep. at 205–06.

353. Mr. Kobach wrote that during their earlier discussion, he and Secretary Ross “talked about

the fact that the US census does not currently ask respondents about their citizenship,” and

further advised Secretary Ross that the absence of such a question “leads to the problem that




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aliens who do not actually ‘reside’ in the United States are still counted for congressional

apportionment purposes.” PX-19 (AR); PX-298 (R) at RFA 82; Teramoto Dep. at 40–46.

354. Mr. Kobach further wrote that “it was essential that one simple question be added to the

upcoming 2020 census” and that a variant of the question that appears on the American

Community Survey “needs to be added to the census.” PX-19 (AR); Teramoto Dep. at 40–46.

355. On July 21, 2017, Mr. Kobach called Ms. Teramoto. He also emailed her, forwarding his

July 14 email to Secretary Ross stating that he had spoken to Secretary Ross about the addition

of citizenship question to the 2020 Decennial Census “at the direction of Steve Bannon . . . .”

PX-19 (AR); PX-298 (R) at RFA 83; Comstock Dep. at 120–21, 205–06; Teramoto Dep. at 40–

46.

356. During her testimony, Ms. Teramoto denied knowledge of her conversation with Mr.

Kobach and denied knowing who he was. Teramoto Dep. at 40–41.

357. Following their conversation on July 21, 2017, Ms. Teramoto arranged for a call between

Mr. Kobach and Secretary Ross. PX-19 (AR).

358. On or around July 25, 2017, Secretary Ross had a further telephone conversation with Mr.

Kobach concerning the addition of a citizenship question to the 2020 Decennial Census, in which

Ms. Teramoto and Deputy Chief of Staff Israel Hernandez participated. PX-19 (AR); PX-298 (R)

at RFA 84; PX-193 at 8, 40; Comstock Dep. at 208–09.

359. Ms. Teramoto testified she had no recollection of this call and again denied knowing who

Mr. Kobach was. Teramoto Dep. at 40–41.

360. Undersecretary Kelley testified that it is “very plausible” that she knew as early as

July 2017 that Secretary Ross was considering adding a citizenship question to the 2020

decennial Census. Kelley Dep. at 45:5-12.




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361. On July 25, 2017, the Commerce Department Director of Intergovernmental Affairs,

Aaron Willard, requested Census Bureau personnel provide a briefing to Undersecretary Kelley

on “how the process works when questions are discussed and approved to be used on the

[American Community Survey] and also those on Census questionnaire. Likewise, we would

like to know how issues surrounding things like [the proposal to add a question about Sexual

Orientation and Gender Identity] are discussed and reviewed throughout this process as well.”

PX-28 (AR); PX-29 (AR); Kelley Dep. at 47–54.

362. On July 25, Census Bureau personnel gave Undersecretary Kelley and Mr. Willard a

briefing on, among other things, the process how questions are “approved to be used on the . . .

Census questionnaire.” PX-28 (AR); PX-29 (AR); Kelley Dep. at 47–54.

363. During her testimony, Undersecretary Kelley denied this briefing had anything to do with

the potential addition of a citizenship question to the Decennial Census. Kelley Dep. at 49, 51,

54.

364. Approximately a week after the call with Mr. Kobach, on August 2, Congressman Mark

Meadows requested a meeting with Secretary Ross. PX-567. Congressman Meadows is a

member of the U.S. House of Representatives from North Carolina and is the Chairman of the

House Freedom Caucus.

365. On August 8, 2017, Secretary Ross discussed adding a citizenship question to the

Decennial Census with Congressman Mark Meadows. PX-193 at 9. According to Secretary

Ross’ calendar, Mr. Comstock, Mr. Hernandez, and Ms. Teramoto attended this call. PX-193 at

41-42.




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366. On August 8, Secretary Ross was advised by an email from Mr. Hernandez that

Congressman Steve King introduced a bill to the House of Representatives seeking the addition

of a citizenship question to the Decennial Census. PX-18 (AR).

367. On August 8, 2017, after the call with Congressman Meadows, Secretary Ross emailed

Mr. Comstock asking “where is DOJ in their analysis” of whether to request the addition of a

citizenship question to the 2020 Decennial Census. PX-97 (AR); PX-298 (R) at RFA 91;

Comstock Dep. at 213.

368. Secretary Ross’ email of August 8, 2017 further advised Mr. Comstock that “[i]f they [the

Department of Justice] still have not come to a conclusion please let me know your contact

person and I will call the AG.” PX-97 (AR); PX-298 (R) at RFA 92; Comstock Dep. at 214.

369. Mr. Comstock responded to Secretary Ross on August 8, 2017 stating that he would get

back to him with the requested information. PX-97 (AR); PX-298 (R) at RFA 93; Comstock

Dep. at 213–215.

370. As of August 8, 2017, DOJ had not agreed to request the addition of a citizenship question

to the 2020 Decennial Census. PX-298 (R) at RFA 94.

371. On August 9, Mr. Comstock sent a further response to Secretary Ross stating “we are

preparing a memo and full briefing for you on a citizenship question. The memo will be ready

by Friday . . . Since this issue will go to the Supreme Court we need to be diligent in preparing

the administrative record.” PX-95 (AR); PX-523 (AR); Comstock Dep. at 216.

372. Secretary Ross responded to Mr. Comstock the next day, “I would like to be briefed on

Friday by phone . . . we should be very careful about everything, whether or not it is likely to end

up in the SC.” PX-95 (AR); PX-523 (AR); Comstock Dep. at 217.




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373. On August 11, Mr. Comstock and Mr. Uthmeier exchanged edits on briefing materials on

a citizenship question for Secretary Ross. During this exchange, Mr. Uthmeier wrote that he had

“recommendations on execution,” stating that he thought “our hook” was “ultimately, we do not

make decisions on how the [citizenship] data will be used for apportionment, that is for Congress

(or possibly the President) to decide.” PX-607 (AR).

374. On August 11, Mr. Comstock emailed Secretary Ross and Ms. Teramoto a memorandum

prepared by James Uthmeier concerning the addition of a citizenship question to the Decennial

Census. PX-3 at AR 2461 (AR); PX-146 (AR). The Defendants have withheld this

memorandum on grounds of privilege.

375. On August 16, Ms. Teramoto requested that she and Mr. Comstock meet with

Undersecretary Kelley and the new-Commerce General Counsel Peter Davidson on August 21

“to sort this out.” PX-50 (AR); PX-94 (AR).

376. Mr. Comstock agreed to this meeting. PX-50 (AR).

377. During their respective depositions, Mr. Comstock, Ms. Teramoto, and Undersecretary

Kelley all denied having any recollection of the August 21 meeting. Comstock Dep. at 221;

Teramoto Dep. at 54–58; Kelley Dep. at 91–92.

378. Mr. Gore testified that, at the end of August or beginning of September, Secretary Ross

initiated a discussion about the addition of a citizenship question with Attorney General

Sessions. Gore Dep. at 83–84; PX-302 at 2-3.

       D.      Secretary Ross and His Staff Discuss Mr. Kobach’s Request and Decide to
               Redouble Their Efforts to Solicit the Department of Justice to Request
               Addition of a Citizenship Question (September 2017)

379. On September 1, Secretary Ross complained to Mr. Comstock and Ms. Teramoto about a

number of issues, including that he had “received no update [on] the issue of the census




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question” and Mr. Comstock responded, “Understood. Wendy and I are working on it.” PX-45

(AR); PX-96 (AR).

380. On September 6, Secretary Ross and his senior staff (including Messrs. Comstock,

Hernandez, Davidson, Uthmeier, and Ms. Teramoto, Undersecretary Kelley, and Ms. Park-Su)

had a meeting to discuss the addition of a citizenship question. PX-31 (AR); PX-35 (AR); PX-36

(AR); PX-46 (AR); PX-47 (AR); PX-193 at 11.

381. Mr. Comstock, Ms. Teramoto, and Undersecretary Kelley have all denied having any

recollection of the meeting. Comstock Dep. at 221; Teramoto Dep. at 58–61 (objection); Kelley

Dep. at 105–07.

382. Mr. Uthmeier prepared a briefing book for the September 6 meeting. PX-35 (AR); PX-36

(AR); PX-281 at ¶ 3.

383. Defendants’ counsel represented that none of the participants in the meeting retained the

briefing book.

384. On September 7, Mr. Comstock wrote to Messrs. Uthmeier and Davidson that Secretary

Ross “would like an update on progress since the discussion yesterday regarding the citizenship

question.” PX-37 (AR).

385. After receiving Mr. Uthmeier’s response (which Defendants have withheld on the basis of

privilege), Mr. Comstock reiterated “the Secretary is asking for progress on this.” PX-44 (AR);

PX-49 (AR).

386. Mr. Uthmeier responded that Mr. Davidson had been in touch with “Kassinger this

evening.” PX-44 (AR).

387. In a subsequent exchange, Mr. Davidson wrote to Mr. Comstock, Mr. Uthmeier and Ms.

Teramoto that Secretary Ross had discussed Mr. Kobach in the meeting about a citizenship




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question the day before, but Mr. Davidson was “concerned about” contacting Mr. Kobach

directly, and recommended contacting a trusted advisor, such as Mr. Neuman, “before we do

anything externally.” PX-614 (AR).

388. The following day (September 8, 2017), Mr. Uthmeier contacted Mr. Neumann to discuss

“some Census legal questions for the Secretary.” PX-38 (AR).

389. Also on September 8, 2017, Mr. Comstock sent Secretary Ross a memo reporting on his

efforts to identify someone who would request the addition of a citizenship question to the 2020

Decennial Census, and advising that, as of that date, he had not been successful. PX-48 (AR);

PX-133 (AR); PX-298 (R) at RFA 96.

390. The memo summarized Mr. Comstock’s prior discussions with Ms. Hankey, Mr.

McHenry, and Mr. Hamilton of the Departments of Justice and Homeland Security. PX-133

(AR); PX-524 (AR); PX-537 (AR).

391. Mr. Comstock later forwarded that memorandum to Ms. Teramoto, PX-58 (AR); PX-133

(AR); PX-524 (AR); PX-537 (AR), presumably to prepare her for an upcoming call she was to

have with DOJ regarding a citizenship question. See PFOF III.E.

392. Ms. Teramoto denied all recollection of reading that memorandum or discussing it with

Mr. Comstock. Teramoto Dep. at 69-70.

393. Early afternoon on September 13, Mr. Uthmeier followed up with Mr. Neuman and they

talked later that day regarding a citizenship question. PX-145 (AR); PX-592 (AR).

394.    Mr. Comstock testified that the Secretary never told him why he wanted to add a

citizenship question to the census. Comstock Dep. at 112, 251-54. Mr. Comstock also testified

that he never asked the Secretary why he wanted to add a citizenship question. Comstock Dep.

at 171-72. According to Mr. Comstock, the reasons why the Secretary wanted a citizenship




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question were irrelevant. Comstock Dep. at 253-54, 260-62. Ms. Teramoto similarly testified

that she had no knowledge of why the Secretary wanted to add a citizenship question. Teramoto

Dep. at 32. Undersecretary Kelley similarly testified that she had no knowledge of why the

Secretary wanted to add a citizenship question. Kelley Dep. at 39.

395. There is no writing of any kind either in the Administrative Record or produced in

discovery authored by the Secretary or anyone at the Commerce Department (or anyone else)

that describes the reasons why the Secretary wanted to add a citizenship question as early as the

first quarter of 2017. PX-1 to PX-14 (AR).

396. The record does indicate that, at the same time the Secretary was discussing adding a

citizenship question to the census in the spring and summer of 2017, he was asking Mr.

Comstock questions about whether congressional apportionment based on the census included

non-citizens, he was informed that including non-citizens in congressional apportionment was

legally required, but that Mr. Kobach was advising him that it was nonetheless a “problem.” PX-

19 (AR), PX-55 (AR), PX-58 (AR), PX-85 (AR), PX-88 (AR), PX-150 (AR), PX-565 (AR), PX-

607 (AR), PX-614 (AR).

397. Mr. Comstock did not believe that the Secretary’s unstated reasons to add a citizenship

question would “clear [the] legal thresholds” set by OMB and federal law, Comstock Dep. at

153-54, and believed that they might or might not be “legally-valid,” Comstock Dep. at 267.

398. If the Secretary’s reasons for wanting a citizenship question were legitimate, it would be

ordinary to find in writing some documentation of why the Secretary wanted the question or why

the Secretary thought this was a good idea. The Administrative Record is absent of such

documentation. PX-1 to PX-14 (AR). It would also be ordinary for the Secretary’s aides to

know why he wanted the question added and for them to be able to articulate why this was in the




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national interest. But none of Secretary Ross’ senior aides could explain why Secretary Ross

wanted the question added.

399. The record reflects an extraordinary level of concealment and denial. The evidence is

overwhelming that the Secretary wanted to add a citizenship question and that this was an

important priority for him. To the extent that Defendants argue that the June 21 Supplemental

Memorandum says that before the DOJ request, the Secretary was merely considering a

citizenship question, the weight of the evidence demonstrates that this position was not credible.

Rather, the weight of the evidence demonstrates that the Secretary made the decision to add a

citizenship question before knowing whether DOJ had any need or even desire for addition of the

question. See, e.g., PX-44 (AR), PX-49 (AR), PX-72 (AR), PX-88 (AR), PX-95(AR), PX-

97(AR), PX-523(AR).

400. Similarly, the aides’ testimony that they did not know why the Secretary wanted to add a

citizenship question is not credible and is evidence of a cover-up as to the Secretary’s true

motivations. In the alternative, that the Secretary might not have confided in his aides is still

evidence of a cover-up. Indeed, the evidence that Mr. Comstock did not ask for the Secretary’s

reasons, believed that the Secretary’s reasons for adding the question might not have been legally

valid, and believed that it was his job to find a legally supportable rationale for addition of the

question demonstrates that the Secretary was attempting to cover up his true rationale for adding

the question.

       E.       Origins of December 12 Letter from Department of Justice to Census Bureau
                (September 2017—December 2017)

401. In September 2017, Secretary Ross and his staff “inquired whether the Department of

Justice (DOJ) would support, and if so would request, inclusion of a citizenship question.” PX-2

(AR); PX-59 (AR); PX-60 (AR); PX-63 (AR); PX-66 (AR); PX-67 (AR).



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402. Around Labor Day 2017, but before September 8, 2017, John Gore became involved in

the deliberations over whether or not to request the inclusion of a citizenship question for the

Decennial Census. Gore Dep. at 73–75.

403. John Gore was the Acting Assistant Attorney General (AAAG) for Civil Rights in the

U.S. DOJ. Gore Dep. at 18.

404. Mr. Gore was and is a political appointee, not career Civil Rights Division staff. Gore

Dep. at 14, 18–19.

405. In his role as AAAG, Mr. Gore was the head of DOJ’s Civil Rights Division. Gore Dep. at

18-19.

406. One of the sections within the DOJ Civil Rights Division is the Voting Section. Among

the duties of the Voting Section is to enforce Section 2 of the VRA of 1965. Gore Dep. at 18-19.

407. Prior to becoming AAAG, Mr. Gore was previously an attorney in private practice. Gore

Dep. at 14.

408. As an attorney in private practice, Mr. Gore litigated numerous cases under the VRA.

Gore Dep. at 14–15.

409. In all of the cases he litigated under Section 2 of the VRA prior to coming to DOJ, Mr.

Gore represented defendants rather than plaintiffs. Gore Dep. at 16.

410. The issue of the adequacy of CVAP data never came up in any of the VRA cases litigated

by Mr. Gore. Gore Dep. at 16–17.

411. In his experience representing jurisdictions defending VRA lawsuits, Mr. Gore never took

the position that plaintiffs’ block-level CVAP data was insufficient because it was based on

sample survey data rather than a “hard count” from the decennial Census. Gore Dep. at 16–17.




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412. Mr. Gore has no experience drawing districts for the purposes of complying with the

Gingles preconditions for VRA liability or using block-level data about the characteristics of

populations. Gore Dep. at 17–18.

413. Mr. Gore became involved in these deliberations through conversation with Ms. Hankey

and Attorney General Sessions. Gore Dep. at 73–75.

414. On or around Labor Day 2017, Mr. Gore had a conversation with Attorney General

Sessions regarding a citizenship question. Gore Dep. at 83.

415. Mr. Gore learned from that conversation with Attorney General Sessions that Secretary

Ross had initiated an earlier discussion between Secretary Ross and Attorney General Sessions

regarding a citizenship question. Gore Dep. at 83–84.

416. Mr. Gore was also aware that someone from the Department of Commerce had spoken to

Ms. Hankey and Mr. McHenry before September 8, 2017. Gore Dep. at 61–62, 63–64. The

Commerce Department initiated all of the prior DOC-DOJ conversations (with Sessions, Hankey

and McHenry); these conversations were not initiated by DOJ, either for the purpose of obtaining

better data for VRA enforcement or for any other purpose. Id. at 67-68.

417. Beginning roughly in mid-September, the Commerce Department initiated direct

conversation with Mr. Gore. Gore Dep. at 91–92, 94–95.

418. Between September and October 2017, Gore spoke with three individuals from the

Commerce Department about a citizenship question: Peter Davidson, James Uthmeier, and

Wendy Teramoto. Gore Dep. at 92-94, 118. Mr. Gore participated in various conversations with

Mr. Davidson, Mr. Uthmeier, and Ms. Teramoto through the autumn of 2017. Gore Dep. at 92–

94. None of these conversations were initiated by Gore or anyone in DOJ’s Civil Rights

Division. Gore Dep. at 94-95.




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419. Mr. Gore recalls first being contacted by Mr. Davidson in mid-September. Gore Dep. at

92–93, 97–98.

420. Mr. Davidson called Mr. Gore to discuss the addition of a citizenship question to the

census. Gore Dep. at 97–98.

421. During their conversation, Mr. Davidson asked Mr. Gore to reach out to Ms. Teramoto.

Gore Dep. at 97, 98.

422. On September 13, Mr. Gore sent Ms. Teramoto an email “to talk about a DOJ-DOC”

issue. PX-59 (AR); PX-60 (AR); Gore Dep. at 95-96.

423. The “DOJ-DOC” issue referred to the addition of a citizenship question to the 2020

Census. PX-59 (AR); PX-60 (AR); Gore Dep. at 96-97.

424. Through Ms. Teramoto’s Assistant Macie Leach, Mr. Gore and Ms. Teramoto arranged to

speak on the phone on Friday, September 15, 2017. PX-59 (AR); PX-60 (AR).

425. Ms. Teramoto testified she had no recollection of this conversation. Teramoto Dep. at 74–

77.

426. Following their conversation on September 15, 2017, Mr. Gore put Ms. Teramoto in touch

with Attorney General Sessions’ aide Danielle Cutrona on September 16, 2017. PX-63 (AR);

PX-66 (AR); PX-67 (AR); Gore Dep. at 102–103.

427. Mr. Gore wrote, “Wendy, By this email, I introduce you to Danielle Cutrona from DOJ.

Danielle is the person to connect with about the issue we discussed earlier this afternoon.” PX-

63 (AR).

428. Ms. Teramoto requested Ms. Cutrona to “let me know when the AG is available to speak

with Secretary Ross.” PX-63 (AR); PX-66 (AR); PX-67 (AR).




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429. Ms. Teramoto testified she had no recollection of this exchange. Teramoto Dep. at 75, 78–

79.

430. Ms. Cutrona responded by providing Attorney General Sessions’ cell phone number and

stating “From what John [Gore] told me, it sounds like we can do whatever you all need us to

do and the delay was due to a miscommunication. The AG is eager to assist.” PX-66 (AR); PX-

67 (AR); Gore Dep. at 105–106.

431. Ms. Teramoto testified she had no recollection of this exchange. Teramoto Dep. at 77.

432. Ms. Cutrona has no experience as counsel in VRA cases, litigating Section 2 redistricting

cases involving the use of CVAP data, or otherwise assessing the reliability of CVAP data used

in VRA litigation. Gore Dep. at 104.

433. On September 18, 2017 Secretary Ross again spoke to Attorney General Sessions

specifically regarding the addition of a citizenship question. PX-61 (AR); Gore Dep. at 112.

434. On or about September 18, 2017, Ms. Teramoto advised Ms. Cutrona that Secretary Ross

and Attorney General Sessions “connected.” PX-62 (AR).

435. On the same day, Ms. Teramoto emailed Mr. Gore, writing, “AG and Sec spoke. Please let

me know when you have a minute.” PX-61 (AR); Gore Dep. at 111.

436. Secretary Ross contemporaneously emailed Mr. Davidson that Ms. Teramoto participated

on that call. PX-57 (AR).

437. Ms. Teramoto testified she had no recollection of this call. Teramoto Dep. at 83–85.

438. During their September 18, 2017 conversation, Secretary Ross inquired whether Attorney

General Sessions would support, and if so, request, inclusion of a citizenship question on the 2020

Decennial Census. PX-62 (AR); PX-61 (AR); Gore Dep. at 112; PX-298 (R) at RFA 98.




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439. On September 19, 2017, Secretary Ross sent an email with the subject “Census” advising

Peter Davidson that “Wendy and I spoke with the AG yesterday. Please follow up so we can

resolve this issue today.” PX-57 (AR).

440. Ms. Teramoto testified that she has no recollection of this event. Teramoto Dep. at 84.

441. On September 22, 2017, Mr. Uthmeier reached out to Mr. Gore. Gore Dep. at 117-18

(objection).

442. Mr. Gore returned Mr. Uthmeier’s call, on or about September 22, 2017, and they

discussed the addition of a citizenship question to the 2020 Census. Gore Dep. at 118, 119.

443. Mr. Uthmeier has no experience as counsel in VRA cases, litigating Section 2 redistricting

cases involving the use of CVAP data, or otherwise assessing the reliability of CVAP data used

in VRA litigation. Gore Dep. at 117-118.

444. After their call, Mr. Gore was also provided Mr. Uthmeier’s August 11 memorandum

discussing addition of a citizenship question. Gore Dep. at 118.

445. With the August 11 memorandum, Mr. Gore also received a handwritten note from Mr.

Uthmeier. Gore Dep. at 118–119. This handwritten note from Uthmeier to Gore contained

information that DOJ considered in drafting the final letter requesting a citizenship question. Id.

at 123-24. Defendants have withheld this note on the basis of privilege.

446. Mr. Gore responded to that note in a discussion with Mr. Uthmeier and Mr. Davidson,

purportedly to provide legal advice in anticipation of litigation. Gore Dep. at 120-124.

447. DOJ relied, in part, on Mr. Uthmeier’s input in reaching its decision to send the December

12, 2017 letter to the Census Bureau. Gore Dep. at 123-124

448. On Sunday October 8, Secretary Ross sent an email to Mr. Davidson with the subject line

“Letter from DOJ” and asking “what is its status.” PX-52 (AR).




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449. Mr. Davidson responded “I’m on the phone with Mark Neuman right now . . . he is giving

me a readout of his meeting last week.” PX-52 (AR).

450. The following day, on October 9 (Columbus Day), Secretary Ross issued a press release

applauding Trump Administration programs to “swiftly return illegal entrants” and to “stop

sanctuary cities, asylum abuse and chain immigration.” PX-479.

451. Also on October 9, Mr. Willard sent Undersecretary Kelley an email about a citizenship

question stating “1) must come from DOJ, 2) court cases you can hang your hat on, 3) every

census since 1880, except 2000.” PX-148 (R) (AR).

452. In October of 2017, AAAG Gore, John Zadrozny of the White House Domestic Policy

Council, along with Rachael Tucker, Mr. Hamilton, and others from DOJ participating in a

conference call to discuss the addition of a citizenship question to the Census without the

participation of any Commerce Department or Census Bureau personnel. Gore Dep. at 409–12.

453. During the autumn of 2017, Mr. Gore also discussed a citizenship question with Mr.

Neuman with the understanding that he was advising the Department of Commerce and Census

Bureau on the issue. Gore Dep. at 438.

454. On or about November 1, 2017, Mr. Gore wrote the initial draft of the letter from DOJ to

Census Bureau requesting the inclusion of a citizenship question on the 2020 Decennial Census.

Gore Dep. at 126–127 (objection).

455. On Wednesday, November 1, 2017, Mr. Gore emailed Chris Herren, Chief of DOJ’s

Voting Section, and copied Ben Aguiñaga. Gore Dep. at 126 (objection); PX-211.

456. The subject of the email was: “Confidential & Close Hold: Draft Letter.” Gore Dep. at

126 (objection). Gore testified that he intended that Herren could not share the draft letter

without Gore’s approval. Gore Dep. at 130.




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457. Mr. Gore attached a draft letter that he had written requesting a citizenship question be

added to the 2020 Census questionnaire. Mr. Gore asked for input from Mr. Herren on the draft.

Gore Dep. at 126-27 (objection).

458. Also on November 1, 2017, Gore’s aide Mr. Aguiñaga forwarded a draft of the December

12 Letter to Bethany Pickett. Gore Dep. at 133.

459. Ben Aguiñaga and Bethany Pickett were political appointees in the front office of the

Civil Rights Division who began working there in 2017, having graduated from law school

around 2015. Gore Dep. at 133-34.

460. Before then, neither had any experience as counsel in VRA cases, litigating Section 2

redistricting cases involving the use of CVAP data, or otherwise assessing the reliability of

CVAP data used in VRA litigation. Gore Dep. at 134–35.

461. Mr. Gore received substantive input from Mr. Herren, Mr. Aguiñaga and Ms. Pickett.

Gore Dep. at 136–137.

462. Mr. Gore did not solicit or receive substantive input at this stage from anyone besides Mr.

Arthur Gary, Ms. Pickett, Mr. Aguiñaga, and Mr. Herren. Gore Dep. at 136–137.

463. Mr. Gore does not recall either sharing subsequent drafts of the Gary letter with Herren or

Herren giving him comments on any subsequent drafts. Id. at 444-45.

464. Mr. Gore has no recollection of receiving any input or edits from career DOJ Civil Rights

Division staff on the letter requesting a citizenship question other than the first round of edits

from Herren. Id. at 152-53.

465. The only other people in DOJ’s Civil Rights Division from whom Gore can recall

soliciting or receiving input on the draft letter requesting a citizenship question were Ms. Pickett

and Mr. Aguiñaga. Id. at 136-37.




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466. Sometime in mid-November (“a few weeks” before November 27) Mr. Gore discussed

adding a citizenship question with Rachael Tucker, then counsel in the front office in the Office

of the Attorney General, and Robert Troester, then Associate Deputy Attorney General. Gore

Dep. at 141.

467. Neither Ms. Tucker nor Mr. Troester had experience as counsel in VRA cases, litigating

Section 2 redistricting cases involving the use of CVAP data, or otherwise assessing the

reliability of CVAP data used in VRA litigation. Gore Dep. at 140.

468. On or about November 26, 2017 (Thanksgiving weekend), Secretary Ross conversed with

President Trump. PX-298(R) at RFA 103.

469. On the evening November 27, 2017 Secretary Ross sent Mr. Davidson, General Counsel

of the Department of Commerce, an email with the subject “Census Question” stating that

“Census is about to begin translating the questions into multiple languages and has let the

printing contract. We are out of time. Please set up a call for me tomorrow with whoever is the

responsible person at Justice. We must get this resolved.” PX-143 (AR); PX-298 (R) at RFA

105.

470. On or around November 27, 2017, Mr. Davidson and Mr. Gore communicated. PX-53

(AR).

        F.     Final Revisions to and Delivery of the December 12 Letter (November 2017 -
               December 2017)

471. In late November 2017, Gore solicited and received edits on the draft letter requesting a

citizenship question from Rachael Tucker, Counsel in the front office of the Attorney General;

and Robert Troester, then-Associate Deputy Attorney General. PX-205; Gore Dep. at 138-42

(objection).




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472. On November 27, 2017, Mr. Gore sent an email to Rachael Tucker, then Counsel in the

front Office of the Attorney General, and Robert Troester, then Associate Deputy Attorney

General, and attached a “near-final” draft of the December 12 Letter. Gore Dep. at 138–139.

473. Both Ms. Tucker and Mr. Troester provided edits to the letter. Gore Dep. at 142.

474. Mr. Gore did not receive substantive edits from anyone besides Ms. Tucker and Mr.

Troester in the last few days before the December 12 Letter was sent. Gore Dep. at 146.

475. In early December 2017 Undersecretary Kelley was officially notified about the DOJ

letter. PX-73 (AR); Kelley Dep. at 145:12-148:7.

476. On December 8, 2017, Mr. Gore emailed Mr. Gary a draft of the letter “with leadership’s

final changes,” and stated “With these changes, we are authorized to send. Sending on Monday is

fine.” Gore Dep. at 145, 146–147 (objection).

477. Mr. Gore did not solicit or receive further edits from within DOJ to the final versions of

the December 12 Letter. Gore Dep. at 146.

478. Attorney General Sessions decided that DOJ would request that the Census Bureau ask a

citizenship question on the Census. Gore Dep. at 442.

479. Mr. Gore testified that that final authorization to send the letter came from either Ms.

Tucker or Mr. Troester on behalf of Attorney General Sessions, probably on Tuesday, December

12, 2017. Gore Dep. at 158–160.

480. On Tuesday, December 12, 2017, Arthur Gary sent the final letter, signed by him and

addressed to Ron Jarmin, Acting Director of the Census Bureau. PX-32 (AR); PX-101 (AR); PX-

1 at AR 663 (AR); Gore Dep. at 155.

481. The Gary letter formally requests the addition of a citizenship question to the Census. PX-

32 (AR); PX-101 (AR); PX-1 at AR 663 (AR); Gore Dep. at 20–21.




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482. The December 12 Gary letter sent to the Census Bureau requesting a citizenship question

does not state that a citizenship question is necessary for the purposes of VRA enforcement to

collect CVAP data through the census questionnaire. PX-32 (AR).

483. Gore testified he does not personally believe that it is necessary for DOJ’s VRA

enforcement efforts to collect CVAP data through the census questionnaire. Gore Dep. at 300.

484. Gore testified further he does not know whether the data the Census Bureau will obtain

through the addition of a citizenship question will have larger or smaller margins of error, or be

more precise, than the existing data available to DOJ. Gore Dep. at 215-16, 226-27, 232-33.

485. The only career staffer in the Civil Rights Division that provided input at any stage of

drafting was Mr. Herren in early November. Gore Dep. at 151–153.

486. After Mr. Herren provided initial edits, Mr. Gore continued to re-draft with input from

DOJ political leadership and DOC legal counsel. Gore Dep. at 151–153.

487. Before the letter was sent to the Census Bureau, Mr. Gore was aware that DOJ “staff did

not want to raise the citizenship question” in the fall of 2017. Gore Dep. at 68–69.

488. Before the December 12 Letter was sent to the Census Bureau, Mr. Gore was aware that

that the “Department of Justice did not reach out to the Department of Commerce to initiate

those conversations for the purposes of obtaining better data to enforce the Voting Rights Act.”

Gore Dep. at 67–68.

489. Prior to the final December 12 letter requesting the addition of a citizenship question on

the Decennial Census, DOJ had never communicated to the Census Bureau that ACS CVAP data

was not ideal for DOJ’s VRA enforcement purposes. Nov. 13 Trial Tr. at 996.




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490. Before the letter was sent to the Census Bureau, Mr. Gore was aware that the Commerce

Department initiated those conversations and the larger request for DOJ to ask the Census

Bureau to add a citizenship question to the Decennial Census. Gore Dep. at 67, 150.

491. Mr. Gore is not aware of any communications between DOJ and the Census Bureau about

whether or not adding a citizenship question to the census would in fact produce data that has

smaller margins of error than the citizenship data currently used by DOJ, due to required

disclosure avoidance techniques. Gore Dep. at 228, 233–234.

492. The December 12 Letter requests the addition of a citizenship question on the basis of

VRA enforcement, and provides no other justification. PX-32 (AR); PX-101 (AR); PX-1 at AR

663 (AR); Gore Dep. at 22, 24–25, 164.

493. Mr. Gore admitted that he did not know whether citizenship data produced from the

census questionnaire would in fact be better for purposes of VRA enforcement than citizenship

data that DOJ already had, undermining the sole justification offered in the December 12 letter.

Although Mr. Gore authored the letter to the Census Bureau stating that the “decennial census

questionnaire is the most appropriate vehicle” for collecting “reliable” data about citizen voting

age population for purposes of enforcing the VRA, PX-32, Mr. Gore does not know whether

citizen voting age population data produced from the census questionnaire would in fact be

“more precise than the CVAP data on which DOJ is currently relying for purposes of VRA

enforcement.” Gore Dep. at 233.

494. The December 12 Letter represents DOJ’s and Attorney General Session’s final decision

and statement of position with respect to the issue of a citizenship question on the Census. Gore

Dep. at 162-163 (objection).




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       G.      The Census Bureau Consistently Recommended Against Adding a
               Citizenship Question (December 2017 - March 2018)

495. As set forth below, the Census Bureau repeatedly advised the Secretary and the

Commerce Department against the addition of a citizenship question. The Census Bureau

specifically recommended that DOJ’s request for block level citizenship data could be best

satisfied by administrative records without asking a question about citizenship. The Census

Bureau advised, based on scientific analysis, that the addition of a citizenship question would be

very costly and result in a poorer quality census count. In addition, the Census Bureau advised

that using responses to a citizenship question in conjunction with administrative records, would

result in poorer quality citizenship data than from just relying on administrative records. At no

point in the process did the Secretary or the Department of Commerce present any contrary

technical or scientific information to the Census Bureau.

496. Following the December 12 Letter, Undersecretary Kelley directed her assistants to notify

the leadership of the Census Bureau, who were then attending a Federal Economic Statistical

Committee Meeting, that they needed to convene the appropriate personnel to review that

proposal. Kelley Dep. at 145:12-148:7.

497. Director Jarmin then notified the senior professional staff that it would be necessary for

the Census Bureau to evaluate the merits of adding a citizenship question to the 2020 Decennial

Census. Jarmin Dep. (Docket No. 511-2) at 60:21-62:10.

498. In particular, Director Jarmin emailed Dr. John Abowd directing him to assemble a team

of census experts to evaluate and formulate a response to DOJ’s request. PX-3 at AR 3364 (AR);

Nov. 13 Trial Tr. at 879-80.

499. Prior to being notified in December, Dr. Abowd and other members of the senior staff of

the Census Bureau had not been advised that Secretary Ross was considering adding a



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citizenship question to the 2020 Decennial Census. Nov. 13 Trial Tr. at 879. Acting Director

Jarmin was aware of the impending request “not much more than a couple of weeks” before the

December 12 Letter. Jarmin Dep. (Docket No. 511-2) at 24:20-25:2.

500. Dr. Abowd directed senior professional staff at the Census Bureau (nicknamed the

“SWAT Team”), to formulate a response to the suggestion that a citizenship question be added,

which Dr. Abowd managed and reviewed. PX-74 (AR); PX-4 at AR 9339 (AR); PX-147 (AR);

PX-100 (AR); PX-22 (AR), PX-132 (AR); PX-162 (AR); Nov. 13 Trial Tr. at 879, 880.

501. In a series of technical reports, responses to questions posed by Secretary Ross, and other

briefing documents, Census Bureau repeatedly and consistently recommended against the

addition of a question. PX-147 (AR); PX-100 (AR); PX-22 (AR), PX-132 (AR); PX-162 (AR);

PX-297 at RFA 1; Census Bureau 30(b)(6) Dep. Vol. II. (Docket No. 502-4) at 409:16-410:2,

432:21-433:3.

502. This recommendation has not changed. PX-297 at RFA 6, 107; Census Bureau 30(b)(6)

Dep. Vol. II. at 409:16-410:2, 432:21-433:3; Kelley Dep. at 179:3-13, 207:19-213:20; Nov. 13

Trial Tr. at 878-79, 967.

503. The Census Bureau repeatedly and consistently concluded that adding the question would

reduce self-response rates, harm the overall data and integrity of the Decennial Census, and serve

no useful purpose. PX-147; PX-100; PX-22, PX-132; PX-162; Nov. 13 Trial Tr. at 881, 891-92,

922, 952-53.

504. The assessment has not changed. Kelley Dep. at 212:7-213:20; PX-297 at RFA 6; Nov. 13

Trial Tr. at 881, 891-92, 922, 952-53.

505. The Census Bureau repeatedly and consistently concluded that the stated goals of DOJ

with respect to enforcement of the VRA could be accomplished, in a less costly and more




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effective manner, by linking Census responses to other administrative data sets available to the

federal government. PX-147 (AR); PX-100 (AR); PX-22 (AR); PX-132 (AR); PX-162 (AR);

Kelley Dep. at 258:1-12; Census Bureau 30(b)(6) Dep. Vol. II. at 409:16-410:2; Nov. 13 Trial

Tr. at 961-62, 990.

506. This conclusion has not changed. Kelley Dep. at 174:20-177:7; Nov. 13 Trial Tr. at 990.

507. The Census Bureau does not believe that inclusion of a citizenship question is necessary

to provide complete and accurate data in response to DOJ's request. PX-22 (AR); Census Bureau

30(b)(6) Dep. Vol. I. (Docket No. 502-2) at 331:8-17; Nov. 13 Trial Tr. at 1048.

508. This position has not changed. Nov. 13 Trial Tr. at 1048.

509. The Census Bureau repeatedly and consistently concluded that adding a citizenship

question would involve substantial additional cost over non-action and the use of administrative

records. PX-147 (AR); PX-100 (AR); PX-22 (AR), PX-132 (AR); PX-162 (AR); Nov. 13 Trial

Tr. at 961-62, 990; Nov. 14 Trial Tr. at 1249-1250.

510. This position has not changed. Kelley Dep. at 167:16-168:5; PX-297 at RFA 6; Nov. 14

Trial Tr. at 1249-1250.

511. Dr. Abowd and the Census Bureau maintains that the Census Bureau produced “credible,

quantitative evidence” that the addition of a citizenship question to the 2020 Census could be

expected to lower the self-response rate in households that may contain non-citizens, which is an

identifiable and large subpopulation. PX-22 (AR); Nov. 13 Trial Tr. at 881, 918, 921-22, 923.

512. Moreover, Dr. Abowd and the Census Bureau maintain that the natural experiment

reflected in the various memoranda submitted to Secretary Ross represent a sufficiently reliable

basis, and the best available evidence, for the Census Bureau to perform a quantitative estimate

of the effects of putting a citizenship question on the census. Nov. 13 Trial Tr. at 926.




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513. Dr. Abowd and the Census Bureau maintain that the balance of evidence available

suggests that adding a citizenship question to the 2020 Decennial Census would lead to a lower

self-response rate in households potentially containing noncitizens. Nov. 13 Trial Tr. at 881.

       H.      The Census Bureau Repeatedly Communicated Its Recommendation Against
               Adding a Citizenship Question to Secretary Ross (December 2017 - March
               2018)

514. The Census Bureau analyses and recommendations regarding inclusion of a citizenship

question in the 2020 Decennial Census are memorialized in memoranda dated December 22,

2017 (PX-102 (AR); PX-147 (AR)), January 3, 2018 (PX-100 (AR)), January 19, 2018 (PX-22

(AR); PX-575 (AR); PX-572 (AR)), March 1, 2018 (PX-25 (AR); PX-132 (AR)), and August 6,

2018 (PX-162)).

515. These memoranda all presented analysis that the addition of a citizenship question was not

necessary to meet the DOJ request, and that there were alternatives that were less costly and less

burdensome. PX-102 (AR); PX-147 (AR); PX-100 (AR); PX-22 (AR); PX-575 (AR); PX-572

(AR); PX-25 (AR); PX-132 (AR); PX-162.

516. Census Bureau had a single meeting with Secretary Ross on February 12, 2018, to discuss

the memorandum of January 19, 2018. PX-3 at AR 9450 (AR); Nov. 13 Trial Tr. at 883-84.

517. At that meeting, the Census Bureau informed Secretary Ross the Census Bureau observed

a difference in self-response rates on the ACS and the census when comparing citizen and non-

citizen households and thought that this probably related to the citizenship question on the ACS.

Nov. 13 Trial Tr. at 922.

518. The Census Bureau prepared an undated additional memorandum to expound on the data

quality issues discussed in the memo of March 1, 2018. PX-24 (AR).




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519. These memoranda and communications use a common nomenclature for four possible

alternative responses to the December 12 Letter. PX-147 (AR); PX-100 (AR); PX-22 (AR); PX-

132 (AR); PX-162; Nov. 13 Trial Tr. at 885.

520. “Alternative A” refers to the Census Bureau making no changes to data collection and

continuing to use ACS data to produce census track-level CVAP data. PX-147 (AR); PX-100

(AR); PX-22 (AR); PX-132 (AR); PX-162; Nov. 13 Trial Tr. at 885.

521. “Alternative B” refers to the addition of a citizenship question to the 2020 Decennial

Census to manufacture census block-level CVAP data. PX-147 (AR); PX-100 (AR); PX-22

(AR); PX-132 (AR); PX-162; Nov. 13 Trial Tr. at 885.

522. “Alternative C” refers to the use of existing administrative records available to the Census

Bureau to obtain census block-level CVAP data and linking those records to enumeration on the

2020 Decennial Census to populate citizenship data without the use of a citizenship question.

PX-147 (AR); PX-100 (AR); PX-22 (AR); PX-132 (AR); PX-162; Nov. 13 Trial Tr. at 885.

523. “Alternative D” refers to the use of administrative records in concert with the addition of a

citizenship question to the 2020 Decennial Census to produce census block-level CVAP data.

PX-132 (AR); Nov. 13 Trial Tr. at 965.

               1.     The Attorney General Directs the Department of Justice to Rebuff the
                      Census Bureau’s Attempts to Discuss the December 12 Letter

524. Throughout December 2017 and January 2018, the professional staff at the Census Bureau

sought to meet with representatives of DOJ to understand their request and to satisfy the goals of

DOJ. PX-71 (AR); PX-4 at AR 8651 (AR); Jarmin Dep. (Docket No. 511-2) at 64:17-18.

525. After a number of attempts, however, the Census Bureau was advised by DOJ that they

did not wish to meet to discuss the proposal. Jarmin Dep. (Docket No. 511-2) at 105:11-15; PX-

297 at RFA 200.



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526. Director Jarmin provided an initial response to DOJ on December 22, 2018 advising Mr.

Gary that “the best way to provide PL94 block-level data with citizen voting population by race

and ethnicity would be through utilizing a linked file of administrative and survey data the

Census Bureau already possesses. This would result in higher quality data produced at a lower

cost.” PX-71 (AR); PX-200; PX-197; PX-297 at RFA 184; Census Bureau 30(b)(6) Dep. Vol. I.

at 85:1-15; Nov. 13 Trial Tr. at 961-62.

527. In his December 22, 2017, correspondence, Director Jarmin suggested a “meeting of

Census and DOJ technical experts to discuss the details of this proposal.” PX-71 (AR); PX-101

(AR); PX-200; PX-297 at RFA 189.

528. On January 2, 2018, Director Jarmin sent a follow-up email to Mr. Gary requesting for a

meeting on the following week. PX-101 (AR); PX-4 at AR 5490 (AR); PX-199.

529. On January 9, 2018, Director Jarmin emailed Mr. Gary and again requested to meet,

stating that they “have a pretty short clock to resolve the request” and that it would be “good to

meet with your team as soon as possible.” PX-198.

530. On January 10, Director Jarmin wrote back, agreeing to meet at Main Justice on Friday,

January 19 at 11 AM. PX-197.

531. Mr. Gore discussed with Mr. Gary in January of 2018 that the Census Bureau had an

alternative means of producing block-level CVAP data other than the addition of a citizenship

question. Gore Dep. at 263:8-18 (objection (802)). In that conversation, Mr. Gary told Mr. Gore

that the Census Bureau had requested a meeting and Gore told Gary that he would think about it

and discuss it further with others. Id. at 264:16-20 (objection (802)). Gore did not ask Gary to

get more information from the Census Bureau about the specifics of their alternative proposal to

produce higher-quality CVAP data at lower cost. Id. at 268:12-19. Mr. Gore also discussed this




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with several DOJ officials, including with Attorney General Sessions at an in-person meeting.

Gore Dep. at 265:12-22, 268:20-269:3.In January 2018, Attorney General Sessions decided that

DOJ would not pursue the Census Bureau’s alternative proposal for producing block-level

CVAP data. Id. at 271:10-272:19.

532. Around January 29, 2018, Gore informed Gary that DOJ technical staff would not meet

with Census Bureau staff to discuss the alternative proposal for producing higher-level CVAP

data at lower cost. Gore Dep. at 273:17-274:4.

533. On February 16, 2018, almost two months after Director Jarmin had first suggested the

technical meeting to DOJ, he reported the Census and Commerce staff that Gary “has spoken to

DOJ leadership. They believe the letter requesting citizenship to be added to the 2020 Census

fully describes their request. They do not want to meet.” PX-3 at AR 3460; PX-4 at AR 09074;

Census Bureau 30(b)(6) Dep. Vol. I. at 98:9-20.

534. Attorney General Sessions made the decision by DOJ not to meet with the Census Bureau

and to hear the Census Bureau’s alternative proposal for producing block-level CVAP data was

made by Attorney General Sessions. Gore Dep. at 271:21-272:13.

535. No meeting between the Census and DOJ technical experts took place before issuance of

the Ross Decision Memo on March 26, 2018. Census Bureau 30(b)(6) Dep. Vol. I. at 96:3-9;

PX-297 at RFA 170, 195, 196; Gore Dep. at 259:5-11.

536. It is normal process for the Census Bureau to hold a technical meeting with the agency

requesting additional data to discuss the best way to deliver usable data for a particular use case.

Nov. 14 Trial Tr. at 1248.




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537. Mr. Gore testified he is unaware of any other circumstance where DOJ asked the Census

Bureau to collect data but then refused to have a technical meeting to discuss that data request.

Gore Dep. at 282:4-10.

538. Dr. Abowd testified that he was unaware of another circumstance in which a Cabinet

Secretary personally directed agency staff not to meet with the Census Bureau, and that this

refusal was “unusual.” Nov. 13 Trial Tr. at 962-65.

539. Dr. Abowd also testified that Attorney General Sessions’ decision to prevent a meeting

between DOJ technical staff and Census Bureau staff constituted “political influence” on the

decisionmaking process. Nov. 14 Trial Tr. at 1267-68.

540. Former Census Bureau Director John Thompson described input from subject matter

experts, usually consisting of “staff from both the Census Bureau and the requesting agency,” as

“essential to the development of a new question,” stating that “[t]hese experts help ensure that

the Census Bureau has a clear understanding of the desired uses of the new data so that the new

question can be worded to achieve the desired outcome.” Thompson Aff. ¶ 60.

541. Dr. Hermann Habermann similarly described meetings with a requesting agency, such as

the meeting Director Jarmin requested with DOJ on December 22, 2017, as “normal Census

Bureau procedure. [Such a meeting] allows the technical experts to better understand how the

Census Bureau can meet the needs of the proposers. It also allows for a discussion of alternative

ways of meeting a request. In this case, the Census Bureau suggested that modeling of the

American Community Survey data would meet the DOJ needs at less cost than adding a question

to the Decennial Census. Without such a meeting, it would not be possible to know if the

modeling approach would in fact meet the DOJ’s needs.” Habermann Aff. ¶¶ 28-29.




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542. It is unusual for the Census Bureau to receive a data request and then for the agency to

refuse to meet to discuss the technical aspects of that data request. Census Bureau 30(b)(6) Dep.

Vol. I. at 98:21-99:6. The Census Bureau is not aware of any instance, other than the request to

add a citizenship question to the Decennial Census questionnaire, in which the DOJ has

requested data from the Census Bureau and then declined to meet to discuss that request. PX-

297 at RFA 201. Defendants have identified no reason, legitimate or otherwise, for the DOJ not

to take this meeting. The only reasonable inference is that the DOJ had no interest in

cooperating with the Census Department to find the best solution since that might have resulted

in a determination that it was unnecessary to ask a citizenship question on the census. This much

is clear from the facts in the Administrative Record. The fact that the decision not to hold a

technical meeting about how to best satisfy the DOJ’s needs was made by the Attorney General

confirms that this was a political decision, not driven by a legitimate need for the data..

               2.      Census Bureau Analyses Recommended Against the Addition of a
                       Citizenship Question

543. On or about December 15, 2017, Dr. Abowd directed senior executives and expert

employees of the Census Bureau to evaluate alternative methods of providing estimates of the

Citizen Voting Age Population to support redistricting under Public Law 94 -171 (PL94) and

Section 2 of the VRA. PX-4 at AR 9339; PX-147 (AR); Nov. 13 Trial Tr. at 879-80.

                       a.      December 22 Memo (PX-147)

544. This evaluation is reflected in a memorandum dated December 22, 2017 and provided to

the Commerce Department (the “December 22 Memo”). PX-4 at AR 9339 (AR); PX-4 at AR

11634 (AR); PX-147 (AR); Nov. 13 Trial Tr. at 948-49.

545. The December 22, 2017 Memorandum, reflected the work of six professional Census

Bureau employees, Michael Berning, J. David Brown, Misty Heggeness, Shawn Klimek,



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Lawrence Warren, and Moises Yi, who analyzed two potential sources of citizenship data

requested by the DOJ in its December 12, 2017 letter to Director Jarmin. PX-147 (AR).

546. The December 22 Memo identified eight administrative sources of citizenship information

either already in use by the Census Bureau or available for acquisition by the Census Bureau.

PX-147 at 3 (AR).

547. The December 22 Memo concludes that Numident, an administrative source already in

use by the Census Bureau was “the most complete and reliable administrative record source of

citizenship data currently available.” PX-147 at 3 (AR).

548. The December 22 Memo concluded that using these administrative records to assess

CVAP was “potentially a more accurate measure of citizenship” and was also “cost efficient.”

PX-147 at 11 (AR).

549. The December 22 Memo concluded that including a citizenship question in the 2020

Decennial Census could affect response rates for the 2020 Decennial Census because

“[h]ouseholds with noncitizens could be particularly sensitive to the inclusion of citizenship

questions.” PX-147 at 6 (AR).

550. The December 22 Memo concluded that “[t]o collect [citizenship] information through

self -report by adding questions to the 2020 decennial would require additional unnecessary costs

and burden to the Bureau.” PX-147 at 11 (AR).

551. The December 22 Memo concluded that including a citizenship question in the 2020

Decennial Census could lower the rate of voluntary compliance and would require expanded

field operations for the implementation of the 2020 Decennial Census. PX-147 at 12 (AR).

552. Accordingly, the Census Bureau’s December 22 Memo recommends that the best way of

“supporting redistricting in the manner requested by the Department of Justice is to make a




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citizenship variable available on the 2020 Census Edited File (CEF), the internal, confidential

data file from which the PL94 tabulations are produced. PX-147 at 11 (AR).

553. If citizenship were available on that file, the PL94 tabulations could be restructured to

include direct estimates of the citizen voting age population by race and ethnicity at the block

level. PX-147 at 11 (AR).

554. “These tabulations would have essentially the same accuracy as current PL94 and

Summary File (SF1) data.” PX-147 at 11 (AR).

555. The December 22 Memo concluded that, if this recommendation were followed, “[t] he

2020 Census questionnaire would not be altered, and the field operations would not have to be

expanded to compensate for the lower rate of voluntary compliance predicted for a census that

asks the citizenship question directly.” PX-147 at 12 (AR).

556. After receiving this memo, Director Jarmin sent the initial response to Mr. Gary described

above advising Mr. Gary that “the best way to provide PL94 block-level data with citizen voting

population by race and ethnicity would be through utilizing a linked file of administrative and

survey data the Census Bureau already possesses. This would result in higher quality data

produced at a lower cost.” PX-71 (AR).

                       b.     January 3 Memo (PX-100)

557. Following the December 22 Memo and Director Jarmin’s email to Mr. Gary, the Census

Bureau further memorialized its research and analysis of potential sources of citizenship data in a

January 3, 2018 memorandum from Dr. Abowd to Director Jarmin (hereinafter the “January 3

Memo”). PX-100 (AR).

558. The January 3, 2018 Memo analyzed the same three alternative methods of meeting DOJ

request for census block level estimates of the citizen voting age population (“CVAP”). PX-100

(AR).


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559. The January 3 Memo concludes that Alternative A—maintaining the status quo and

providing improved statistical modeling techniques—would result in only an incremental cost of

approximately $200,000. PX-100 (AR).

560. The January 3 Memo concludes that Alternative B—adding a citizenship question to the

2020 Decennial Census—would increase the cost of the 2020 Decennial Census by at least $27.5

million. PX-100 (AR).

561. The January 3 Memo concludes that Alternative B would also increase non-response rates

by at least 5.1%. PX-100 (AR).

562. January 3 Memo did not consider the potential cost of additional communication

campaigns required as a result of the addition of a citizenship question to the 2020 Decennial

Census under Alternative B. PX-100 (AR).

563. The January 3 Memo did not recommend Alternative B because adding a citizenship

question to the Decennial Census would decrease the coverage quality of the 2020 Decennial

Census and could result in at least 154,000 fewer correct enumerations. PX-100 (AR).

564. The January 3 Memo concludes that Alternative C—using administrative sources to

provide CVAP at a census block level—would result in an incremental cost of less than $1

million. PX-100 (AR).

565. In the January 3 Memo, the Census Bureau recommends using Alternative C because it

was far less costly than adding a citizenship question to the 2020 Decennial Census, and would

not harm the quality of the census count. PX-100 (AR).

566. On January 4, 2018, Dr. Abowd wrote to various census officials, including Director

Jarmin, that “Ron reports that he has discussed this with the Under Secretary and she agrees with




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the recommendation of alternative C, but Alternative A remains a possibility as well.” PX-121

(AR).

                       c.      January 19 Memo (PX-22)

567. On January 19, 2018, Dr. Abowd sent a memorandum to Secretary Ross on the “Technical

Review of the Department of Justice Request to Add Citizenship Question to the 2020 Census”

(hereinafter “January 19 Memo”). PX-22 (AR); PX-297 at RFA 7; Nov. 13 Trial Tr. at 884-85.

568. The January 19 Memo was prepared by a technical team of census experts under Dr.

Abowd’s supervision. Nov. 13 Trial Tr. at 882-83.

569. The January 19 Memo presents the view of Dr. Abowd and his technical team evaluating

Alternatives A, B and C. PX-22 (AR); Nov. 13 Trial Tr. at 882-83.

570. The January 19 Memo was reviewed and approved by Director Jarmin. Nov. 13 Trial Tr.

at 883.

571. In the January 19 Memo, the Census Bureau concluded that adding a citizenship question

to the Decennial Census, “is very costly, harms the quality of the census count, and would use

substantially less accurate citizenship status data than are available from administrative sources.”

PX-22 (AR); Nov. 13 Trial Tr. at 885.

572. The January 19 Memo further concluded that a citizenship question “would make the

2020 Census modestly more burdensome in the direct sense and potentially much more

burdensome in the indirect sense in that it would lead to a larger decline in self-response for

noncitizen households” PX-22 (AR); Nov. 13 Trial Tr. at 882-83; Nov. 13 Trial Tr. at 892.

573. Further, the Census Bureau concluded that Alternative C “is comparatively far less costly

than Alternative B, does not increase response burden, and does not harm the quality of the

census count.” PX-22 (AR); Nov. 13 Trial Tr. at 886.




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574. Instead of adding a citizenship question, the January 19 Memo recommended either

Alternative A (making no changes) or Alternative C (using Administrative Records to provide

DOJ with block-level CVAP data). PX-22 (AR); Nov. 13 Trial Tr. at 885-86.

575. In preparing the January 19 memo, the Census Bureau performed three analyses

supporting the conclusion that the addition of a citizenship question would have an adverse

impact on self-response. PX-22 (AR); PX-297 at RFA 18; Nov. 13 Trial Tr. at 885, 890-91.

576. In the January 19 Memo, the Census Bureau analyzed unit non-response, item non-

response, and break-off rates. PX-22 (AR); Nov. 13 Trial Tr. at 887.

577. According to Defendants’ sole expert, Dr. Abowd, all three analyses (unit self-response,

item self-response, and break-off rates) were appropriate to support the Census Bureau’s

conclusion that using administrative record would be a better option for producing block-level

CVAP data for VRA enforcement as compared to the addition of a citizenship question to the

census. Nov. 13 Trial Tr. at 890.

578. All three analyses supported the conclusion that the addition of a citizenship question

would have an adverse impact on self-response. PX-22 (AR); Nov. 13 Trial Tr. at 890-91.

579. For unit self-response, the Census Bureau developed a cautious estimate that 5.1% of

households with at least one noncitizen would not self-respond to the 2020 Census questionnaire

because of a citizenship question. PX-22 (AR); PX-297 at RFA 13; Nov. 13 Trial Tr. at 891-92.

580. The 5.1 % estimate was derived by comparing 2010 ACS data, that was not adjusted or

weighted, to 2010 Decennial Census data. PX-22 (AR); PX-297 at RFA 14; Nov. 13 Trial Tr. at

891-92.

581. The January 19 Memo find that it “is therefore a reasonable inference that a question on

citizenship would lead to some decline in overall self-response because it would make the 2020




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census modestly more burdensome in the direct sense and potentially much more burdensome in

the indirect sense that it would lead to a larger decline in self-response for noncitizen

households.” PX-22 (AR); Nov. 13 Trial Tr. at 892.

582. The 5.1% unit non-response estimate based on 2010 data represented a substantial

increase from the 3.3% unit non-response estimate based on 2000 data, which reflects increasing

non-response rates overall. PX-22 (AR); Nov. 13 Trial Tr. at 888.

583. According to the Census Bureau, the 5.1% estimate is “conservative” because “the

differences between citizen and noncitizen response rate and data quality will be amplified

during the 2020 Census compared to historical levels. Hence the decrease in self-response for

citizen households in 2020 could be much greater than the 5.1 percentage points we observed

during the 2010 Census.” PX-22 (AR).

584. The Census Bureau has since updated this estimate to 5.8% in the so-called “Brown

Memo” of August 6, 2018. PX-162 (AR); PX-297 at RFA 24; PX-22 (AR); Nov. 13 Trial Tr. at

895-96.

585. The analysis of unit non-response data included in the January 19 Memo applies equally

to Alternative B, the subject of the January 19 Memo, and Alternative D, the subject of the

March 1 Memo. Nov. 13 Trial Tr. at 953.

586. In the January 19 Memo, the Census Bureau also analyzed the item non-response rate on

the citizenship question on the 2013-2016 ACS, comparing again non-citizen household against

citizen households. PX-22 (AR); Nov. 13 Trial Tr. at 905-06, 910-911.

587. For non-Hispanic whites, item non-response to the mail-in ACS ranged from 6.0% to

6.3% and item non-response to the internet ACS was 6.2%. PX-22 (AR); Nov. 13 Trial Tr. at

906.




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588. Item non-response rate on the citizenship question on for Hispanics ranged from 11.6% to

12.3% on mail-in ACS and 15.5% on the internet ACS. PX-22 (AR); Nov. 13 Trial Tr. at 906-

07.

589. For non-Hispanic whites, there was little change in item non-response rates over time.

But, for Hispanics, the item non-response rates increased. Nov. 13 Trial Tr. at 910.

590. The January 19 memo also reported break-off rate data showing that the ACS citizenship

question was more sensitive for Hispanics than for non-Hispanic whites. Specifically, the

breakoff rate on the citizenship question on the 2016 ACS for Hispanics was 8 times that of non-

Hispanic whites. PX-22 (AR); Nov. 13 Trial Tr. at 914.

591. Once 2017 ACS data became available, the Census Bureau further found that citizenship

question breakoff rate on the 2017 ACS for Hispanics was more than 12 times what it is for non-

Hispanic whites. PX-9 (AR); Nov. 13 Trial Tr. at 916-17.

592. In light of the unit non-response, item non-response, and break-off rate evidence, the

Census Bureau concluded that Hispanics will respond to a citizenship question at lower rates

than non-Hispanic whites. Nov. 13 Trial Tr. at 917-18.

593. Dr. Abowd testified that insofar as the Hispanic population is correlated to the non-citizen

population, the Hispanic population will respond to a citizenship question as lower rates than the

non-Hispanic population. Nov. 13 Trial Tr. at 917-920.

594. Dr. Abowd testified that the Hispanic population is “highly correlated” to the non-citizen

population. Nov. 13 Trial Tr. at 920.

595. In the January 19 Memo, the Census Bureau also concluded that adding a citizenship

question to the 2020 Decennial Census would lead to major potential quality and cost

disruptions. PX-22 (AR); PX-297 at RFA 8, 16; Nov. 13 Trial Tr. at 950-52.




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596. In the January 19 Memo, the Census Bureau concluded that the addition of a citizenship

question on the 2020 Decennial Census would increase the cost of the 2020 Decennial Census by

at least $27.5 million. PX-22 (AR); PX-297 at RFA 15; Nov. 13 Trial Tr. at 951.

597. The January 19 Memo describes the estimate of $27.5 million as “conservative” and a

“lower bound estimate.” PX-22 (AR); Nov. 13 Trial Tr. at 951.

598. The January 19 Memo cost estimates are conservative because “the differences between

citizen and noncitizen response rate and data quality will be amplified during the 2020 Census

compared to historical levels.” Nov. 13 Trial Tr. at 952.

599. Moreover, the January 19 Memo cost estimates do not account for increased

communications costs. Nov. 13 Trial Tr. at 952.

600. At trial, Dr. Abowd testified that the Census Bureau’s current best conservative estimate

of increased costs associated with the addition of a citizenship question is now $82.5 million.

Nov. 14 Trial Tr. at 1249-50.

601. In contrast to this figure, the January 19 Memo concluded that using administrative

records would only cost between $500,000 and $2,000,000. PX-22 (AR).

602. In the January 19 Memo, the Census Bureau concluded that addition of a citizenship

question to the Decennial Census would increase respondent burden. PX-22 (AR); PX-297 at

RFA 9; Nov. 13 Trial Tr. at 892.

603. In the January 19 Memo, the Census Bureau concluded that addition of a citizenship

question to the Decennial Census harm the quality of the census count. PX-22 (AR); PX-297 at

RFA 10; Nov. 13 Trial Tr. at 952-53.

604. The reduction in data quality largely comes from the fact that more response will be

acquired through NRFU, which produces a lower quality count. Nov. 13 Trial Tr. at 953.




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605. In the January 19 memo, the Census Bureau also concluded that addition of a citizenship

question would result in substantially less accurate citizenship data than are available from

administrative sources. PX-22 (AR); PX-297 at RFA 11; Nov. 13 Trial Tr. at 952-3.

606. Dr. Abowd and the Census Bureau determined that, for people whom the administrative

records indicate are noncitizens, there is disagreement between the administrative records and

the survey responses between 30 and 37 percent of the time. PX-22 (AR); Nov. 13 Trial Tr. at

956. Dr. Abowd and the Census Bureau believe that in the case of such disagreements, the

administrative records are more likely to be correct. PX-22 (AR); Nov. 13 Trial Tr. at 956.

607. The Census Bureau has no empirical basis to believe that noncitizens who respond to a

citizenship question on the Census will respond more accurately than they do to the citizenship

question on the ACS. Census Bureau 30(b)(6) (Abowd) Vol. I. (8/29/18) at 93:11-17; Nov. 13

Trial Tr. at 956-57.

608. And, in fact, the Census Bureau believes that there are “definitely indications” that

responses by noncitizens to a citizenship question on the 2020 Census will be less even accurate

than they have historically been on the ACS. Census Bureau 30(b)(6) (Abowd) Vol. I. (8/29/18)

at 93:18 - 94:7; Nov. 13 Trial Tr. at 957.

609. If the Census Bureau utilized administrative records as recommended in Alternative C, the

issue of responses that conflict with records would not be an issue, and the results would be more

accurate. Nov. 13 Trial Tr. at 957-58.

610. Moreover, the January 19 Memo concluded that many noncitizen households would

require six or more NRFU visits. PX-22 (AR); PX-297 at RFA 19.




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                          d.   35 Questions from Commerce and Commerce’s Edits to
                               Question 31

611. Following the January 19 Memo, senior aides to Secretary Ross including Mr. Comstock,

Mr. Ulthmeier, and Mr. Langdon developed a set of 35 questions for the Census Bureau to

answer about the January 19 analysis. PX-545 (AR); Nov. 13 Trial Tr. at 1004: 19-25.

612. These questions covered overall inquiries as well as questions directed to each of the three

Alternatives addressed in the January 19 Memo. PX-545 (AR).

613. On January 29, 2018, Secretary Ross sent an email to Ms. Teramoto alone with the subject

“Census” and asked, “Please arrange a quick update for me tomorrow.” PX-56 (AR).

614. The set of 35 questions was sent to the Census Bureau on January 30, 2018. PX-545

(AR).

615. The Census Bureau responded to these questions through Dr. Abowd and Mr. Reist. Nov.

13 Trial Tr. at 1005.

616. The Census Bureau provided responses to these questions on a running basis. Nov. 13

Trial Tr. at 1005:8-22.

617. Dr. Abowd testified that he maintained the “control” or “master” copy of the responses to

these questions that represent the final and official position of the Census Bureau, as Dr. Abowd

understood them. Nov. 13 Trial Tr. at 1010-11.

618. Mr. Reist provided an initial set of responses to Earl Comstock on February 2, 2018,

noting that some following up was being requested for the Question 30. PX-42 (AR); PX-43

(AR).

619. Commerce requested clarifications and changes to some of these questions in an iterative

process. Nov. 13 Trial Tr. at 1013-14; PX-14 (AR).




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620. Dr. Abowd provided a final set of responses with his memorandum of March 1, 2018. PX-

132 (AR).

621. In response to these questions, the Census Bureau indicated, in response to Question 10,

that the increased burden on the NRFU process as a result of adding a citizenship question would

be a “significant concern” because “it gives rise to incremental NRFU cost of at least $27

million,” that that figure was a “lower bound,” and that the increased follow-up costs of

households affected by a citizenship question would be greater than average “because these

households overwhelmingly contained at least one non-citizen and that it is one of our

acknowledged hard-to-count subpopulations.” PX-23 (AR); PX-43 (AR); PX-132 (AR).

622. The Census Bureau staff further stated, in response to Question 13, that they were

“confident that Alternative C is viable and that we have already ingested enough high-quality

citizenship data from SSA and IRS.” PX-23 (AR); PX-43 (AR); PX-132 (AR).

623. Although some of the Census Bureau answers were then revised in various ways, these

two conclusions were never revised. PX-23 (AR); PX-43 (AR); PX-132 (AR); Kelley Dep.

at 229:18-233:5, 233:11-235:2.

624. However, in the case of one question (Question 31), senior aides to Secretary Ross

replaced the answer provided by Census Bureau experts and approved by Dr. Abowd. Park-Su

Dep. at 142:6-21; Nov. 13 Trial Tr. at 1006-14.

625. Question 31 asked: “What was the process that was used in the past to get questions added

to the decennial Census or do we have something similar where a precedent was established?”

PX-23 (AR); PX-43 (AR); PX-132 (AR); PX-140 (AR).

626. Victoria Velkoff, Chief of the American Community Survey Office at the U.S. Census

Bureau, originally drafted an answer to this question on behalf of the Census Bureau, which




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stated, “The Census Bureau follows a well-established process when adding or changing content

on the census or ACS to ensure the data fulfill legal and regulatory requirements established by

Congress. Adding a question or making a change to the Decennial Census or the ACS involves

extensive testing, review, and evaluation. This process ensures the change is necessary and will

produce quality, useful information for the nation” and went on to describe the “formal process

for making content changes” laid out by the Census Bureau and the Office of Management and

Budget. PX-43 (AR); PX-132 (AR); PX-140 (AR); PX-4 at AR 7644 (AR).

       a.      The first step in the formal process is that “federal agencies evaluate their data

               needs and propose additions or changes to current questions through OMB.” PX-

               140 (AR).

       b.      The next step is that “[i]n order to be included, proposals must demonstrate a

               clear statutory or regulatory need for data at small geographies or for small

               populations.” PX-140 (AR).

       c.      The next step is that “[f]inal proposed questions result from extensive cognitive

               and field testing to ensure they result in proper data, with an integrity that meets

               the Census Bureau’s high standards.” PX-140 (AR).

       d.      The next step is that the “process includes several opportunities for public

               comment.” PX-140 (AR).

       e.      The next step is that “the final decision is made in consultation with OMB.” PX-

               140 (AR).

627. The description of the “well-established” process in the Census Bureau’s response to

Question 31 is consistent with other Census Bureau documents describing the process to add a




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question or change the content of the Decennial Census. PX-4 at AR 9687, AR 3890, AR 3560

(AR); PX-271.

628. The Census Bureau’s final version of Question 31 was transmitted to the Department of

Commerce on March 1, 2018. PX-132 (AR); Nov. 13 Trial Tr. at 1012:13-1014:13.

629. The Census Bureau’s final version of Question 31 contained the steps listed above. PX-

132 (AR); Nov. 13 Trial Tr. at 1006:20-1007:6.

630. Commerce Department personnel revised the language of Question 31. PX-14 (AR); Park-

Su Dep. at 142:6-21.

631. The Commerce Department’s revision to Question 31 was drafted by Deputy General

Counsel Mike Walsh. PX-14 (AR); Park-Su Dep. at 142:6-21.

632. On February 23, 2018, Sahra Park-Su, former Senior Policy Advisor at the Department of

Commerce, typed up Mr. Walsh’s revision. PX-14 (AR); Park-Su Dep. at 142:19-143-1.

633. The answer to Question 31, as revised by Mr. Walsh and Ms. Park-Su read: “No new

questions were added to the 2010 Decennial Census, so there is no recent precedent for

considering a request to add questions to a Decennial Census. Consistent with longstanding

practice for adding new questions to the ACS survey, the Census Bureau is working with

relevant stakeholders to ensure that legal and regulatory requirements are fulfilled and that the

question would produce quality, useful information for the nation. As you are aware, that process

is ongoing. Upon its conclusion, you will have all of the relevant data at your disposal to make

an informed decision about the pending request from the Department of Justice.” PX-14 (AR).

634. The final version of the response to Question 31 included in the original administrative

record was further modified to contains the following language: “Because no new questions have

been added to the Decennial Census (for nearly 20 years), the Census Bureau did not feed bound




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by past precedent when considering the Department of Justices’ request. Rather, the Census

Bureau is working with all relevant stakeholders to ensure that legal and regulatory requirements

are filled and that questions will produce quality, useful information for the nation. As you are

aware, that process is ongoing at your direction.” PX-23 (AR).

635. Dr. Abowd did not receive, review, or approve either the Park-Su (PX-14 (AR)) or

administrative record (PX-23 (AR)) versions of the response to Question 31, and neither set of

language was incorporated into Dr. Abowd’s “control” copy of the responses. Nov. 13 Trial Tr.

at 1010.

                       e.     February 12 meeting

636. Dr. Abowd discussed the January 19 Memo with Secretary Ross and others at a meeting

on February 12, 2018. PX-4 at AR 9450 (AR); Nov. 13 Trial Tr. at 883, 922.

637. In anticipation of the February 12 Meeting with Secretary Ross, Dr. Abowd had a pre-

meeting with Undersecretary Kelley early the same day. Nov. 13 Trial Tr. at 883.

638. During that meeting Dr. Abowd discussed the January 19 Memo with Undersecretary

Kelley and others and expressed the views summarized by the January 19 Memo. Nov. 13 Trial

Tr. at 883.

639. Undersecretary Kelley expressed no disagreement with Dr. Abowd and the Census

Bureau’s evaluation summarized by the January 19 Memo at their February 12 Meeting. Nov. 13

Trial Tr. at 883.

640. The meeting on February 12, 2018 was the only meeting between Secretary Ross and the

Census Bureau regarding this question. Nov. 13 Trial Tr. at 883-84.

641. Dr. Abowd expressed the views of the Census Bureau experts, as captured by the January

19 Memo at his meeting with Secretary Ross on February 12, 2018. PX-3 at AR 9450; Nov. 13

Trial Tr. at 883, 922, 959, 1017.


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642. At the February 12, 2018 meeting, Secretary Ross requested a list of stakeholders to meet

with, as well as a meeting “with [Young & Rubicam] to discuss how they would handle

messaging if citizenship is on the form,” as well as a copy of the advertisements used in the 2010

Census. PX-4 at AR 9450 (AR).

643. There is no evidence in the Administrative Record that Secretary Ross met with Young &

Rubicam to discuss the public campaign. PX-1 through PX-14 (AR).

644. Following the February 12 meeting, Census personnel attempted to set up stakeholder

meetings with supporters of adding a citizenship question. PX-3 at AR 9450 (AR); PX-70 (AR);

PX-286 (AR).

645. In February of 2017, Under Secretary Kelley worked with Director Jarmin to find

individuals that were willing to express their support for adding a citizenship question to the

Decennial Census. PX-70 (AR); PX-286 (AR); Kelly Dep. at 236:13-18.

646. On February 13, 2018, Director Jarmin wrote to an individual at the American Enterprise

Institute (AEI) that “We are trying to set up some meetings for Secretary Ross to discuss the

proposed citizenship question on the 2020 Census with interested stakeholders. Most

stakeholders will speak against the proposal. We’re looking for someone thoughtful who can

speak to the pros of adding such a question . . . .” PX-70 (AR).

647. On the same day, Michael Strain of the AEI responded that “None of my colleages at AEI

would speak favorably about the proposal.” PX-70 (AR).

648. On the same day, Director Jarmin wrote to Under Secretary Kelley that “Please see the

thread below. Appears no one at AEI is willing to speak in favor of putting question on the

2020.” PX-70 (AR).




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649. Director Jarmin later reported that Census Bureau personnel were unable to find any

supporting organizations other than individuals associated with the Center for Immigration

Studies and the Heritage Foundation. PX-1 at AR 1206, 1261 (AR); PX-3 at AR 4849 (AR);

PX-4 at AR 8325 (AR).

650. At no point at the February 12 meeting or at any other team did the Secretary or the

Commerce Department present any technical or scientific evidence contrary to that presented by

the Census Bureau. The evidence is that at no point did the Secretary or the Commerce

Department have professional expertise regarding census matters independent from that of the

Census Bureau. Comstock Dep. at 324:19–325:1; Park-Su Dep. at 57-58 (objection (vague) at

57:7); Jarmin Dep. (Docket No. 511-2) at 33-37, 59, 108 (objection (602) at 34:10-14).

                      f.     March 1 Memo (PX-25, PX-132)

651. After Dr. Abowd and the Census Bureau communicated the Census Bureau’s views

during the February 12 meeting, Secretary Ross directed the Census Bureau to consider of a

fourth alternative—Alternative D. PX-25 (AR); PX-132 (AR); Nov. 13 Trial Tr. at 965.

652. On March 1, 2018, Dr. Abowd sent an additional recommendation memorandum through

Mr. Lamas, Director Jarmin, and Undersecretary Kelley to Secretary Ross (hereinafter “March 1

Memo”). PX-25 (AR); PX-132 (AR).

653. The March 1 Memo analyzed “Alternative D” and the weaknesses in Alternative C on its

own, at the request of Secretary Ross. PX-25 (AR); PX-132 (AR).

654. In the March 1 Memo, the Census Bureau continued to recommend against addition of a

citizenship question. PX-25 (AR); PX-132 (AR).

655. The March 1 Memo also provides a final set of the Census Bureau’s responses to the set

of 35 questions posed by Secretary Ross and Mr. Comstock with input from Mr. Uthmeier and

Mr. Langdon. PX-25 (AR); PX-132 (AR).


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656. In the March 1 Memo, the Census Bureau concludes that, “Alternative D would result in

poorer quality citizenship data than Alternative C. It would still have all the negative cost and

quality implications of Alternative B outlined in the draft January 19, 2018 memo to the

Department of Commerce.” PX-25 (AR); PX-132 (AR); Nov. 13 Trial Tr. at 967.

657. Specifically, the Census Bureau professionals stated that “inclusion of a citizenship

question on the 2020 Census Questionnaire is very likely to reduce self-response rate, pushing

more households into Nonresponse Follow-up (NRFU). Not only will this likely lead to more

incorrect enumerations, but it is expected to increase the number of persons who cannot be

linked to the administrative data because NRFU PII is lower quality than self-response data.”

PX-25 (AR); PX-132 (AR).

658. The memorandum stated that such an alternative “would result in poor quality citizenship

data than Alternative C,” which uses administrative records but without any additional

citizenship question. PX-25 (AR); PX-132 (AR).

659. In part, this is due to the “suspect quality” of any survey data gathered by a citizenship

question to the Decennial Census. PX-25 (AR); PX-132 (AR); Nov. 13 Trial Tr. at 974.

660. In contrast, the Census Bureau considers the administrative data on citizenship that has

already been accumulated to be “high quality.” Nov. 13 Trial Tr. at 974.

661. In part, this is also due to the fact that a greater number of individuals’ responses would

need to be modeled and imputed, due to a lower overall response rate. PX-25 (AR); PX-132

(AR); Nov. 13 Trial Tr. at 974-75.

662. The memorandum of the Census Bureau professionals further stated that Alternative D

“would still have all the negative cost and quality implications of Alternative B [adding the




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question] outlined in the draft January 19, 2018 memo to the Department of Commerce.” PX-25

(AR); PX-132 (AR).

663. Under Secretary Kelley was not aware of any memorandum authored by the Census

Bureau concerning the issue of adding a citizenship question after March 1, 2018, but before the

issuance of Secretary Ross’ decision on March 26, 2018. Kelley Dep. at 258:8-12.

                       g.     Alternative C v. Alternative D Key Differences Memo (PX-24)

664. Census Bureau professionals expounded upon the differences between Alternative C and

Alternative D in a further memorandum titled, “Summary of Analysis of the Key Differences

Between Alternative C and Alternative D,” with a focus on data quality issues. PX-24 (AR);

Nov. 13 Trial Tr. at 278.

665. This memorandum contains analysis that in comparison to Alternative C, Alternative D

will lead to a larger number of people for whom the Census cannot match an administrative

record and whose answers must be produced by a model. PX-24 (AR). Nov. 13 Trial Tr. at 981.

666. Further, the memorandum explains: “Under Alternative C, there will be error in the

administrative records, but we believe these to be relatively limited dues to the procedure

following by SSA, USCIS and State. In both Alternative, the modeled cases will be subject to

prediction error. … Alternative D has an additional source or error, response error. This is where

2020 respondent give the incorrect status. Statisticians often hope these error are random and

cancel out. However, we know from prior research that citizenship status responses are

systematically biased for a subset of noncitizens. Response error is only an issue in alternative

D.” PX-24 (AR).

667. The Census Bureau maintains that data quality is better under Alternative C and therefore,

a higher number of individuals could be linked to more reliable administrative records. PX-24

(AR); Census Bureau 30(b)(6) (Abowd) Vol. II. (10/5/18) at 418:4-11; Nov. 13 Trial Tr. at 981.


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668. The Census Bureau concluded that, under Alternative D, for the group of 22 million

people for which the Census Bureau has both a response and administrative records, but they do

not match, the citizenship data will be less accurate than under Alternative C, due to response

errors. PX-24 (AR); Census Bureau 30(b)(6) (Abowd) Vol. II. (10/5/18) at 419:12-16; Nov. 13

Trial Tr. at 981.

669. For 90.4% of the population, Alternative D will provide no improvement to the citizenship

data available under Alternative C. PX-24 (AR); Nov. 13 Trial Tr. at 980.

670. Further, for 6.7% of the population, Alternative D will produce lower quality data than

Alternative C because the Census Bureau would have to use survey responses that are, generally

speaking, less accurate than the imputation methods the Census Bureau would deploy under

Alternative C. PX-24 (AR); Nov. 13 Trial Tr. at 984.

671. And finally, for 2.9% of the population, Alternative D creates a problem that does not

exist under Alternative C, where survey and administrative data conflict as to citizenship and the

Census Bureau has no current plans to resolve that conflict. PX-24 (AR); Nov. 13 Trial Tr. at

984.

        I.      Department of Commerce and Department of Justice Discussed the Addition
                of a Citizenship Question with Outside Stakeholders (January 2018 -
                February 2018)

672. On January 4, 2018, Arturo Vargas of NALEO Educational Fund sent a letter to

Undersecretary Kelley and Director Jarmin, to which Director Jarmin responded on the same

day. PX-1 at AR 778-779, AR 1213 (AR).

673. Mr. Vargas asked to speak with the Under Secretary about NALEO’s concerns with

DOJ’s request. PX-1 at AR 778-779, AR 1213 (AR).




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674. Director Jarmin responded that the Census Bureau would review the request and explore

options that do not require adding questions to the census, on an expedited basis. PX-1 at AR

778-779, AR 1213 (AR).

675. On January 5, 2018, Senators Feinstein, Carper, Schatz, Cortez Masto, and Harris wrote to

Secretary Ross. PX-1 at AR 780 (AR).

676. After reminding Secretary Ross that the GAO report has put the 2020 Decennial Census

on its list of high risk projects and the fact that the Census Bureau lacks a permanent director,

Senators Feinstein, Carper, Schatz, Cortez Masto, and Harris advised Secretary Ross, “The

DOJ's request to include a question on citizenship in the 2020 Census dramatically increase our

concerns about the already troubled census. Such a question would likely depress participation in

the 2020 Census from immigrants who fear the government could use the information to target

them. It could also decrease response rates from U.S. citizens who live in mixed-status

households, and who might fear putting immigrant family members at risk through providing

information to the government … This chilling effect could lead to broad inaccuracies across the

board, from how congressional districts are drawn to how government funds are distributed.

Rather than preserve civil rights, as the Justice Department claims, a question on citizenship in

the decennial census would very likely hinder a full and accurate accounting of this nation's

population” PX-1 at 780-81 (AR).

677. Also on January 5, 2018, the American Sociological Association wrote to Secretary Ross

to strongly urge him to reject DOJ’s proposal to add a citizenship question. PX-1 at AR 787

(AR).

678. The American Sociological Association’s letter advised, “Should such a proposal be

favorably received, the integrity of the 2020 Census data will be fundamentally compromised.




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Including a citizenship question is likely to keep some people from responding to the

questionnaire and others from responding truthfully, thereby undermining the accuracy of the

data. In addition, there is no longer time to properly test a new question. As you know, creation

of the questionnaire is a complex process that requires years of evaluation. With little time left

before the 2020 launch, a new question could not be subject to standard rigorous testing, which

would further undermine the quality of the data.” PX-1 at AR 787 (AR).

679. On January 9, 2018, members of the Census Scientific Advisory Committee (CSAC)

wrote to Attorney General Sessions, Mr. Gary, Secretary Ross, Director Jarmin, and Mr. Lamas.

PX-1 at AR 794-95 (AR).

680. The CSAC members wrote, “We hold the strong opinion that including citizenship in the

2020 Census would be a serious mistake which would result in a substantial lowering of the

response rate.” PX-1 at AR 794-95 (AR).

681. CSAC’s letter highlighted the following issue: “The United States Census has not

encountered the problems with a high level of Census refusal that have been a problem in many

other high income countries, including Germany. One reason is that in 2010 there were about

250,000 community partners who encouraged people in their communities to respond to the

Census. It is expected that there will be a similar number of community partners for the 2020

Census. Adding a citizenship question to the main Census questionnaire is almost certain to

jeopardize the cooperation of at least some community partners and lead to a lower response rate,

hurting the reputation of the Census Bureau.” PX-1 at AR 794-95 (AR).

682. On January 10, 2018, The Leadership Conference on Civil and Human Rights sent a letter

to Secretary Ross titled “Protect the Census: Oppose DOJ Request to Add a Citizenship Question

to the 2020 Census.” PX-1 at AR 798-800 (AR).




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683. The Leadership Conference wrote, “we urge you to reject the Department of Justice's

untimely and unnecessary request for a new citizenship question on the 2020 Census, which

would threaten a fair and accurate decennial census. Adding a new citizenship question to the

2020 Census would destroy any chance for an accurate count, discard years of careful research,

and increase costs significantly.” PX-1 at AR 798 (AR).

684. The Leadership Conference also explained, “Adding a citizenship question to the 2020

Census would disrupt preparations at a pivotal point in the decade, undermining years of

research and testing and increasing census costs significantly at a time when Congress has

directed a less expensive enumeration. The Justice Department's request would literally would

add billions of dollar’s to the life-cycle cost of this census, without improving accuracy.” PX-1 at

AR 798 (AR).

685. The Leadership Conference further stated, “The question is unnecessarily intrusive and

will raise concerns in all households — native- and foreign-born, citizens and non-citizens —

about the confidentiality of information provided to the government and how that information

might be used. Moreover, there are many mixed status households in the United States, which

include members who are both citizens and non-citizens with various legal statuses. Mixed-status

and immigrant households will be especially fearful of providing information to the federal

government in 2020, given the heightened climate of fear that anti-immigrant rhetoric and

policies have created.” PX-1 at AR 799 (AR).

686. The Leadership Conference added, “In short, any effort to determine citizenship through

the constitutionally required census would jeopardize the accuracy of the entire count, leaving

public, private, and nonprofit decision-makers with bad information for all purposes, for the next

10 years. Further, such an effort is likely to shake public confidence in the narrow (though vital)




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statistical objectives of the Census Bureau's work, damaging ongoing data collection efforts well

into the future.” PX-1 at AR 799 (AR).

687. The Leadership Conference continued, “Finally, in addition to being untimely, the request

is unnecessary. The Justice Department has never needed to add this new question to the

decennial census to enforce the VRA before, so there is no reason it would need to do so now.

Contrary to the Justice Department's letter, the Census Bureau has not included a citizenship

question on the modern census ‘short form,’ sent to every household.” PX-1 at AR 799 (AR).

688. On January 17, 2018, Secretary Ross received a letter from numerous Members of

Congress (hereinafter “January 17 House Letter”). PX-1 at AR 840 (AR).

689. The January 17 House Letter advised, “The inclusion of citizenship questions in the

census will suppress responses from minority communities who will fear reprisal against

themselves or loved ones from revealing citizenship details. … In fact, in an amicus curiae brief

in Evenwel v. Abbott, four former directors of the U.S. Census Bureau noted that asking about

citizenship status ‘would likely exacerbate privacy concerns and lead to more inaccurate

responses from non-citizens worried about a government record of their immigration

status...invariably lead[ing] to a lower response rate to the Census in general…’” PX-1 at AR

840-41 (AR).

690. The January 17 House Letter continued by explaining that, “The resulting undercount will

reverberate across the nation: from ensuring a fair distribution of congressional seats based on

the census data to making certain that an accurate allocation of nearly $700 billion taxpayer

funds for critical programs is made.” PX-1 at AR 840-41 (AR).




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691. The January 17 House Letter also noted, “In addition to the problems described above, the

inclusion of such a question so late in the process will not allow for necessary testing to correct

wording problems.” PX-1 at AR 840-41 (AR).

692. On January 18, 2018, Secretary Ross received a separate letter from numerous Members

of Congress urging Ross to reject the request to add a citizenship question (hereinafter “January

18 House Letter”). PX-1 at AR 908-09 (AR).

693. The January 18 House Letter highlighted that, “Including a new question this late in the

process allows no time for testing or the correction of wording problems, and only serves to

increase the risk to a census that has already experienced massive cost increases and heightened

levels of public mistrust.” PX-1 at AR 908-09 (AR).

694. The January 18 House Letter also highlighted that the trend of “‘unprecedented’ level[s]

of concern regarding the confidentiality” of census data “suggest that the addition of a

citizenship question could exacerbate confidentiality concerns and severely undermine accuracy

and initial response levels. This, in turn, would increase the cost of the census by hundreds of

millions of dollars in non-response follow-up, the most expensive component of the decennial

census operation.” PX-1 at AR 909 (AR).

695. On January 23, 2018, the Population Association of American sent a letter to Secretary

Ross opposing the addition of a citizenship question and reminded Secretary Ross that, “As you

know, and as noted in the January 10 letter, questionnaire design and testing began nearly eight

years ago. With less than two years before Census 2020, there is simply not enough time to

responsibly craft and evaluate how a citizenship question would affect census participation.

Further, we are concerned that adding a question, particularly one that could influence enhanced

nonresponse follow up activity, will significantly increase the costs of the 2020 Census at a time




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when Congress is already considering a request from the Administration to spend an estimated

additional $3 billion on the 2020 Census.” PX-1 at AR 1053-54 (AR).

696. On March 19, 2018 Secretary Ross received a letter from the Latino Community

Foundation, which “strongly urge[d Ross] to reject the inclusion of a citizenship question to the

2020 Census.” PX-1 at AR 1222 (AR).

697. The Latino Community Foundation explained, “Including a citizenship question to the

census will add to an extensive list of concerns that can and will suppress Latino participation.

Increased immigration enforcement, anti-immigrant rhetoric in our political discourse, and

privacy concerns have already meshed together to create a climate of fear and aversion of the

federal government. In fact, a recent poll commissioned by LCF showed that over 50% of

California's Latinos believe that their responses to the census might be shared with immigration

authorities.” PX-1 at AR 1222 (AR).

698. On January 26, 2018, Secretary Ross received a letter from six former Directors of the

Census Bureau concerning the possible addition of a citizenship question. PX-116 (AR).

699. The former Directors stated that they were “troubled to learn that the Department of

Justice has recently asked the Bureau to add a new question on citizenship to the 2020 Census.

We are deeply concerned about the consequence of this possible action and hope that our

objective observations provide a useful perspective before final decision is made on this issue.”

PX-116 (AR).

700. The former Directors were also concerned that the addition of the question had not been

appropriately tested: “There is a well-proven multi-year process to suggest and test new

questions. We strongly believe that adding an untested question on citizenship status at this late




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point in the decennial planning process would put the accuracy of the enumeration and success

of the Census in all communities at grave risk.” PX-116 (AR).

701. The former Directors further explained that, in their opinion, “it is highly risky to ask

untested questions in the context of the complete 2020 Census design. There is a great deal of

evidence that even small changes in survey question order, wording, and instructions can have

significant, and often unexpected, consequences for the rate, quality and truthfulness of

response.” PX-116 (AR).

702. The former Directors further stated that in their opinion “the effect of adding a citizenship

question to the 2020 Census on data quality and census accuracy, therefore, is completely

unknown. Also of import, overcoming unexpected obstacles that arise as 2020 Census

operations unfold would add to the cost, without assurances that such efforts would yield a more

accurate outcome.” PX-116 (AR).

703. On February 9, 2018, Secretary Ross received a letter from Senator Jack Reed arguing

that a citizenship question “could lead to fewer respondents and less precision” and that “a

Census question on citizenship is unnecessary as this information is already gathered through the

American Community Survey.” PX-1 at AR 1086 (AR).

704. Secretary Ross also received a February 14, 2018 letter from MinKwon Center on behalf

of Asian Pacific Americans Voting & Organizing to Increase Civic Engagement (APA VOICE),

PX-1 at AR 1150 (AR).

705. The MinKwon Center’s letter explained that, “[a]dding a citizenship question at this time

will negatively impact response rates and the accuracy among millions of United States

residents, whether they are lawful permanent residents, asylees, refugees, Temporary Protected

Status beneficiaries, visa holders, undocumented, or one of the 16.7 million people who have an




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undocumented family member living with them. Census Bureau representatives conducting field

tests have already reported unprecedented fear among respondents. Out of fear, distrust, and

concern for how the data collected will be used and shared, test respondents have been reported

being visibly nervous, providing incomplete or incorrect information about household members.

Furthermore, as the 2020 Census topics were already submitted last March, introducing new

topics this late in the process would add significant costs to an already constrained budget.” PX-1

at AR 1150-51 (AR).

706. Secretary Ross also received a letter from 10 Jewish Organizations on February 15, 2018.

PX-1 at AR 1122 (AR).

707. These Jewish organizations advised that, “If the Census Bureau were to grant the

Department of Justice's request, it raises the likelihood of suppressing response rates from

immigrant and other minority communities. From the ban on entry of immigrants from Muslim-

majority countries to the termination of DACA, America's immigrant communities feel

increasingly vulnerable. A new Census question about citizenship will raise fears about such

information now or in the future being used against them or their loved ones. This will

potentially lower Census response rates and undermine the Census's accuracy.” PX-1 at AR 1122

(AR).

708. The Jewish organizations’ letter also highlighted that, “the federal government continues

to conduct the American Community Survey to obtain estimates of the citizen population, the

data from which has been deemed suitable for use in Voting Rights Act enforcement cases,”

while “all questions that are included on the Census are carefully designed and tested to ensure

that the data collected is accurate. Adding a question to the Census at this stage of the planning




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process would disrupt preparation and increase costs, in addition to threatening the accuracy of

the data.” PX-1 at AR 1122 (AR).

709. On March 20, 2018 Secretary Ross received another letter from three Members of

Congress: Grace Meng, José E. Serrano and Carolyn B. Maloney. PX-1 at AR 1223 (AR).

710. Members Meng, Serrano, and Maloney explained that they represent New York City,

which already has a substantial “hard to count” populations and has estimated substantial local

undercounts in the past. PX-1 at AR 1223 (AR).

711. Members Meng, Serrano, and Maloney advised that adding a citizenship question to the

Decennial Census “will result in depressed and inaccurate response rates, which could have a

real and direct impact on the resources that New York City residents receive from the federal

government over the next decade,” and urged Secretary Ross to reject the proposed citizenship

question. PX-1 at AR 1223 (AR).

712. On March 21, 2018 the Department of Commerce also received a letter from Gary Bass of

the Bauman Foundation, on behalf of nearly 120 non-political organizations opposing the

addition of a citizenship question to the 2020 Decennial Census. PX-1 at AR 1235 (AR).

713. On March 21, 2018 individuals representing Native American interests wrote to Secretary

Ross and explained, “the addition of a citizenship question to the 2020 census form … would

jeopardize the responses of hard-to-count communities, including those in Indian Country. We

are informed that immigrants and minority groups are currently fearful for the security and safety

of their families posed by the possibility of including a question on citizenship, which could have

a very negative impact on the accuracy of the 2020 Census count (as highlighted by the Census

Bureau at the Fall 2017 meeting of its National Advisory Committee on Racial, Ethnic and Other

Population). We believe that a citizenship question would have a similar negative impact in




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Indian Country, resulting in an undercount of American Indians and Alaska Natives in 2020 that

surpasses their high undercount in 2010. Because of the lengthy and complicated history of

discrimination against indigenous peoples in this country, American Indians and Alaska Natives

share a strong distrust of non-tribal governments.” PX-1 at AR 1239 (AR).

714. On March 22, 2018, Secretary Ross received a letter from Constitutional Accountability

Center, on behalf of several organizations such as Asian Americans Advancing Justice, NAACP

Legal Defense and Education Fund. PX-3 at AR 3605-06 (AR).

715. The Constitutional Accountability Center’s letter advised that, “A new, untested

citizenship question would be an end-run around the Constitution's text, history, and values,” and

“Adding the new citizenship question proposed by the Department of Justice would undermine

the Census Bureau's constitutional commitment to count all persons. It would also result in

inaccurate data, thereby biasing congressional apportionment, redistricting, and funding

decisions, for an entire decade, and producing harmful inequalities which would last even longer.

Overwhelming evidence shows that this new question, if it becomes a part of the 2020 Census,

will deter participation by immigrants across the country, who do not want an official record of

their immigration status and fear that their responses will be used by the government to harm

them and their families. The Census Bureau's own data demonstrates "an unprecedented

groundswell in confidentiality and data sharing concerns, particularly among immigrants or those

who live with immigrants.” PX-3 at AR 3605-06 (AR).

716. The Constitutional Accountability Center’s letter further advised, “Adding a citizenship

question to the 2020 Census-given the overwhelming evidence that it will chill participation and

produce inaccurate responses-would break faith with the Constitution's mandate for a head count

of the entire nation.” PX-3 at AR 3605-06 (AR).




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717. The Constitutional Accountability Center’s letter also advised, “Although the Department

of Justice urges the addition of a citizenship question to the 2020 Census, it offers no reason to

doubt what the latest Census Bureau data shows: asking all persons to divulge their citizenship

status will chill participation by noncitizens and citizens alike and produce inaccurate data.

Instead, the DOJ maintains that a new citizenship question will ensure better enforcement of the

Voting Rights Act. This is false. Since the passage of the Voting Rights Act in 1965, the Census

has never asked all persons to report their citizenship. In other words, a mandatory question on

citizenship has never been necessary to ensure robust protection of the right to vote. That is just

as true now as it was in 1965 when the Voting Rights Act was passed.” PX-3 at AR 3605-06

(AR).

718. Also on March 22, 2018, Secretary Ross received a letter from Ready Nation, a council of

business leaders who wrote “to express our deep concern about the Department of Justice's

request that the Census Bureau include an untested question about citizenship in the 2020 Census

questionnaire” because “[t]he decennial Census provides critical data that informs decision-

making in both the private and public sectors.” PX-3 at AR 3608-09 (AR).

719. The Ready Nation letter advised first that, “Adding a new question this late in the

decennial Census process could reduce the accuracy of the 2020 Census. We know from the

science of survey design that adding questions to an established questionnaire essentially creates

a new questionnaire that needs to be validated. Every question and the order of questions affect

how respondents answer the other questions. When a change is made to a standardized

questionnaire that has already been tested, the reliability and validity of the questionnaire are

potentially affected, requiring the survey to be retested.” PX-3 at AR 3608-09 (AR).




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720. The Ready Nation letter also advised that, “Adding a new question would incur additional

delays and costs, and waste taxpayer dollars that have already been spent on designing and

planning the 2020 Census. The Census Bureau has completed its multi-year, multi-million-dollar

research and testing phase for the 2020 Census, and its end-to-end test in Rhode Island is

underway. And the schedule is already tight. Instead of spending more money and time on

altering the questionnaire, additional taxpayer dollars would be better directed to addressing

ongoing challenges around deploying mobile technology that will yield a more accurate Census.”

PX-3 at 3608-09 (AR).

721. On March 23, 2018 Secretary Ross received a letter from various members of the

scientific community include the Acting President of the Federation of American Scientists, the

Director of 2020 Census Counts, and the President of the American Political Science

Association. PX-1 at AR 1269-70 (AR).

722. The March 23 letter provided the following: “This request is ill-conceived for a number of

reasons. We have more accurate methods for measuring and studying non-citizenship, for

example through anonymous surveys. Imposing a citizenship question would lead to a lower

participation rate and substantial undercount of certain geographic regions and demographic

populations, undermining the scientific integrity of the entire project.” PX-1 at AR 1269 (AR).

723. The March 23 letter further reminded Secretary Ross that, “[p]reliminary focus groups and

interviews with Census field representatives have already shown that greater fears of deportation,

threats of a “Muslim ban,” and the termination of the DACA program are exacerbating already

high non-response rates among historically undercounted populations. The potential for an

increased undercount would have far reaching consequences.” PX-1 at AR 1269 (AR).




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724. Secretary Ross also received various letters throughout the process from elected officials

and associations at other levels of government, opposing the proposed addition of a citizenship

question. See e.g., PX-1 at AR 1073, AR 1082, AR 1090 (AR).

IV.    THE MARCH 26 DECISION MEMO

725. On March 26, 2018, Secretary Ross sent a memorandum to Undersecretary Kelley titled

“Reinstatement of a Citizenship Question on the 2020 Decennial Census Questionnaire.”

Secretary Ross concluded in the memorandum that the Census Bureau should add a citizenship

question to the 2020 Decennial Census. PX-26 (AR). As discussed below, the decisionmaking

process departed significantly from normal Census Bureau processes. And the March 26 memo

is rife with misstatements and material omissions.

       A.      Political Interference in the Decision to Add a Citizenship Question

726. A federal statistical agency such as the Census Bureau should follow the principle that it is

independent from political or other undue external influences. PX-355 (AR).

727. Dr. Abowd testified that “a process where an agency makes a request to the Census

Bureau for data to be collected through the census, but then refuses to meet to discuss the

technical aspects of that data request” is very problematic with respect to that principle. Nov. 14

Trial Tr. at 1266.

728. Dr. Abowd testified that the aspect of the process leading up to the decision to include a

citizenship question where DOJ was directed by the Attorney General not to meet with the

Census Bureau constituted “political influence” on the process. Nov. 14 Trial Tr. at 1267:20-

1268:4.

729. Mr. Thompson testified that in his experience as the former Director of the Census Bureau

and a career employee of the Census Bureau for almost three decades, it is unprecedented for a

senior Department of Commerce official to dismiss a Census Bureau technical recommendation


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based on extensive research without documenting a rationale for such an action. Thompson Aff.

(Docket No. 516-1) at ¶ 92.

       B.      Deviations from Census Bureau Standard Pre-Testing Processes in the
               Decision to Add a Citizenship Question

730. Based on his extensive experience overseeing the Decennial Census and as Director of the

Census Bureau, John Thompson testified that it is his opinion that the process for adding a

citizenship question to the 2020 Decennial Census constituted a significant deviation from the

Census Bureau’s standard practices. Thompson Aff. ¶ 92.

731. Both the Census Bureau and Dr. Abowd have a high opinion of Dr. Thompson and of his

qualifications to offer an expert opinion in this case. Nov. 14 Trial Tr. at 1192.

732. Mr. Thompson described the extensive and well-established testing processes the Census

Bureau has developed in order to (a) properly assess proposed changes to the content of a Census

Bureau questionnaire and (b) avoid the risk of undercount or introducing inaccuracies into the

census data. Thompson Aff. ¶ 56; Nov. 9 Trial Tr. at 566.

733. The Census Bureau does not have a manual for the precise testing that must be done to

prepare for each Decennial Census. Nov. 9 Trial Tr. at 566.

734. Instead, after each Decennial Census, the Census Bureau begins preparing for the next

census by reviewing the previous census and requesting input from stakeholders on

improvements that could be made. Following that process, detailed procedures for testing and

evaluation for the next upcoming census are then drafted in order to account for issues specific to

that census. Nov. 9 Trial Tr. at 578.

735. In the decade before a Decennial Census, the Census Bureau conducts several large-scale

tests, including contacting tens of thousands of addresses, to optimize the data collection

procedures. Nov. 5 Trial Tr. at 149:5-20.



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736. Mr. Thompson also described the procedure that should be followed if a new question is

proposed for the Decennial Census. First, the Census Bureau should determine whether the

proposed question needs to be included on the Decennial Census. Thompson Aff. ¶ 57.

737. To do so, the Census Bureau should work with the Office of Management and Budget and

with the Department of Commerce Office of General Counsel to determine whether the

information from the proposed question should be collected from the Decennial Census

questionnaire. Thompson Aff. ¶¶ 57-58.

738. Before a decision was made to add a citizenship question to the 2020 Decennial Census,

the proposed citizenship question should have undergone an evaluation of the need for the data it

will produce and a determination of whether that data can only be collected through the

Decennial Census. PX-140 at AR 10901; PX- 359 at 10-11; Thompson Aff. ¶¶ 57-58; ;

Habermann Aff. (Docket No. 498-11) at ¶ 24, 29, 35, 41; see also 13 U.S.C. § 6.

739. There is no evidence in the Administrative Record that the Census Bureau evaluated the

need for the data or concluded such data collection was necessary before deciding to add a

citizenship question to the 2020 Decennial Census. PX-1 through PX-14 (AR).

740. Nor is there evidence in the Administrative Record that the Census Bureau met with DOJ

to evaluate the need for data that would be produced by the addition of a citizenship question.

PX-1 through PX-14 (AR).

741. Indeed, the Administrative Record reflects that DOJ refused to meet with the Census

Bureau to discuss the need for a citizenship question to be included on the 2020 Decennial

Census. PX-4 at AR 9074 (AR); Thompson Aff. ¶ 61; PX-297 at RFA 170, 171, 201;

Habermann Aff. ¶ 41.




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742. Once the need for a new question has been established, a rigorous testing program of the

proposed question should begin. Thompson Aff. ¶ 60.

743. A citizenship question should have been pretested before a decision was made to add it to

the 2020 Decennial Census. PX-260; PX-271; PX-364; PX-140 (AR); PX-134 (AR); PX-3 (AR);

PX-4 3890, 9867 (AR); Thompson Aff. ¶¶ 43-96; Nov. 5 Trial Tr. at 169:19-23.

744. There is no evidence in the Administrative Record that there was any pretesting of a

citizenship question before a decision was made to add the question to the 2020 Decennial

Census. PX-1 through PX-14 (AR); Thompson Aff. ¶ 55.

745. There has been no pretesting of a citizenship question on the 2020 Decennial Census.

Nov. 14 Trial Tr. at 1280:4-8; Thompson Aff. ¶ 77; Census Bureau 30(b)(6) Dep. Vol. I at

142:18-143:4; Habermann Aff. ¶¶ 56-58.

746. The first step of this testing program is for experts in both subject matter and cognitive

design to develop several reasonable alternatives for the proposed question wording. These

experts help ensure that the Census Bureau has a clear understanding of the desired uses of the

new data so that the new question can be worded to achieve the desired outcome. The subject

matter experts usually consist of staff from both the Census Bureau and the requesting agency.

Thus a citizenship question should have undergone this cognitive testing before the decision was

made to add it to the 2020 Decennial Census. Thompson Aff. ¶ 60, 72; Habermann Aff. ¶¶ 56-

58; PX-140 (AR); PX-260; PX-271.

747. The second step of this testing program is to design the entire questionnaire. Assessment

of the potential questionnaire design should take into account the order in which the questions

will appear and the length of the questionnaire because any given individual question may take

on added significance in a shorter questionnaire. Assessment of the potential questionnaire




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should also take into account the interaction between questions on the questionnaire and whether

the wording of the question to be added is consistent with the instrument on which it is to be

included. Thompson Aff. ¶ 63, 65, 67.

748. If there is not consistency between the wording of a question and the purpose of the

instrument in which it is found, respondents may question the instrument’s or question’s purpose

and their response rate can be impacted. Nov. 5 Trial Tr. at 162-163.

749. For example, if the purpose of a citizenship question on the Decennial Census is to

determine a person’s citizenship status, respondents may question why it is necessary to

differentiate, as the proposed citizenship question does, between citizens born in Puerto Rico and

those born in other parts of the United States. Nov. 5 Trial Tr. at 152-153; Thompson Aff. ¶ 69.

750. This cognitive testing is also essential in order to ensure that the final question is worded

in such a way as to produce the desired data. Thompson Aff. ¶ 60; Habermann Aff. ¶ 57. See

generally PX-260, PX-364.

751. The next step of this testing is for cognitive survey methodology experts to conduct

facilitated focus group studies to examine how potential respondents react to each of the

alternative questions. These cognitive testing focus groups are intended to determine whether

respondents understand the questions and are providing accurate answers, and whether questions

are worded or ordered in such a way that they will lead respondents to not respond either to

certain questions or to the entire questionnaire. Thompson Aff. ¶¶ 72, 74; Habermann Aff. ¶¶ 57-

58.

752. This focus group testing should test the entire questionnaire and the sequence in which the

questions will be asked and be conducted with a representative sample of the population of the

United States. Thompson Aff. ¶ 73, 75.




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753. Focus group testing is crucial because it will give an indication if questions are worded or

ordered in such a way that they will lead respondents to not respond either to certain questions or

to the entire questionnaire, which could in turn result in an undercount. Thompson Aff. ¶ 74.

754. Focus group testing is particularly important in light of Census Bureau research that

indicates growing concerns that respondents have with privacy, confidentiality and government

surveys. Thompson Aff. ¶ 78.

755. There is no evidence in the Administrative Record that there was any cognitive testing of

a citizenship question before a decision was made to add it to the 2020 Decennial Census

questionnaire. PX-1 through PX-14 (AR); Thompson Aff. ¶ 78.

756. There was no cognitive testing of a citizenship question prior to the decision to add it to

the 2020 Decennial Census. Thompson Aff. ¶¶ 60, 71, 77; Nov. 13 Trial Tr. at 997; Habermann

Aff. ¶ 13.

757. This failure to propose and test reasonable alternative questions is contrary to the Census

Bureau’s standard practices for considering new questions. Thompson Aff. ¶ 71; Habermann

Aff. ¶¶ 42, 59, 63.

758. After alternative question wording is drafted and tested through focus groups, a

comprehensive field testing program should then test the entire proposed Decennial Census

questionnaire, including the proposed new question, in order to test the effect of the question in

the context of the entire questionnaire. Thompson Aff. ¶ 62.

759. A citizenship question should have been field tested as a part of the entire Decennial

Census questionnaire before the decision was made to add it to the 2020 Decennial Census. PX-

271; PX-134 at 9865 (AR); PX-3 at AR 3560 (AR); PX-4 at AR 3891, 9867 (AR); Thompson

Aff. ¶ 79.




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760. This field testing should have been conducted with a sample that simulates to the greatest

possible extent a Decennial Census environment, including a sufficient number of observations

to assess potential effects on hard to count populations, and in such a way that the alternative

questionnaires were administered to the sample households in a manner that replicates, to the

greatest extent possible, the way in which the Decennial Census will be conducted. Thompson

Aff. ¶ 80-81; Habermann Aff. ¶ 68.

761. There is no evidence in the Administrative Record that there was any field testing of a

citizenship question before a decision was made to add it to the 2020 Decennial Census. PX-1

through PX-14 (AR).

762. The Census Bureau never conducted any field testing analyzing the effect of a citizenship

question on the 2020 Decennial Census. Census 30(b)(6) Dep. Vol. I. at 27; Nov. 5 Trial Tr. at

157; Nov. 13 Trial Tr. at 997-98.

763. After the Census Bureau field tests a new question, it should re-interview either all, or at

least a subsample of, the respondents who completed the sample questionnaires to determine

whether respondents provided accurate answers. Thompson Aff. ¶ 82.

764. These re-interviews are of critical importance to designing and testing a citizenship

question for the Decennial Census because between 28 and 34 percent of non-citizens report

themselves as citizens when responding to the citizenship question included on the ACS

questionnaire. Thompson Aff. ¶ 82; PX-22 at AR 1284.

765. There is no evidence in the Administrative Record that there were any interviews of

respondents who participated in field testing of a potential citizenship question before a decision

was made to add a citizenship question to the 2020 Decennial Census. PX-1 through PX-14

(AR); Thompson Aff. ¶ 83-84.




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766. A new question added to the 2020 Decennial Census should have been tested in the

context of the entire 2020 Decennial Census questionnaire. Thompson Aff. ¶ 62; Nov. 9 Trial

Tr. at 736.

767. There is no evidence in the Administrative Record that there was any testing of a

citizenship question in the context of the full 2020 Decennial Census questionnaire before a

decision was made to add it to the 2020 Decennial Census. PX-1 through PX-14 (AR).

768. The Census Bureau never conducted any testing of a citizenship question within the

context of the entire 2020 Decennial Census questionnaire. Nov. 5 Trial Tr. at 156; Nov. 9 Trial

Tr. at 736; Nov. 13 Trial Tr. at 997 -98.

769. Every cycle of Decennial Census pre-testing culminates with end-to-end census tests

(typically there are three); these are a comprehensive field test or “dress rehearsal” of the actual

Decennial Census and encompass every stage of the census count. Nov. 5 Trial Tr. at 155.

770. The peak operations portion of the end-to-end test is intended to include all aspects of the

planned Decennial Census, “as a way to make sure that all the operations are in place, all of the

—everything is being tested out in the field.” Nov. 5 Trial Tr. at 155; Nov. 14 Trial Tr. at 1096.

771. The 2018 end-to-end test was “planned to test and validate 2020 operations, procedures,

systems, and infrastructure together.” PX-406 at 54.

772. In 2018, there was a single end-to-end test, conducted in Rhode Island. Nov. 5 Trial Tr. at

156.

773. A new question added to the 2020 Decennial Census questionnaire should have been part

of the 2018 end-to-end test in order to be adequately tested prior to the 2020 Decennial Census.

Nov. 5 Trial Tr. at 149.




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774. The Census Form for the 2018 end-to-end did not include a citizenship question. Census

Bureau 30(b)(6) Dep. Vol. I. Dep. at 225.

775. A citizenship question was not included in the end-to-end test to prepare for the 2020

Decennial Census. Nov. 13 Trial Tr. at 998; Nov. 5 Trial Tr. at 156; Census Bureau 30(b)(6)

Dep. Vol. I. at 225; Nov. 13 Trial Tr. at 998:4-11.

776. A citizenship question added to the 2020 Decennial Census should have undergone

randomized controlled trial (RCT) testing to determine the effect of the addition of a citizenship

question to the 2020 Decennial Census. PX-162 at 39; Census Bureau 30(b)(6) Dep. Vol. II. at

430; Nov. 13 Trial Tr. at 923.

777. There is no evidence in the Administrative Record that there was any RCT testing of a

citizenship question before a decision was made to add it to the 2020 Decennial Census. PX-1

through PX-14 (AR).

778. A citizenship question on the 2020 Decennial Census was never the subject of RCT

testing. 30(b)(6) Dep. Vol. II. at 427; Nov. 13 Trial Tr. at 925.

779. The analysis of the results of any pre-testing of a new question to be added to a Decennial

Census should be discussed with the Census Bureau advisory committees, the Office of

Management and Budget (“OMB”), and outside researchers with expertise in questionnaire

design and in the subject matter area related to the new questionnaire. These consultations

should happen before a final decision is made to add the question to the Decennial Census

questionnaire. PX-140 (AR); PX-134 (AR); PX-3 at AR 3560 (AR); PX-4 at AR 3890, 9867

(AR); Thompson Aff. ¶ 85; Habermann Aff. ¶ 35, 36, 42-46.




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780. Without these discussions there is a significant risk that the resulting data from the

proposed new question will not meet the intended need. Thompson Aff. ¶ 87; Habermann Aff. ¶

35.

781. Mr. Thompson testified that, following consultation with outside groups and experts,

under standard Census Bureau procedures, the Census Bureau would then make a

recommendation to the Department of Commerce on whether or not to proceed with the new

question on the Decennial Census. Thompson Aff. ¶ 88.

782. There is no evidence in the Administrative Record that there was any discussion of a

citizenship question with Census Bureau advisory committees, the Office of Management and

Budget, or outside researchers before Secretary Ross made the decision to add it to the 2020

Decennial Census. PX-1 through PX-14 (AR).

783. A new question added to the 2020 Decennial Census should have been noticed for public

comment before the decision was made to add it to the Decennial Census. PX-140 (AR); PX-134

(AR); PX-3 at AR 3560 (AR); PX-4 at AR 3890, 9867 (AR).

784. There is no evidence in the Administrative Record that the Census Bureau noticed a

citizenship question for public comment before a decision was made to add it to the 2020

Decennial Census. PX-1 through PX-14.

785. There was never any opportunity for public comment on the addition of a citizenship

question on the 2020 Decennial Census prior to the Secretary’s decision to add the question to

the 2020 Decennial Census.

786. If there are any questions about whether a certain process or methodology is consistent

with Census Bureau Quality Standards, one option is to consult Census Quality Program staff for

guidance on how to proceed. Nov. 14 Trial Tr. at 1283.




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787. There is no evidence in the Administrative Record that Census Quality Program staff were

consulted regarding the addition of a citizenship question before a decision was made to add it to

the 2020 Decennial Census. PX-1 through PX-14 (AR).

788. In fact, Quality Program staff were never consulted with respect to the addition of a

citizenship question to the 2020 Decennial Census. Nov. 14 Trial Tr. at 1284.

       C.      The March 26 Memo Was Prepared Without Adequate Consultation of
               Census Bureau Officials

789. James Uthmeier and Earl Comstock took the lead on drafting the original version of the

March 26 Ross Memorandum. Comstock Dep. at 242-43.

790.   Senior political appointees at DOJ (including Mr. Shumate, Chad Readler, and Hashim

Mooppaan) reviewed and commented on multiple drafts of the March 26 memo prior to its

issuance. PX-3 at AR 2036-37, 3669 (AR), PX-4 at AR 11253, 11294-295, 11325 (AR),

COM_DIS 17064-065, COM_DIS 17066-67, 17133. All of these documents were withheld as

privileged.

791. Undersecretary Kelley testified she did not substantially participate in the drafting of the

March 26, 2018 memorandum. Kelley Dep. at 68-69.

792. Census Bureau professionals were only allowed to review the March 26 decisional

memorandum to assure that information about the Census Bureau was technically correct;

Census Bureau professionals did not make substantive changes. Jarmin Dep. (Docket No. 511-3)

at 169, 173.

793. Neither Undersecretary Kelley nor Census Bureau professionals made any substantive

changes to the March 26 decisional memorandum. Kelley Dep. at 69; Jarmin Dep. (Docket No.

511-3) at 169, 173.




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       D.      Secretary Ross’ Congressional Testimony Just Prior to the Decisional Memo
               (March 2018)

794. Secretary Ross testified before the House Appropriations Committee on March 20, 2018.

PX-491.

795. Congressman José E. Serrano asked Secretary Ross, “. . . Has the President or anyone else

in the White House directed you to add this or a similar question to the 2020 Census?” Secretary

Ross responded that the Department of Commerce was “responding solely to Department of

Justice’s request.” PX-491.

796. On the same day, Representative Grace Meng asked Secretary Ross if “the President or

anyone in the White House discussed with you or anyone on your team about adding the

citizenship question?” PX-493. Secretary Ross replied “I am not aware of any such.” PX-493.

797. Two days later, on March 22, 2018, Secretary Ross testified before the House Ways and

Means Committee. PX-480.

798. Congresswoman Judy Chu asked if Secretary Ross could tell her “whether the Department

of Commerce plans to include the citizenship question in the 2020 Census?” Secretary Ross

responded that the “Department of Justice, as you know, initiated the request for the inclusion of

the citizenship question” to the Decennial Census. PX-480.

799. During each of these exchanges, Secretary Ross did not mention that he requested that

DOJ send a letter requesting the addition of a citizenship question on the 2020 Census. PX-2;

PX-491; PX-492; PX-493; PX-494; PX-537.




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       E.      The Conclusions in the Decisional Memorandum

               1.      Statements Concerning the Genesis of a Citizenship Question

800. Secretary Ross stated in his March 26, 2018 Decisional Memorandum, that “the

Department of Justice (“DOJ”) requested that the Census Bureau reinstate a citizenship question

on the decennial census.” PX-26 (AR).

801. In his March 26 memo, Secretary Ross wrote that “following receipt of the DOJ request, I

set out to take a hard look at the request and ensure I considered all facts and data relevant so that

I could make an informed decision. To that end, the Department of Commerce immediately

initiated a comprehensive review process led by the Census Bureau.” PX-26 (AR).

802. Contrary to the statements in his March 26 memo:

       a.      Secretary Ross had personally sought the addition of a citizenship question

               months prior to the DOJ request and had directly asked that DOJ request the

               addition of a citizenship question. PX-2 (AR); PX-88 (AR); PX-55 (AR); PX-537

               (AR); PX-58 (AR); PX-298(R) at RFA 62; Teramoto Tr. at 28–32; Comstock Tr.

               at 145–46.

       b.      Prior to Secretary Ross’s efforts, DOJ had not requested addition of a citizenship

               question or block-level citizenship voting age population (CVAP) data to enforce

               the VRA. PX-298(R) at RFA 66, 100.

       c.      Secretary Ross’s consideration of a citizenship question did not commence

               “following receipt of the DOJ request,” but rather started almost ten months

               earlier. PX-2 (AR); PX-55 (AR); PX-58 (AR); PX-19 (AR).

       d.      The Department of Commerce did not “initiate a comprehensive review . . .

               Following receipt of the DOJ request”; the review of this issue by Ross’s senior

               aides started well in advance of the DOJ request. See PFOF III.C.


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       e.      The review process was not “led by the Census Bureau,” nor did Secretary Ross

               meet “with Census Bureau leadership on multiple occasions to discuss their

               process for reviewing the DOJ request, their data analysis, my questions about

               accuracy and response rates, and their recommendation.” Rather, Secretary Ross

               made his decision based on minimal contact with Census Bureau leadership and

               experts during the review process (limited to one meeting on February 12), and

               dismissed the repeated admonition that adding a citizenship question was “very

               costly, harms the quality of the census count, and would use substantially less

               accurate citizenship status data than are available from administrative sources.”

               PX-22 (AR); PX-25 (AR); PX-3 at AR 9450 (AR); Nov. 13 Trial Tr. at 883-884.


               2.      Statements Concerning the Secretary’s Process

803. Secretary Ross did not take a “hard look at the [DOJ] request” nor did he “consider all

facts and data relevant,” but as detailed below, ignored key facts and data.

       a.      The March 26 Memorandum takes the DOJ request entirely at face value. There

               is not a single “hard” question raised about it. A true hard look would have raised

               any number of obvious questions.

       b.      The Secretary does not ask anything about why DOJ needed a question on the

               Decennial Census to enforce the Voting Rights Act (“VRA”). The Act was

               enacted in 1965 and between now and then, DOJ has never had CVAP data

               calculated from a question asked of every household. Any “hard look,” would

               have asked how DOJ had been able to enforce the Act for the previous fifty plus

               years but apparently not now. Has something changed? What exactly is the

               problem with the existing data and how in concrete terms is it insufficient? None



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      of these basic questions were raised in the Secretary’s memorandum, or anywhere

      in the administrative record.

c.    In fact, as detailed in PFOF IX.B.2, the evidence is that DOJ has been able to

      enforce the VRA in the past and that there is no reason why it required a census

      question asked of every household. In any event, the Secretary did not probe DOJ

      on this point.

d.    A “hard look,” would have raised related questions about why a citizenship

      question needed to be on the 2020 Decennial Census. What was the rush?

      Especially since citizenship was not one of the topics for the census reported to

      Congress as required under 13 U.S.C. 141(f)(1). Why could not the matter be

      tested and analyzed, consistent with the Census’s well established procedures, see

      PX-4 at AR 3890 (AR); PX-3 at AR 2304 (AR); PX-134 (AR) for the 2030

      census? The answer to this might have been apparent had the Secretary asked

      why the question was needed in the first place.

e.    A “hard look” would have meant inquiring about why the DOJ had refused to

      have a technical meeting with Census officials to discuss how the Census Bureau

      might best meet DOJ’s needs. As discussed, see PFOF III.I, DOJ’s refusal to

      meet was, at least unusual and inexplicable.

f.    A “hard look” would have raised the question of whether the Census could

      disclose census block level data consistent with statutory confidentiality

      provisions. These provisions, found in Section 6 of Title 13, say the Census

      cannot disclose identifying information for respondents. As it stands, it is wholly

      unclear that consistent with these statutory provisions, the Census Bureau can




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               produce for DOJ any better quality information than it already does now. See

               PFOF IX.B.4.

       g.      A “hard look” at DOJ’s request would have examined whether asking a question

               about citizenship on the Decennial Census was needed to provide DOJ with the

               best data. As discussed at PFOF III.H.2.c, IV.E.1, the Census Bureau

               unambiguously advised the Secretary that Alternative B (asking a citizenship

               question) “would use substantially less accurate citizenship status data than are

               available from administrative resources.” PX-22 (AR); Nov. 13 Trial Tr. at 885.

804. In sum, the Secretary took no “hard look” of any kind at DOJ’s request. The only

reasonable inference to be drawn here is that the Secretary deliberately did not ask the many

obvious but “hard” questions to be asked about DOJ’s request; the answers to those questions

would lead to rejecting DOJ’s request or, at the very least, requiring further study before a

citizenship question could be placed in the Decennial Census. Moreover, it would have been

nonsensical for the Secretary to have asked these sorts of “hard” questions given that it was the

Secretary who had pushed DOJ to ask a citizenship question in the first place. Not only did the

Secretary not take a “hard look,” his failure to do so is best explained by his strong interest in

adding a citizenship question to the census, an interest that was prior to, and was independent of,

the DOJ request.

               3.      Conclusions Regarding Sufficiency of Testing

805. Secretary Ross stated in his March 26, 2018 Memorandum that “the citizenship question

has been well tested.” PX-26 (AR).

806. Two problems with Secretary Ross’ assertion are apparent from the face of the March 26

memo. First, notwithstanding his assertion that the question is “well tested,” the Secretary’s

analysis makes clear over and over again that answers that would have been available had the


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question been well tested are not available. For example, the Secretary states that “there is no

information available to determine the number of people who would in fact not respond to a

citizenship question being added.” PX-26 at 5 (AR). Elsewhere he says, citing a former Chief

Executive Officer of the Census, “no empirical data existed on the impact of a citizenship

question on responses.” PX-26 at 3 (AR). In fact there is empirical evidence, but as Mr.

Thompson testified, had “there been a thorough testing and evaluation program, the Secretary

would not find himself saying that he had no good information on this subject.” Thompson Aff.

¶ 94.

807. Second, while the Secretary states that the question is well-tested (presumably for the

ACS), he ignores the testing implications stemming from the evidence that the question did not

perform well on the ACS, with noncitizens frequently answering that they were citizens. (Oddly,

the Secretary cites this evidence for the proposition that the question does not perform well on

the ACS without drawing the obvious inference that this suggests the question might also not

perform well on the Decennial Census. PX-26 at 6 (AR). These facts indicate not that the

citizenship question was “well tested” but rather that there was cause for caution.

808. In any event, the question was not well tested as gauged by governing regulatory

requirements and standards. During trial, Defendants’ sole witness, Dr. Abowd, testified that the

only testing of a citizenship question of which he was aware was for the ACS. Nov. 14 Trial Tr.

at 1271-73.

809. The citizenship question on the American Community Survey was last tested in 2006.

PX-310.




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810. As discussed above, the Census Bureau did not conduct any cognitive testing or field

testing, including randomized control testing (RCT), to analyze the effect of a citizenship

question on the 2020 Decennial Census.

811. This lack of testing conflicted with the Census Bureau’s well-established process for

making changes to the questionnaire, under which “[t]he Census Bureau must test the wording of

the new question.” PX-4 at AR 3890 (AR); PX-3 at AR 2304 (AR); PX-134 (AR); November 14

Trial Tr. at 1264:20-25.

812. The testing of the addition of a citizenship question to the 2020 Decennial Census did not

comply with the standards set out in the Census Bureau Statistical Quality Standards. PX-260.

Under Sub-Requirement A2-3.3 of the Statistical Quality Standards, pretesting is not required for

questions that performed adequately in another survey, but Dr. Abowd testified that the

citizenship question on the ACS is not adequately performing. Nov. 14 Trial Tr. at 1287-88.

813. The testing of the addition of a citizenship question to the 2020 Decennial Census did not

comply with the standards set out in the “Planned Development and Submission of Subjects

Planned for the 2020 Census Program and Questions Planned for the 2020 Census Program”

Memorandum (the “Blumerman Memorandum”). PX-271.

814. The testing of the addition of a citizenship question to the 2020 Decennial Census did not

comply with the standards set out in the Census Bureau’s response to Question 31 in the

questions posed by the Commerce Department about Dr. Abowd’s January 19 memorandum.

PX-132 (AR); PX-140 (AR).

815. The testing of the addition of the citizenship question did not comply with the standards

set out in “Census Bureau Standard: Pretesting Questionnaires and Related Materials for Surveys

and Censuses.” PX-364 (“Census Bureau Pretesting Standards”). The Census Bureau Pretesting




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Standards explicitly state “if there is insufficient evidence about how well a question performs,

the question must be subjected to some form of questionnaire pretest.” PX-364.

816. According to these Census Bureau Pretesting Standards, if the Department of Commerce

was not able to determine definitively how a citizenship question would perform on the

Decennial Census, it must pretest the question. PX-364.

817. The testing of the addition of a citizenship question to the 2020 Decennial Census also did

not comply with Principle 4 of the Principles and Practices of a Federal Statistical Agency. PX-

355.

818. The Census Bureau’s representative, Dr. Abowd, testified that the Decennial Census was

not adequately tested. Census Bureau 30(b)(6) Dep. Vol. I. at 142-43.

819. Dr. Abowd also testified that a citizenship question has not been well-tested in the context

of the short-form Decennial Census. Nov. 15 Trial Tr. at 1330.

820. A citizenship question on the 2020 Decennial Census short form has never been certified

by OMB as being properly tested. Nov. 15 Trial Tr. at 1329.

821. The Decennial Census with a citizenship question was not adequately tested in the view of

Former Census Bureau Director Mr. Thompson. Thompson Aff. ¶ 13.

822. Mr. Thompson testified that the addition of a citizenship question was a significant

deviation from standard practice and that Secretary Ross’s statement regarding testing is not

supported by the Administrative Record. Thompson Aff. ¶ 92.

823. Dr. Hillygus and Dr. Barreto also testified that the Decennial Census with a citizenship

question was not adequately tested. Nov. 5 Trial Tr. at 157:14-16; Nov. 9 Trial Tr. at 737:3-6.




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       a.      Dr. Hillygus and Dr. Barreto testified that a citizenship question is a sensitive

               question both for individuals who live in households with non-citizens and for

               Hispanics. Nov. 5 Trial Tr. At 51:12-25.

       b.      Dr. Hillygus testified that other experts agree that pre-testing of the citizenship

               question as part of the Decennial Census questionnaire is required. Nov. 5 Trial

               Tr. at 169:24-170:5; Nov 9 Trial Tr. at 604:10-13.

824. Six former Census Bureau directors wrote to the Commerce Department to state their

view that the citizenship question had not been adequately tested. PX-116 (AR).

825. The National Academics of Sciences, Engineering, and Medicine’s Committee on

National Statistics (CNSTAT) Task Force on the 2020 Decennial Census concluded that the

citizenship question had not been properly tested for inclusion on the Decennial Census. PX-539.

826. As Dr. Hillygus and Mr. Thompson testified, the fact that a question has previously been

used on the ACS does not mean that it has been appropriately tested to be used on the Decennial

Census due in part to the importance of testing an entire questionnaire before it is used. Nov. 5

Trial Tr. at 149; Thompson Aff. ¶ 63.

827. There are several differences between the ACS and Decennial Census questionnaires that

affect the relevance of ACS testing in the Decennial Census context. Nov. 5 Trial Tr. at 149;

Thompson Aff. ¶ 63.

828. Changes to the Decennial Census are more dramatic than changes to the ACS. Nov. 14

Trial Tr. at 1263:12-15; 1284:12-15.

829. The ACS is a different survey instrument and has a different purpose than the Decennial

Census questionnaire. Thompson Aff. ¶ 32.




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830. First, the ACS is a much longer questionnaire than the Decennial Census questionnaire

and includes over 70 questions. Thompson Aff. ¶ 63; PX-255; PX-665.

831. By contrast, the 2020 Decennial Census will contain 11 questions, if a citizenship question

is included. Thompson Aff. ¶ 63; Nov. 5 Trial Tr. at 159:3-15.

832. A question concerning citizenship may take on added significance to a respondent in the

context of the much shorter Decennial Census questionnaire. Thompson Aff. ¶ 63; PX-162 at 39;

Nov. 5 Trial Tr. at 159:3-15.

833. Second, the macro-environment is different between when the ACS was last tested and the

current environment. Nov 9 Trial Tr. at 737:3-16; Nov. 14 Trial Tr. at 1258-59.

       a.      The ACS was most recently tested in 2006. Nov. 14 Trial Tr. at 1252, 1258.

       b.      The current political macro-environment is different from that of 2006 and it will

               be a difficult macro-environment for a citizenship question on the Decennial

               Census in 2020. Nov. 9 Trial Tr. at 616:12-23, 619:11-620:1, 737:3-16; Nov. 14

               Trial Tr. at 1258-59.

834. Third, survey methodologists have shown that the question order and context—not just the

question wording—is relevant to evaluating data quality, unit and item nonresponse. Nov. 5 Trial

Tr. at 149; Thompson Aff. ¶ 63.

       a.      The Census Bureau agrees that question sequencing can affect response rates,

               including in unanticipated ways that could be discovered through testing. Census

               Bureau 30(b)(6) Dep. Vol. I. at 14-15.

       b.      The citizenship questions on 1950 census and on the Decennial Census long form

               were preceded by a question on place of birth (“nativity”). Nov. 5 Trial Tr. at 150;

               Docket No. 516-1 ¶¶ 65, 66; Nov. 14 Trial Tr. at 1274-75.




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c.    On the ACS citizenship status is asked as a follow-up to the question: “Where was

      this person born?” PX-255; Nov. 5 Trial Tr. at 159-60. Only those who indicate

      that they were born outside the United States are then asked about citizenship

      status in the ACS internet self-response. PX-255; Nov. 5 Trial Tr. at 159-60.

d.    In contrast, as indicated by the language submitted to Congress, the 2020

      Decennial Census will ask about citizenship without a preceding nativity question

      regarding place of birth—and it will be asked of all individuals regardless of their

      method of response. PX-489; Census Bureau 30(b)(6) Dep. Vol. I. at 22-23;

      Docket No. 516-1 ¶ 66; Nov. 14 Trial Tr. at 1275.

e.    The nativity question on the ACS may cause respondents to be more comfortable

      with the citizenship question. Thompson Aff. ¶ 66.

f.    As such, the absence of the nativity question before the citizenship question on

      the 2020 Decennial Census questionnaire may cause respondents to feel that the

      citizenship question is intrusive and cause them to be less willing to respond.

      Thompson Aff. ¶ 66. This creates a fundamentally different context on the ACS

      than the context for a citizenship question on the Decennial Census. Nov. 5 Trial

      Tr. at 160:11-17.

g.    The Census Bureau is not aware of any cognitive testing of citizenship question

      without a preceding question about nativity. Census Bureau 30(b)(6) Dep. Vol. I.

      at 24:4-9; Nov. 14 Trial Tr. at 1275:11-18.

h.    The Administrative Record indicates that no testing on the effect of question order

      was conducted for the addition of a citizenship question to the 2020 Decennial

      Census. PX-1 to PX-14; Thompson Aff. ¶ 66; Nov. 14 Trial Tr. at 1275.




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       i.     On the ACS, there are many other questions that make any particular question

              potentially less salient. PX-255; Nov. 5 Trial Tr. at 160:19-161:6. This context

              difference could affect survey responses. Nov. 5 Trial Tr. at 160:19-161:6.

       j.     Secretary Ross stated in his March 26, 2018 memorandum that placing the

              question at the end of the survey will “minimize any impact on decennial

              response rates.” PX-26 (AR). However, Dr. Hillygus testified that this statement

              by Secretary Ross reflects a fundamental misunderstanding. Respondents are

              directed to answer all of the questions on the Decennial Census questionnaire

              sequentially for each member of their household. In other words, respondents

              will see a citizenship question when they answer the census questionnaire for the

              first member of the household, and before they answer any questions about other

              members of the household. Nov. 5 Trial Tr. at 151-52. Additionally, on a paper

              form, respondents can view all of the questions before completing any of it. PX-

              489.

835. Fourth, the form of the question may affect response rates. Docket No. 516-1 at ¶¶ 68-70.

       a.     The ACS citizenship question includes five response categories rather than asking

              a simple yes/no question. PX-255.

       b.     Members of Congress and other stakeholders have raised concerns about the

              response category “Yes born in Puerto Rico, Guam, the U.S. Virgin Islands, or

              Northern Marianas” because respondents in Puerto Rico may be offended by the

              perception that their citizenship is different from that of citizens in the mainland

              United States and thus potentially less likely to respond. Thompson Aff. ¶ 69;

              Nov. 5 Trial Tr. at 162:9-25.




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       c.      However, there is no evidence in the Administrative Record that any alternative

               question designs, including a simple yes/no question, were considered or tested

               before Secretary Ross made the decision to add the ACS citizenship question to

               the 2020 Decennial Census questionnaire. Thompson Aff. ¶ 71.

836. The Administrative Record indicates that no testing was conducted to determine how the

absence of the nativity question or how the use of the specific wording from the ACS citizenship

question will influence response rates to a citizenship question if asked on the Decennial Census.

PX-1 to 14 (AR); Thompson Aff. ¶ 71.

               4.     Conclusions Regarding Decline in Response Rate and Expense

837. Secretary Ross stated in his March 26, 2018 Decisional Memorandum that “neither the

Census Bureau nor the concerned stakeholders could document that the response rate would in

fact decline materially.” PX-26 (AR).

838. He further stated that “the [Commerce] Department’s review found that limited empirical

evidence exists about whether adding a citizenship question would decrease response rates

materially” and “the Census Bureau’s analysis did not provide definitive, empirical support” for

the proposition that the addition of a citizenship question to the 2020 Decennial Census would

reduce response rates. PX-26 (AR).

839. Prior to issuance of the memo, the Census Bureau provided an analysis to Secretary Ross

finding that adding a citizenship question to the 2020 Decennial Census would lead to a 5.1%

decrease in self-response rates for households containing noncitizens. PX-22 (AR); PX-297 at

RFA 84.

840. Dr. Abowd testified that he discussed the decline in self-response rates with Secretary

Ross during the February 12 meeting. Nov. 13 Trial Tr.at 921.




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841. Secretary Ross stated in his March 26, 2018 memorandum that while the Census Bureau

considered whether non-response follow-up increases resulting from the addition of a citizenship

question would lead to increased costs, “this estimate was difficult to assess.” PX-26 (AR).

842. Prior to issuance of the memo, the Census Bureau provided an analysis to Secretary Ross

estimating that the decrease in self-response rates caused by adding a citizenship question to the

2020 Decennial Census would lead to an increase in costs of at least $27.5 million and that this

was a “conservative” estimate. PX-22 (AR), PX-297 at RFA 86.

843. The Census Bureau has subsequently found that adding a citizenship question to the 2020

Decennial Census would lead to a 5.8% decrease in self-response rates and an increase in costs

of at least $91.2 million. PX-297 at RFA 87; PX-162.

844. Secretary Ross stated in his March 26, 2018 Decisional Memorandum that the difference

in “nonresponses to the [ACS] citizenship question” for non-Hispanic whites and Hispanics were

“comparable” to the difference in “nonresponse rates for other questions,” such as marriage,

educational attainment, monthly gas costs, weeks worked in the past 12 months, wage/salary

income, and yearly property insurance. PX-26 (AR); PX-297 at RFA 88.

845. The difference in nonresponse rates for Hispanics and non-Hispanic whites for the ACS

citizenship question is larger than the difference for nonresponse rates for Hispanics and non-

Hispanic whites for the questions about marriage, educational attainment, monthly gas cost,

weeks worked in the past 12 months, wage/salary income, and yearly property insurance. PX-

297 at RFA 89-95; PX-9 (AR).

846. In analyzing the impact of the addition of a citizenship question, the Census Bureau found

empirical evidence that a citizenship question could reduce response rates and provided that

evidence to Secretary Ross. PX-297 at RFA 96-97; PX-22 (AR); PX-162 (AR).




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847. In analyzing the impact of the addition of a citizenship question, the Census Bureau did

not make or find any analysis which concluded adding a citizenship question would not impact

response rates. PX-297 at RFA 98.

848. The Census Bureau’s analysis produced credible, quantitative evidence that the addition

of a citizenship question could be expected to lower the self-response rate in households that

may contain noncitizens. Nov. 13 Trial Tr. at 923.

849. Dr. Barreto and Dr. Hillygus testified that decades of social science research, including

Census Bureau reports, establish that the addition of a citizenship question will reduce self-

response rates on the 2020 Decennial Census, especially among Latino and immigrant

communities. Nov. 9 Trial Tr. at 590:13-18, 591:14-592:2; Nov. 5 Trial Tr. at 30, 50-51; see

also PFOF VII.D.2-3.

850. Dr. Barreto’s survey results also provide credible, quantitative evidence confirming that

the addition of a citizenship question to the 2020 Decennial Census will be expected to lower

self-response rates both nationally and differentially and will ultimately exacerbate the net

differential undercount of Latino and immigrant communities in particular. Nov. 9 Trial Tr. at

590:19-24, 591:9-12, 671:6-671:19, 672:13-672:22, 675:10-675:14; see also PFOF VII.D.3.

851. Dr. Barreto provided empirical evidence that between 28 and 35 million people would not

respond due to a citizenship question on the 2020 Decennial Census, of which 10-11 million

people would be Hispanic. Thus, although the Hispanic population is only 13% of the national

total, they would constitute approximately 35% of those affected by a citizenship question. Nov.

9 Trial Tr. at 683-686; PX-675; PX-676.




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852. Secretary Ross’s decision memo repeatedly references information provided by The

Nielsen Company, particularly as a source of “empirical evidence about the impact of sensitive

questions on survey response rates.” PX-26 (AR).

853. But Christine Pierce, the Senior Vice President of Data Science for the Nielsen Company

who spoke with Secretary Ross about a citizenship question, testified that the Secretary’s

decision memo does not accurately reflect the telephone conversation she had directly with the

Secretary and Michael Walsh, a Commerce Department lawyer, about a citizenship question.

Ms. Pierce, the stakeholder referenced in the Secretary’s decision memo as a purported source of

“empirical evidence about the impact of sensitive questions on survey response rates,” testified at

trial that Nielsen did not provide any such evidence. Pierce Aff. (Docket No. 498-18) at ¶¶ 15,

18.

854. In fact, Pierce testified that Secretary Ross’s decision memo materially mischaracterized

her input and omitted key facts (including her “unequivocal[]” concern “that a citizenship

question would negatively impact self-response rates”). Id. at ¶¶ 9, 12-18.

855. Secretary Ross’s decision memorandum states that “to the best of [Nielsen’s] knowledge,

no empirical data existed on the impact of a citizenship question on responses.” PX-26 at AR

1315. But Ms. Pierce testified that she “did not say ‘to the best of [my] knowledge no empirical

data existed on the impact of a citizenship question on responses.’” Pierce Aff. ¶ 10.

856. Secretary Ross stated in his March 26, 2018 memorandum that the “Census [Bureau] was

not able to isolate what percentage of decline was caused by the inclusion of a citizenship

question rather than some other aspect of the long form survey,” and “[t]he Department of

Commerce is not able to determine definitively how inclusion of a citizenship question on the

decennial census will impact responsiveness.” PX-26 (AR)




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857. Conducting an RCT would have allowed the Census Bureau to isolate the effect of a

particular question, such as a citizenship question, on response rates. Nov. 13 Trial Tr. at 923-

26.

858. Employees at the Census Bureau developed a proposed RCT test for the content of a

citizenship question on the 2020 Decennial Census. PX-164; PX-165.

859. The proposal would have taken six weeks to collect the data, and would have cost

between $2 million and $4.1 million, which is money that the Census Bureau has. PX-165; PX-

268; Census Bureau 30(b)(6) (Abowd) Vol. II. (Docket 502-4) at 426-27; Nov. 13 Trial Tr. at

1001-02.

860. The Census Bureau could have conducted an RCT on the citizenship question prior to

printing the questionnaires for the 2020 Decennial Census. PX-268; Nov. 13 Trial Tr. at 1002.

861. A group of decision makers including Under Secretary Kelley made the decision not to

conduct this proposed RCT. Census Bureau 30(b)(6) (Abowd) Vol. II. (Docket 502-4) at 427: 8-

11; Nov. 13 Trial Tr. at 1002.

862. The Census Bureau has subsequently updated the analysis in the January 19 Memo in an

August 6, 2018 memorandum titled “Understanding the Quality of Alternative Citizenship Data

Sources for the 2020 Census” (hereinafter “August 6 Memo”; also known as “White Paper” or

“Brown Memo”). PX-162; DX-2; PX-297 at RFA 24; Nov. 13 Trial Tr. at 895-96.

863. The August 6 Memo is the most recent version of the technical report performed under the

supervision of Dr. Abowd. Nov. 13 Trial Tr. at 895.

864. The December 22 Memo constitutes an earlier draft of the August 6 Memo. PX-4 at AR

11634 (AR); Nov. 13 Trial Tr. at 896.




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865. Dr. Abowd testified that the methodology reflected in this memorandum was appropriate

and that the memorandum “constitutes the best analysis that the Census Bureau can do of the

consequences of adding the citizenship question to the 2020 census … with the available data.”

Nov. 13 Trial Tr. at 897.

866. Dr. Abowd agrees with the conclusions of this memorandum. Nov. 13 Trial Tr. at 897.

867. The August 6 Memo developed a “cautious” and “conservative” estimate that an

additional 5.8% of households with at least one noncitizen would not self-respond to the 2020

Decennial Census because of the addition of a citizenship question. PX-162 (AR); PX-297 at

RFA 24; Nov. 13 Trial Tr. at 897-98.

868. This 5.8% is the “best conservative estimate” of the adverse impact of the addition of a

citizenship question on response rates to the 2020 Decennial Census. PX-162 (AR); Nov. 13

Trial Tr. at 897.

869. The August 6 Memo’s 5.8% conservative estimate is based on 2016 ACS data compared

against 2010 Census data. Nov. 13 Trial Tr. at 898-98.

870. The 5.8% estimate is conservative, in part, because it is based on: (a) ACS data that does

not reflect the prominence of a citizenship question on the Decennial Census compared to the

ACS; (b) 2016 data that does not reflect the changing macro-environment in which a citizenship

question would be asked on the 2020 Decennial Census; and (c) the comparison of citizen

households against non-citizen households and therefore does not include any possible reduction

in self-response among all-citizen households. PX-162 (AR); Nov. 13 Trial Tr. at 901-03.

871. Dr. Abowd testified that the assumption that a citizenship question will not have any

effect on all-citizen households is probably wrong. PX-162 (AR); Nov. 13 Trial Tr. at 903-05.




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872. The August 6 Memo is being submitted for peer reviewed publication by the Census

Bureau. Nov. 13 Trial Tr. at 1015-16.

                5.     Conclusions Regarding Respondent Burden

873. Secretary Ross stated in his March 26, 2018 Decisional Memorandum that “for the

approximately 70 percent of non-citizens who already answer this question accurately on the

ACS, the question is no additional imposition.” PX-26 (AR).

874. The Census Bureau has conducted analyses that conclude the addition of a citizenship

question imposes a burden on non-citizens. PX-26 (AR); PX-22 (AR); PX-162; PX-297 at RFA

100.

875. The Census Bureau has conducted analyses that conclude the addition of a citizenship

question imposes a burden on Hispanics, including Hispanic citizens. PX-22 (AR); AR-162; PX-

297 at RFA 101.

876.   Dr. Hillygus testified that Secretary Ross’ statement that a citizenship question is no

additional imposition is contradicted by survey research and Census Bureau opinion. Nov. 5

Trial Tr. at 50:6-8.

877. Dr. Habermann testified that a citizenship question would impose higher data collection

costs than superior alternatives. Docket No. 498-11 at ¶¶ 48-54.

878. Secretary Ross supported his decision in the March 26 Memo with the statement that “the

former director of the Census Bureau during the last Decennial Census told me that, while he

wished there were data to answer the question, none existed to his knowledge.” PX-26 (AR).

879. On January 26, 2018, Secretary Ross received a letter from six former Census Directors

regarding the addition of a citizenship question to the Decennial Census. PX-116(AR).

880. One of the six former Census Directors was Robert Groves. PX-116 (AR)




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881. The six former Census Directors warned against adding a citizenship question, and stated

that “we believe that adding a citizenship question to the 2020 Census will considerably increase

the risks to the 2020 enumeration.” PX-116 (AR).

882. The Secretary stated in the March 26 Memo that “there is no information available to

determine the number of people who would in fact not respond due to a citizenship question

being added” and that “no empirical data existed on the impact of a citizenship question on

responses.” PX-26 (AR).

883. But as detailed above, the Census Bureau provided multiple analyses detailing the impact

of a citizenship question on responses.

               6.     Conclusions Regarding Data Quality

884. Secretary Ross stated in his March 26, 2018 memorandum that “[i]t is my judgment that

Option D will provide DOJ with the most complete and accurate CVAP data in response to its

request. Asking the citizenship question of 100 percent of the population gives each respondent

the opportunity to provide an answer. This may eliminate the need for the Census Bureau to have

to impute an answer for millions of people.” PX-26 (AR).

885. Secretary Ross further stated in his March 26 memo that the addition of “a citizenship

question on the 2020 decennial census is necessary to provide complete and accurate data in

response to the DOJ request.” PX-26 (AR).

886. Secretary Ross further stated that “citizenship data provided to DOJ will be more accurate

with the question than without it, which is of greater importance than any adverse effect that may

result from people violating the law.” PX-26 (AR).

887. These assertions are wholly at odds with the administrative record. The Census Bureau

repeatedly advised the Secretary based on empirical analysis, not disclosed in the Secretary’s

memorandum, that more accurate information could be provided by looking to administrative


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records alone rather than by using a citizenship question. PX-26 (AR); PX-25 (AR); PX-132

(AR); PX-574 (AR); PX-575 (AR).

888. Dr. Abowd testified that neither he nor the Census Bureau agrees that the addition of a

citizenship question to the 2020 Decennial Census is necessary to provide complete and accurate

data in response to the DOJ request. Nov. 13 Trial Tr. at 1048.

889. In Dr. Abowd’s January 19 memo to the Secretary, the Census Bureau unambiguously

advised the Secretary that Alternative B (asking a citizenship question) “would use substantially

less accurate citizenship status data than are available from administrative resources.” PX-22

(AR); Nov. 13 Trial Tr. at 885.

890. After the Secretary asked the Census Bureau to consider Alternative D (combining results

of asking a citizenship question and using administrative records), the Census Bureau advised

him in Dr. Abowd’s March 1 memo that “Alternative D would result in poorer quality

citizenship data than Alternative C.” PX 25 at 5 (AR). The Census Bureau’s conclusions were

based on a careful analysis of the available data. See PFOF IV.E.4.

891. By contrast, there is no empirical or other evidence anywhere in the Administrative

Record supporting the Secretary’s assertion that the “citizenship data provided to DOJ will be

more accurate with the question than without it….” PX-26 at 7 (AR). Indeed, the Secretary had

no professional expertise regarding these matters independent of the Census Bureau. Comstock

Dep. at 324:19-325:1; Park-Su Dep. at 57-58 (objection at 57:7); Jarmin Dep. (Docket No. 511-

2) at 33-37, 59, 108 (objection (602) at 34:10-14). The Secretary’s assertion is no more than an

assumption which he did not discuss with Dr. Abowd and which was not endorsed by the Census

Bureau. Nov. 13 Trial Tr. at 977.




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892. To the extent that the Secretary’s position is premised on the notion that questioning all

households about citizenship would avoid the need for “sophisticated statistical modeling,” or for

the Census Bureau to “deploy a team of experts to develop model-based methods that attempt to

better facilitate DOJ's request for more specific data,” PX 26 (AR), he was operating under a

misapprehension. In analyzing Alternative D, the Census Bureau professionals concluded that

“[i]ncluding a citizenship question in the 2020 Census does not solve the problem of incomplete

person linkages when producing citizenship statistics after 2020. Both the 2020 decennial record

and the record with the person’s future location would need to be found in PVS [Person

Validation Service] to be used for future statistics.” PX-25 (AR).

893. Dr. Abowd testified that including a citizenship question on the Decennial Census would

not eliminate the need for the Census Bureau to model an answer for millions of people. Nov. 13

Trial Tr. at 970-72. Dr. Abowd further testified that because survey responses are not reliable

enough to fill the gaps in administrative records regarding citizenship data, the inclusion of

citizenship question on the Decennial Census does not eliminate the need to do statistical

modeling to determine census block-level citizenship data. Nov. 13 Trial Tr. at 975.

894. Elsewhere in his memo, Secretary Ross states that “placing the [citizenship] question on

the Decennial Census and directing the Census Bureau to determine the best means to compare

the Decennial Census responses with administrative records will permit the Census Bureau to

determine the inaccurate response rate for citizens and non-citizens alike using the entire

population. This will enable the Census Bureau to establish, to the best of its ability, the accurate

ratio of citizen to non-citizen responses to impute for that small percentage of cases where it is

necessary to do so.” PX-26 (AR). In contrast the Census Bureau professionals concluded that

“survey-collected citizenship data may not be reliable for many of the people falling in the gaps




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in administrative data.” PX-25 (AR); Nov. 13 Trial Tr. at 973-74. Indeed, the Census Bureau

professionals found that in the 2016 ACS, individuals whom the administrative records indicate

are noncitizens responded “citizen” 34.7% of the time. PX-22 (AR).

895. Secretary Ross relied on technical presumptions in his March 26, 2018 memorandum.

PX-26 (AR); Nov. 13 Trial Tr. at 977. The technical presumptions that Secretary Ross relied on

in his March 26, 2018 memorandum were not endorsed by the Census Bureau. Nov. 13 Trial Tr.

at 977.

896. For reasons discussed in PFOF IX.B.4, the Census Bureau’s use of disclosure avoidance

procedures means that the CVAP data produced will necessarily not be “complete and accurate.”

897. There is no evidence in the Administrative Record that supports Secretary Ross’ statement

that providing the citizenship data to DOJ “is of greater importance than any adverse effect that

may result from people violating the law.” PX-1 to PX-14 (AR).

          a.   There is evidence in the Administrative Record and the Census Bureau believes

               that adding a citizenship question will impose burden on Hispanic and non-citizen

               respondents resulting in reduced self-response, greater costs, and a less accurate

               census. PX-22 (AR); PX-162; PX-267.

          b.   By saying that providing the data to DOJ is of “greater importance” than anything

               else, he is necessarily saying that provision of the data to DOJ is more important

               than achieving a full enumeration—to “count everyone once, only once, and in

               the right place.” Nov. 14 Trial Tr. at 1087.

          c.   But DOJ was able to enforce the VRA since 1965 without such data. See PFOF

               IX.B.2.




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        d.     And DOJ witnesses admitted that they do not believe this data is necessary to

               enforce the VRA. See PFOF III.F, IX.B.5.

        e.     And who is Secretary Ross to say that collection of the data is more important

               than a community’s loss of political representation? Or a community’s loss of

               funding? Or the heightened stress that addition of a citizenship question will

               achieve?

               7.     Important Aspects of the Problem Not Discussed in Secretary Ross’
                      March 26 Decision Memo

898. Secretary Ross’s March 26 memo does not note or otherwise discuss the Census Bureau’s

failure to identify citizenship as a topic on the March 31, 2017 notification to Congress pursuant

to 13 U.S.C. § 141(f)(1). PX-26 (AR).

899. Secretary Ross’ March 26 memo does not note or otherwise discuss his obligation to “find

new circumstances exist which necessitate” the addition of citizenship as a subject for the

Decennial Census after the March 31, 2017 deadline as required by 13 U.S.C. § 13(f)(2). PX-26

(AR).

900. There is no evidence in the Administrative Record or discussed in Secretary Ross’ memo

that DOJ’s asserted need for block-level CVAP data constituted a “new circumstance” arising

after the March 31, 2017 subject disclosure deadline. PX-1 to PX-14 (AR), PX-26 (AR).

901. Secretary Ross’s March 26 memo does not note or otherwise discuss his obligation “to the

maximum extent possible and consistent with the kind, timeliness, quality and scope of the

statistics required” to “acquire and use information available from any source [from other federal

or other governmental entities] inst ead of conducting direct inquiries as required by 13 U.S.C.

§ 6(c). PX-26 (AR).




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        a.     There is evidence in the Administrative Record that Secretary Ross could have

               acquired and used information available from other federal government agencies

               (including the Social Security Administration, the Internal Revenue Service, and

               the Department of State) to obtain the citizenship data needed to satisfy DOJ

               Request. PX-22 (AR), PX-25 (AR).

        b.     There is evidence in the Administrative Record that the data that Secretary Ross

               could have acquired from other federal government agencies was of higher

               quality and could be collected on a more timely basis at far less expense that

               adding a citizenship question to the Decennial Census. PX-22 (AR), PX-25 (AR).

902. Secretary Ross’s March 26 memo does not address the Office of Management and Budget

Standards and Guidelines for Statistical Surveys, including Standard 1.3 which requires agencies

to “design the survey to achieve the highest practical rates of response, commensurate with the

importance of survey uses, respondent burden, and data collection costs . . .” PX-359; PX-26

(AR).

903. There is evidence in the Administrative Record that the option chosen by Secretary Ross

would not “achieve the highest practical rates of response” and imposed respondent burden and

higher data collection costs than alternatives. PX-22, PX-25.

904. Secretary Ross’s March 26 memo does not discuss the Census Bureau Statistical Quality

Standards, including requirement A2-3 which provides that ‘data collection instruments . .. must

be developed and tested in a manner that balances (within the constraints of budget, resources,

and time) data quality and respondent burden.” PX-360; PX-26 (AR).

        a.     There is evidence in the Administrative Record that the option chosen by

               Secretary Ross did not balance “data quality and respondent burden” and imposed




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               higher respondent burden than options that would have produced more accurate

               data. PX-22 (AR); PX-25 (AR).

       b.      Dr. Hillygus testified at length about the respondent burden associated with a

               citizenship question, including how Secretary Ross’ statements about burden were

               contradicted by survey methodology literature, Nov. 5 Trial Tr. at 47-50, the

               external evidence that the citizenship question was sensitive, id. at 52-58, the

               Census Bureau research on confidentiality concerns, id. at 58-68, and Dr.

               Abowd’s analysis on impact on response (PX-22), id. at 68-89.

905. Secretary Ross’s March 26 memo does not discuss the Census Bureau’s Statistical Quality

Standards, including requirement A2-3-3.1 which provides “data collection instruments and

supporting materials must be pretested with respondents to identify problems (e.g., problems

related to content, order/context effects, skip instructions, formatting, navigation, and edits) and

then refined, prior to implementation based on the pretesting results.” PX-260.

       a.      Secretary Ross’s memo states that the citizenship question had been “well-tested,”

               but there is no exception in the Census Bureau Statistical Quality Standards for

               “well-tested questions.” Rather, the exception states that “pretesting is not

               required for questions that performed adequately in another survey.” PX-260.

       b.      There is evidence in the Administrative Record (which Secretary Ross did not

               address in his decisional memo) that the citizenship question was not performing

               adequately on the American Community Survey. PX-22 (AR); PX-25 (AR); PX-

               162. Specifically, the Census Bureau presented analysis to Secretary Ross that in

               the 2016 ACS, individuals whom administrative records indicate are noncitizens




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               responded “citizen” 34.7% of the time, and a number of citizens responded that

               they were non-citizens. PX-22 (AR).

       c.      Dr. Abowd does not believe the citizenship question on the ACS is performing

               adequately. Nov. 14 Trial Tr. at 1287-88.

906. Secretary Ross’s March 26 memo does not discuss that the Census Bureau is prohibited

from making “Any publication whereby the data furnished by any particular individual under

this title can be identified.” 13 U.S.C. § 9(a)(2); PX-26 (AR).

       a.      Because census blocks can contain small numbers of people, the Census Bureau

               engages in disclosure avoidance procedures in every census block to prevent third

               parties from potentially unmasking information about Census respondents. Nov.

               13 Tr. at 1031-33.

       b.      Secretary Ross’s memo does not address that the Census Bureau, in order to

               comply with its disclosure mandates, engages in disclosure avoidance procedures

               that prevent the disclosure of actual demographic characteristics at the census

               block level. PX-26 (AR).

       c.      Secretary Ross’s memo does not address the implications for disclosure avoidance

               procedures; Ross does not acknowledge that these procedures will preclude the

               Census Bureau from providing actual or accurate CVAP counts at the census

               block level. PX-26 (AR).

       d.      Neither Secretary Ross’s memo nor the Administrative Record provides any

               support for Secretary Ross’s conclusion that asking a citizenship question on the

               Decennial Census is “necessary to provide complete and accurate data in response

               to the Department of Justice request.” PX-26 (AR).




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V.     LAWSUIT AND POST-LAWSUIT DISCLOSURES

907. The States of New York, Connecticut, Delaware, Illinois, Iowa, Maryland, Minnesota,

New Jersey, New Mexico, North Carolina, Oregon, Rhode Island, Vermont, and Washington;

Commonwealths of Massachusetts, Pennsylvania, and Virginia; District of Columbia; cities of

Chicago, New York, Philadelphia, Providence, and Seattle; city and county of San Francisco;

and the United States Conference of Mayors filed a lawsuit to challenge the addition of a

citizenship question on April 3, 2018. Docket No. 1. The State and City Plaintiffs filed a First

Amended Complaint in April 30, 2018 and a Second Amended Complaint on July 25, 2018

adding Central Falls, Columbus, Pittsburgh, counties of Cameron, El Paso, Hidalgo, Monterey,

and the city of Phoenix as plaintiffs, respectively. Docket No. 85; Docket No. 214.

908. On June 6, 2018, New York Immigration Coalition, CASA de Maryland, American-Arab

Anti-Discrimination Committee, ADC Research Institute, and Make the Road New York filed a

lawsuit to challenge the addition of a citizenship question. See No. 18-cv-05025, Docket No. 1.

909. On May 9, 2018, this Court ordered the production of the Administrative Record on or

before June 8, 2018. Docket No. 137.

910. On May 8, 2018, Earl Comstock testified, along with Director Jarmin, before the House

Oversight Committee on the topic of the Census. PX-276.

911. Congresswoman Eleanor Holmes Norton asked them why a citizenship question, “which

was dropped for 70 years, suddenly appear on the decennial census? What was the point?” PX-

282 at 37.

912. Mr. Comstock responded that they “received a request from the Justice Department for

this, and their rationale was that the level of the information that they needed to enforce the

Voting Rights Act was not available.” PX-282 at 37.




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913. Congresswoman Norton also asked if they had “any evidence that it would not have an

impact on the Census, asking such a question, particularly given the testimony of Mr. Levitt that

people have increasingly refused to answer this question.” PX-282 at 38.

914. Mr. Comstock responded that Secretary Ross “carefully considered the issue and there

was quite extensive discussion of the matter. And that was exactly the point: we were asked,

made a valid request by a government agency to add this to the census; we went through our

normal process; and we looked at this carefully.” PX-282 at 38-39.

915. On May 10, 2018, Secretary Ross testified before the Senate Appropriations Committee,

and Senator Patrick Leahy asked Secretary Ross, “Now, you have also marketed the citizenship

question as necessary to enforce the Voting Rights Act. The Justice Department hasn’t brought

any voting rights cases since the President took office, they don’t seem to see a problem out

there. All the voting rights advocates I’ve spoken with oppose including the question. They say

it is going to have the opposite effect and will bring about severe under-representation of those

who they are trying to protect. And why the sudden interest in that when the Department that is

supposed to enforce violations doesn’t see any problems?” PX-494.

916. Secretary Ross responded that, “Well, the Justice Department is the one who made the

request of us.” PX-494.

917. These statements to Congress omitted: (1) the fact that the Secretary Ross directed his

staff and the Census Bureau to consider the addition of a citizenship question long before the

December 12, 2017 letter from DOJ, (2) the active lobbying of DOJ by Mr. Comstock on behalf

of Secretary Ross, and (3) contacts between Defendants Ross and the White House. PX-88

(AR); PX-55 (AR); PX-537 (AR); PX-58 (AR); PX-298 (R) at RFA 62; Teramoto Tr. at 28–32;

Comstock Tr. at 145–46.




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918. On May 21, 2018, Mr. Gore testified before the House Oversight Committee. He declined

to answer many questions, citing pending litigation. Among other things, Gore did not mention

that the Department of Commerce reached out to DOJ to see if DOJ would request a citizenship

question. PX-509; Gore Dep. at 63:20–64:10. Mr. Gore also failed to mention that DOJ was

initially reluctant to request the question, or that Attorney General Sessions had directed DOJ not

to meet with the Census Bureau to discuss a citizenship question. Gore Dep. at 63:20–64:10,

68:7–14, 69:4–9, 271:21–272:13. Gore also did not mention that Acting Director Jarmin—the

Acting Director of the Census Bureau—believed that there was a different vehicle that would

yield “more accurate” data for the purposes of VRA enforcement. PX-509.

919. Defendants produced an Administrative Record along with a certification and index on

June 8, 2018 with only 1,320 pages. PX-1 (AR); Docket No. 173. These materials allude to but

contain little documentation of internal deliberations before December 2017 or communications

between the Departments of Commerce and Justice. Docket No. 173. PX-1 (AR).

920. On June 21, 2018, Secretary Ross filed a supplemental memorandum significantly

revising the narrative as to the origin and genesis of how a citizenship question came to be

placed on the Decennial Census. Docket No. 189; PX-2 (AR). The June 21 memorandum

provided the first public acknowledgment of internal consideration of a citizenship question prior

to DOJ’s letter on December 12, 2018, but still provided no details of those deliberations or any

communications between the Department of Commerce and DOJ. PX-2 (AR). The supplemental

memorandum states that Secretary Ross and his staff “inquired whether the Department of

Justice (DOJ) would support, and if so would request, inclusion of a citizenship question . . . .”

PX-2 (AR). The supplemental memorandum also introduced the fact that Secretary Ross

consulted with “senior administration officials” prior to speaking with DOJ. PX-2 (AR).




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921. Dr. Abowd described himself and everyone he knows at the Census Bureau as surprised

when they learned about Secretary Ross’s role in soliciting DOJ to request the inclusion of a

citizenship question. Nov. 13 Trial Tr. at 1020-22.

922. On July 3, 2018, and memorialized in the July 5, 2018 order, this Court ordered the

Defendants to produce a complete Administrative Record by July 23, 2018, and authorized

limited extra record discovery. Docket No. 199. The Court granted additional time to produce a

complete Administrative Record on July 26, 2018. Docket No. 211.

923. Defendants produced supplemental Administrative Record documents on July 23, 2018

(Bates 0001322-0003735) and July 27, 2018 (0003736-0012464). Docket Nos. 212, 216, 217;

PX-3 (AR); PX-4 (AR). The productions of July 23, 2018 and July 27, 2018 contain additional

information about Department of Commerce deliberations preceding the December 12, 2017

letter from DOJ, and communications between Commerce and DOJ.

924. On July 12, 2018, Plaintiffs asked several interrogatories of Defendants Ross and

Department of Commerce, most particularly Interrogatory No. 1, PX-511:

       “With regard to the document found in the Administrative Record at 1321, please
       IDENTIFY:
       a. the “senior Administration officials” who “previously raised” reinstating the
       citizenship question;
       b. the “various discussions with other government officials about reinstating a
       citizenship question to the Census”;
       c. the consultations Secretary and his staff participated in when they “consulted
       with Federal governmental components”;
       d. the date on which the “senior Administration officials” who “previously raised”
       reinstating the citizenship question first raised this subject; and
       e. all PERSONS with whom the “senior Administration officials had previously
       raised” reinstating the citizenship question. PX-280.


925. On August 13, 2018, Defendants responded to Plaintiffs’ first interrogatory by saying,

“Defendants have not to date been able to identify individuals responsive to subpart a.




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Defendants’ investigation is continuing, and Defendants will supplement this response as

appropriate,” but provided initial responses to the other subparts. PX-280 at 14-15.

926. On September 5, 2018, Defendants supplemented their response to Plaintiffs’ first

interrogatory by saying they “construed subparts a, b, and c, as coextensive,” and identified

Mary Blanche Hankey, James McHenry, Gene Hamilton, Danielle Cutrona, John Gore and

Jefferson Sessions, along with Kris Kobach and Steve Bannon. PX-511 at 2-3. With regard to

conversations between Secretary Ross and the Attorney General, Defendants in the September 5

Supplemental response to Plaintiffs’ first interrogatory stated that “Secretary Ross discussed the

possible reinstatement of a citizenship question on the 2020 Decennial Census with Attorney

General Sessions in August 2017. In addition, it is possible that the two had an additional

discussion concerning the issue, and although the date of that conversation is unknown,

Defendants believe it took place earlier in 2017.” PX-511 at 3. In the September 5 Supplemental

Response to Plaintiffs’ first interrogatory, Defendants further stated that “Defendants cannot

confirm that the Secretary spoke to Steve Bannon regarding the Citizenship Question.” PX-511

at 3.

927. On October 11, 2018, Defendants again supplemented their responses to Plaintiffs’ first

interrogatory and made substantial changes to the September 5 response. PX-302. For the first

time, on October 11, 2018, Defendants stated in response to Plaintiffs’ first interrogatory that

“Secretary Ross discussed the possible reinstatement of citizenship question on the 2020

Decennial Census with Attorney General Sessions in the Spring of 2017 and at subsequent

times.” PX-302. On October 11, 2018, Defendants once again supplemented their response to

Plaintiffs’ first interrogatory by stating that “Secretary Ross recalls that Steven Bannon called

Secretary Ross in the Spring of 2017 to ask Secretary Ross if he would be willing to speak to




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then-Kansas Secretary of State Kris Kobach about Secretary Kobach’s ideas about a possible

citizenship question on the decennial census.” PX-302.

928. On November 13, 2018, amidst trial, the Department of Commerce issued an official

statement reacting to Dr. Abowd’s testimony in this case, providing the following: “Under

authority granted to the Secretary of Commerce, Ross determined that the addition of the

question, combined with administrative records, would provide the best results to fulfill DOJ’s

request. While his decision was ultimately different from Dr. Abowd’s recommendation, the

Secretary reached his decision, in part, due to the Census Bureau’s assurances that any drop in

self-response rate can and will be remediated by non-response follow operations.” PX-684.

929. On November 13, 2018, Secretary Ross gave an interview to Yahoo! News in which he

discussed the matter at issue in this litigation and a citizenship question more broadly. PX-688.

In that interview, Secretary Ross stated, “[W]e ourselves released that there had been a

conversation with Steve Bannon, there had been a conversation with Kobach. Those are natural.

And there was in the air early in the administration a whole bunch of questions about census, so

it was natural that there’d be some limited discussions. But what triggered the investigation, the

real study, what triggered the process that lead to the determination to do it was the letter from

the Department of Justice.” PX-688.

VI.    THE ADDITION OF A CITIZENSHIP QUESTION IS CLOSELY LINKED WITH
       THE TRUMP ADMINISTRATION’S WIDER NATIVIST AGENDA.

       A.      Department of Commerce’s Admissions Regarding President Trump,
               Attorney General Sessions, and Other Senior Administration Officials’
               Statements of Animus Toward Immigrant Communities of Color and
               Secretary Ross’s Support

930. The Department of Commerce admitted that in December 2016, during an interview with

TIME magazine, Donald Trump stated, in reference to an article about a supposed recent crime

wave on Long Island: “They come from Central America. They’re tougher than any people


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you’ve ever met. They’re killing and raping everybody out there. They’re illegal. And they are

finished.” PX-298 (R) at RFA 15.

931. The Department of Commerce admitted that on January 27, 2017, Donald Trump signed

an executive order blocking persons from Iran, Iraq, Libya, Somalia, Sudan, Syria, and Yemen

from entering the United States. PX-298 (R) at RFA 17.

932. The Department of Commerce admitted that Stephen Bannon called Secretary Ross in the

Spring of 2017 to ask Secretary Ross if he would be willing to speak to then-Kansas Secretary of

State Kris Kobach about Secretary’s Kobach’s ideas about a possible citizenship question on the

Decennial Census. PX-19(AR); PX-58(AR); PX-298 (R) at RFA 51; Comstock Dep. at 120–123;

Teramoto Dep. at 160. PX-302.

933. The Department of Commerce admitted that on March 27, 2017, Attorney General

Sessions, referring to Latino immigrants, stated: “the American people are justifiably angry . . .

assaults, burglaries, drug crimes, rapes, crimes against children and murders. Countless

Americans would be alive today and countless loved ones would not be grieving today . . . The

President has rightly said that this disregard for the law must end. . . .” PX-298 (R) at RFA 20.

934. The Department of Commerce admitted that on June 13, 2017, Acting ICE Director

Thomas Homan testified “every immigrant in the country without papers . . . should be

uncomfortable. You should look over your shoulder. And you need to be worried. . . . No

population is off the table. . . .” PX-298 (R) at RFA 21.

935. The Department of Commerce admitted that on June 28, 2017, Donald Trump said: “They

are bad people. And we’ve gotten many of them out already. . . We’re actually liberating towns,

if you can believe that we have to do that in the United States of America. But we’re doing it,

and we’re doing it fast.” PX-298 (R) at RFA 23.




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936. The Department of Commerce admitted that on July 14, 2017, Kris Kobach wrote to

Secretary Ross stating: “I’m following up on our telephone discussion from a few months ago.

As you may recall, we talked about the fact that the US census does not currently ask

respondents their citizenship. This lack of information impairs the federal government’s ability

to do a number of things accurately. It also leads to the problem that aliens who do not actually

‘reside’ in the United States are still counted for congressional apportionment purposes.” PX-

19(AR); PX-298 (R) at RFA 82.

937. The Department of Commerce admitted that on September 5, 2017, the Department of

Homeland Security announced the rescission of the Deferred Action for Childhood Arrivals

program. PX-298 (R) at RFA 26.

938. The Department of Commerce admitted that on October 9, 2017, Secretary Ross said:

“President Trump’s tighter border controls have already reduced greatly the influx of illegal

aliens, but he needs legislation to finish the task. I support his request to secure our borders,

swiftly return illegal entrants, stop visa fraud and overstays, sanctuary cities, asylum abuse and

chain immigration, as well as exploitative employment of illegal aliens. This will take money

for more ICE officers, more federal prosecutors and more physical barriers. That will be money

well spent!” PX-298 (R) at RFA 29.

939. The Department of Commerce admitted that on November 6, 2017, the Department of

Homeland Security announced that it would not be renewing the Temporary Protected Status

designation for immigrants from Nicaragua. PX-298 (R) at RFA 30.

940. The Department of Commerce admitted that on November 20, 2017, the Department of

Homeland Security announced that it would not be renewing the Temporary Protected Status

designation for immigrants from Haiti. PX-298 (R) at RFA 31.




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941. The Department of Commerce admitted that on January 8, 2018, the Department of

Homeland Security announced that it would not be renewing the Temporary Protected Status

designation for immigrants from El Salvador. PX-298 (R) at RFA 32.

942. The Census Bureau admitted that in January 2018, the Census Bureau announced that it

would not hire census enumerators who are not U.S. citizens for the 2020 Decennial Census.

PX-297 at RFA 76.

943. The Department of Commerce admitted that on April 5, 2018, President Trump, speaking

about individuals who enter the country “through chain migration,” stated: “This is what the

Democrats are doing to you. And they like it because they think they’re going to vote

Democratic . . . . A lot of them aren’t going to be voting. A lot of times it doesn’t matter, because

in places, like California, the same person votes many times. You probably heard about that.

They always like to say. ‘Oh, that’s a conspiracy theory.’ Not a conspiracy theory, folks.

Millions and millions of people.” PX-298 (R) at RFA 35.

944. The Department of Commerce admitted that on April 6, 2018, Attorney General Sessions

announced a “zero tolerance” policy for immigrants who cross the border unlawfully. PX-298

(R) at RFA 39.

945. The Department of Commerce admitted that on April 28, 2018, Donald Trump stated: “If

a person puts their foot over the line, we have to take them into our country. We have to register

them…. And you know, one of the reasons they do it is because the Democrats actually feel and

they are probably right, that all of these people that are pouring across are going to vote for

Democrats, they’re not going to vote for Republicans, they’re going to vote no matter what we

do, they’re going to vote.” PX-298 (R) at RFA 37.




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946. The Department of Commerce admitted that on April 26, 2018, the Department of

Homeland Security announced that it would not be renewing the Temporary Protected Status

designation for immigrants from Nepal. PX-298 (R) at RFA 36.

947. The Department of Commerce admitted that on May 4, 2018, the Department of

Homeland Security announced that it would not be renewing the Temporary Protected Status

designation for immigrants from Honduras. PX-298 (R) at RFA 38.

948.    The Department of Commerce admitted that on May 16, 2018, Donald Trump stated:

“We have people coming into the country, or trying to come in — and we’re stopping a lot of

them  but we’re taking people out of the country. You wouldn’t believe how bad these people

are. These aren’t people. These are animals. And we’re taking them out of the country at a

level and at a rate that’s never happened before…” PX-298 (R) at RFA 40.

        B.     These Expressions of Animus Evidently had an Impact on Immigrant
               Communities of Color and their Willingness to Participate in Government.

949. In September 2017, the Census Bureau’s Center for Survey Measurement (“CSM”)

published a memorandum in which it noted a “recent increase in respondents spontaneously

expressing concerns about confidentiality in some of our pretesting studies conducted in 2017.”

PX-158 (AR).

950. The CSM memorandum stated that “CSM researchers heard respondents express new

concerns about topics like the ‘Muslim ban,’ discomfort ‘registering’ other household members

by reporting their demographic characteristics, the dissolution of the ‘DACA’ . . . repeated

references to Immigration and Customs Enforcement (ICE),” and reported that “respondents’

fears, particularly among immigrant respondents, have increased markedly this year.” PX-158

(AR).




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951. The CSM memorandum also noted that “Spanish-speakers brought up immigration raids,

fear of government, and fear of deportation.” PX-158 (AR).

952. The CSM memorandum further stated that: “A Spanish-speaking respondent answered

that he was not a citizen, and then appeared to lie about his country of origin. When the FR

[Field Respondents] started asking about his year of entry into the U.S., he ‘shut down’ and

stopped responding to her questions. He then walked out and left her alone in the apartment,

which had never happened to her during an interview before.” PX-158 (AR).

953. The CSM memorandum stated that one Field Respondent “added that she had observed

Hispanic members of a household move out of a mobile home after she tried to interview them.”

PX-158 (AR).

954. The CSM memorandum stated: “Spanish-speaking respondents who participated in paper

testing of the CBAMS (Census Barriers, Attitudes, and Motivators Survey) expressed concern

about whether their answers might be shared with other government agencies.” PX-158 (AR).

955. The CSM memorandum stated that, with regard to Respondents, “[d]espite having

participated in the past, they seemed visibly nervous and reticent and required extensive

explanations regarding how their data would be used and their personal identifying information

would be redacted. This behavior was in contrast to their demeanor during prior CSM pretesting

projects.” PX-158 (AR).

956. The CSM memorandum stated: “Several Chinese-speaking focus group respondents stated

that the Chinese community’s main fear or concern was immigration status and how the data are

used.” PX-158 (AR).




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957. The CSM memorandum stated: “Arabic-speakers reported that they had concerns about

their perception of the current environment as unwelcoming to Arabic-speaking immigrants and

said that they feared deportation.” PX-158 (AR).

958. The CSM memorandum stated: “Another FS [Field Supervisor] reported that each time

she spoke to a Spanish-speaking respondent, her focus was on convincing the respondent of the

confidentiality of their answers ‘given the political temperature these days.’” PX-158 (AR).

959. The CSM memorandum stated that Field Supervisors “reiterated that the main issue they

saw was privacy concerns of Latino respondents, and that FRs [Field Representatives] should do

more practice interviews where someone models those concerns and concerns about immigration

so that the FRs are more prepared to respond adequately in the field.” PX-158 (AR).

960. The CSM memorandum stated: “These findings are particularly troubling given that they

impact hard-to-count populations disproportionately, and have implications for data quality and

nonresponse.” PX-158 (AR).

961. The CSM memorandum recommended “systematically collecting data on this

phenomenon, and development and pretesting of new messages to avoid increases in

nonresponse among hard-to-count populations for the 2020 Census.” PX-158 (AR).

962. The Latino immigrant community is increasingly afraid of being targeted by the

government as a result of the Trump administration’s anti-immigrant policies and rhetoric,

leading to concern about the addition of a citizenship question on the 2020 Decennial Census and

fear about the potential use of data gathered based on this question. PX-662; Supp. Escobar Aff.

¶ 5; Sarmiento Aff. (Docket No. 488-3) ¶¶6-9; Sarmiento Supp. Aff. (Docket No. 488-4) ¶ 2;

Cullinane Aff. (Docket No. 505-1) ¶¶ 3, 5-11; Cullinane Supp. Aff. (Docket No. 505-3) ¶ 4;

Vargas Supp. Aff. (Docket No. 498-22) ¶ 9. Nov. 9 Trial Tr. at 678:8-25.




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963. Members of CASA are increasingly afraid of interacting with the government due to the

Trump Administration’s anti-immigrant policies and rhetoric. Escobar Aff. ¶ 15; Sarmiento Aff.

¶ 7; Cullinane Aff. ¶¶ 3-11 (3rd sentence in ¶ 4 struck); Cullinane Supp. Aff. ¶ 4.

964. Policies such as family separation at the border, the “zero-tolerance” policy for

immigrants entering the United States without documentation, and the elimination of the

Deferred Action for Childhood Arrivals and Temporary Protected Status programs have

increased fears among immigrant communities of being targeted by agencies such as

Immigration and Customs Enforcement (ICE). Escobar Aff. ¶ 17; Escobar Aff. ¶ 17; Sarmiento

Aff. ¶¶ 6-9; Cullinane Aff. ¶¶ 3-11 (3rd sentence in ¶ 4 struck); Cullinane Supp. Aff. ¶ 4; Nov. 9

Trial Tr. at 618:1-22.

965. CASA members have expressed fear of a knock on the door by a stranger, such as a

census enumerator, given the high number of arbitrary immigration enforcement actions that

have been undertaken by the Trump Administration. Escobar Aff. ¶ 20.

966. Many CASA members and other community members have expressed fears that

participating in the Census presents too high a risk to their safety and security, due to concerns

about information being shared with immigration enforcement agencies, to justify participating

in the Census. Escobar Aff. ¶ 21; Sarmiento Aff. ¶¶ 6-9;Cullinane Aff. ¶¶ 3-11 (3rd sentence in

¶ 4 struck); Cullinane Supp. Aff. ¶ 4.

967. Many CASA, VACIR, and Make the Road New Jersey members have expressed fears that

responding to a citizenship question on the 2020 Decennial Census could lead to them being

targeted by immigration enforcement authorities and deported. Escobar Aff. ¶ 23; Sarmiento

Aff. ¶ 7; Cullinane Aff. ¶¶3-11 (3rd sentence in ¶ 4 struck); Cullinane Supp. Aff. ¶ 4.




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968. Particularly if citizenship status is reported at the block-level, this would exacerbate fears

among the immigrant community of being targeted by immigration enforcement authorities if

they respond to a citizenship question on the 2020 Decennial Census. Escobar Aff. ¶ 24.

969. President Trump’s anti-immigrant policies, particularly those aimed at the Arab and

Muslim communities, have increased fear in the Arab American community. Supp. Khalaf Aff.

¶ 4.

970. The Arab-American community is specifically afraid of responding to a citizenship

question on the 2020 Decennial Census because of the context in which this question was added,

by an administration that implemented a travel ban on several Arab- and Muslim-majority

countries. Khalaf Aff. ¶ 22.

971. The Arab-American community is afraid that census participation could lead to loss of

citizenship, revocation of Legal Permanent Resident status, or the broadening of the President’s

ban on entry for people from several Arab- and Muslim-majority countries. Khalaf Aff. ¶ 22.

972. The Trump Administration’s hostile and discriminatory actions and attitudes towards

immigrants of color have led to fear among immigrants of color of interacting with government

workers. This fear has been increased by the additional of a citizenship question to the Census.

Plum Aff. ¶ 13; Sarmiento Aff. ¶¶ 6-9;Cullinane Aff. ¶¶ 3-11 (3rd sentence in ¶ 4 is struck);

Cullinane Supp. Aff. ¶ 4; Rodriguez Aff. (Docket No. 488-1) ¶ 8.

973. Immigrants have expressed the fear that they will receive a visit from Immigration and

Customs Enforcement if they report that there are noncitizens in their household. Plum Aff.

¶ 16; Cullinane Aff. ¶¶ 3-11 (3rd sentence in ¶ 4 struck); Cullinane Supp. Aff. ¶4.

VII.   EFFECT OF CITIZENSHIP QUESTION ON RESPONSE RATES

974. The Parties agree that the addition of a citizenship question on the 2020 Census will

depress self-response rates, particularly among noncitizen and Hispanic households.


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975. Establishing that there will be a decline in self-response is relevant to certain, but not all,

of Plaintiffs’ bases for standing. See PFOF VIII (Intro).

976. For purposes of the merits of the Administrative Procedure Act claim, the undercount

resulting from the addition of a citizenship question bears on the accuracy of the statements in

Secretary Ross’ March 26 memo assessing whether adding a citizenship question “would

negatively impact the response rate for non-citizens,” “neither the Census Bureau nor the

concerned stakeholders could document that the response rate would in fact decline materially,”

and “limited empirical evidence exists about whether adding a citizenship question would

decrease response rates materially.” PX-26 (AR).

       A.      Census Bureau Analyses of Decline in Response Due to a Citizenship
               Question

977. The Census Bureau’s primary analysis of the anticipated decline in self-response rates

traceable to a citizenship question is found in a series of memoranda drafted by senior technical

staff at the Census Bureau and culminating in a detailed white paper.

978. By memorandum dated January 19, 2018, the Census Bureau prepared a technical review

of DOJ request to add a citizenship question to the 2020 Decennial Census (“January 19 Abowd

Memo”). PX-22 (AR); Nov. 13 Trial Tr. at 882:23-883:16.

979. The January 19 Abowd Memo was based on a December 22, 2017 analysis in a draft

white paper examining the impact of a citizenship question on response rates. PX-102 (AR); PX-

147 (AR); Nov. 13 Trial Tr. at 896:7-12.

980. The December 22, 2017 draft white paper was compiled by a team of technical experts

assembled by Dr. John Abowd, referred to as the Census Bureau SWAT team. Nov. 13 Trial Tr.

at 879:23-880:12.




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981. The analysis in this initial draft white paper was later updated and extended, and the most

recent version of this analysis is dated August 6, 2018 (“the White Paper”). PX-162 (AR); Nov.

13 Trial Tr. at. 896:7-12; 948:13-949:3. The initial draft is in the Administrative Record. See

PX-4 at AR 5500 (AR), 11634.

982. The White Paper represents the Census Bureau’s most comprehensive and up-to-date

analysis of the impact of a citizenship question on self-response rates. Nov. 13 Trial Tr. at

896:7–15; Census Bureau 30(b)(6) Dep. Vol. II at 353:2–354:4; PX-162 at 33-41.

983. The Census Bureau believes that the analysis in the White Paper is methodologically

sound. Nov. 13 Trial Tr. at 897:4-8; Census Bureau 30(b)(6) Dep. Vol. II at 355:13-20.

984. The Census Bureau believes the White Paper constitutes the best analysis that it can do of

the quality of citizenship data available from different sources, including surveys and

administrative records, and the Bureau agrees with the analysis set forth in that paper. Nov. 13

Trial Tr. at 897:13-15; Census Bureau 30(b)(6) Dep. Vol. II at 357:6 -11.

985. The January 19 Abowd Memo concludes that it is “a reasonable inference that a question

on citizenship would lead to some decline in overall self-response because it would make the

2020 Census modestly more burdensome in the direct sense, and potentially much more

burdensome in the indirect sense that it would lead to a larger decline in self-response for

noncitizen households.” PX-22 (AR); Nov. 13 Trial Tr. at 892:8-17; PX-297 at RFA 9.

986. The Administrative Record reflects that, prior to the issuance of the March 26 decisional

memo, the Census Bureau’s best conservative estimate of the decrease in the self-response rates

caused by the addition of a citizenship question was 5.1% for households containing one or more

noncitizens relative to all-citizen households, and that there would also be a material decrease in

the self-response rates of Hispanics. PX-22 (AR); PX-25 (AR).




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987. The analysis of declines in self-response contained in the drafts of the White Paper and in

the January 19 Abowd Memo apply to any alternative in which a citizenship question is asked on

the Census short form, including the option of combining a citizenship question with the use of

administrative records, which was eventually selected by Secretary Ross (“Alternative D”). Nov.

13 Trial Tr. at 888:22-889:6; PX-297 at RFA 22.

988. Dr. Abowd discussed the analysis from the initial White Paper contained in the January 19

Abowd Memo (PX-22 (AR)) with Undersecretary Kelley and Secretary Ross at meetings on

February 12, 2018, during which Kelley expressed no disagreement with the analysis, and

Secretary Ross indicated he had a thorough understanding of the issues presented by the Census

Bureau. Nov. 13 Trial Tr. at 883:17-884:10.

       B.      Effect of Question on Noncitizen Response Rates

989. As Defendants effectively conceded at trial, and as the overwhelming weight of the

evidence establishes, a citizenship question will decrease self-response rates in households with

at least one noncitizen.

990. The Census Bureau agrees that adding a citizenship question to the 2020 Census will lead

to a lower self-response rate in households containing noncitizens. PX-22 (AR); PX-25 (AR);

PX-100 (AR); PX-147 (AR); PX-162; Nov. 13 Trial Tr. at 881:19-882:3 (“balance of evidence”

indicates decline in response rates); Census Bureau 30(b)(6) Dep. Vol. II at 358:12-17; Jarmin

Dep. (Docket No. 511-4) at 278:2-10; 279:18-22.

991. Following the decisional memo, the Census Bureau performed supplemental analyses

estimating that the decrease in self-response rates among households with a noncitizen or a

person of unknown citizenship status caused by the addition of a citizenship question would

range between 5.1 and 11.9 percentage points depending on various estimates and assumptions,

and that conservatively the most likely decline would be 5.8 percentage points. Nov. 13 Trial Tr.


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at 897:16-20; Census Bureau 30(b)(6) Dep. Vol. II at 372:2-12; PX-162 at 39; Jarmin Dep.

(Docket No. 511-5) at 290:10-14; PX-297 at RFAs 24, 26.

992. In arriving at their 5.8 percentage points estimate, the Census Bureau conducted a natural

experiment, comparing response rates on the 2016 ACS, which incorporated a citizenship

question, to response rates on the 2010 Decennial Census, which did not incorporate a

citizenship question, and made a comparison of the resulting change in response rates between

households where all members of the household are citizens (as confirmed by administrative

records and their responses to the ACS citizenship question), and all other households (i.e.,

households that contain or may contain one or more noncitizens). Nov. 13 Trial Tr. at 898:2-

899:6; Census Bureau 30(b)(6) Dep. Vol. II at 373:9-15, 374:8-16; PX-162 at 39. By comparing

the difference in drop-off between all-citizen households and other households between the 2016

ACS (which included a citizenship question) and the 2010 Census (which did not), the Census

Bureau adduced quantitative evidence about the impact of a citizenship question on self-response

rates. Nov. 13 Trial Tr. at 920:17-922:17.

993. The Census Bureau acknowledges a citizenship question is sensitive to noncitizens. PX-

297 at RFA 70.

994. The Census Bureau also analyzed response rates to the 2010 Census, which did not

incorporate a citizenship question, and the 2010 ACS, which did, and made a comparison of the

resulting change in response rates between households where all members of the household are

citizens (as confirmed by administrative records), and households in which one or more members

were noncitizens (as reflected in the administrative records). Nov. 13 Trial Tr. at 891-93. The

difference in the drop-off was 5.1 percentage points, which formed the basis for the Census

Bureau’s best conservative estimate of the effect of a citizenship question on response rates prior




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to Secretary Ross’s Decision Memo, as reflected in the Administrative Record. PX-22 (AR);

Nov. 13 Trial Tr. at 891-93.

995. With respect to the 2000 Census, the Census Bureau compared the decline in self-

response during the 2000 Census on the Census long-form, which had a citizenship question, to

the Census short-form, which did not inquire into citizenship, for households that were all

citizens and households with at least one noncitizen. PX-22 (AR); PX-162 at 40; Nov. 13 Trial

Tr. at 887:16-20.

996. In its analysis of 2000 Census response rates, the Census Bureau found that households

with at least one noncitizen in them had a decline in self-response between the long-form and

short form that was 3.3 percentage points more than it was for all-citizen households. PX-22

(AR); PX-162 at 40; Nov. 13 Trial Tr. at 888:2-6. The differential response rate from the 2000

Census is credible, quantitative evidence that a citizenship question caused a decline in self-

response rates, and that “noncitizens are more sensitive to the inclusion of citizenship questions.”

PX-22 (AR 1280); PX- 162 at 40; Nov. 13 Trial Tr. at 888:7-12.

997. The Census Bureau also conducted similar analyses of response rates in the 2000 Census,

and the 2014 Survey of Income and Program Participation (“SIPP”). PX-162 at 40.

998. With respect to the Survey of Income Program Participation (“SIPP”) survey, a Census

Bureau survey containing a citizenship question, the evidence reflected that in more recent time

periods, noncitizens shrunk as a share of respondents; the Bureau considered this evidence to be

consistent with other evidence that households with a noncitizen or person of unknown

citizenship status are more sensitive to questions about citizenship status. Census Bureau

30(b)(6) Dep. Vol. I at 113:17 - 116:12. PX-162 at 40.




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        C.      Effect of Question on Hispanic Response Rates

999. A citizenship question will likely decrease response rates of Hispanic respondents at a

substantial rate.

1000. The Census Bureau acknowledges that response rates to the 2020 Decennial Census will

decline more among Hispanics than non-Hispanic whites as a result of a citizenship question.

Nov. 13 Trial Tr. at 919:12–920:10; Census Bureau 30(b)(6) Dep. Vol. II at 365:18–366:16,

364:21 - 365:6.

                1.     Item Non-Response Rates

1001. In the January 19 Abowd Memo and the White Paper, the Census Bureau examined the

item nonresponse rates on the ACS for different racial and ethnic groups between 2013 and

2016. PX-22 (AR); PX-162 at 9–10; Nov. 13 Trial Tr. at 905:22-906:11.

1002. Item nonresponse rates are the rate at which respondents do not answer particular

questions on a survey. Nov. 13 Trial Tr. at 905:22–906:11.

1003. From 2013 through 2016, the item nonresponse rate for the citizenship question on the

ACS was more than twice as high for Hispanics as it was for non-Hispanic whites for both the

mail-in and internet response versions of the ACS. PX-22 (AR); PX-162 at 8-10; Nov. 5 Trial

Tr. at 70-72; Nov. 13 Trial Tr. at 906:12-907:20; Census Bureau 30(b)(6) Dep. Vol. II at 359:13–

361:5; PX-298(R) at RFA 122.

1004. The item nonresponse rate for the citizenship question for Hispanics increased from 2013

to 2016, in contrast to other questions, such as sex. PX-162 at 9. As a result, the increase in item

nonresponse for the citizenship question could not be attributed to an increase in item

nonresponse to all questions. PX-162 at 9; Nov. 5 Trial Tr. at 72; Nov. 13 Trial Tr. at 912:10-19;

PX-297 at RFAs 90-92, 94; Kelley Dep. at 297:8-22.




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1005. As the item nonresponse rate for the citizenship question for Hispanics is much higher

than for non-Hispanic whites, the Census Bureau concluded that this difference is statistical

evidence that a citizenship question on the Census would result in higher nonresponse rates from

Hispanics as compared to non-Hispanic whites. Nov. 13 Trial Tr. at 908:2-6, 910:7-13; Nov. 5

Trial Tr. at 72. The Census Bureau has documented a higher item non-response rate for

Hispanics on the 2000 Census as well. PX-297 at RFA 68.

1006. As discussed below, once the Census Bureau released the corresponding ACS data for

2017, Dr. Van Hook analyzed that data and found that item nonresponse for Hispanics on

citizenship was significantly higher in 2017 compared to prior periods. Van Hook Aff. (Docket

No. 489-3) ¶¶ 69-72, Figures S1, S2, Table S3.

               2.      Breakoff Rates

1007. The January 19 Abowd Memo and the White Paper also examined breakoff rates from the

2016 ACS; the breakoff rate is the rate at which people responding to the ACS online stop

answering the survey on a particular question. Nov. 13 Trial Tr. at 913:17-24.

1008. Breakoff rates for the citizenship question on the 2016 ACS for Hispanics were more than

eight times the rate for non-Hispanic whites, a figure that is reflected in the Administrative

Record. PX-22 (AR); PX-69 (AR); PX-162 at 10; Nov. 5 Trial Tr. at 72-76; Nov. 13 Trial Tr. at

914:5-8; Census Bureau 30(b)(6) Dep. Vol. II at 361:6–363:4.

1009. Likewise, the differences in the breakoff rates of Hispanics as compared to non-Hispanic

whites were much higher for the year of entry and citizenship questions. PX-162 at 10; PX-22

(AR); PX-69 (AR); Nov. 5 Trial Tr. at 72-76; Nov. 13 Trial Tr. at 915:9-13.

1010. The differences in breakoff rates in the 2016 ACS indicate that the citizenship question is

more sensitive for Hispanic than non-Hispanic whites, and that the survey-response quality of




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Hispanics is differentially affected. PX-22 (AR); PX 162 at 10; Nov. 5 Trial Tr. at 72; Nov. 13

Trial Tr. at 914:9-12.

1011. These differential breakoff rates are becoming even higher. The Hispanic breakoff rate

for the citizenship question on the 2017 ACS was twelve times higher than the rate for non-

Hispanic whites. PX-151 (AR); Nov. 5 Trial Tr. at 74-75; Nov. 13 Trial Tr. at 916:4-22; Census

Bureau 30(b)(6) Dep. Vol. II at 363:5 - 364:8.

1012. From 2016 to 2017, the breakoff rate for Hispanics for the citizenship question on the

ACS increased, while it did not for non-Hispanic whites, resulting in a larger difference between

the two. PX-22 (AR); PX-151 (AR); Nov. 5 Trial Tr. at 74-75; Van Hook Aff. ¶¶ 70, 71, Figures

S1, S2; Nov. 13 Trial Tr. at 916:18-917:3; Census Bureau 30(b)(6) Dep. Vol. II at 364:9-20. The

breakoff rate for Hispanics to the citizenship question on the 2016 ACS was 8 times that of non-

Hispanic whites, but was 12 times the rate in 2017. Nov. 13 Trial Tr. at 916-17.

1013. Based on its analysis of item non-response rates and breakoff rates, the Census Bureau

believes that Hispanics are more sensitive to citizenship survey questions than they were a few

years ago, while non-Hispanic whites are not. Nov. 13 Trial Tr. at 917:8-918:2; Census Bureau

30(b)(6) Dep. Vol. II at 366:17–369:19.

       D.      Expert Testimony on Reduced Self-Response Rates Attributable to a
               Citizenship Question

1014. In addition, Plaintiffs’ expert witnesses concurred that the addition of a citizenship

question will decrease self-response on the 2020 Decennial Census among noncitizens and

Hispanics.

               1.        Dr. Jennifer L. Van Hook

1015. Dr. Jennifer L. Van Hook, an expert sociologist and demographer, likewise confirmed the

negative impact of a citizenship question on self-response rates. Dr. Van Hook conducted an



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analysis of data from the “Current Population Survey (“CPS”), which is a monthly survey of

approximately 60,000 U.S. households administered by the U.S. Census Bureau, and which

contains a question concerning citizenship status, to assess what the nonresponse rates to that

survey suggest about the effect of adding a citizenship question to the 2020 Decennial Census.

Van Hook Aff. ¶ 17. Dr. Van Hook testified that “the 2020 Decennial Census will be conducted

under the current administration, so current levels of nonresponse on government surveys

featuring a citizenship question (i.e., post-2017), including the CPS, are very relevant for

anticipating the effect of adding a citizenship question to the 2020 Decennial Census.” Id. ¶ 20.

1016. Dr. Van Hook’s “analyses of the patterns and trends in nonresponse point to three key

findings: 1) Hispanics and immigrants (especially noncitizens or those living in immigrant

households) tend to have relatively high unit nonresponse rates and item nonresponse rates for

questions on place of birth and citizenship. 2) Both unit and item nonresponse have increased

significantly over time among immigrants. Unit nonresponse rates rose in the Trump era among

noncitizens while remaining steady or declining among citizens. Item nonresponse also rose

among those living in immigrant households, particularly for Hispanics. 3) Hispanic immigrants

experienced particularly large increases in nonresponse since the start of 2018.” Id. ¶ 12.

1017. Dr. Van Hook further testified that “the overall patterns of unit and item nonresponse are

consistent with the understanding that survey response changed for the worse among Hispanic

noncitizens [over the period from 2014 through 2018], and the timing of the change suggests that

it is linked to changes in the political and/or policy climate, including the proposal to add a

citizenship question to the 2020 Decennial Census. The unit nonresponse data is consistent with

the understanding that adding a citizenship question to the Census will reduce nonresponse rates




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among racial minorities (in particular Hispanics) as compared to non-Hispanic whites, and

noncitizens as compared to citizens.” Id. ¶ 16.

1018. Dr. Van Hook testified that non-citizens have higher unit non-response rates to the CPS

than do citizens. Id. ¶¶ 35, 47, Figure 4. Further, unit nonresponse rates increased among

noncitizens in recent years, particularly since 2017, while remaining relatively flat among

citizens. Id. ¶¶ 41, 48, Figure 8. These diverging trends led the gap in unit nonresponse between

noncitizens and citizens to double since the last quarter of 2016, with the unit nonresponse rates

for noncitizens that were roughly 30% higher than for citizens by the first quarter of 2018. Id.

1019. Dr. Van Hook testified that unit nonresponse rates are higher for ethnic minorities than

non-Hispanic whites: Hispanics are approximately 20% more likely than non-Hispanic whites to

drop out of the CPS. Id. ¶ 47. And unit nonresponse among Hispanic noncitizens in particular

has increased of recent with unit nonresponse increasing by 43 percent between the last quarter

of 2016 and the first quarter of 2018, with a particularly sharp increase in first quarter 2018. Id.

¶¶ 43, 48-49, Figure 9.

1020. Dr. Van Hook concluded that, “[o]verall, the CPS unit nonresponse data is consistent with

the understanding that racial and ethnic minorities are less responsive to a survey concerning a

citizenship question, and are more likely to not respond to a U.S. Census Bureau survey

containing a citizenship question than are non-Hispanic whites. The same is the case for

noncitizens as compared to citizens. Finally, the CPS unit nonresponse data is consistent with the

understanding that noncitizens, and particularly, Hispanic noncitizens, have become less

responsive to a survey containing questions concerning citizenship since the onset of the Trump

administration, particularly during the first quarter of 2018.” Id. ¶ 50.




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1021. Dr. Van Hook’s analysis of patterns and trends in item nonresponse on the place of birth

and citizenship questions in the CPS shows that item nonresponse is significantly higher among

Hispanics and Asians than non-Hispanic whites and blacks, and more than twice as high among

those living in immigrant households as for those in U.S.-born households. Id. ¶ 62. Dr. Van

Hook further testified that item nonresponse on citizenship has increased in recent years, most

dramatically among Hispanics living in immigrant households, reaching its peak in the first

quarter of 2018, while there was no corresponding increase in item nonresponse on questions

about age. Id. ¶ 63.

1022. Dr. Van Hook testified that the American Community Survey (ACS) is important because

it is the most similar to the 2020 Decennial Census with respect to its mode of data collection. Id.

¶ 69. Also, similar to the Decennial Census, response to the ACS is mandatory by law. Id. She

testified about the analysis she conducted based on the 2017 ACS data that recently was publicly

released. Id. This analysis showed that item nonresponse on citizenship increased significantly

among Hispanics each year from 2013 to 2017. Id. ¶ 70. In contrast, item nonresponse did not

significantly increase after 2014 among Asians, and it did not significantly increase after 2015

among blacks and among non-Hispanic whites. Id. By 2017, item nonresponse on citizenship

was significantly higher among Hispanics than Asians, blacks, and non-Hispanic whites. Id.

¶ 70, Figure S1, Table S3. Among all adults, Hispanics have the highest nonresponse rates to the

citizenship question in the ACS. Id. ¶ 71.Among those in immigrant households, item

nonresponse on citizenship in the ACS increased significantly every year from 2013 to 2017

among Hispanics. Id. ¶ 71. In contrast, item nonresponse did not significantly increase after 2014

among Asians; it did not significantly increase after 2015 among blacks; and it did not




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significantly increase in any year among non-Hispanic whites in immigrant households. Id. ¶ 71,

Figure S2.

1023. Dr. Van Hook also examined how item nonresponse on citizenship compares with the

other Decennial Census questions that are asked in the ACS: age, sex, race, Hispanic origin, and

housing tenure (rent/own). Id. ¶ 72. In the 2017 ACS, for all four racial/ethnic groups, item

nonresponse rates on citizenship were significantly higher than item nonresponse on any other

Decennial Census item. Id. ¶ 72, Figure S3, Table S4.

1024. Dr. Van Hook also analyzed trends from 2013 to 2017 in item nonresponse for Hispanics

on all Decennial Census questions that are also on the ACS to assess whether item nonresponse

on citizenship is part of a broader pattern of increasing nonresponse and concluded that was not

the case: a citizenship question is different. Id. ¶ 73. The percentage point change in item

nonresponse among Hispanics on the ACS citizenship question increased significantly from

2013 to 2017 and more than it did for other questions. Id. ¶ 73, Figure S4, Table 5.

1025. Finally, Dr. Van Hook also testified about a difference-in-change analysis of ACS item

nonresponse on citizenship. Id. ¶ 74, Table S6. Item nonresponse increased more for Hispanics

as a whole as well as for Hispanics in immigrant households between 2015 and 2017 than in the

earlier 2013 to 2015 time period. Id. ¶ 74.

1026. Dr. Van Hook concluded that the nonresponse trends identified in her analysis of the ACS

data are consistent with the findings of her analysis of the CPS data and with the understanding

that response to Census Bureau surveys has changed for the worse in recent years, particularly

among Hispanics and those in immigrant households. Id. ¶¶ 75-76.

               2.      Dr. D. Sunshine Hillygus

1027. Dr. D. Sunshine Hillygus is an expert “in public opinion, survey methodology, and the

United States Census.” Nov. 5 Trial Tr. at 29:19-20. Dr. Hillygus testified there is considerable


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evidence “that adding a citizenship question to the decennial census will depress census

participation among noncitizens and Hispanics,” Nov. 5 Trial Tr. at 30. She based this

conclusion on a review of a “wide range of different types of research,” all of which pointed to a

“negative impact on the participation of noncitizen and Hispanic households.” Nov. 5 Trial Tr. at

50:23-51:4. The research she reviewed indicated that “noncitizens and Hispanics are

differentially concerned about the confidentiality of a citizenship question, so would be less

likely to participate, which will contribute to a give [differential] under count.” Nov. 5 Trial Tr.

at 51:7-11.

1028. Dr. Hillygus likewise concluded that adding a citizenship question would depress census

participation among Hispanics, not limited to noncitizens. Nov. 5. Trial Tr. at 30:7-13. She

testified that the social science research demonstrated that Hispanics, like noncitizens, were

differentially concerned about the confidentiality of a citizenship question, which would make

them less likely to participate in the census if it included such a question. Nov. 5. Trial Tr. at 51.

1029. In support of this opinion, Dr. Hillygus testified about the following evidence:

              a. The Census Bureau analysis, including Dr. Abowd’s January 19 memo (PX-

                 22(AR)) and the Brown memo (PX-162). Nov. 5 Trial Tr. at 70-89.

              b. Focus group research conducted in conjunction with the Census Bureau’s

                 Barriers, Attitudes, and Motivators Survey (CBAMS) (e.g., PX-152, PX-662, PX-

                 663) found that Spanish-speaking participants “expressed fears of participating in

                 the census, given their or others’ immigration status. Even if they personally are

                 citizens or legal residents, they said that filling out the census form can adversely

                 affect their relatives, people in their community who did not have a secure

                 immigration status . . . [they] were highly suspicious of how the data will be used




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               once collected . . . while their data might be protected now, there is no guarantee

               that it will not be used against them in the future . . . there did not seem to be a

               single trusted voice that could mitigate the distrust of the government to uphold

               the promise of confidentiality.” Id. at 64:21-65:1, 65:19-23, 66:4-6; PX-152, PX-

               662; PX-663.

           c. Research conducted by the Census Bureau Center for Survey Measurement in

               September 2017 (e.g., PX-136(AR), PX-160, PX-448, PX-656(AR)) documenting

               “respondent confidentiality concerns” among immigrant respondents “in which

               spontaneously the respondents were bringing up these issues of confidentiality”

               which shows “Hispanics and immigrants are concerned about the confidentiality

               of the Census.” Nov. 5 Trial Tr. at 57:23-25, 58:7-9, 61:15-16; PX-136 (AR); PX-

               160; PX-448; PX-656 (AR).

           d. Various studies show “the impact of these fears on the engagement with the

               government . . . health advocacy organizations have reported that legal

               immigrants are less likely to use public health services since Trump’s election.

               There is empirical research that finds that noncitizen parents are failing to sign

               their children up for fear of revealing themselves. There is also empirical

               research showing that those who are not even eligible for deportation are . . .

               failing to use food stamps or [Affordable Care Act] because of concerns about

               deportation.” Nov. 5 Trial Tr. at 53:21–54:5.

1030. Dr. Hillygus further testified that there is “empirical evidence . . . that Hispanics will also

be affected, including Hispanic citizens” by a citizenship question and that “we are going to

likely see an impact not only among noncitizens but also the spillover effects on Hispanics.”




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Nov. 5 Trial Tr. at 51:23-25, 57:6-7, 85:14-19, 86:2-5; Nov. 15. Trial Tr. at 1404:6-17 (noting

that her “opinion on the basis of the available empirical analysis is that the impact is likely to be

on Hispanics, including Hispanic citizens.”).

               3.      Dr. Matthew Barreto

1031. Dr. Matthew Barreto is “an expert in survey methodology, public opinion polling, and

racial and ethnic politics.” Nov. 9. Trial Tr. at 589. He testified that his review of “the social

science research, as well as the self-published reports by the census, established that the

citizenship question will reduce self-response, and this will ultimately harm the accuracy and the

quality of the data in the census.” Nov. 9. Trial Tr. at 590. Dr. Barreto also conducted a survey

experiment that “confirms that the addition of the citizenship question will reduce self-response

and very clearly establishes that it will exacerbate the net differential undercount in particular of

the Latino and immigrant community.” Id.

1032. First, Dr. Barreto reviewed social science literature on the topic of survey methodology, as

well as social science research published by the Census Bureau. This review of pertinent

literature confirmed that the “addition of a sensitive question such as [the citizenship question]

will erode trust and will lead to lower self-response rates.” Nov. 9. Trial Tr. at 591-592.

1033. Dr. Barreto testified as to the factors affecting survey participation, stating that the main

factors that impact participation in a survey are: trust in the survey administrator, both the person

directly administering the survey and the agency or organization overseeing it; the sensitivity of

the questions; and the macro-environment, or the social and political climate in which the survey

is being administered to the public. Nov. 9. Trial Tr. at 596.

1034. As Dr. Barreto explained, the social science literature makes clear that absent trust,

respondents will not participate in surveys. Nov. 9. Trial Tr. at 597. He testified that trust

specifically influences census participation, because “the census is an official government


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survey. It is done on behalf of the federal government by the Census Bureau, and the public has

to trust that the federal government is carrying out their job faithfully and using the information

for these purposes.” Nov. 9. Trial Tr. at 599-600. Furthermore, trust is particularly important to

a citizenship question, because “questions related to citizenship are ones that many in the Latino

and immigrant community have trust issues with.” Nov. 9. Trial Tr. at 601.

1035. Although there are legal requirements for confidentiality with the census, Dr. Barreto

explained that such legal requirements may do little to assuage concerns of the public,

particularly given the sensitivity associated with a citizenship question and the current political

environment. Nov. 9. Trial Tr. at 602-604, 606-610; see also PX-462; PX-430.

1036. Likewise, as Dr. Barreto explained, the macro-environment is directly related to whether

respondents perceive a question as sensitive and therefore to the concomitant response rates.

Where the macro-environment is perceived as threatening, it raises the stakes of participation; if

respondents feel that participation will put them at risk, self-response rates will decline. Nov. 9.

Trial Tr. at 610.

1037. Accordingly, Dr. Barreto concluded that given current trust issues arising from the macro-

environment, “the addition of a citizenship question was a particularly sensitive question and that

the addition of this question in today's macro environment would result in reduced participation

in Latino and immigrant communities in 2020.” Nov. 9. Trial Tr. at 620-621.

1038. Dr. Barreto also introduced the results of an original public opinion survey; this survey

confirms that adding a citizenship question will reduce self-response rates. Nov 9 Trial Tr. at

590. This survey, which examined the willingness of respondents to participate in the 2020

Census included a Randomized Controlled Trial (RCT) experiment. Put simply, Dr. Barreto’s




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survey inquired, inter alia, into the likelihood of a respondent responding to the census, both

with and without a citizenship question. Nov. 9 Trial Tr. at 644–740.

1039. Dr. Barreto explained that survey research can “reliably represent populations with

millions of members” and present “a truly representative and unbiased picture of it.” Nov. 9 Trial

Tr. at 644; PX-427 at 2. Survey research is relied on extensively by the federal government, not

just in the census, but in many different agencies and across the social sciences to understand

public opinion and participation. Nov. 9 Trial Tr. at 645. Dr. Barreto testified that his survey met

all the applicable criteria for ensuring accuracy and reliability that enabled him to extrapolate his

results to the national population. Nov. 9 Trial Tr. at 646-647.

1040. Dr. Barreto conducted his survey on sample of 6,309 respondents from across the United

States, with an additional oversample of Latinos, and geographic oversamples in San Jose,

California and Cameron County and Hidalgo County, Texas. Nov. 9 Trial Tr. at 651-653; see PX

669.

1041. The results derived from this survey were set forth in a number of tables. As Dr. Barreto

explained, the drop-off rate—reflecting respondents who would not participate in a census with a

citizenship question—was 7.14% for all respondents to the survey, but 14.1% for Latinos. Nov. 9

Trial Tr. at 669-73; see also PX 670.

1042. Even after being assured that the Census Bureau would keep their answers confidential,

Dr. Barreto’s survey found that Latino households stated that they were unwilling to participate

in the census—with or without assurances of confidentiality—at substantially higher rates than

the national sample taken as a whole. Specifically, the national drop-off rate for all respondents

was 9.69%, and the drop-off rate for Latinos was 16.58%. Nov. 9 Trial Tr. at 674-675; see PX

671 (reflecting the drop-off rate after assurances of confidentiality).




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               4.      Dr. Christopher Warshaw

1043. Dr. Christopher Warshaw, an expert in public opinion based on surveys and census data,

as well as the study of representation, elections, and polarization in American Politics, testified

that “the addition of a citizenship question could… depress response rates among noncitizens

and immigrant communities” Warshaw Aff. (Docket No. 526-1) ¶¶ 1–7, 23.

1044. Dr. Warshaw analyzed the survey data from Dr. Barreto’s RCT (described above), by

running a “weighted regression that evaluates the treatment effect of the citizenship question. In

other words, it evaluates whether people in the treatment group, that were told the Census would

include a citizenship question, are less likely to indicate they would respond to the Census than

people in the control group that were told it would not include a citizenship question.” Warshaw

Aff. ¶¶ 27–31, 33.

1045. Overall, Dr. Warshaw’s results, set forth in the table below, showed that “that the

citizenship question makes both Latinos and Foreign-born non-Latinos less likely to respond to

the Census. The weighted regression model in column (1) indicates that Latinos are about 5.9%

less likely to complete the Census if it includes a citizenship question. The results are similar in

the other two models shown in columns (2) and (3). For foreign-born, non-Latinos, the weighted

regression in column (4) indicates that they are about 11.3% less likely to complete the Census if

it includes a citizenship question. The results are substantively similar, though more statistically

significant, in the other two models shown in columns (5) and (6).” Warshaw Aff. ¶ 35.

1046. Dr. Warshaw testified that he has a 95% confidence in the predictions from the RCT.

Warshaw Aff. Table 4.




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         Id. ¶ 35.

         E.      The Census Bureau’s Estimates of the Decline in Self-Response Rates are
                 Conservative

1047. The Census Bureau’s estimate of the decrease in self-response resulting from a citizenship

question is conservative, and underestimates the likely impact of adding the question.

1048. The Plaintiffs’ and Defendants’ experts agree that the 5.8 percent decrease in self-

response is “conservative.” Nov. 5 Trial Tr. at 78:11-12, 80-89; Nov. 13 Trial Tr. at 866:3-4.

1049. The Census Bureau concurs that the 5.8 percentage point estimate is conservative, noting

that “factors suggest the estimated effect on self-response from the exercise in Table 9 [i.e., the

5.8 percent decrease in self-response] is conservative.” PX-162 at 39.

1050. The 5.8 percentage point estimate is conservative because it is based on an analysis on

ACS response rates, but a citizenship question on the Decennial Census questionnaire, which is

much shorter, would be more prominent. Nov. 5 Trial Tr. at 87-89; Nov. 13 Trial. Tr. at 901:22–

902:4.

1051. The greater prominence of a citizenship question on the Decennial Census questionnaire

means that the question could have a larger impact in terms of decreasing self-response as



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compared to the less prominent citizenship question on the ACS. Nov. 5 Trial Tr. at 87-89; Nov.

13 Trial Tr. at 902:5-10; Census Bureau 30(b)(6) Dep. Vol. II at 376:13–377:5.

1052. The “ACS contains 75 questions, so any one question is unlikely to stand out, whereas an

added question will be more visible in the 2020 Census questionnaire, which contains just 10

other questions.” PX-162 at 39; Nov. 5 Trial Tr. at 88:1-4; PX-255; PX-665.

1053. The 5.8 percentage point estimate is also conservative because it considers only the

impact on households with at least one noncitizen resident and does not account for nonresponse

households composed entirely of citizens. PX-162 at 38-39; Nov. 5 Trial Tr. at 85-86; Nov. 13

Trial Tr. at 903:1-8. As the Census Bureau concedes, this assumption—that a citizenship

question will have no impact on the response rates of citizen households—is likely incorrect.

Nov. 13 Trial Tr. at 903:15-905:2.

1054. In addition, the 5.8 percentage point estimate is conservative because it based on 2016

ACS data and does not account for salient developments that might impact response rates that

occurred after 2016. PX-162 at 39; Nov. 5 Trial Tr. at 81-83; Nov. 13 Trial Tr. at 902:11-23.

1055. The Census Bureau’s natural experiments reflect that nonresponse rates to citizenship

questions among noncitizens are increasing. Census Bureau 30(b)(6) Dep. Vol. I at 105:17–

106:16; Nov. 13 Trial Tr. at 917:8–918:23. The 5.8 point estimate is based on 2016 ACS data,

and would not account for increased sensitivity of the citizenship question after that date, for

example, as reflected in 2017 ACS break-off rates.

1056. For example, the Census Bureau’s analysis of item non-response and break-off rates are

consistent with the hypothesis that noncitizens and Hispanics have become more sensitive to a

citizenship question, and less likely to respond to a census questionnaire including such a




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question, over time. PX-22 (AR); PX-151 (AR); Nov. 13 Trial Tr. at 917:8–918:2; Census

Bureau 30(b)(6) Dep. Vol. I at 108:7-16.

1057. The CBAMS survey and focus group analysis conducted by the Census Bureau also

suggest that noncitizen and Hispanic sensitivity to a citizenship question has been increasing

since 2016. Nov. 13 Trial Tr. at 944:07-14; PX-662. Increased sensitivity to a citizenship

question as reflected in the 2018 CBAMS research would not be accounted for in the 5.8 point

estimate, which is based on 2016 ACS data. Nov. 13 Trial Tr. at 944-46.

1058. In addition, Plaintiff’s expert, Dr. Hillygus, testified at length about the conservative

nature of the estimate in the August 6, 2018 version of the Census Bureau White Paper. PX-162.

The White Paper reflected that the introduction of a citizenship question on the 2020 Decennial

Census could depress self-response rates among noncitizen households by between 5.1% and

11.9%. Nov. 5 Trial Tr. at 77-80.

1059. Dr. Hillygus gave numerous reasons for believing that the research set forth in the White

Paper was an underestimate of the effect the introduction of a citizenship question on the 2020

Decennial Census would have on the rates of self-response among noncitizen households, id. at

81-88, including:

           a. Discussing PX-365 and other Census Bureau research, Dr. Hillygus testified the

               Census Bureau analysis is based on 2010 data and the issue of citizenship is more

               salient and prominent given changes in the macro-environment (in particular

               increase in political rhetoric about immigration and increased confidentiality

               concerns) and Census Bureau research on difficulty of convincing individuals

               with confidentiality concerns to participate. Nov. 5 Trial Tr. at 81:7-15; PX-365.




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             b. The Census Bureau analyses presented in PX-22 (AR) and PX-162 relied on

                matching ACS and Census Bureau data, and noncitizens are more likely to be

                missing from one or both sets of data. Nov. 5 Trial Tr. at 84:5-15; PX-22 (AR);

                PX-162; Nov. 15 Trial Tr. at 1403:10–1404:3.

             c. Census Bureau analyses in PX-22 and certain analysis in PX-162 assumed that

                individuals whose citizenship information was missing from the administrative

                data were assumed to be citizens. Nov. 5 Trial Tr. at 85:5-6.

             d. The Census Bureau analyses controlled for a number of factors in their modeling

                assumptions that are aligned with people who may have confidentiality concerns

                (such as non-English speakers), such that the Census Bureau’s exclusion of them

                from the model would blunt the impact. Nov. 5 Trial Tr. at 86:18-20, 87:6-11;

                PX-162 at 37-39; Tables A13, A14.

       F.       The Macro-Environment

1060. The current macro-environment further confirms the likelihood that a citizenship question

will likely decrease self-response rates in the 2020 Decennial Census at a substantial rate.

1061. The Census Bureau admits that the macro-environment, part of which is the political

environment within which a Census is taken, can affect response rates. Nov. 13 Trial Tr. at

926:21-23.

1062. The current political environment around immigration amplifies the effect of a citizenship

question on response rates as compared to response rates in 2016. Id. at 927:5-10.

                1.     CBAMS Results

1063. Research conducted by the Census Bureau confirms that the current macro-environment

has intensified fears relating to a citizenship question. From February through May 2018 the

Census Bureau conducted the “Census Barriers, Attitudes, and Motivators Survey” (CBAMS),


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which is designed to provide the Census Bureau with information on the macro- environment.

PX-161; PX-152; Nov. 13 Trial Tr. at 927:18-24.

1064. The CBAMS consists of a survey of 50,000 households and a series of 42 focus groups

designed to inform the Census Bureau's integrated partnership and communications program.

Nov. 13 Trial Tr. at 927:25–928:11; PX-152; PX-662; Census Bureau 30(b)(6) Dep. Vol. II at

437:6–438:16.

1065. During the CBAMS, Census Bureau researchers asked about a citizenship question in 30

out of 42 focus groups, including all Spanish-language focus groups. PX-163 at 6; PX-152; Nov.

13 Trial Tr. at 930:16-19.

1066. The PowerPoint containing this focus group finding was presented to Undersecretary

Kelley and Secretary Ross in September 2018. PX-163; Nov. 13 Trial Tr. at 928:20–929:16;

Census Bureau 30(b)(6) Dep. Vol. II at 445:5-18, 448:5-17.

1067. The CBAMS reflect how respondents’ fear of deportation influenced their response to a

census that included a citizenship question. For example, during the Spanish (U.S. Mainland)

focus groups, “[m]ost participants said that though they personally are citizens or legal residents

and are not afraid to answer the citizenship question, they know many others who will not fill out

the question or the form altogether out of fear. While all participants expressed the desire to be

counted, fear of deportation outweighs any benefit.” PX-152 at 22; Nov. 13 Trial Tr. at 933:24–

934:7; Census Bureau 30(b)(6) Dep. Vol. II at 449:5–13, 449:21–451:9

1068. The Census Bureau believes that this focus group result is an indication that a citizenship

question is viewed as extremely problematic for the Hispanic population. Nov. 13 Trial Tr. at

934:8–12.




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1069. The CBAMS reflected similar results for other immigrant and non-white communities.

Nov. 13 Trial Tr. at 930:09–24, 938:22–939:17, 940:04–941:14

1070. Participants from the Middle East and North African focus group stated that they

understood that census responses are confidential, but “indicated a fear that this could change,”

and are therefore less likely to self-respond. PX-152 at 13; Census Bureau 30(b)(6) Dep. Vol. II

at 457:12–458:13.

1071. Participants in the Chinese (Mandarin and Cantonese) focus group expressed a reluctance

to report on others outside of their immediate families, thus making the use of neighbors as

proxies in these communities difficult. PX-152 at 7; Census Bureau 30(b)(6) Dep. Vol. II at

458:15–459:14.

1072. Participants in the Native Hawaiian and Pacific Islander focus group expressed reluctance

to provide a census response for every member of their household out of concern that their

landlords might learn how many people are staying there, thus making the use of landlords as

proxies in these communities difficult. PX-152 at 16; Census Bureau 30(b)(6) Dep. Vol. II at

461:2–21.

1073. The Census Bureau acknowledges that with a citizenship question, people who are afraid

of deportation will be an extremely difficult group to count. Nov. 13 Trial Tr. at 934:13–936:13.

1074. The focus group results also demonstrate that members of the Hispanic community would

be more likely to self-respond if there was not a citizenship question on the 2020 Decennial

Census. Nov. 13 Trial Tr. at 936:14–937:4.

1075. Director Jarmin has acknowledged the new challenges that a citizenship question presents

to the Census Bureau. Supp. Vargas Aff. (Docket No. 498-22) ¶ 8.




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1076. In an October 31, 2018 presentation about the CBAMS results, the Census Bureau

revealed that 10% of respondents to the CBAMS believe that the 2020 Decennial Census will be

used to locate people living in the country without documentation, while 37% are unsure whether

the Census will be used in that manner. PX-662 at 20; Nov. 13 Trial Tr. at 938:14-21.

1077. The Census Bureau found that 41% of both Asian respondents and Limited English

Proficient respondents expressed concerns about confidentiality in the CBAMS, and 34% of

Hispanics expressed these concerns. PX-662 at 30, 58; Nov. 13 Trial Tr. at 940:4-9.

1078. The Census Bureau found that 37% of Limited English Proficient respondents, and 36%

of those responding in Spanish expressed concerns about data sharing of Census responses with

other government agencies. In addition, 32% of foreign-born respondents, and 32% of Hispanic

respondents expressed similar concerns. PX-662 at 32.

1079. The Census Bureau found that 41% of Asian respondents fear that their Census responses

will be used against them, as did 39% of foreign-born respondents, 34% of those responding in

Spanish, and 33% of Hispanics. PX-662 at 36, 58; Nov. 13 Trial Tr. at 941:2-14.

1080. The Census Bureau further noted that “the citizenship question may be a major barrier”,

and that participants in focus group testing expressed concerns that the purpose of the question is

“to find undocumented immigrants” and that the “political discourse is targeting their ethnic

group.” PX-662 at 43; Nov. 13 Trial Tr. at 941:15–942:3; Supp. Vargas Aff. ¶ 9.

1081. For Hispanic participants in focus groups, the Census Bureau noted that they “expressed

intense fear that information will be shared with other government agencies to help them find

undocumented immigrants. Participants worried that their participation in the census could harm

them personally or others in their communities/households they care about.” PX-662 at 58; Nov.

13 Trial Tr. at 943:14-21.




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1082. The CBAMS research suggests that a citizenship question is particularly sensitive in the

current macro-environment. Nov. 13 Trial Tr. at 944:7-14.

1083. The sensitivity to a citizenship question that is reflected in the CBAMS research is not

captured in the Census Bureau’s estimate of a 5.8% decrease in self-response, which is based on

2016 data. Nov. 13 Trial Tr. at 944:25-945:5.

               2.      Center of Survey Measurement Memoranda

1084. In addition to the CBAMS, the former Center for Survey Measurement at the Census

Bureau also found concerns about confidentiality during focus group testing in 2017 that suggest

issues in the macro-environment. PX-136 (AR); PX-448.

1085. Researchers at the Center for Survey Measurement summarized several issues relating to

“Respondent Confidentiality Concerns,” in a memorandum for the Associate Directorate for

Research and Methodology at the Census Bureau, dated September 20, 2017, and a subsequent

presentation, dated November 2, 2017. PX-136 (AR), PX-448.

1086. The researchers noted that during Census Bureau pretesting in 2017, they found “fears,

particularly among immigrant respondents, have increased markedly this year.” PX-136 (AR).

1087. In addition, the researchers noted a “[r]ecent increase in respondents spontaneously

expressing concerns to researchers and field staff about confidentiality and data access relating to

immigration.” PX-448 at 2.

1088. During focus group testing, the researchers found that respondents expressed “fear of

deportation, concern about how the data are used, and which agencies can see it (DHS? ICE?).”

PX-448 at 9.

1089. The researchers also noted that the behavioral changes were recent, quoting one Census

Bureau interviewer who reported that “[t]hree years ago was so much easier to get respondents




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compared to now because of the government changes . . . and trust factors . . . Three years ago I

didn’t have problems with the immigration questions.” PX-448 at 13.

1090. The findings from the CBAMS and Center for Survey Measurement research suggest that

the sensitivity of a citizenship question is increasing in the current political environment.

                3.     Plaintiffs’ Experts Agree that the Current Macro-Environment
                       Heightens Concerns that a Citizenship Question will Substantially
                       Reduce Response Rates

1091. As set forth above, Dr. Barreto testified that the existence of a hostile macro-environment

on issues relating to immigration enforcement could be expected to drive down self-response

rates on the 2020 Decennial Census among Latinos and immigrants. Nov. 9 Trial Tr. at 612-617.

1092. Dr. Hillygus also testified to the existence of a climate of fear of deportation among

Hispanics and noncitizens, noting that a recent Pew Research Center public opinion poll showed

that 47% of Hispanics polled say, “regardless of their own immigration or citizenship status, they

worry a lot or some that they, a family, or close member could be deported,” while 52% of

foreign-born citizens and 66% of noncitizens expressed the same belief. Nov. 5. Trial Tr. at

52:11-21. Dr. Hillygus also testified about a recent UCLA survey of both Latinos and whites

showed that 56% of Latinos surveyed were concerned about deportation, while only 19% of

whites were. Nov. 5 Trial Tr. at 53:17-20.

1093. In addition to the survey evidence of a hostile macro-environment on immigration issues,

Dr. Hillygus also relied on impact evidence, examining behaviors of Latinos and noncitizens

relating to their willingness to interact with government programs as evidence of their levels of

concern. Nov. 5 Trial Tr. at 54. For example, she testified:

            •    that research conducted by health advocacy organizations that “legal immigrants

                 are less likely to use public health services since Trump's election,” and that



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                noncitizen parents are failing to sign their children up for those services for fear

                of revealing themselves. Nov. 5 Trial Tr. at 53-54.

            •   that fear of deportation had a chilling effect on willingness to use WIC in

                families with mixed citizenship status, and is therefore “preventing U.S. children

                from receiving aid.” Nov. 5 Trial Tr. at 55:7-25.

            •   that a National Bureau of Economic Research study shows that, due to fear

                related to deportations, even Hispanic citizens who are not themselves at risk of

                deportation are nonetheless less likely to use SNAP or enroll with the ACA.

                Nov. 5 Trial Tr. at 56:7-25.

1094. The combination of survey evidence and impact evidence about the climate of fear among

Latinos and noncitizens makes it likely that inclusion of a citizenship question on the 2020

Decennial Census would have “an impact not only among noncitizens but also the spillover

effects on Hispanics.” Nov. 5 Trial Tr. at 57:6-7.

VIII. EFFECT OF A CITIZENSHIP QUESTION ON UNDERCOUNT

1095. Establishing that there will be an undercount is relevant to certain, but not all, of

Plaintiffs’ claims of standing.

1096. In particular, establishing that there will be a statewide net differential undercount is

relevant to Plaintiffs’ injuries about diminishment of federal political power (relative to

apportionment of federal representatives and Electoral College electors). See PFOF X.C.1. And

establishing that there will be a statewide net differential undercount is relevant to the State

Governmental Plaintiffs’ claims about claims about loss of federal funding, and NGO Plaintiffs’

claims of loss of federal funding. See PFOF X.C.2.a & b.




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1097. Establishing that there will be a net differential undercount within states or local

geographies is relevant to Plaintiffs’ claims about diminishment of political power at the state or

local level. See PFOF X.C.1.

1098. Establishing that there will be a net differential undercount is not necessary to establish

Plaintiffs’ injuries that flow from the impact of a citizenship question on data quality or data

privacy issues. As discussed in PFOF X.D, the quality of Census data has a direct impact on

funding and resource allocation issues. And as discussed in PFOF.X.E, respondent data privacy

is implicated by both the use of the Census to collect citizenship data and the plans to publish

PL-94-171 data at the granular block level.

1099. Establishing that there will be a net differential undercount is not necessary to establish

Plaintiffs’ injuries related to a citizenship question stemming from the diversion of their

resources (in terms of expenditures, staff time, and resources) in their capacity as “trusted

voices” to promote participation in the Census. See infra PFOF X.A.

1100. Establishing that there will be a net differential undercount for non-citizens, racial or

ethnic minorities is relevant to the NYIC’s Plaintiffs’ Fifth Amendment claim.

           A. Hard-to-Count Populations and Undercount

1101. The Census always fails to count some people. Census Bureau 30(b)(6) Dep. Tr. Vol. I at

253:20-254:4; Nov. 15 Trial Tr. at 1362 (Abowd).

1102. Some demographic groups have proven more difficult to count in the Decennial Census

than others. The Census Bureau refers to these groups as “hard-to-count.” Docket No. 480-1 at

¶ 21.




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1103. Racial and ethnic minorities, immigrant populations, and non-English speakers have

historically been some of the hardest groups to count accurately in the Decennial Census. Docket

No. 480-1 at ¶ 22.

1104. Individuals identifying as Hispanic were undercounted by almost 5% in the 1990

Decennial Census. Docket No. 480-1 at ¶ 23.

1105. The 2010 Decennial Census undercounted on net more than 1.5 million Hispanic and

African American individuals. Docket No. 480-1 at ¶ 24.

1106. The Census Bureau describes the undercounting of a particular racial and ethnic group in

comparison to the overall net undercount or overcount of the population as a whole as a

“differential undercount,” as distinct from a “net undercount” of the entire population. Docket

No. 480-1 at ¶ 25.

1107. Dr. Abowd acknowledged that either a 5.1 or a 5.8 percent decline in non-citizen self-

response would result in millions of additional individuals going into non-response follow up

operations. Nov. 13 Trial Tr. at 894:1-895:2.

1108. Dr. Barreto testified that “due to the citizenship question, there will be heightened

concerns and trust issues related to confidentiality and that these concerns will make the NRFU

process less successful in 2020.” Nov. 9 Trial Tr. at 621:15-615:20.

1109. Dr. Barreto explained that trust and sensitivity concerns around a citizenship question

would have differential impacts: “for some groups, the NRFU process this year might be as

successful in previous years. They may feel no change. . . But for other groups who feel that the

question is sensitive and is putting them at risk, it is expected to be far less successful. So not

only do I think overall NRFU will be more challenging and less successful, but there will be a




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differential success rate, and in particular, Latino and immigrant communities are expected to

have less NRFU success.” Nov. 9 Trial Tr. at 621:21-622:8.

1110. Dr. Barreto based his opinion, in part, on a review of relevant social science research.

Nov. 9 Trial Tr. at 593:6-595:16.

1111. The social science research relied on by Dr. Barreto in forming his opinion involved more

than fifty sources, see PX 389, PX-420 to PX-450 and PX-452 to PX-478, and included:

       a.      Census Bureau research work by Manuel de la Puente examining the 1990 and

               2000 census undercounts of the Hispanic and immigrant communities. De la

               Puente recognized that “trust and concerns over immigration status remained

               barriers to participation in Latino and immigrant communities, and he continued

               to note an undercount and difficulties in the NRFU process in successfully

               implementing the census in these communities.” Nov. 9 Trial Tr. at 608:2-609:22;

               PX-430; PX 431.

       b.      A 2018 Census Bureau study by Brown, et al. which “concluded that there would

               not only be a lower self-response rate due to the citizenship question, but that this

               would affect NRFU as well. This . . . perceived negative environment would

               follow through all the way through the NRFU process, leading people to be less

               likely to participate and interact with field staff.” Nov. 9 Trial Tr. at 635:8-637:5;

               PX-162.

       c.      A 2017 study by Terry, et al. which found a direct link between increased

               immigration enforcement and lower enumeration and less effective NRFU in the

               presence of that increased immigration enforcement. “The main take-away is that

               if people are choosing to not participate in the census, if they are pulling




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                 themselves out due to a threatening context . . . NRFU cannot fix that because that

                 . . . threat is still there. So whatever problems we have in lowering the self-report

                 will stay for those same communities and we will have problems with NRFU.”

                 Nov 9 Trial Tr. at 635:8-637:5; PX-385.

1112. Dr. Hillygus testified that adding “a citizenship question is going to make conducting the

census a heck of a lot more difficult because of concerns about confidentiality among noncitizens

and Hispanics.” Nov. 5 Trial Tr. at 67:10-12.

1113. Dr. Hillygus cites social science research supporting her conclusion, noting that Census

Bureau’s ethnographic research has found that fear of deportation, cultural resistance to

government compliance, language barriers, and complex households all contribute to the

differential undercounts of racial and ethnic groups. PX-390 at 68-70.

           B. The Parties’ Responses to the Expected Undercount

1114. The Census Bureau has developed a range of strategies to address the net differential

undercount of “hard-to-count” populations—including targeted marketing and outreach efforts,

partnerships with community organizations, deployment of field staff to follow up with

individuals who do not respond, and retention of staff with foreign language skills. Docket No.

480-1 at ¶ 26.

1115. All parties expect to expend significant resources to mitigate the expected net differential

undercount.

1116. The NGO Plaintiffs’ efforts, which will divert resources from other organizational

priorities, are described at PFOF X.A.

1117. The NGO Plaintiffs do not expect their efforts will prevent the material net differential

undercount resulting from the addition of a citizenship question. PFOF X.A.




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1118. The Governmental Plaintiffs’ efforts, which will divert resources from other funding

needs, are described at PFOF X.B.

1119. The Governmental Plaintiffs do not expect their efforts will prevent a material net

differential undercount resulting from the addition of a citizenship question. PFOF X.B.

1120. Through their expert testimony, Defendants’ position is that they expect to be able to

mitigate the decline in self-response through the integrated communications campaign and their

non-response follow up operations (“NRFU”). Nov. 14 Trial Tr. at 1113:18-111-8.

1121. Plaintiffs’ and Defendants’ experts agree that neither the integrated communications

campaign nor the Census Bureau’s NRFU operations will fully mitigate the decline in non-

citizen and Hispanic self-response, nor will they eliminate the net differential undercount. Nov.

15 Trial Tr. at 1357:4-14 (Abowd). Among other reasons, Dr. Hillygus testified:

       a.      The Census Bureau CBAMS focus groups found that Spanish language and

               immigrant respondents were concerned about confidentiality and that “there does

               not seem to be a single trusted voice that could mitigate the distrust of the

               government to uphold the promise of confidentiality.” Nov. 5 Trial Tr. at 66:4-6;

               PX-152, PX-662 & PX-663.

       b.      “[C]ommunication scholars recognize that reaching the public is incredibly

               difficult and more difficult today than it was in 2010. We have a fragmented

               media environment, so simply even getting the message out is more complicated

               today than it was in previous censuses.” Nov. 5 Trial Tr. at 91:20-24.

       c.      The Census Bureau “planned to do considerable research to be able to have a

               more effective communication campaign [for the 2020 Decennial Census], and

               that was eliminated, including being eliminated from the 2018 end-to-end test,




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               and so [the Census Bureau] are going in without . . . a robust set of evidence

               backing up their communications campaign.” Nov. 5 Trial Tr. at 91:25-92:6.

       d.      Census Bureau research (including PX-365) suggests that confidentiality concerns

               (such as those implicated by a citizenship question) “can be especially difficult to

               move in terms of any outreach . . . you couldn’t kind of message your way out of

               those concerns.” Nov. 5 Trial Tr. at 81:16-18, 81:22-23; PX-365.

1122. Dr. Barreto testified that a “citizenship question, coupled with the political environment

that immigrants perceive, will make it very difficult for census enumerators to convince people

to participate, and that this will remain a very low participation rate, not only of the self-

response, but throughout the entire NRFU process. That will result in an undercount of many in

the Latino and immigrant community.” Nov. 9 Trial Tr. at 644:1-7.

1123. These concerns are becoming more acute. As Dr. Barreto discussed, a 2017 presentation

by the Center for Survey Measurement (CSM) reflected increasing concern regarding

confidentiality, particularly around immigration issues, posing serious barriers for NRFU

operations. Nov. 9 Trial Tr. at 625:24-626:24, 630:6-630:24; PX-448.

1124. Dr. Abowd conceded that if there were a citizenship question on the census, the trusted

partners that the Census Bureau relies on to carry forth the message that it is important to

participate in the census would have additional challenges communicating that message. Nov. 13

Trial Tr. at 937:16-23.

1125. And Dr. Abowd testified that “it would either be very or extremely difficult to mitigate the

citizenship question consequences in 2020 . . . because of the macro-environment.” Nov. 14

Trial Tr. at 1159:4-8.




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           C. The Defendants’ Planned Integrated Communications and Partnership
              Campaign

1126. Although Defendants’ expert noted the importance of the integrated communications and

partnership campaign, Secretary Ross’ decisional memo does not cite or otherwise discuss the

impact of the integrated communications and partnership campaign. PX-26 (AR).

1127. In particular, Secretary Ross’ decisional memo does not claim that the integrated

communications campaign will either mitigate the impact of a citizenship question in reducing

self-response or in promoting the efficacy of Defendants’ non-response follow up efforts. PX-26

(AR).

1128. There is no evidence in the Administrative Record about Defendants’ planned integrated

communications (planned advertising campaign) or partnership campaign for the 2020 Decennial

Census. PX-1 to PX-14 (AR).

1129. There is no evidence in the Administrative Record that Defendants’ planned integrated

communications and partnership campaign will mitigate the expected reduction in self-response

due to the addition of a citizenship question to the 2020 Decennial Census. PX-1 to PX-14 (AR).

1130. There is no evidence in the Administrative Record that Defendants’ planned integrated

communications campaign will foster cooperation with the Census, the Census’ non-response

follow up operations, or that such efforts will mitigate or eliminate the undercount due to the

addition of a citizenship question to the 2020 Decennial Census. PX-1 to PX-14 (AR).

1131. In the 2000 and 2010 Decennial Censuses, the Census Bureau designed and implemented

public advertising campaigns to reach hard-to-count immigrant communities, including using

paid media in over a dozen different languages to improve responsiveness. Docket No. 480-1 at

27.




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1132. Former Census Bureau Director John Thompson testified about the importance of the

integrated communications and partnership campaign in the 2000 and 2010 Censuses, noting that

it was a “key component” to reducing undercounts relative to the 1990 Census because it helped

“deliver a message to hard-to-count populations that the census is important to their community,

that the data collected through the census is completely confidential and that no individual’s

information is shared with any other organization or law enforcement entity.” Thompson Aff.

(Docket No. 516-1) ¶ 99.

1133. For the 2000 and 2010 Decennial Censuses, the Census Bureau also partnered with local

businesses, faith-based groups, community organizations, elected officials, and ethnic

organizations to reach these communities and improve the accuracy of the count. Docket No.

480-1 at ¶ 28.

1134. Mr. Thompson further testified that the communications and partnership campaign “was

responsible for dramatic gains in the accuracy and coverage of the 2000 and 2010 Decennial

Census relative to the 1990 Census, which did not include such a program” and his opinion was

that “one of the reasons for the success of these efforts is that it worked to help gain people’s

trust and that by gaining people’s trust, the Census Bureau was able to obtain better Decennial

Census participation.” Thompson Aff. ¶¶ 100-101.

1135. Dr. Abowd testified that a key component of the Census Bureau’s strategy for

enumerating households that are reluctant to interact with enumerators is the integrated

partnership and communications program. Nov. 14 Trial Tr. at 1187:25-1188:10.

1136. There is no information in the Administrative Record that the planned advertising

campaign for the 2020 Decennial Census is materially different from the advertising campaigns




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in the 2000 or 2010 Censuses that failed to eliminate the differential undercounts in those

Censuses between Hispanics and non-Hispanic whites. PX-1 to PX-14 (AR).

1137. There is no information in the Administrative Record that the planned partnership

campaign for the 2020 Decennial Census is materially different from the partnership campaigns

in the 2000 or 2010 Censuses that failed to eliminate the differential undercounts in those

Censuses between Hispanics and non-Hispanic whites. PX-1 to PX-14 (AR).

1138. With regard to the partnership campaign, Dr. Abowd testified about the “trusted voices”

campaign, where community voices with whom the census partners carry forward a message that

census participation is safe and important, and confirmed that the trusted voices campaign is a

key part of the Census Bureau’s efforts to mitigate the decline in self-response. Nov. 14 Trial Tr.

at 1304:5-13; Nov. 15 Trial Tr. at 1382:17-23. In his testimony, Dr. Abowd testified about

several “trusted voices”—including the National Association of Latino Elected Officials

(NALEO), the National Conference of American Indians (NCAI), and the Leadership

Conference on Civil and Human Rights. Nov. 14 Trial Tr. at 1304:14-1305:9.

1139. The Administrative Record includes materials reflecting the opposition of NALEO,

NCAI, the Leadership Conference, and many other census partners to the addition of a

citizenship question. PX-1 at AR 773-775, 778-779, 1239-1240 (AR).

1140. For example, on January 4, the Leadership Conference on Civil and Human Rights wrote

to Secretary Ross that adding a citizenship question would be “unnecessarily intrusive and will

raise questions in all households—native and foreign born, citizen and noncitizens—about the

confidentiality of information provided to the government and how government authorities might

use that information. Asking every household and every person in the country about their




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citizenship status in the current political environment . . . will no doubt give many people pause

about participating in the census altogether.” PX-1 at AR 774 (AR).

1141. In a follow up letter on January 10 sent on behalf of 167 organizations, the Leadership

Conference warned “there are many mixed status households in the United States, which include

members who are both citizens and non-citizens with various legal statuses. Mixed-status and

immigrant households will be especially fearful of providing information to the federal

government in 2020, given the heightened climate of fear that anti-immigrant rhetoric and

policies have created.” PX-1 at AR 799 (AR).

1142. In addition to the letter in the Administrative Record, NALEO’s Chief Executive Officer

Arturo Vargas testified that he advised Secretary Ross on March 13 that (i) the Center for Survey

Measurement had recently documented challenges the Census Bureau staff had documented

challenges the Census Bureau staff had in securing the participation and trust of immigrants, and

(ii) that several NALEO members had expressed that they would not encourage their constituents

to complete their census forms if a citizenship question is added for fear that the Trump

Administration would use the information against them. Vargas Aff. (Docket No 498-21) at ¶ 21.

1143. The Administrative Record documentation of Secretary Ross’ March 13 communication

with Mr. Vargas fails to document their discussion of the Center for Survey Management

findings. PX-1 at AR 1213 (AR).

1144. Mr. Vargas also testified that although NALEO is a “trusted messenger” and will

cooperate with the Census Bureau, that NALEO’s messaging strategy research “has shown that

individuals are scared to answer the citizenship question for fear of disclosure of that information

to other government entities.” Vargas Aff. ¶ 25. Mr. Vargas further testified that “it is not clear




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how we should advise our members in terms of messaging and processes related to non-response

follow up, as we have received no direction on this from the Census Bureau.” Id.

1145. Other organizations (including the non-governmental plaintiff organizations) that have

served in the past and plan to serve as “trusted voices” in the Census have uniformly expressed

that the addition of a citizenship question will negatively impact their ability to persuade

Hispanics and immigrant communities to participate in the Census. See PFOF III.I; PFOF X.A.

1146. Organizations who are not formally “trusted voices,” but who are conducting critical

outreach on the Decennial Census have also expressed challenges in overcoming the reluctance

in immigrant communities to fill out the citizenship question, as well as an overall confusion on

messaging due to a lack of direction from the Census Bureau. Cullinane Aff. (Docket No. 505-2)

¶¶ 3-11, Sarmiento Aff. (Docket Nos. 488-3 & 488-4) ¶¶ 6-10, Rodriguez Aff. (Docket Nos.

488-1 & 488-2) ¶¶ 8-12.

1147. Former Census Bureau Director Thompson testified that his opinion was that the

integrated communications and partnership campaign would “not work as well for the 2020

Census because of this issue of trust. If you cannot gain people’s trust, you cannot get out a

message that will compel people to respond to the Census.” Thompson Aff. ¶ 101.

1148. Dr. Hillygus testified that it will “be incredibly difficult for this outreach campaign to be

effective at overcoming their predicted differential self-response.” Nov. 5 Trial Tr. at 91:14-16.

1149. Dr. Hillygus further testified that the reason that these campaigns would have limited

effect is that the barriers to participating in the census caused by the addition of a citizenship

question are not like other participatory barriers, but are driven by concerns about

confidentiality, making them particularly hard to overcome. Nov. 5 Trial Tr. at 81-82.




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1150. Dr. Barreto also testified that he did not believe Defendants’ communication plan will be

effective in 2020 “as a direct result of the citizenship question being added to the census.” Nov. 9

Trial Tr. at 696:24-697:4. He explained that “many of the important trusted partners that the

census has identified are actually quite concerned and skeptical right now of the citizenship

question,” and that they will “not be as effective in getting the word out in the community.” Nov.

9 Trial Tr. at 697:12-697:22; 698:10-699:2.

1151. In sum, as Dr. Barreto explained, “the communications plan and the work with the trusted

partners is very tenuous at this point. The partners are very concerned themselves about this, and

it is not at all clear to me that these trusted partners will be effective—even if they do work with

the census, they will be able to convince people to participate.” Nov. 9 Trial Tr. at 699:3-699:10.

1152. The Census Bureau’s Barriers Attitudes and Motivators Survey (CBAMS) research

confirms that the integrated communications and partnership campaign will not be effective in

overcoming the decision to not participate in the census due to a citizenship question. PX-15,

PX-662.

1153. For example, Census Bureau research has noted that one messaging strategy that has been

critical to prior integrated communications and partnership campaigns aimed at Hispanics is that

the Census does not inquire about immigration status, i.e., “None of the questions in this survey

will ask about immigration status.” PX-160 at 16. This message would not be accurate or

effective if a citizenship question is asked on the Decennial Census.

1154. Similarly, CBAMS focus groups of Spanish language participants found there was not a

single trusted voice that could mitigate their distrust of the government to uphold the promise of

confidentially. PX-15 at 22.




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1155. Dr. Abowd agreed that the CBAMS research “suggests a particularly difficult macro

environment for a census questionnaire with a citizenship question on it.” Nov. 14 Trial Tr. at

1259:3-7.

1156. The Census Bureau admitted that if there is “a citizenship question on the decennial

census, trusted partners will have additional challenges in convincing this [immigrant]

community to participate.” Census Bureau 30(b)(6) Dep. Vol. II at 451-453, 462 (objection).

            D. Household and Household Member Omissions - There is Agreement that Not
               All Individuals Missed in the Census Will Be Covered by NRFU Processes

1157. Households are included in NRFU only if they are included within the Master Address

File (“MAF”). Nov. 6 Trial Tr. at 290:19-21.

1158. As Dr. Salvo explained, “the address list is the foundation for the decennial census. If you

do not have an address that is on the Census Bureau's master address file (MAF), you cannot be

enumerated.” Id.

1159. Similarly, NRFU efforts do not capture households whose addresses were not in the

Census Bureau’s Master Address File (MAF), which Dr. Hillygus testified is “likely to miss”

hard-to-count populations. Nov. 5 Trial Tr. at 103:21-104:6.

1160. Likewise, Dr. Salvo testified that “hidden units”—often in small, multi-unit buildings—

are not always captured by the MAF. Nov. 6 Trial Tr. at 296:25-297:09, 338:17-339:08.

1161. Census Bureau research has concluded that one reason for an undercount of noncitizen

and Hispanic households is that they live in unusual or concealed housing units that are not in the

MAF and that the MAF is more likely to miss non-citizens and ethnic and racial minorities who

are more likely to live in complex housing situations. PX-389; PX-390 at 70.

1162. Dr. Hillygus testified that the role of the MAF in determining which individuals are

included in NRFU was one of the features of NRFU that may exacerbate the differential



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undercount because there is “potential for individuals to respond who are not in the master

address file . . . to go onto the Internet and/or make a phone call and make sure that you’re

counted. That requires self-motivation . . . and it seems unlikely that that option will be used by

noncitizens or those concerned about the confidentiality . . . it could potentially . . . exacerbate

[the undercount].” Nov. 5 Trial Tr.131:9-24.

1163. Dr. Salvo similarly testified that the MAF is not foolproof; to the contrary, the Census

Bureau has historically struggled with the erroneous designation of occupied units as vacant. For

example, during the 2010 Census, there were a large number of discrepancies between the

determination of occupancy status in NRFU and in the Vacant Delete Check operation

(intended to verify the occupancy status of units classified in NRFU as deletes) in Northwestern

Queens and Southern Brooklyn, demonstrating that NRFU operations had significantly

overstated the number of vacant addresses in these areas. Nov. 6 Trial Tr. at 308:21-309:15,

350:24-353:12, 451:06-21.

1164. There is additional evidence of some populations being undercounted because they are left

out of both the self-response and the NRFU processes. Census Bureau research has

acknowledged a significant problem with the counts of young children. PX-346; PX-378; PX-

381; PX-410; Nov. 6 Trial Tr. at 383:07-22. For example, the undercount of children under the

age of 5 in the 2010 census was 4.6% even though there was an overcount of adults in the 2010

Census. PX-346 at 4. Among other issues, the Census Bureau found that one reason for this

undercount is “Fear of government, political factors, or respondent fatigue may cause a

household respondent to intentionally leave a child off the roster.” Id. at 6.

1165. Additionally, Dr. Hillygus testified that experimental and ethnographic research has found

deliberate concealment of household members based on “concerns about confidentiality,




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deportation, and their general trust in government.” Nov. 5 Trial Tr. at 125-126; PX-385 at 11;

PX-390 at 70.

1166. In a specific discussion of NRFU field operations among Hispanic respondents, for

instance, researchers explained that “some proxy respondents resisted the interview by providing

data that seemed inaccurate or incomplete just to comply with the interview.” PX-385 at 11.

1167. This research suggests that noncitizens and Hispanics might systematically underreport

household size to enumerators, and increased confidentiality concerns associated with the

addition of a citizenship question could exacerbate such underreporting. Nov. 5 Trial Tr. at 124-

125.

1168. The Census has historically undercounted Hispanics in part because of the failure of

Hispanic households to provide a response for every member of their households. Census Bureau

30(b)(6) Dep. Vol. II at 394:7-20; Nov. 14 Trial Tr. at 1306 (Abowd).

1169. The Census Bureau’s internal research is consistent with the notion that a citizenship

question will “cause an incremental increase in the number of households that respond to the

census but don't provide a response for every member of the household.” Census Bureau

30(b)(6) Dep. Vol. II at 396:2-11; Nov. 14 Trial Tr. at 1308-09 (Abowd).

1170. If a household omits one or members in its census response, the Census Bureau will not

conduct NRFU efforts to enumerate those individuals. Census Bureau 30(b)(6) Dep. Vol. II. at

397:19-399:2; Nov. 14 Trial Tr. at 1309-10 (Abowd).

1171. There is nothing in current Census protocols to address situations where a household

provides a response but does not include every member of the household. Census Bureau

30(b)(6) Oct. 5 Dep. Tr. at 459:21 - 460:15; Nov. 14 Trial Tr. at 1310 (Abowd).




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       E.      The Defendants’ Planned Non-Response Follow-up (NRFU) Operations

1172. Nonresponse Follow-up (NRFU) is the process by which the Census Bureau attempts to

collect information from households that do not self-respond to the census questionnaire. The

parties have stipulated on the basic planned components of NRFU for the 2020 Decennial

Census. Docket No. 480-1 at ¶¶ 8-13; PX-655.

1173. If the Census Bureau does not receive a response to the questionnaire, it then sends a

Census Bureau staffer known as an enumerator to the housing unit to attempt to conduct an in

person interview in order to collect the data. Docket No. 480-1 at ¶ 8.

1174. If the initial NRFU visit does not result in collecting complete data for a household,

administrative records may be used to enumerate a limited number of those households for which

there is high quality administrative data about the household. Docket No. 480-1 at ¶ 9.

1175. For those households without high-quality administrative records, an enumerator will

attempt to re-contact the household in person. Docket No. 480-1 at ¶ 10.

1176. If a third attempt to contact a household does not yield a response, a case will become

“proxy-eligible.” Docket No. 480-1 at ¶ 11.

1177. A proxy is someone who is not a member of the household—such as a neighbor, landlord,

Postal worker, or other knowledgeable person who can provide information about the unit and

the people who live there. Docket No. 480-1 at ¶ 12.

1178. For a proxy-eligible case an enumerator will attempt three proxies after each re-contact

attempt that does not result in an interview. Docket No. 480-1 at ¶ 13.

1179. If the Census Bureau is unable to find a proxy, it will impute the “count” or number of

members of the household, as well as the demographic characteristics of the individual residents.

PX-655.




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               1.      The Limitations on NRFU to Address Undercount in Prior Decennial
                       Censuses

1180. Of the NRFU processes, the use of in-person enumeration, proxies, and imputation was

used in prior censuses, including the 1990, 2000, and 2010 Censuses. Census Bureau 30(b)(6)

Oct. 5 Dep. Tr. at 400:19-401:21; Nov. 5 Trial Tr. at 94:23-95:3 (Hillygus); Nov. 6 Trial Tr. at

295:23-296:11, 312:22-313:06, 388:19-23 (Salvo).

1181. The Census Bureau conducted a post-enumeration study after the 2010 Census to

estimate how well the 2010 Census covered the total population of the United States. PX-267;

Census Bureau 30(b)(6) Oct. 5 Dep. Tr. Vol. II at 399:3 - 400:18; Nov. 14 Trial Tr. at 1362-63

(Abowd).

1182. The post-enumeration study examined the percentage of racial and ethnic groups omitted

and undercounted in the 2010 census and noted that neither omissions nor the undercount is

distributed evenly across racial and ethnic groups. PX-267; Census Bureau 30(b)(6) Oct. 5 Dep.

Tr. Vol. II at 401:22 - 402:6, 403:21 - 404:21; Nov. 6 Trial Tr. at 393:12-16, 407:10-13, 416:9-

23 (Salvo); Nov. 15 Trial Tr. at 1363 (Abowd).

1183. Blacks and Hispanics had a higher omission rate than non-Hispanic whites in the 2010

Census, and also had a higher undercount rate. PX-267; Census Bureau 30(b)(6) Oct. 5 Dep. Tr.

Vol. II. at 404:22 - 406:19; Nov. 15 Trial Tr. at 1364-65 (Abowd).

1184. In the 2010 Census, there were undercounts among particular racial and ethnic groups and

also in certain states and localities. PX-267; PX-338; Census Bureau 30(b)(6) Oct. 5 Dep. Tr.

Vol. II at 406:20 - 407:8; Nov. 6 Trial Tr. at 412:25- 413:2.

1185. The post-enumeration survey conducted for the 2010 Census determined that, following

NRFU and imputation, Hispanics were undercounted by 1.54 percent and non-Hispanic whites




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were overcounted by .84 percent, resulting in a net undercount of Hispanics of 2.38 percent. PX-

267 at Table 7; Nov. 5 Trial Tr.42:6-13 (Hillygus).

1186. The post-enumeration survey conducted for the 2000 Census determined that, following

NRFU and imputation, Hispanics were undercounted by .71 percent and non-Hispanic whites

were overcounted by 1.13 percent, resulting in a net undercount of Hispanics of 1.84 percent.

PX-267 at Table 7; Nov. 5 Trial Tr.42:6-17 (Hillygus).

1187. The post-enumeration survey conducted for the 1990 Census determined that, following

NRFU and imputation, Hispanics were undercounted by 4.99 percent and non-Hispanic whites

were undercounted by .68 percent, resulting in a net undercount of Hispanics of 4.31 percent.

PX-267 at Table 7; Nov. 5 Trial Tr. at 42:6-17 (Hillygus). That survey also found that New York

City was undercounted by over three percent. Nov. 6 Trial Tr. at 394:07-11 (Salvo).

1188. Furthermore, as Dr. Salvo testified, these differential undercounts can manifest at the

neighborhood level. Nov. 6 Trial Tr. at 407:10-13, 412:10-413:13, 414:11-20, 416:09-23 452:19-

453:07. For example, in the 2010 census, approximately 65,000 individuals were omitted or

undercounted in minority neighborhoods of Brooklyn and Queens, both boroughs of New York

City. Nov. 6 Trial Tr. at 452:19-453:07. In particular, Dr. Salvo testified that there was an

erroneous enumeration of 8.4 percent in non-Hispanic white areas and an omission of over 10

percent in “the black communities of Brooklyn followed by areas with large clusters of Hispanic

population.” Nov. 6 Trial Tr. at 412:10-413:13, 414:11-20, 452:19-453:07.

1189. These local inaccuracies at the granular level can be masked at higher levels of geography.

For example, in the 2010 census, the net undercount in Brooklyn was effectively zero, but the

Census reported that over 10% of the population was omitted and 8.4% was erroneously

enumerated. Nov. 6 Trial Tr. at 412:8-15; 414:2-7. The omissions and erroneous enumerations in




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Brooklyn likely occurred in different neighborhoods within Brooklyn. Based on the racial and

ethnic differential undercount in 2010, it is likely that the 10.4% of omissions in Brooklyn were

concentrated “heavily in the black communities of Brooklyn followed by areas with large

clusters of Hispanic population.” PX-267 at Table 7; Nov. 6 Trial Tr. at 414:11-16. Similarly, the

8.4% of erroneous enumerations were “likely in the non-Hispanic white areas . . . .that tend to

show net overcounts.” PX-267 at Table 7; Nov. 6 Trial Tr. at 414:17-20.

1190. Problems resulting from undercounts in particular neighborhoods are not always reflected

in borough or city-level net undercount rates. Nov. 6 Trial Tr. at 452:25-453:7. For instances,

approximately 65,000 individuals were missed by the Census in 2010 in Brooklyn and Queens as

a result of problems with the Census Bureau’s vacant-delete check process. Nov. 6 Trial Tr. at

351:22-352:9, 353:18-354:13. This undercount had serious implications on City services

dependent on accurate data, including the calculation of vital rates by the New York City

Department of Health. Nov. 6 Trial Tr. at 355:14-357:2. However, this undercount was not

reflected in the net undercount rates for Brooklyn or Queens in 2010. PX-338 at 39.

               2.     The Expected Increase in NRFU Caseload for the 2020 Decennial
                      Census

1191. In 2010, approximately 219,207,000 out of 300,703,000 persons enumerated, or

approximately 73 percent of respondents self-responded to the Census. The remaining cases

were sent to NRFU. PX-267 at 32, table 19.

1192. Any household that does not self-respond is assigned to NRFU. Nov. 5 Trial Tr.; 33:6-9

(Hillygus); Nov. 13 Trial Tr. at 950; Nov. 14 Trial Tr. at 1131:19-24.

1193. Prior to the addition of a citizenship question, the Census Bureau estimated that self-

response rate will decrease to 60.5 percent. PX-1 at 172 (AR); PX-3 at 2401 (AR).




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1194. The expected decrease in self-response will result in a direct increase in NRFU cases.

Nov. 5 Trial Tr. at 94:13-15; 134:18-24 (Hillygus).

1195. At the time of Secretary Ross’ determination, the Census Bureau conservatively estimated

that the decline in self-response of 5.1 percent of households containing a non-citizens because

of a citizenship question would result in an increased NRFU workload of 630,000 households or

1.6 million persons. PX-22 at 6 (AR).

1196. The Census Bureau conservatively estimates that the addition of a citizenship question

this will result in an increase in NRFU workload of 2.09 million households and 6.5 million

persons. PX-162 at 42; Nov. 5 Trial Tr. at 94:19-22 (Hillygus).

1197. Dr. Barreto estimated that between 28 and 35 million people would not respond due to a

citizenship question on the 2020 Decennial Census and would go into non-response follow up

operations, of which a disproportionately high number (10-11 million people) would be

Hispanic. Nov. 9 Trial Tr. at 683-686; PX-675; PX-676.

               3.      The Relationship Between Reduced Self-Response and Undercount

1198. The Census Bureau has acknowledged that “response rates and net undercount rates may

be causally linked.” PX-343 at 1.

1199. The Census Bureau Task Force on the Undercount of Young Children similarly concluded

that “research suggests that areas with the lowest levels of cooperation have higher levels of

coverage and nonresponse error.” PX-346 at 5.

1200. Dr. Hillygus testified that there was “an empirical pattern that we have seen in the past . . .

[where] we had a differential self-response in the past and we had a differential undercount . . .

There’s nothing to suggest that, we wouldn’t see that same pattern this time.” Nov. 5 Trial Tr. at

97:13-17.




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1201. Dr. Hillygus testified that areas with lower self-response rates have more census

omissions, and that there is post enumeration survey evidence to support this fact. Nov. 5 Trial

Tr. at 123:9-24; PX 414 at 2.

1202. Dr. William O’Hare testified that prior censuses demonstrated that there is a “close

connection between lower self-response rates and higher net undercount rates” such that “the

Census Bureau’s expected decrease of at least 5.1 percentage points in the self-response rate for

households with at least one noncitizen because of the citizenship question will increase the net

undercount and omission rates for people living in those households.” O’Hare Aff. (Docket No.

507-1) ¶ 9.

1203. Dr. O’Hare found a moderate to high correlation between self-response rates and net

undercounts for all demographic groups in each of the last three censuses. O’Hare Aff. ¶¶ 47-48.

1204. Dr. O’Hare testified social scientists typically look for four elements to show causation:

(i) that the causal agent occurs prior in time to the thing that it is causing; (ii) that there is an

association or correlation between the causal agent and the thing being caused; (iii) that

intervening mechanisms between the independent variable and the dependent variable can be

specified; and (iv) that other potential explanations have been controlled. O’Hare Aff. ¶ 49.

1205. Dr. O’Hare testified that three elements of causation are satisfied here: self-response

occurs prior in time to net undercounting, it is moderately to highly correlated with net

undercounting, and the intervening mechanism is the lower response rate. O’Hare Aff. (Docket

No. 507-1) at ¶ 50.

1206. Dr. Abowd testified that while he does not know the marginal coefficients that he believes

are necessary to evaluate the relationship between omissions and undercounts, he acknowledged

that it is factually true that in the past increased gross omissions for Hispanics have been offset in




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the net undercount calculation by an increase in the erroneous enumerations of whites that get

double counted. Nov. 14 Trial Tr. at 1219:13-1220:4.

1207. It is, therefore, likely that an increase in gross omissions for Hispanics would contribute to

an increase in the differential net undercount of Hispanics, consistent with Dr. O’Hare’s

testimony that there is a correlation between increases in omissions and ultimate differential net

undercounts.

1208. Dr. O’Hare testified that while his analysis does not control for other potential

explanations, this could be controlled for through a randomized control trial (“RCT”), which the

Census Bureau could have, but has not, performed. O’Hare Aff. ¶ 50.

1209. Discussing PX-378 and research conducted by Dr. O’Hare, Dr. Hillygus testified that

demographic analysis demonstrated that the “census count had systematically underestimated the

number of Hispanic young children . . . this is one of those direct links to the differential

undercount” and “offers very clear documentation about the undercount of Hispanics and

provides links to the undercount as associated with the NRFU operations. Nov. 5 Trial Tr. at

127:13-128:5.

1210. Dr. Hillygus further testified that “Again, the Census Bureau agrees that there is going to

be a differential self-response of non-citizen households, and this is part of the evidence that

leads to my conclusion that they are not going to be able to fully address that differential self-

response through NRFU operations.” Nov. 5 Trial Tr. at 127:18-24; 129:8-15.

                4.     Planned NRFU Operations Will Not Totally Eliminate Impact of
                       Reduced Self-Response Resulting in Higher Undercount

1211. The Census Bureau has not conducted any testing of the efficacy of NRFU operations

with a citizenship question, nor has it included evidence of such testing in the Administrative

Record. PX-1 to PX-14 (AR); Nov. 14 Trial Tr. at 1303:18-21.



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1212. The Census Bureau has not placed any evidence of the efficacy of NRFU operations in the

Administrative Record. PX-1 to PX-14 (AR).

1213. The Census Bureau has not placed any evidence in the Administrative Record that NRFU

operations will be sufficient to address the decline in self-response, the increase in NRFU

operations, or the resulting net differential undercount. PX-1 to PX-14 (AR).

1214. The Census Bureau testified that enumeration errors resulting from a decline in self-

response may be unavoidable regardless of how much money the Census Bureau spends on

fieldwork. Census Bureau 30(b)(6) Oct. 5 Dep. Tr. Vol. II at 380:16 - 381:13; Nov. 15 Trial Tr.

at 1337 (Abowd).

1215. The Census Bureau testified that the macro-environment, including the political context,

can affect NRFU efficacy; and it is possible that a citizenship question will exacerbate those

effects. Census Bureau 30(b)(6) Aug. 29 Dep. Tr. at 314:4 - 315:1.

1216. The Census Bureau’s analysis of a citizenship question acknowledged that NRFU may not

eliminate undercount, even with unlimited resources, stating that “errors may not be avoidable

simply by spending more money on fieldwork. Once a household decided not to cooperate, it

may not be possible to obtain an accurate enumeration no matter how many times an enumerator

knocks on the door.” PX-162 at 43 n. 60.

1217. Former Census Bureau Director Thompson testified that “there is no research cited in the

administrative record—and I know of no research outside of the administrative record—to

support [Dr. Abowd’s] conclusion that despite a lowered self-response rate, NRFU will ensure

that there is no undercount . . . [and] the internal Census Bureau analysis [PX-162]. . . raises

serious concerns about the accuracy of NRFU procedures for addressing an increase in non-

response resulting from the citizenship question.” Thompson Aff. ¶ 110-111.




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1218. Dr. Hillygus testified “there are lots of reasons to think that the NRFU operations will fail

to correct what is predicted to be a differential self-response rate among noncitizen households,

and there are parts of the operation that potentially could even exacerbate things.” Nov. 5 Trial

Tr. at 96:4-8.

1219. Dr. Hillygus testified that among other reasons that NRFU will be less effective in 2020

than it was in 2010 is that a citizenship question will be “in a different macro and political

environment” and will “be occurring during a presidential election” and “the potential for this to

be politicized and for the salience of this to be even more means that the NRFU challenge is even

greater in . . . 2020 than even today with respect to a citizenship question.” Nov. 5 Trial Tr. at

100:4-12.

1220. Dr. Barreto testified that “the citizenship question, coupled with the political environment

that immigrants perceive, will make it very difficult for census enumerators to convince people

to participate, and that this will remain a very low participation rate, not only of the self-

response, but throughout the entire NRFU process. That will result in an undercount of many in

the Latino and immigrant community.” Nov. 9 Trial Tr. at 643:22-644:7.

1221. Indeed, he testified that differential responsiveness to NRFU might well widen the

differential between non-Hispanic white and Latino and immigrant communities: “the

enumeration process during NRFU is unlikely to be effective, and instead, it is likely to widen

the gap or exacerbate the differential between white and . . . nonimmigrant communities, which

may not be threatened and may participate regularly with NRFU, and Latino and immigrant

communities who will feel more threatened and will participate at lower rates. So whatever gap

or differential we have just at the beginning in self-response, the NRFU process will seek to

widen that because where it will be successful will be in those communities that already had a




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higher self-response rate, and Latino immigrant communities are likely to further have problems

responding.” Nov. 9 Trial Tr. at 637:7-637:19.

1222. Dr. Barreto’s opinions regarding NRFU were based in part upon his survey, which was

designed to “understand why people would or would not participate in the census, and also to

evaluate whether or not the NRFU in the imputation process might be successful or not.” Nov. 9

Trial Tr. at 650:23-651:1.

1223. Dr. Barreto’s survey looked at two components that directly touch on nonresponse follow-

up.

1224. First, Dr. Barreto’s survey examined the trust and confidence of various communities in

the federal government’s ability to keep census responses confidential, which is critical to an

accurate nonresponse follow-up. Nov. 9 Trial Tr. at 686:12-687:16; PX-677.

1225. Second, Dr. Barreto’s survey explored respondents’ willingness to participate in a census

that included a citizenship question with simulated NRFU procedures; respondents received

assurances of confidentiality and were asked again if they would participate in order to observe

expected NRFU success. Nov. 9 Trial Tr. at 686:12-687:3.

1226. As detailed in PX-677, assurances of confidentiality were far less effective for Latino and

immigrant respondents, suggesting that those households will be more likely refuse to participate

during NRFU operations. Nov. 9 Trial Tr. at 688:18-688:25. Dr. Barreto’s survey asked

respondents in question 2 whether they would respond to a census that included a citizenship

question, and then, later in the survey, assured respondents that their census responses would be

kept confidential and again asked them whether they would respond to the census. Nov. 9 Trial

Tr. at 686:12-687:20.




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       a.      For the sample as a whole, 45.2 percent of respondents who had initially refused

               to respond to a census with a citizenship question agreed to respond to a census

               with a citizenship question after assurances of confidentiality. PX 677.

       b.      For white respondents, 49.5 percent of initial non-responders agreed to respond to

               a census with a citizenship question after assurances. Id.

       c.      For Latino respondents, 38.9 percent of non-responders agreed to respond to a

               census with a citizenship question after assurances. Id.

Assurances of confidentiality were therefore significantly less likely to convert Latino

respondents from non-responders into responders than they were for white respondents or for the

sample as a whole. Id.

1227. However, 89.3% of whites and 80.1% of Latinos were willing to participate in the census

after receiving assurances of confidentiality when they were advised that the census would not

include a citizenship question. Nov. 9 Trial Tr. at 687:4-688:15; PX-677.

1228. Moreover, respondents receiving assurances of confidentiality were much more likely to

indicate willingness participate in the census when they were advised that the census would not

include a citizenship question, though even then white respondents were significantly more

likely to participate than Latinos. In contrast, when advised that the census did include a

citizenship question, even assurances of confidentiality did little to assuage concerns of Latino

and immigrant households or elicit their participation. Nov. 9 Trial Tr. at 687:4-688:15; PX-677.

1229. Dr. Barreto testified that PX-677 “is very clear evidence that in the presence of a

citizenship question, significantly less people are going to participate in the NRFU. Nov. 9 Trial

Tr. at 689:3-689:11.




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1230. Other analyses performed by Dr. Barreto suggest that “the longer the census is in the field,

the longer people are talking about it, the longer there's more information,” more people will

convert to become non-responders; as Dr. Barreto explained, this finding is “consistent with the

social science literature…reviewed, which found that some people may grow suspicious of these

follow-up visits and of this additional information.” Nov. 9 Trial Tr. at 693:21-695:20; PX-678;

PX-679.

1231. Moreover, these findings corroborate social science research about the expected

inadequacies of NRFU, including the Brown memo (PX-162). Nov. 9 Trial Tr. at 692:1-692:7.

                5.         The Components of NRFU Will Not Off-Set the Decline in Self-
                           Response.

1232. Each of the major components of NRFU—in-person enumeration, use of administrative

records, proxies, and imputation—have shortcomings that will prevent the components from off-

setting the impact of decline in self-response.

                           a.    In-person Enumerators

1233. The Census Bureau noted in the Administrative Record that “those refusing to self-

respond due to the citizenship question are particularly likely to refuse to respond in NRFU as

well. . . .” PX-25 at 4.

1234. The Census Bureau’s subsequent analysis of the “effects of citizenship question on

Nonresponse Follow-up” similarly acknowledged that “Households deciding not to self-respond

because of the citizenship question are likely to refuse to cooperate with enumerators coming to

their door.” PX-162 at 41 (COM_DIS 9873); Census Bureau 30(b)(6) Oct. 5 Dep. Tr. at 425:3-

21; Nov. 15 Trial Tr. at 1336-37 (Abowd). The Census Bureau’s analysis of the “effects of

citizenship question on Nonresponse Follow-up” also acknowledged that “If a household

declines to self-respond due to the citizenship question, we suspect it would also refuse to



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cooperate with an enumerator coming to their door, resulting in a need to use a proxy.” PX-162

at 42 n. 59. Dr. Abowd also testified that the same considerations at play in causing households

not to respond to the Census because of a citizenship question will also be at play with respect to

enumerator visits. Nov. 14 Trial Tr. at 1312 (Abowd).

1235. There is no evidence in the Administrative Record reflecting credible quantitative

evidence that someone who chooses not to respond to the 2020 Decennial Census because of a

citizenship question will respond at all in a face-to-face encounter with an in-person enumerator.

Nov. 15 Trial Tr. at 1336 (Abowd); see also PX-1 to PX-14 (AR).

1236. The Census Bureau testified that it has “no empirical evidence that someone who chooses

not to self-respond to the citizenship question would respond in a face-to-face interaction with a

census enumerator.” Census Bureau 30(b)(6) Aug. 29 Dep. Tr. at 251:15-21.

1237. In contrast, the Administrative Record does contain an analysis of “computer-assisted

personal interview” (CAPI) which is the in-person non-response follow up used for the ACS,

that was conducted in conjunction with preparing the January 19 memorandum. PX-155 (AR).

This analysis shows that for the census tracts with the highest percentages of non-citizen

households (i) participation in the ACS has been decreasing, and (ii) non-response follow-up is

less successful. Census Bureau Aug. 29 30(b)(6) Dep. Tr. at 124-135; PX-155 (AR). The

Census Bureau's analysis of CAPI response rates is consistent with the notion that citizenship

questions have become more sensitive on surveys since 2010. Census Bureau 30(b)(6) Aug. 29

Dep. Tr. at 131:4-11. Given the Census tracts with higher percentages of noncitizen household

have lower response rates to the ACS and lower ACS NRFU success, the Census Bureau

believes that people who live in census tracts will be less likely to give proxy responses than

people who live in other areas. Census Bureau 30(b)(6) Oct. 5 Dep. Tr. at 386:2-15.




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1238. The Census Bureau’s cost analysis in the Administrative Record similarly assumed that an

average of three enumerator visits to enumerate households that do not self-respond to the

Census because of a citizenship question, with the authors stating that they “expect that many

more of these noncitizen households would receive six NRFU visits.” PX-22 at 6 (AR 1282).

1239. Dr. Abowd testified that he is not aware of any credible quantitative evidence that three

visits will, in fact, be sufficient on average to enumerate households that do not respond to

Census because of a citizenship question. Nov. 15 Trial Tr. at 1336 (Abowd).

1240. In testifying about PX-162, Dr. Hillygus testified that the Census Bureau’s analysis

confirms that confidentiality issues “are going to matter for the NRFU operations as well” and

“the Census Bureau agrees that the concerns raised will affect NRFU” and “the concerns about

confidentiality are going to reduce cooperation not only through self-response but also

cooperation with NRFU operations.” Nov. 5 Trial Tr.98:1-2; 99:4-6; 99:18-21.

1241. Dr. Hillygus testified that the same issues that result in decreased self-response will

impact respondent’s willingness to respond to in-person enumerators. Nov. 5 Trial Tr. at 97-98.

1242. Likewise, Dr. Barreto testified that in-person enumeration could be counterproductive. He

explained that “there is a very good chance that the literature that is left behind will create more

anxiety and fear in many immigrant communities because it will resemble government

monitoring or surveillance, leaving information that somebody from the government was at your

doorstep, they're coming to try to find out your household count, your personal information

about your household, and that is a strong finding in the literature.” Nov. 9, Trial Tr. at 625:4-

625:16; see also Nov. 9, Trial Tr. at 629:17-630:4; PX-448 at 12 (describing how one household

moved after a field staff member dropped off information concerning the enumeration).




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1243. Dr. Hillygus further testified that “there’s an extensive research and survey methodology

that emphasizes that there’s an interaction between . . . how [somebody] respond[s] and

willingness to respond depends on the interviewer . . . so with NRFU, you’re no longer having

somebody self-respond about their household, they’re now going to be talking to an enumerator.

And the survey methodology research indicates people are less likely to reveal sensitive

information when they have to reveal it to a person as opposed to write it on a form.” Nov. 5

Trial Tr.100:15-24.

1244. The Census Bureau similarly testified that none of the testing that has been used to plan

NRFU staffing levels has included a citizenship question. Census Bureau 30(b)(6) Aug. 29 Dep.

Tr. at 198:2-10.

1245. The Census Bureau testified that none of the testing that has been used to project the

number of field offices, adequacy of enumerator training, NRFU protocols, or census

questionnaire assistance has accounted for a citizenship question. Census Bureau 30(b)(6) Aug.

29 Dep. Tr. at 200:9 - 201:10; Nov. 14 Trial Tr. at 1303-04 (Abowd).

1246. Former Census Bureau Director Thompson testified that the Census Bureau’s conclusion

“that it is likely that households that refuse to respond to the Decennial Census questionnaire

because of the citizenship question are also likely to respond to enumerators” is one fact that

“strongly suggests that NRFU efforts may be unsuccessful with respect to households that

decline to answer the Decennial Census questionnaire because of the citizenship question.”

Thompson Aff. ¶¶ 111, 114.

1247. When Dr. Hillygus was asked about whether “respondent sensitivity impacts cooperation

with NRFU” she responded the “confidentiality concerns associated with the citizenship question




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that the Census Bureau acknowledges and has shown to have an impact on the self-response, all

matter for cooperation with a census enumerator.” Nov. 5 Trial Tr.97:18-24.

1248. Discussing PX-385 (Terry), Dr. Hillygus testified that “fears of deportation are related to

people being omitted from the roster” and that “experimental and ethnographic research have

found deliberate concealment of household members based on concerns about confidentiality,

deportation, and their general trust in government . . . field staff report that they are not able to

get a full count of a household, and that will happen whether individual members are being

excluded because of fears of disclosure.” Nov. 5 Trial Tr. at 126:5-8; 125:14-17; 125:19-23.

1249. Additionally, the Census Bureau will have challenges with mitigated non-response of

individuals who fail to self-respond through in-person enumerators because the decennial

enumerators tend to have less experience than the ACS interviews. Nov. 5 Trial Tr. at 101; PX-

162 at 30 n. 44. And it is clear that the Census Bureau is going have trouble hiring the number of

enumerators that are needed. A GAO report notes that “[i]n early hiring for 2020, Bureau

officials reported smaller than expected applicant pools, declined offers, and turnover.” PX-367

at 2.

1250. The Census Bureau testified that the macro-environment is making it difficult to hire

enumerators. Census Bureau 30(b)(6) Aug. 29 Dep. Tr. at 316:11-17.

1251. As Dr. Hillygus testified the Census Bureau is likely to have trouble hiring enumerators

for hard to count neighborhoods that match the language and background of the enumerator to

more effectively canvas the neighborhood. Nov. 5 Trial Tr. at 182.

1252. Dr. Hillygus testified about further challenges the Census Bureau will have in conducting

in-person enumeration, including the potential that the Census Bureau will not hire non-citizen

enumerators which will make it difficult to hire enumerators from certain neighborhoods, and




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concerns raised by the General Accountability Office about the Census Bureau’s ability to hire a

strong pool of enumerators. Nov. 5 Trial Tr. at 100:25-101:16; 182:18-23; PX-367 at 2; Nov. 14

Trial Tr. at 1176:15-1177:11 (Census is still trying to get permission to hire non-citizen

enumerators).

1253. Additionally, as Dr. Hillygus also testified that a research presentation at the American

Association of Public Opinion Research, Census researchers Mikelyn Meyers and Patricia

Goerman explained that respondents were “spontaneously expressing concerns” about

confidentiality during multilingual pretesting projects conducted in 2017. PX-448 at 2; Nov. 5

Trial Tr. at 57-58.

1254. Respondents referenced legal residency status, immigration, and certain current events

like changes to the DACA program and in fact provided an example of an individual getting up

and leaving their own home rather than continue an interview with a census enumerator. PX-448

at 12, Nov. 5 Trial Tr. at 57-21-58:12.

1255. Dr. Hillygus testified about the results from focus group testing during the Census

Barriers, Attitudes, and Motivators Survey (CBAMS), which showed that a citizenship question

“may be a major barrier” as respondents interpret its purpose as “find[ing] undocumented

immigrants,” and “targeting their ethnic group.” Nov. 5 Trial Tr. at 67-68; PX-662.

1256. Dr. Hillygus further testified about the results from the CBAMS: “[W]hat’s so significant

about this is that post the addition of the citizenship question, this offers one of the only kind of

attempts by the Census Bureau to evaluate the impact of that citizenship question, and so these

focus groups . . . offer some especially direct evidence about what can be expected.” Nov. 5 Trial

Tr. at 64:20-65:8; see PX-152 at 22.

                       b.      Use of Administrative Records in the NRFU process




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1257. For the first time in 2020, the Census Bureau plans to use administrative records to

enumerate individuals who do not self-respond. Census Bureau 30(b)(6) Oct. 5 Dep. Tr. at 387;

Nov. 15 Trial Tr. at 1340: 3-7 (Abowd).

1258. The Census intends to use administrative data from the Social Security Administration,

the Internal Revenue Service, Medicare, and the U.S. Postal Service to enumerate individuals

who do not self-respond. PX-25 at AR 1309; DX-27 Appendix D.

1259. These administrative records will be used for two purposes: first, to determine whether an

address should be deleted from the MAF, and second, to enumerate some households who did

not initially self-respond. Both of uses of administrative records will exacerbate the differential

undercount.

                               (a)    Use of administrative records in the vacant/delete check

1260. Dr. Abowd testified that administrative records will be used by an enumerator after one

NRFU visit to an address to determine whether the address is vacant or should be deleted. Nov.

14 Trial Tr. at 1116:13-24; 1202:25-1203:14.

1261. If, on the basis of an administrative record, the Census Bureau determines an address is

vacant or should be deleted, the Census Bureau will remove the address from the NRFU

workload, and will mail a final postcard to the address encouraging self-response. PX-655 at 7.

Nov. 14 Trial Tr. at 1200:5-13.

1262. Dr. Salvo testified that when an address is declared vacant or deleted, the address is

determined as containing no people, and as a result, there is no subsequent imputation that occurs

for the address. Nov. 6 Trial Tr. at 368:8-21.

1263. But as Dr. Salvo testified, this vacant/delete process is problematic. This process has been

because it has been error prone in the past, resulting in misidentification of occupied housing as




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vacant, and there is strong evidence that the Census Bureau’s plans for 2020 will exacerbate the

problem. Nov. 6 Trial Tr. at 308:19-309:15; 313:19-314:10.

1264. The Census Bureau conducted tests on their planned use of administrative records to

identify vacant housing in 2016 in Los Angeles and Harris Counties. Nov. 6 Trial Tr. at 365:17-

21.

1265. The tests in Los Angeles and Harris County compared the determination of housing status

for addresses using administrative records, with determinations made by NRFU fieldwork, i.e.

in-person follow-up. Nov. 6 Trial Tr. at 366:25-367:5.

1266. The tests revealed that over 20% of addresses determined as vacant by administrative

records were found to be occupied by NRFU fieldwork, and another 15% could not be resolved

or determined by NRFU fieldwork. PX-564 at 18, Table 5. Nearly 30% of addresses that

administrative records determined should be deleted were found to be occupied by NRFU

fieldwork, while another 10% could not be resolved or determined by NRFU fieldwork.

1267. Dr. Salvo testified that the high rate of misidentification revealed by the 2016 Census

Tests suggested that administrative records do not accurately portray vacancy status for

addresses, and “calls into question the efficacy” of what the Census Bureau is planning to do

with administrative records. Nov. 6 Trial Tr. at 330:14-20; 357:22-358:2.

1268. Dr. Abowd acknowledged this high rate of error in the use of administrative records in his

testimony, however, he suggested that the Census Bureau planned to address the issue by adding

a direct visit by a field enumerator before any address will be designated as vacant or delete.

Nov. 14 Trial 1199:19-25; 1200:5-13.




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1269. Dr. Abowd acknowledged, however, that the Census Bureau had performed no analyses or

testing to ascertain how effective these modified vacant/delete procedures will be. Nov. 15 Trial

Tr. at 1379:3-9.

1270. Moreover, the use of field enumerators to confirm the vacancy status of an address is

similar to the vacant delete process in place in 2010, where an enumerator was sent to an address

identified as vacant to make an independent determination of housing status. Nov. 6 Trial Tr. at

352:14-24.

1271. Dr. Salvo testified that the process in 2010 was also error prone, and often led to the

misidentification of vacancies, including over 60,000 households misidentified as vacant and

undercounted in Northwest Queens and South Brooklyn. Nov. 6 Trial Tr. at 351:24-352:9;

353:18-354:13; PX-666.

1272. As a result, the planned vacant delete process for the 2020 Decennial Census, will likely

result in the misidentification of some addresses as vacant or should be deleted, when they are, in

fact, occupied.

1273. The inclusion of a citizenship question on the 2020 Decennial Census will exacerbate

misidentifications in the vacant delete process, by increasing the NRFU workload, and the

number of cases that will be subject to the vacant delete process. Nov. 6 Trial Tr. at 330:21-

331:11.

1274. Ultimately, Dr. Salvo testified that, the vacant delete process introduces error into the

Decennial Census, as does every NRFU operation, and that the way to prevent these errors is

through self-response. Nov. 6 Trial Tr. at 302:13-19; 353:9-17.

                              (b)     Use of administrative records in the enumeration




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1275. If the initial NRFU visit does not result in collecting complete data for a household,

administrative records may be used to enumerate a limited number of those households for which

there is high quality administrative data about the household. Stipulation No. 9.

1276. The Census Bureau’s proposal to use administrative records has not yet been approved by

OMB. PX-655, at 7. Dr. Abowd testified that the Census Bureau “hasn’t made a decision yet

about how it will process responses to the citizenship question alongside the administrative

records.” Nov. 13, Trial Tr. at 1030:3-6.

1277. Because the Census Bureau has not used administrative records for enumeration on a wide

scale in a prior Census, it does not have evidence from a deployment in a prior Census as to how

well enumeration by administrative records will work in practice. Nov. 15 Trial Tr. at 1340

(Abowd).

1278. The Census Bureau has noted in the Administrative Record that the “inclusion of a

citizenship question on the 2020 Census is very likely . . . to increase the number of persons who

cannot be linked to the administrative data because the NRFU PII is lower quality than the self-

response data. In the 2010 Decennial Census, the percentage of NRFU persons who could be

linked to administrative data rate was 81.6 percent, compared to 96.7 percent for mail

responses.” PX-25 at AR 1311.

1279. The Census Bureau analysis of the citizenship question acknowledged that “missing data

are higher for administrative records (AR) than the ACS, and both sources’ rates are higher for

minorities and nonrelatives.” PX-162.

1280. Director Jarmin testified that administrative records could be used to enumerate non-

citizens, Hispanics and hard-to-count population households “less of the time.” Jarmin Dep.

(Docket No. 511-4) at 285-286.




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1281. The Census Bureau testified that it cannot link Hispanics to administrative records at a

higher rate than non-Hispanic whites. Census Bureau 30(b)(6) Oct. 5 Dep. Tr. at 389:12 - 390:5;

Nov. 15 Trial Tr. at 1340-41 (Abowd).

1282. The Census Bureau testified that undocumented immigrants are less likely to be found in

administrative records, and this will be harder to enumerate using such records. Census Bureau

30(b)(6) Oct. 5 Dep. Tr. at 391:4-19; Nov. 15 Trial Tr. at 1341:3-6 (Abowd).

1283. The Census Bureau testified that it is a reasonable hypothesis that administrative records

are more likely to exist for citizens than for noncitizens. Census Bureau 30(b)(6) Aug. 29 Dep.

Tr. at 252:16 - 253:6.

1284. The Census Bureau testified that it expects that enumeration using administrative records

will be less successful for noncitizens than for citizens. Census Bureau 30(b)(6) Oct. 5 Dep. Tr.

at 391:21-392:4; Nov. 15 Trial Tr. at 1341:16-19 (Abowd).

1285. Dr. Hillygus and Dr. Barreto also testified that the quality of administrative records varies

for different groups and “noncitizen households and Hispanics who are less likely to have

administrative records or quality administrative records.” Nov. 5 Trial Tr. at 104:19-24; Nov. 9

Trial Tr. at 639:22-640:15; PX-399.

1286. Social science research also confirms this testimony. PX-383 at 8 (noting that

“characteristics observed with lower validation rates may be associated with language barriers,

trust in government, or privacy preferences. These include groups such as Hispanic, some other

race, non-U.S. citizen, poor spoken English, and other language than English spoken at home.”)

1287. Dr. Hillygus and Dr. Barreto specifically cited differential coverage in administrative

records as a factor that could exacerbate the differential undercount of Hispanics relative to




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whites because “those records are more available for some portions of the population than

others.” Nov. 5 Trial Tr.131:4-8; Nov. 9 Trial Tr. at 638:16-639:22.

                      c.      Proxy Responses

1288. If a third attempt to contact a household does not yield a response, a case will become

“proxy-eligible.” Stipulation No. 11; Census Bureau 30(b)(6) Oct. 5 Dep. Tr. at 382:9-17; PX-

162 at 41 n. 15.

1289. A proxy is someone who is not a member of the household—such as a neighbor, landlord,

Postal worker, or other knowledgeable person who can provide information about the unit and

the people who live there. Stipulation No. 12; Census Bureau 30(b)(6) Oct. 5 Dep. Tr. at 382:9-

17.

1290. Proxy responses generally are more likely to result in errors and omissions of a member of

a household. Census Bureau 30(b)(6) Oct. 5 Dep. Tr. at 382:18-383:9.

1291. There is no evidence in the Administrative Record reflecting credible quantitative

evidence that households that fail to respond to the Census because of a citizenship question will

be enumerated through the use of proxies as successfully as other non-responding households.

Nov. 15 Trial Tr. at 1342 (Abowd); see also PX-1 to PX-14.

1292. The Census Bureau did not conduct any testing of the impact of a citizenship question on

the willingness of proxies to cooperate with enumerators. Nov. 15 Trial Tr. at 1344 (Abowd).

1293. There is no evidence in the Administrative Record that proxies will be as cooperative with

NRFU operations in the 2020 Decennial Census as they have been in prior Censuses. PX-1 to

PX-14 (AR).

1294. The Census Bureau testified that census tracts with higher percentages of households with

a non-citizen would be less likely to give proxy responses to the Census than people who live in

other areas. Census Bureau 30(b)(6) Oct. 5 Dep. Tr. at 386:2-15.


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1295. The Census Bureau analysis on a citizenship question similarly concluded that because

“reference persons are much less likely to answer the citizenship question for nonrelatives in the

household than for themselves . . . they may be even less likely to answer it for neighbors.” PX-

162 at 43; Census Bureau 30(b)(6) Oct. 5 Dep. Tr. at 386:16 - 387:10.

1296. The Census Bureau has also raised significant questions about the accuracy of proxy

responses. PX-22 (AR); PX-267 at 33, Table 21; PX-162.

1297. The Census Bureau’s analysis in the Administrative Record noted that one of the reasons

errors are “so much greater during NRFU is that the data are much more likely to be collected

from a proxy rather than a household member . . . [and] that person has less accurate information

than self-responders.” PX-22 at AR 1282.

1298. The Census Bureau’s analysis in the Administrative Record cited the 2010 post-

enumeration study found that proxy responses resulted in a correct enumeration only 70.2 % of

the time, as compared to the 97.3 % of the self-responses. PX-22 at AR 1282 (citing PX-267 at

33, Table 21).

1299. Summarizing the Census Bureau’s analyses on proxy accuracy, the Census Bureau

analysis on a citizenship question similarly stated that “proxies supply poor quality individual

demographic and socioeconomic information about the person on behalf of whom they are

responding. PX-162 at 41-42 & Table 12.

1300. Director Jarmin testified that “accuracy of NRFU response is less than self-response and

proxy response is less than NRFU response.” Jarmin Dep. (Docket No. 511-5) at 308: 15-17.

1301. Moreover, the use of proxy respondents, such as landlords, may further exacerbate the

problem. As Dr. Salvo testified, proxy respondents may have incentives to minimize the number

of occupants in a unit; occupancy regulations, for example, may lead landlords to understate the




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number of household members in a unit, since disclosure of high occupancy levels may be seen

as inviting scrutiny by the government. See Nov. 6 Trial Tr. at 336:09-337:06, 337:15-338:05.

Dr. Salvo explained that reliance on such proxies risks introducing error in the enumeration and

omissions with respect to household size. See id.; 380:04-09.

1302. Dr. Abowd acknowledged that he believes that proxy responses are more likely to result in

the omission of a household member than self-responses. Nov. 15 Trial Tr. at 1343 (Abowd).

1303. Census Bureau research on the undercount of young children has demonstrated that

“proxy responses are potentially problematic, as proxies may not provide complete and accurate

information for the census enumeration.” PX-378 at 23.

1304. Dr. Abowd testified that, based on a census tract-level analysis showing that ACS

responses rates (PX-162 at 12) and ACS NRFU success (PX-137, 3rd Table) are lower in census

tracts with higher percentages of households with a noncitizen, that the Census Bureau will be

less likely to be able to obtain proxy responses in areas with more noncitizens. Nov. 15 Trial Tr.

at 1344-49.

1305. Dr. Hillygus testified (discussing PX-162) that the “Census Bureau recognizes that the use

of proxy respondents will result in less accurate census data. That’s not a question at all . . . The

evidence . . . indicates . . . that the expected increase in proxy respondents in the NRFU

operations will contribute to a systemic underestimation of the size of non-citizen and Hispanic

households.” Nov. 5 Trial Tr.112:14-20. In support of this conclusion, Dr. Hillygus noted the

following:

       a.      Discussing PX-386, Dr. Hillygus testified that “for noncitizen households and

               Hispanics . . . proxy respondents are likely underestimating household size . . . for

               households that are larger and more complex, proxy respondents do not have




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               accurate information, and we know from other research that noncitizen

               households in particular are likely to have more—they might have more people

               living in the household than known by a landlord.” Nov. 5 Trial Tr. at 107:18-

               108:18 & PX-386.

       b.      Discussing PX-387, Dr. Hillygus further testified that empirical research “shows

               that the households that are more complex . . . are more likely to have proxy

               respondents omitting members of the household. Again, this is that key link

               between proxy respondents not just giving less accurate information, but they are

               underestimating the size of noncitizen and Hispanic households at a higher rate

               than they would do for other households.” Nov. 5 Trial Tr. at 110:15-22 & PX-

               387.

       c.      Dr. Hillygus further testified, discussing recent public opinion research and the

               CBAMS results (PX-152, PX-662 & PX-663) that “the evidence points to the

               likelihood that the neighbors are also going to be reluctant to share information,

               particularly about citizenship status, of their neighbors, [a]nd . . . the potential

               consequence [is] . . . you’ll either have more difficulty finding a proxy respondent

               or you’re going to find proxy respondents who have less information about the

               household . . . . What I think the evidence is suggest—is that it’s systematically

               going to underestimate household size because of the use of proxy respondents.”

               Nov. 5 Trial Tr.111:2-14.

1306. In a specific discussion of NRFU field operations among Hispanic respondents, for

instance, as Dr. Hillygus noted in her testimony, researchers explained that “some proxy

respondents resisted the interview by providing data that seemed inaccurate or incomplete just to




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comply with the interview.” PX-385 at 11, Nov. 15 Trial Tr. at 1399:21-23. This research

suggests that noncitizens and Hispanics might systematically underreport household size to

enumerators, and increased confidentiality concerns associated with the addition of a citizenship

question could exacerbate such underreporting.

1307. Dr. Hillygus also testified that analysis suggests “unknowledgeable or unwilling proxy

respondents may be a key factor in the undercount of young children” Nov. 15 Trial Tr. at

1399:2-5, citing PX-339. Dr. Hillygus testified that PX-385 and PX-339 provide support for her

opinion that “there is sufficient evidence to suggest that an increase in proxy respondents

associated with the citizenship questions will also reduce accuracy because of the direction of

some of those inaccuracies, in other words, there will be bias.” Nov. 15, Trial Tr. at 1400:19-23.

1308. Additionally, research has shown “that tenuously attached people are likely to be omitted

from the typical survey roster.” PX-392 at 2. Proxy respondents are a “source[] of residential

ambiguity” and that “[p]eople whose residence status is ambiguous or uncertain are at risk of

being omitted from or incorrectly included in demographic surveys and the census.” PX-392 at

3, 9. PX-378, PX-386, PX-387.

1309. Similarly, Dr. Barreto testified that proxies would not mitigate the harm of a citizenship

question. He explained that proxy responses will decline for the same reasons that self-response

will decline, and that the proxy response information will be less accurate either because proxies

do not know the underlying information, or because they will be unwilling to provide

information to the census if they believe that there are people who would be at risk of

immigration enforcement. Nov. 9 Trial Tr. at 640:23-641:9




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1310. Dr. Barreto emphasized that proxies tend to result in understatement of total household

size and, accordingly, lead to omissions, resulting in ultimate undercount. Nov. 9 Trial Tr. at

641:10-643:21; PX-162.

1311. Dr. Abowd testified that the “the fewer imputations you have to make the more accurate

you're going to be . . . .” Nov. 14 Trial Tr. at 1239:7-15; Nov. 14 Trial Tr. at 1235:6-12.

                       d.     Imputations

1312. If the Census Bureau is unable to otherwise enumerate a household through NRFU

procedures, it will “impute” the number of persons living in the household and their

characteristics. PX-655.

1313. Count imputation is the process by which the Census Bureau imputes the household size

of an address determined to be occupied but where no information could be collected about the

occupants, even household size, from proxies or other means. Nov. 14 Trial Tr. at 1193:23—

1194:1 (Abowd). Whole-person census imputation, which includes count imputations, is the

process by which “all the characteristics were imputed for these census person records.” PX 267

at 100-11.

1314. Imputation involves modeling information for non-responding households based on

information from households that have already been enumerated. Nov. 15 Trial Tr. at 1351

(Abowd).

1315. The Census Bureau uses an ignorable missing data model for imputation, which

“assum[es] that the people that you have observed provide sufficient information to fill in the

people that you . . . have [not] observed” Nov. 5 Trial Tr. at 115:18 - 116:5 (Hillygus).

1316. Non-ignorable missing data means there is a “relationship between those who have not

responded and the information that should be in there.” Nov. 5 Trial Tr. at 116:3-5 (Hillygus).




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Dr. Abowd explained if there is nonignorable missing data from the whole data set used for

imputation this will result in incorrect imputations. Nov. 14 Trial Tr. at 1236:19-24.

1317. Dr. Abowd testified that using an ignorable missing data model when the missing data are

not ignorable can bias the imputation data model. Nov. 15 Trial Tr. at 1351:20-1352:3.

1318. Self-response to the census is correlated with citizenship status, meaning that imputation

will be based on households that are disproportionately all-citizen households. Nov. 15 Trial Tr.

at 1351-52 (Abowd); PX-162 at 44.

1319. Dr. Abowd testified that whole person imputations are not very accurate. Nov. 15 Trial Tr.

at 1351:11-14 (Abowd); Nov. 14 Trial Tr. at 1222:20-23; Census Bureau 30(b)(6) Aug. 29 Dep.

Tr. at 253:7-15.

1320. The Census Bureau has noted that “[t]he accuracy of this imputation system is unknown at

this time.” PX-162 at 44. The Census Bureau has not publicly disclosed its imputation

procedures, and has not set its imputation algorithms for the 2020 Decennial Census. Nov. 15

Trial Tr. at 1351 (Abowd).

1321. Dr. Abowd testified that qualitative evidence confirms that “count imputation

disadvantages hard-to-count subpopulations” Nov. 15 Trial Tr. at 1384-85 (Abowd).

1322. In the 2010 Census, there were 5.99 million people imputed, of whom 1.16 million were

count imputations and 4.61 million where imputation was required for the whole household. PX-

267 at 14 & Table 6; PX-478.

1323. The Census Bureau analysis of the addition of a citizenship question acknowledges that

there are going to be significantly more whole person imputations (1.477 million) in the 2020

Census because of the addition of a citizenship question and its impact of decreasing self-

response. PX-162 at 42.




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1324. Dr. Hillygus testified that it is “critical . . . that it is expected that there is going to be more

[imputation] in 2020.” Nov. 5 Trial Tr.115:10-11.

1325. There is no evidence in the Administrative Record that whole person imputation will be

more accurate in 2020 than it was in 2010. PX-1 to PX-14 (AR).

1326. Dr. Abowd testified that “an expert panel within the Census Bureau” can “modify the

imputation algorithm, if they can figure out a way to do so successfully, but I will say that no

such modification has been proposed to date.” Nov. 15 Trial Tr. at 1353:7-13.

1327. The Census Bureau post-enumeration survey for 2010 concluded that the Hispanic

population had larger percentage of omissions (7.7 percent) than the Non-Hispanic white

population (3.8 percent) and “part of the omissions . . . may be accounted for by the whole-

person census imputations” because Hispanic populations have larger percentage of imputations

(2.4 percent) than the white population (1.6 percent). PX-267 at 16 & Table 9.

1328. Accordingly, Defendants’ claims about the relative accuracy of the imputation procedure

for 2020 are entitled to little weight.

1329. While the processes have varied, the Census Bureau’s past imputation processes have all

involved an algorithm that in part is dependent using data from households that have respond to

the census to impute the size of the households that did not respond. PX-478 at 5-7.

1330. Federal government research has concluded that Hispanic and immigrant households are

more likely to live in crowded, complex households than citizen or white households. PX-388 at

Figures 13 & 14.

1331. Census Bureau research similarly has linked crowded, complex household types to census

omissions in previous censuses. PX-389, PX-430, PX-469, PX-390 at 70.




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1332. Dr. Hillygus testified that “imputation is essentially just using a guess to fill in the

numbers,” and “the imputation is going to contribute to the under count because the imputation

procedure is likely to under estimate household size in non-citizen and Hispanic households.”

Nov. 5 Trial Tr. at 113:5-6; 114:25-115:1-3.

1333. Dr. Hillygus further testified that although the Census Bureau has not finalized or released

the planned imputation procedures for 2020, based on the 2010 process “there is still reason to

believe that is going to underestimate the size of non-citizen households.” Nov. 5 Trial Tr. at

118:2-8. In support of this conclusion, Dr. Hillygus testified:

       a.      The imputation models the Census Bureau has used treat household size of

               imputed individuals as “ignorable” meaning that it assumes that there is no

               relationship between the size of households who self-respond to the Census and

               those who do not self-respond to the Census and the household size of imputed

               individuals is “random.” Because “households that are not responding to the

               census, are larger” use of “information about those household that did respond is

               going to systematically underestimate the size of the imputed households.” Nov. 5

               Trial Tr.115:23-116:18.

       b.      “There is compelling evidence that because household size is related to census

               participation, because Hispanics and non-citizens are documented to have larger

               household sizes on average, that it is not reasonable to assume that the household

               size of those individuals who failed to respond will be the same as those who do.”

               Nov. 5 Trial Tr. at 119:4-9.

       c.      Discussing PX-400 and PX-397, Dr. Hillygus testified that “there is evidence that

               household size is related to census participation. That is the key for saying that the




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      missing data is non-ignorable because the missingness related to the quantum that

      we’re trying to impute” and “Hispanic origin is not ignorable.” Nov. 5 Trial Tr. at

      120:6-9; 121:12.

d.    Discussing PX-267 and PX-400, Census Bureau and other Bureau research,

      including post-enumeration surveys and demographic analysis, “consistently find

      that noncitizens and Hispanics are more likely to be omitted from the census.”

      Nov. 5 Trial Tr.123:2-4.

e.    Discussing PX-388 and PX-394, Dr. Hillygus testified that external research

      shows “Hispanics and immigrants have larger households, more complex

      households” and are “harder to enumerate [and] are more likely to be omitted

      from the census. . . .these are the same individuals who the Census Bureau

      documents and predicts are going to be less likely to respond to citizenship

      question and so it follows that we are also going to see it with the differential

      undercount.” Nov. 5 Trial Tr. at 124:11-20.

f.    Discussing PX-414 and PX-389, Dr. Hillygus testified “we most directly see this

      link between self-response and differential undercount . . . [in the] decades of

      ethnographic research conducted about different censuses where they go in and

      they talk to households and have found out that Hispanic and noncitizens are

      being missed by the census count” and “[o]ther research has also found

      empirically that the larger the household size, the more likely those households—

      that households members are going to be omitted . . . so what that results is a

      systemic underestimation of Hispanic and non-citizens because they have larger

      household size on average.” Nov. 5 Trial Tr.125:2-13.




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1334. Dr. Hillygus testified that “the missing-ness on citizenship will not be ignorable . . . so if

you apply an ignorable assumption in the imputation methods, then you will end up with bias.”

Nov. 15 Trial Tr. at 1401:9-19.

1335. Dr. Barreto confirms that whole-person imputation is the end of the census process

“because it’s sort of the last resort, and it's known to be the least accurate.” Nov. 9 Trial Tr. at

701:5-701:17.

1336. Dr. Barreto’s survey experiment provides quantitative evidence that the Hispanic and

immigrant households that do not respond to the census are larger than those households that do

respond; accordingly, imputation (which relies on responding households to impute household

size for nonresponding households) will systematically undercount nonresponding households.

       a.       Dr. Barreto’s data reflects that “for multiple different demographic indicators,

                responding units are not statistically the same as non-responding units. They are,

                in fact, statistically different on many important metrics,” which “will create

                considerable problems for imputation.” Nov. 9 Trial Tr. at 711:4-711:8.

       b.       Specifically, Dr. Barreto’s experiment shows that households that will respond to

                a census that includes a citizenship question have smaller household sizes than

                those that will choose not to respond. PX-680. Accordingly, responders who

                would serve as the donor group for imputation have smaller household sizes than

                the non-responders whose household size would need imputing, resulting in

                omissions and ultimate differential undercount. Nov. 9 Trial Tr. at 711:18-712:16.

       c.       As Dr. Barreto explained: “[w]hat we found when we analyzed this imputation

                model was that the decision to not respond appears to be correlated with

                household size, that is, people who are the most anxious and nervous and not




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              willing to respond have larger household sizes that cannot be accounted for by

              other demographic differences. This is consistent with the literature that suggested

              that people would be more fearful if they had other relatives who were

              noncitizens and others living in the house. So when the imputation model is

              applied at the very end of the process, there will be more Latino and immigrant

              households in need of imputation, first of all, because of the lower self-response

              and because of the lesser success of NRFU. So when we get to the imputation

              component, this model suggests that there will be a larger miss, disproportionately

              larger miss of Latino household sizes leading to a net undercount.” Nov. 9 Trial

              Tr. at 733:7-733:24

       d.     Moreover, Dr. Barreto’s survey shows that non-respondents will be

              geographically clustered, concentrated in zip codes that have high Latino and

              immigrant populations, further challenging the ability of an imputation model to

              adequately or accurately address non-response. Nov. 9 Trial. Tr. at 713:1-714:5;

              PX-681.

       e.     Dr. Barreto’s “analysis indicates that, on whole, [imputation] will exacerbate the

              net differential undercount for Latino and immigrant communities, in that the

              imputation estimates will be less accurate and they will be too small in Latino and

              immigrant communities. So while they will come up with a number, it will

              continue to underestimate[] the true count.” Nov. 9. Trial Tr. at 707:21-709:11.d

1337. Dr. Barreto created an imputation model designed to mimic the model historically used by

the Census Bureau and set forth in PX-478, the “DSSD 2010 Decennial Census Memorandum

Series #J-12” (“J-12 Memo”). Nov. 9 Trial Tr. at 725:18-726:7.




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1338. This model uses “nearest neighbors” to impute household count for non-responding

households; it controls for similar housing type, characteristics, and geographic proximity:

“When they get 20 of these so-called nearest neighbors, they then create a distribution of the

household sizes from there, and then they assign a household size to the missing unit.” Nov. 9

Trial Tr. at 718:20-719:9; Nov. 9 Trial Tr. at 719:12-721:21; Nov. 14 Trial Tr. at 1232:13-

1232:14; PX-661 (screenshot of Dr. Barreto’s model applied to the dataset, reflecting the

difference between the model’s imputation or guess as to a particular respondent’s household

size and the household’s actual size).

1339. Dr. Barreto’s imputation analysis reflects that, on a national level, since responding

households tend to be larger than those that do not respond, imputation would undercount

households by an average of .3179 persons (or approximately 1/3 of a person) per household. As

a result, a citizenship question would be responsible for a national net undercount of 2.8 million

households. Nov. 9 Trial Tr. at 727:3 - 729:12; PX-682.

1340. However, the effects of imputation will be amplified in the Latino population. For Latino

households, imputation misses approximately .75 of a person per household on average; higher

non-response rates will result in higher NRFU rates, higher imputation rates, and ultimately, a

higher net differential undercount. Ultimately, Dr. Barreto estimated that the addition of a

citizenship question would result in a 1.78 million net undercount of Latinos: “That is 65 percent

of the people missed will be in Latino households. So while they only represented 13 percent of

all households, and every step along the way they are over represented in being undercounted,

the final estimates suggests that they’ll be 65 percent of all of the undercount.” Nov. 9 Trial Tr.

at 729:13-730:25; PX-682.




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1341. Even when accounting for mitigated non-response in light of assurances of confidentiality,

Dr. Barreto’s data reflects that Latino’s will be disproportionately undercounted by 1.45 million

people. Nov 9 Trial Tr. at 732:1-732:23; PX-683.

1342. In sum, based on the expected impacts of imputation, Dr. Barreto estimated that the net

differential undercount anticipated to flow from a citizenship question to be in the range of about

1.45 and 1.8 million in the Latino and immigrant community. Nov. 9 Trial Tr. at 734:19-734:25.

1343. Dr. Barreto’s findings are confirmed by social science research concerning imputation in

Latino and immigrant communities. Nov. 9 Trial Tr. at 717:5-718:1; PX-389

               6.      Recap of Key Points on Self-Response and NRFU

1344. Overall, the Census Bureau’s various enumeration procedures, including NRFU efforts,

are more likely to miss Hispanics, as compared to non-Hispanic whites. PX-267 Table 7; Census

Bureau 30(b)(6) Aug. 29 Dep. Tr. at 259:1-15; Nov. 6 Trial Tr. at 393:09-16, 393:25-394:03;

Nov. 15 Trial Tr. at 1353-54 (Abowd).

1345. Overall, the Census Bureau’s various enumeration procedures, including NRFU efforts,

are more likely to miss people living in bilingual areas compared to the U.S. population as a

whole. Census Bureau 30(b)(6) Aug. 29 Dep. Tr. Vol. I. at 261:11-16; PX-267 at 27.

1346. The evidence reflects that historically the Census process omits significant numbers of

certain populations, such as young children, when they are left off the household roster in self-

responses submitted from their household or when their residence is not part of the Master

Address File. The evidence described here establishes that more likely than not the addition of a

citizenship question will exacerbate this problem, contributing to an increase in the net

differential undercount of Hispanics and persons who live in non-citizen households. In

particular, the addition of a citizenship question to the Decennial Census will cause many




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households, even if they do self-respond, to leave off their responses members of their household

who are not US citizens or do not have legal status.

1347. While the Census Bureau concedes that there will be a decline in self-response of 5.8%

among non-citizen households, the evidence presented establishes that it is more likely than not

that the decrease in self-response of individuals who live in non-citizen households caused by the

addition of a citizenship question will be significantly more than 5.8%. Moreover, the evidence

presented about the impact of the addition of a citizenship question on the response rates of

Hispanics establishes that there will also be a meaningful decline in the self-response rates of

Hispanics.

1348. Relying upon all the evidence presented, the decrease in self-response rates before the

implementation of NRFU will be significantly more than 5.8% of non-citizen households and

Hispanics.

1349. In addition, there is no evidence that the NRFU operations will adequately address the

decline in self-response rates caused by the addition of a citizenship question among Hispanics

and individuals who live in non-citizen households.

1350. The Census Bureau has provided no evidence that demonstrates that the decline in self-

response rates will not result in a differential net undercount.

1351. While Dr. Abowd suggested that it might be possible to conduct an analysis as to

determine the exact relationship between such declines in self-response and net differential

undercount, Dr. Abowd testified that such a hypothetical analysis would require identifying a

statistical way of predicting the relationships between different components such as omissions

and erroneous enumerations; even the Census Bureau has not ascertained how to conduct such an

analysis. Nov. 14 Trial. Tr. at 1219:6-9. And Dr. Abowd testified that some of the coverage




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measurement experts at the Census Bureau do not think this is possible even for the Census

Bureau. Nov. 14 Trial. Tr. at 1216:12-18.

1352. The Census Bureau has not yet determined exactly what method is going to be used for

imputation in the 2020 Decennial Census, but the process will be similar to that used in 2010.

The evidence described here establishes that historically the Census imputation process has

resulted in a downward bias of certain subpopulations that on average have larger families and

more complicated living arrangements, such as Hispanics and non-citizen households. The

historical imputation process has under-estimated the populations of these households. See

PFOF ¶¶ 1315, 1320, 1326.

1353. The evidence described here establishes that the addition of a citizenship question to the

Decennial Census will significantly increase the number of Hispanic persons and non-citizen

households that end-up in the imputation process. Once in imputation, the evidence reflects that

the addition of a citizenship question will exacerbate this bias in the imputation process,

contributing to an increase in the net differential undercount of Hispanics and persons who live

in non-citizen households. See PFOF ¶¶1312-1343, 1333, 1336.

1354. All the available evidence strongly suggests that the addition of a citizenship question will

significantly increase the net differential undercount among these identified subpopulations.

Likewise, the addition of a citizenship question will exacerbate the net differential undercount.

In particular, the testimony, scientific literature, and census documents all support the finding

that the NRFU operations will not prevent the differential net undercount of individuals of non-

citizen households and Hispanics caused by the decrease in the self-response resulting from the

inclusion of a citizenship question.




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1355. While NRFU operations and imputation will have some success in mitigating the decrease

in self-response, given the likely significant decrease in self-response among persons who reside

in non-citizens households, it is a reasonable inference that more likely than not there will an

undercount of individuals in household with at least one non-citizen of at least 5.8% caused by

the addition of a citizenship question even after NRFU and imputation.

1356. While NRFU operations and imputation will have some success in mitigating the decrease

in self-response, given the likely significant decrease in self-response among Hispanics, there

will an undercount of Hispanics of at least 5.8% caused by the addition of a citizenship question

even after NRFU and imputation.

1357. The conclusion that there will more likely than not be an undercount of Hispanics and

non-citizen households is consistent with Dr. Barreto’s survey results. These results reflect that

the national decline in self-response due to a citizenship question is between 7.14% and 9.69%

and that for Latinos, that estimate is between 14.1% and 16.58%. Nov. 9 Trial Tr. at 671:6-

671:19, 672:13-672:22, 675:10-675:14. It is a reasonable inference that the ultimate undercount

for non-citizen households and Hispanics will be at least 5.8% if self-response declines by

between 7.14% and 16.58%.

1358. Even if one were to accept the Census Bureau’s more conservative prediction that the only

impact on self-response caused by a citizenship question will be among individuals who live in

non-citizen households, and that this impact will be only a 5.8% decrease in self-response; and

even assuming that the NRFU efforts will result in the accurate enumeration of at least some of

these households that do not self-respond, there is no evidence to suggest NRFU efforts could

possibly achieve accurate enumeration of every such household that does not self-respond. The

overwhelming weight of the evidence reflects that the addition of a citizenship question will




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increase the net differential undercount of individuals who live in non-citizen households.

Additionally, there is no doubt that the addition of a citizenship question will increase the net

differential undercount of Hispanics.

1359. Given all the evidence presented of the limitations of the ability of NRFU operations to

achieve accurate enumerations of households that do not self-respond, even if NRFU efforts have

some limited success, there will still be an increase in the undercount of at least 2% among

individuals who live in households with non-citizens.

1360. This conclusion—that even after NRFU, there will still be an undercount of individuals

living in non-citizen households of at least 2%—is consistent with the other evidence presented

in this case, and if anything, is conservative. Dr. Warshaw testified that the 2 percent net

differential undercount scenario could be viewed as the ultimate result, after NRFU, of a 5.8

decline in self-response rate. Nov. 13 Trial Tr. at 863:5-9; 863:18-22; 869:4-13.

1361. This conclusion is also consistent with the results of Dr. Barreto’s survey, which suggests

that NFRU efforts will have only a 45.2% success rate for the entire population. Nov. 9 Trial Tr.

at 686:12-687:20.

1362. This conclusion is also consistent with the opinion of Dr. Thompson, that the addition of a

citizenship question will limit the effectiveness of the Census Bureau’s communication

marketing campaign aimed at hard to reach populations and outreach through trusted community

partners, efforts which have helped the lower the undercount since 1990. Dr. Thompson testified

that he believes that the addition of a citizenship question will cause the undercount of Hispanics

to be at least as high as it was in the 1990 census before these programs were implemented.

Thompson Decl. (Docket No. 516-1) ¶106. The net undercount for Hispanics in 1990 was 4.99

%. PX-267, p. 15. Parties Stipulation ¶ 23.




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1363. Considering the evidence as a whole, it is that more likely than not that there will be an

undercount of individuals in households with at least one non-citizen—at a bare minimum, 2%—

caused by the addition of a citizenship question; in all likelihood, the resulting undercount will

be far higher.

IX.    ABSENCE OF A LEGITIMATE VRA ENFORCEMENT RATIONALE

1364. The evidence shows that the only justification that Secretary Ross offered for his decision

to add a citizenship question to the Decennial Census—that a citizenship question was necessary

for the DOJ enforcement of the VRA (“VRA”)—is a myth. The VRA enforcement justification

that Secretary Ross relied upon in his decisional memo is not supported by DOJ’s prior practice

of enforcing the VRA over the past five decades. Indeed, during that time, DOJ has never had

access to the kind of “hard count” citizenship data that it claimed to need and that Secretary Ross

cited in his decisional memo. On top of that, the citizenship data that the Decennial Census will

produce will not enhance DOJ’s ability to enforce the VRA relative to its existing capabilities.

1365. On December 12, 2017, DOJ sent a letter signed by Mr. Gary to Director Jarmin “to

formally request” that the Census Bureau include a citizenship question on the 2020 decennial

Census questionnaire directed to every household in the United States. PX-32 (AR).

1366. Although the letter was signed by Mr. Gary, it was initially drafted by Acting Assistant

Attorney General (“AAAG”) John Gore. Gore Dep. at 127.

1367. The Gary letter asserts that “the decennial census questionnaire is the most appropriate

vehicle for collecting” citizen voting-age population (“CVAP”) data for purposes of enforcing

Section 2 of the VRA. Id.

1368. Other than the Gary letter, there is no evidence in the Administrative Record to support

the assertion that existing CVAP data are in any way deficient for purposes of enforcing the




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VRA, or that adding a citizenship question to the Decennial Census questionnaire is the most

appropriate vehicle for collecting CVAP data. PX-1 through PX-14 (AR).

1369. DOJ has always relied on statistical estimates of CVAP rather than hard count data for

purposes of VRA enforcement. No DOJ case has ever been hampered or unsuccessful because

of that fact. Prior to December 2017, DOJ had never requested the inclusion of a citizenship

question on the Decennial Census questionnaire.

1370. There is nothing in the Administrative Record indicating that CVAP data collected

through the Decennial Census will be more accurate or more precise than existing CVAP data

used by DOJ. PX-1 through PX-14.

1371. On December 22, Director Jarmin advised Mr. Gary that “the best way to provide PL94

block-level data with citizen voting population by race and ethnicity would be through utilizing a

linked file of administrative and survey data the Census Bureau already possesses. This would

result in higher quality data produced at a lower cost.” PX-71 (AR); PX-200; PX-197; PX-297

at RFA 184; Census Bureau 30(b)(6) Dep. Vol. I. at 85:1-15; Nov. 13 Trial Tr. at 961-62.

1372. The Administrative Record reflects that the Census Bureau repeatedly requested a meeting

with DOJ to discuss its request, but was rebuffed. PX-71 (AR); PX-75(R) (AR); PX-197; PX-

198; PX-199; PX-200; PX-4 at AR 8651 (AR); PX-4 at AR 9074 (AR); Jarmin Dep. (Docket

511-2) at 64:17-18, 105:11-15; Census Bureau 30(b)(6) Dep. Vol. I. at 98:9-20; PX-297 at RFA

184, 189, 200.

       A.        Qualifications of Dr. Handley

1373. Plaintiffs have offered the testimony of Dr. Lisa Handley to address the need for a census

citizenship question to enforce Section 2 of the VRA.

1374. Dr. Handley is a consultant in redistricting and in electoral district design. She has over

thirty years of experience as an expert in redistricting, minority voting rights, and the use of


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census data for voting rights enforcement purposes, advising many jurisdictions and other clients

on minority voting rights and redistricting-related issues and serving as an expert in dozens of

voting rights cases. Nov. 13 Trial Tr. at 787, 790-92.

1375. Dr. Handley’s clients have included state and local jurisdictions, the DOJ, national civil

rights organizations, and such international organizations as the United Nations. Id. at 790-92.

1376. Dr. Handley holds a Ph.D. in political science from The George Washington University

and she is currently a visiting research academic at Oxford Brookes University in the UK. Id. at

788.

1377. In the last dozen years, Dr. Handley has served as an expert in four cases that involved

drawing redistricting plans featuring districts in which minorities constitute a majority of the

citizen voting age population, two as an expert on behalf of DOJ. Id. at 793-795.

1378. Overall, Dr. Handley has served as a voting rights expert in more than 25 voting rights

cases, including in six cases on behalf of DOJ; of the ten Section 2 redistricting cases DOJ has

filed since 2006, it has retained Dr. Handley in five of them. Id. at 794-96.

1379. Dr. Handley has also co-authored a book, Minority Representation and the Quest for

Voting Equality, as well as three other books, and her research on these topics has also appeared

in a number of peer-reviewed journals and law reviews including her North Carolina Law

Review Article entitled “Drawing Effective Minority Districts: A Conceptual Framework and

Some Empirical Evidence.” Id. at 789-90.

1380. Based on her education, experience, and knowledge, Dr. Handley is well-qualified to offer

opinions on Section 2 of the VRA, and the use of census data in Section 2 litigation and

enforcement proceedings, and Dr. Handley’s opinions in this case are reliable and credible.




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       B.      The Department of Justice’s Need for Decennial Census CVAP Data

               1.        VRA Enforcement and the Use of Census Survey Data

1381. In Thornburg v. Gingles, 478 U.S. 30 (1986), the U.S. Supreme Court determined that

minority plaintiffs had to satisfy three threshold factors to establish a violation of Section 2 of the

VRA: 1) the minority group must be sufficiently large and geographically compact to constitute

a majority in a single-member district; 2) the minority group must be politically cohesive; and 3)

the minority group must be able to demonstrate that the white majority votes sufficiently as a

bloc to enable it to usually defeat the minority’s preferred candidate. Nov. 13 Trial Tr. at 797-

99.

1382. Dr. Handley testified that in most Section 2 cases, plaintiffs use data collected and

reported by the Census Bureau to determine if there are a sufficient number of geographically

concentrated minorities to satisfy the first Gingles precondition. Id. at 798-99.

1383. Dr. Handley testified that she occasionally uses Census Bureau data to conduct an analysis

of voting patterns by race/ethnicity if registration or turnout data by race/ethnicity is not

available. Id. at 800.

1384. Dr. Handley also testified that if a court finds that a jurisdiction is violating Section 2,

Census Bureau data may be used in part to draw effective remedial districts, though the electoral

behavior of those within the district—participation rates and cohesiveness by race—plays a far

more important role. Id. at 800-01. When crafting remedial districts, Dr. Handley explained that

she uses a district-specific, functional approach in which an analysis of voting patterns by race

and ethnicity plays the essential role in the evaluation and citizenship rates are taken into account

only indirectly. This is the same approach DOJ has adopted. Nov. 13 Trial Tr. at 823-24; PX-

332.




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1385. In its redistricting-related work, DOJ has always relied on total population data collected

through the Decennial Census. The Census Bureau produces what is referred to as the PL 94-

171 data file, which provides data to be used in redistricting at various levels of census

geography, including census blocks. Census Bureau Aug. 29 30(b)(6) Dep. at 38-39; Nov. 13

Trial Tr. at 1024 (Abowd). The PL 94-171 data file has never had citizenship data in it. Id. at

40; Nov. 13 Trial Tr. at 1025 (Abowd). P.L. 94-171 data has margins of error associated with it.

Id. at 48-49; Nov. 13 Trial Tr. at 1027 (Abowd).

1386. Since the passage of the Voting Rights Act of 1965, the Decennial Census questionnaire

directed to every household in the United States has not included a question about citizenship.

Parties’ Stipulations (Docket No. 480-1) ¶ 30; Nov. 13 Trial Tr. at 802-03 (Handley). DOJ has

never had CVAP data based on hard count total population enumeration data from the Decennial

Census. Nov. 13 Trial Tr. at 802 (Handley); Gore Dep. at 203:5-10.

1387. When it has needed citizenship data, DOJ has always relied on CVAP data based on

statistical estimates for purposes of VRA enforcement. Nov. 13 Trial Tr. at 802 (Handley); Gore

Dep. at 173-76 (Objection); 203:5-10.

1388. From the 1970 through 2000 Censuses, the Census Bureau included a citizenship question

on the “long form” questionnaire; in 2000, the long form was sent to about one in every six

households during each Decennial Census. Parties’ Stipulations ¶¶ 31, 33, 35. Because the long

form questionnaire was not sent to every household in the U.S., citizenship data based on

responses to the long form were statistical estimates that had a margin of error. Nov. 13 Trial Tr.

at 802-03 (Handley), 1026 (Abowd).




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1389. Between the 2000 and 2010 decennial Censuses, the long form was discontinued and its

functions were taken over by the ACS, which also includes a citizenship question and is sent to

about 2% of households in the U.S. every year. Parties’ Stipulations ¶¶ 39-41.

1390. The Census Bureau produces different CVAP data, including 1-year statistical estimates

based on a single year of ACS survey responses for CVAP (“1-year ACS estimates”) and 5-year

statistical estimates aggregated from a consecutive 5-year period for CVAP (“5-year ACS

estimates”). Parties’ Stipulations ¶ 51; Nov. 13 Trial Tr. at 1028 (Abowd).

1391. The 1-year ACS estimates are intended for areas with a population larger than 65,000,

while the 5-year ACS estimates have a larger sample size and a smaller margin of error than 1-

year ACS estimates, and are considered by the Census Bureau to be usable for all geographic

areas. Parties’ Stipulations ¶¶ 53-54; PX-504; Nov. 13 Trial Tr. at 806-07 (Handley); 1028-29

(Abowd).

1392. The 5-year ACS estimates represent a sample of about 1-in-8 households, roughly

comparable to the long form’s sample of about 1-in-6 households. Parties’ Stipulations ¶ 52;

Nov. 13 Trial Tr. at 807 (Handley).

1393. The Census Bureau’s tabulation of CVAP data is publicly available. Census Bureau Aug.

29 30(b)(6) Dep. at 41-42.

1394. Dr. Handley described how she uses 5-year ACS CVAP estimates for purposes of

analyzing the first Gingles precondition in VRA cases. Dr. Handley testified credibly that such

data are perfectly adequate for the purposes of VRA enforcement, and that her opinion to a

reasonable degree of scientific certainty is that block-level CVAP data derived from the ACS are

reliable and accurate. Nov. 13 Trial Tr. at 808-19.




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1395. Dr. Handley further explained that the district-specific functional analysis that she

employs in VRA analysis, and used by DOJ, does not depend on precise measurement of CVAP

at the individual block level, but rather on an analysis of turnout rates and voting patterns within

a district. Nov. 13 Trial Tr. at 819-24; PX-332.

               2.      The Department of Justice Did Not See a Need for Decennial Census
                       Data Prior to Being Contacted By Secretary Ross’ Staff

1396. Prior to this letter, in the 53-year history of the VRA, DOJ had never requested the

inclusion of a citizenship question on the decennial Census questionnaire directed to every

household in the United States. Gore Dep. at 168-69 (Objection).

1397. DOJ had also never communicated to the Census Bureau that ACS CVAP data was not

ideal for DOJ’s VRA enforcement purposes. Nov. 13 Trial Tr. at 996.

1398. DOJ filed five Section 2 cases during the Obama Administration. PX-515; Gore Dep. at

251. The Obama Administration also had obligations under Section 5 of the VRA to review

voting changes in all or part of 16 states for more than four years before the decision in Shelby

County v. Holder, 570 U.S. 529 (2013); the Trump Administration has not had Section 5

obligations to the same extent. Gore Dep. at 250-51.

1399. DOJ has not filed any Section 2 VRA cases during the Trump Administration. PX-515;

Gore Dep. at 249-50.

1400. On July 1, 2016, Arthur Gary wrote a letter to then-Census Bureau Director John

Thompson in which he indicated that DOJ had no need to amend the current content or to request

new content in the ACS for the 2020 Census. PX-1 at AR 311 (AR).

1401. On November 4, 2016, Mr. Gary wrote another letter to Mr. Thompson to “supplement[]”

his July letter. Id. In the November 4, 2016 letter, Mr. Gary formally requested that the Census

Bureau include a topic on the ACS relating to LGBT populations. Id. The November 4, 2016



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letter does not request additional information on either the ACS or the 2020 Decennial Census

questionnaire beyond this request about LGBT populations. Id. The November 4, 2016 letter

does not make any request for the inclusion of a citizenship question on the Decennial Census

questionnaire, nor does it make any mention of a need for better citizenship data. Id.

1402. Mr. Gore testified that he was unaware of any changes in law since November 4, 2016

with respect to the data that plaintiffs may rely on to establish the first Gingles precondition for

Section 2 VRA liability. Gore Dep. at 54-55.

1403. Mr. Gore testified he is also unaware of any changes to the forms of citizenship data

available to plaintiffs bringing VRA claims in order to satisfy the first Gingles precondition. Id.

at 56.

1404. Mr. Gore testified he knows of no changes in the social scientific community since

November 4, 2016 regarding the assessment of the accuracy of citizenship estimates based on

ACS data. Id. at 57 (Objection).

1405. Mr. Gore first became involved in deliberations about whether or not to request a

citizenship question on the Decennial Census around September 4, 2017. Id. at 73, 75.

1406. At that time—a little more than three months before DOJ officially requested a citizenship

question—Gore did not hold an opinion about whether hard-count CVAP data would be better

for DOJ’s VRA enforcement needs than would ACS statistical estimates. Id. at 77-78.

1407. Mr. Gore testified that he was unaware of whether, by September 8, 2017, he held the

opinion that the Decennial Census would be the best vehicle for collecting CVAP data for DOJ’s

VRA enforcement purposes. Id. at 79.

1408. Mr. Gore testified that as of September 8, 2017 (the date Mr. Comstock wrote his memo

stating that “Justice staff did not want to raise the [citizenship] question”), DOJ staff did not




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want to raise a citizenship question. Gore Dep. at 69; PX-133 (AR); PX-524 (AR); PX-537

(AR).

               3.      There is No Evidence in the Administrative or Evidentiary Record to
                       Support the Claims in the Gary Letter About the Purported Problems
                       with Existing ACS CVAP Data

1409. Prior to the December 12, 2017 Gary Letter, the Census Bureau had never heard from

DOJ that the Census Bureau’s tabulation of CVAP data was insufficient for purposes of VRA

enforcement. Nov. 13 Trial Tr. at 996.

1410. DOJ has not identified any cases it failed to bring, or any VRA cases it brought that were

unsuccessful, due to concerns about the accuracy of CVAP data.

1411. The Gary letter states that ACS data “does not yield the ideal data for the purpose of”

Section 2 enforcement, and lists four bullet points in support:

        a.     DOJ uses Decennial Census “total population data . . . to determine compliance

               with the Constitution’s one-person, one-vote requirement,” but must then use

               “ACS citizenship estimates,” for purposes of “conducting redistricting” or

               “enforcing Section 2”

        b.     ACS citizenship data “do not align in time with the Decennial Census data”

        c.     ACS citizenship “estimates are reported at a ninety percent confidence level, and

               the margin of error increases as the sample size—and, thus, the geographic area—

               decreases”

        d.     ACS citizenship data are not published at the smallest unit of census geography,

               the census block, requiring CVAP estimates for redistricting that “interject[s]

               further uncertainty.” PX-32 (AR).




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1412. With regard to the first assertion in the Gary Letter regarding the purported difficulty of

using a “different data set[],” namely, “ACS citizenship estimates,” for purposes “conducting

redistricting” or “enforcing Section 2,” PX-32 (AR), there is no evidence in the Administrative

Record that supports this assertion. PX-1 to PX-14 (AR).

1413. DOJ has always relied on a separate data set for citizenship rates for purposes of VRA

enforcement, even prior to the ACS. See supra.

1414. Dr. Handley testified that it is not difficult to combine the two data sets, that her work as

an expert has never been impeded by the need to do so, and that she is unaware of a single case

that failed because of the need to combine total population and CVAP data from separate data

sets. Nov. 13 Trial Tr. at 827-29.

1415. Mr. Gore testified he is not aware of any time where DOJ, in enforcing the VRA, has had

a single dataset that contained both total population and citizenship data. Gore Dep. at 188-89.

He similarly testified he is unaware of any filed VRA cases where DOJ or any plaintiff was

unsuccessful because citizenship data and total population data were in two different data sets.

Id. at 190-91.

1416. Dr. Abowd testified is not sure yet whether the Census Bureau will in fact be able to

produce a single dataset with block-level CVAP data from the 2020 Decennial Census. Nov. 13

Trial Tr. at 1029. The Census Bureau has not yet determined how it will assemble the CVAP

tabulation, or whether it will be included in the P.L. 94-171 data file. Census Bureau 30(b)(6)

Vol. I Dep. at 56.

1417. With regard to the second claim in the Gary letter, that ACS citizenship data “do not align

in time with the decennial census data,” PX-32 (AR), there is no evidence in the Administrative

Record that supports this assertion. PX-1 to PX-14 (AR).




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1418. Dr. Handley testified ACS citizenship data are available that align in time with Decennial

Census data by using the 5-year ACS dataset with a midpoint that aligns with the Decennial

Census year. Nov. 13 Trial Tr. at 829-30. She testified that her work has never been impeded

because ACS 5-year estimates are collected over a longer period of time than Decennial Census

data, and the she is unaware of any case in which a claim failed because of the purported

misalignment in time between Decennial Census total population data and 5-year ACS CVAP

estimates. Id.

1419. Mr. Gore testified he is unaware of any case filed by DOJ under the VRA or filed by any

plaintiff that was unsuccessful because ACS citizenship data does not align in time with

Decennial Census data. Gore Dep. at 194-95.

1420. With regard to the Gary Letter’s third assertion, that ACS citizenship “estimates are

reported at a ninety percent confidence level, and the margin of error increases as the sample

size—and, thus, the geographic area—decreases,” PX-32 (AR), there is no evidence in the

Administrative Record that supports the suggestion that this has impeded VRA enforcement.

PX-1 to PX-14 (AR).

1421. As an initial matter, it is not the case that, in contrast to ACS CVAP estimates, the total

population data from the Decennial Census lacks margins of error. The P.L. 94-171 data has

also has margins of error associated with it. Nov. 13 Trial Tr. at 1027 (Abowd).

1422. DOJ has always relied on CVAP data that are sample-based estimates featuring a margin

of error. Even before the ACS, when the Census Bureau included a citizenship question on the

“long form” questionnaire, the data produced based on responses to the long form were statistical

estimates that had a margin of error. Nov. 13 Trial Tr. at 802-03 (Handley), 1026 (Abowd). Dr.

Handley testified that her work as a VRA expert has never been hampered by this fact, and that




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she is unaware of any cases in which a claim failed due to reliance on statistical estimates of

CVAP. Nov. 13 Trial Tr. at 830-32.

1423. Mr. Gore testified that as long as DOJ has been enforcing the VRA, it has always relied

upon statistical estimates for citizenship data, and that he is unaware of any cases filed by DOJ

where DOJ was unsuccessful because the CVAP data it relied upon had a margin of error that

increases as the geographic area decreases; and that he was unaware of any cases where a claim

failed because the plaintiffs relied on 5-year ACS estimates. Gore Dep. at 173-76 (Objection),

203-04.

1424. With regard to the fourth claim of the Gary letter—that “redistricting jurisdictions and the

Department are required to perform further estimates and to interject further uncertainty in order

to approximate citizen voting-age population at the level of a census block, which is the

fundamental building block of a redistricting plan,” PX-32 (AR)—there is no evidence in the

Administrative Record that this inhibits VRA enforcement in any way. PX-1 to PX-14 (AR).

1425. Dr. Handley testified that in VRA cases involving states and larger jurisdictions, there is

often no need to split census blocks either to satisfy the first prong of the Gingles test or to draw

remedial districts. Nov. 13 Trial Tr. at 810.

1426. Dr. Handley further testified that for instances in which splitting census blocks are

necessary (such as those involving smaller geographies), VRA plaintiffs have relied on available

CVAP at the tract or block group level to estimate CVAP at the census block level using one of

several reliable methods to conduct this analysis and generate estimates of the CVAP of

particular racial groups at the block level, and that these estimation procedures are sufficiently

reliable to a reasonable degree to scientific certainty. Nov. 13 Trial Tr. at 810-19, 856.




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1427. Dr. Handley testified that, to the extent that block-level CVAP data is necessary in a case,

it has always been obtained through the use of an estimation procedure, but that this has never

hampered her work as a VRA expert and that she is unaware of any case that failed before of the

use of such an estimation procedure. Nov. 13 Trial Tr. at 831-32 (Handley).

1428. Mr. Gore testified that he is unaware of any time in which DOJ had access to block-level

CVAP that was produced without using an estimation procedure to develop that data from a

different level of geographic specificity, and that he is unaware of any case failing because of the

need to employ such an estimation procedure. Gore Dep. at 235-37.

1429. Overall, none of the cases cited in the Gary Letter involved a claim that failed because of

reliance on statistical estimates of CVAP data based on data collected separate and apart from

the “full count” Decennial Census; plaintiffs in all of the cases cited in the letter relied on

sample-based CVAP estimates without any problems. Nov. 13 Trial Tr. at 824-25 (Handley).

1430. AAAG Gore testified that he is aware of only one case in which plaintiffs bringing a VRA

were unsuccessful in part because of their reliance on ACS data, Benavidez v. Irving Indep. Sch.

Dist., Tex., 690 F. Supp. 2d 451 (N.D. Tex. 2010); Gore Dep. at 244.

1431. DOJ did not bring the Benavidez case, which expressed no opinion as to the general

reliability of ACS number for VRA purposes and explained that the plaintiffs relied on 1-year

ACS estimates for CVAP data. Gore Dep. at 242-46. The Plaintiffs in Benadidez did not rely on

5-year ACS estimates. As noted, supra, 1-year ACS estimates are not considered reliable for

areas with a population less than 65,000; while 5-year ACS are considered reliable by the Census

Bureau for any geographic area. PX-504; Nov. 13 Trial Tr. at 806-07 (Handley), 1029 (Abowd).

1432. For both statewide and local districting purposes, the current data available is perfectly

adequate for meeting the Gingles requirements and drawing adequate remedial districts to a




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reasonable degree of scientific certainty, as Dr. Handley credibly explained and as Defendants

have not rebutted. See Nov. 13 Trial Tr. at 840-42.

               4.      There is No Evidence in the Administrative or Evidentiary Record
                       Indicating that CVAP Data Collected through the Decennial Census
                       Will Be an Improvement for VRA Enforcement Purposes over
                       Existing ACS CVAP Data

1433. There is no evidence in the Administrative Record that if a citizenship question is

included on the decennial form that the data would be more accurate or more precise for VRA

purposes than existing survey data used. PX-1 to PX-14 (AR).

1434. Rather, the evidentiary record in this case suggests data gathered through the Decennial

Census may, in fact, be less accurate and less precise for such purposes. Nov. 13 Trial Tr. at

834, 840 (Handley), 956-57 (Abowd).

1435. With respect to accuracy, the trial record indicates that CVAP data collected through the

Decennial Census will not be more accurate than existing ACS CVAP Data. Dr. Handley

testified that the Decennial Census itself has several types of errors: (1) coverage errors, which

arise when persons are incorrectly excluded, included, or duplicated in the count; (2) geographic

errors, which happen when an address was placed in the wrong census geographic location or a

misunderstanding of the census residence rules; and (3) demographic errors, which occur when a

person’s demographic characteristics have been incorrectly reported, recorded, or imputed. Nov.

13 Trial Tr. at 832-34; see also Census Bureau Aug. 29 30(b)(6) Dep. at 49.

1436. In its post-2010 enumeration survey, the Bureau estimated that “among the 300.7 million

people who live in housing units, about 94.7 percent were counted correctly, 3.3 percent were

counted erroneously, 1.6 percent provided only a census count and had their demographic

characteristics imputed, and .4 percent needed more extensive imputation after all census follow-

up efforts were attempted.” PX-333 at 1. The Bureau also estimated there were 16.0 million


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omissions in the 2010 census (although it indicates that 6 million of these people were likely to

have been counted in the census but could not be verified in the post-enumeration survey). Id.

These omissions disproportionately affect certain segments of the population, including blacks

and Hispanics, who are more likely not to be counted than others. Id.

1437. As noted, supra, documents in the Administrative Record including Dr. Abowd’s memos

dated January 19, 2018, and March 1, 2018, indicate that the addition of a citizenship question

will exacerbate these errors and harm the overall quality of Census data. In particular, Dr.

Abowd’s January 19 Memo in the Administrative Record noted “[m]ajor potential quality and

cost disruptions” from the addition of a citizenship question. PX-22 (AR) at 2. See also Nov. 13

Trial Tr. at 832-34 (Handley). Dr. Abowd testified that there is considerable evidence indicating

that a citizenship question will depress census participation among noncitizens and Hispanics.

Nov. 14 Trial Tr. at 1249. Data collected through the NRFU process will not be as accurate as

data collected from self-response; as Dr. Abowd testified, NRFU creates more erroneous

enumeration, whole person census imputations, and gross omissions, all of which raise error

rates. PX-25 (AR); Nov. 13 Trial Tr. at 966-70.

1438. With respect to precision, disclosure avoidance techniques employed by the Census

Bureau to mask responses to the Census questionnaire will render block-level CVAP data

imprecise, which undermines any justification for adding a citizenship question to the 2020

Decennial Census based on any purported need for “hard count” CVAP data.

1439. Because of confidentiality concerns, citizenship data reported in the Decennial Census

will have to go through a disclosure avoidance process to prevent the personal identification of

individuals or families in relation to their reported answers. Census Bureau Aug. 29 30(b)(6)

Dep. at 50-51; Nov. 13 Trial Tr. at 1032-33, 1039-46 (Abowd).




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1440. For example, some census blocks only have one person on them. Nov. 13 Trial Tr. at

837-38 (Handley); 1031-32 (Abowd). In census blocks where there is only one person, the

Census Bureau produces block-level CVAP data in which it will not publish that person's actual

citizenship status as reported in their response to a citizenship question. Census Bureau Aug. 29

30(b)(6) Dep. at 65-68; Nov. 13 Trial Tr. at 1032-33, 1036 (Abowd)

1441. The Census Bureau has not yet set the parameters for the 2020 disclosure avoidance

system, but they have used two primary techniques in the past: household-level swapping and

synthetic noise infusion. Census Bureau Aug. 29 30(b)(6) Dep. at 51; Nov. 13 Trial Tr. at 1039-

41 (Abowd).

1442. In previous censuses, the Census Bureau has employed household-level swapping,

meaning that the certain variables on the household record are matched to variables on a

household record in a different geographic area and across census blocks. Census Bureau Aug.

29 30(b)(6) Dep. at 51; Nov. 13 Trial Tr. at 1039-40. For households selected for swapping, all

the values are swapped except the address ID so it looks as if the data from a different address

lived at the address of the original. Census Bureau Aug. 29 30(b)(6) Dep. at 51; Nov. 13 Trial

Tr. at 1039-40 (Abowd).

1443. In this Census, the Census Bureau will employ synthetic noise infusion, which involves

identifying sensitive responses and then using a statistical model to replace the sensitive value

with a value that is sampled from the model and its error distribution. Census Bureau Aug. 29

30(b)(6) Dep. at 53-54; Nov. 13 Trial Tr. at 1039-42 (Abowd).

1444. By nature, the disclosure avoidance process introduces further errors into CVAP data

produced at the block level. Census Bureau Aug. 29 30(b)(6) Dep. at 53-56, 69-71, 100-01.




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1445. The Census Bureau will undertake disclosure avoidance for every census block, meaning

that—except for randomly—there will not be a single census block where the citizenship data

directly reflects the responses of the block inhabitants to the 2020 Decennial Census

questionnaire. Census Bureau Aug. 29 30(b)(6) Dep. at 67-68; Nov. 13 Trial Tr. at 1033

(Abowd). The block-level CVAP produced by the Census Bureau will not reflect the actual

citizenship status of each individual in each census block as reported from a citizenship question

on the census questionnaire. Census Bureau Aug. 29 30(b)(6) Dep. at 67-68, 70-71.

1446. Block-level CVAP data based on responses to a citizenship question will be estimates

rather than a precise tabulation. Nov. 13 Trial Tr. at 1043-44 (Abowd). Thus, even with the

inclusion of a citizenship question on the Census, the block-level CVAP data produced by the

Census Bureau will still have margins of error associated with it. Census Bureau Aug. 29

30(b)(6) Dep. at 71; Nov. 13 Trial Tr. at 1044 (Abowd). As with ACS CVAP data currently

used by DOJ, the CVAP data based on responses to a citizenship question will be estimates that

will be more precise for areas with larger populations, but will be less precise, more uncertain,

and will have larger margins of error for geographic units with smaller populations. Nov. 13

Trial Tr. at 1041-42 (Abowd).

1447. The Census Bureau has not determined if, after disclosure avoidance, the error margins for

the block level CVAP data based on information collected through the decennial enumeration

will “still allow redistricting offices and the Department of Justice to use the data effectively.”

Census Bureau Aug. 29 30(b)(6) Dep. at 100-101. The Census Bureau does not know if the

CVAP produced based on responses to a citizenship question will have smaller margins of error

than the ACS-based CVAP data on which DOJ currently relies. Id.; Nov. 13 Trial Tr. at 1044-46.




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A citizenship question therefore cannot be justified based on a purported need for more precise

CVAP data.

1448. There are no documents in the Administrative Record indicating that DOJ considered the

effect of disclosure avoidance on the precision of block-level CVAP data based on responses to a

citizenship question on the Census questionnaire. See PX-1 to PX-14 (AR). There were no

conversations between the Census Bureau and DOJ regarding this issue. Nov. 13 Trial Tr. at

1046 (Abowd).

1449. There are no documents in the Administrative Record indicating that Secretary Ross

considered the effect of disclosure avoidance on the precision of block-level CVAP data based

on responses to a citizenship question on the Census questionnaire. See PX-1 to PX-14 (AR);

Nov. 13 Trial Tr. at 1047-48 (Abowd).

1450. Dr. Abowd testified that he informed Secretary Ross of disclosure avoidance issues, but

Secretary Ross nevertheless made the decision to order the inclusion of a citizenship question.

Nov. 13 Trial Tr. at 1046-48 (Abowd).

               5.     The Administrative and Evidentiary Record Indicate the Decision to
                      Include a Citizenship Question on the Census Will Produce Less
                      Accurate CVAP Data for VRA Enforcement Purposes than Using
                      Administrative Records

1451. The Administrative Record indicates that, to the extent DOJ could use better-quality

CVAP data than it currently has, a better option would be to use administrative records than a

citizenship question on the Census (Alternative C). In Dr. Abowd’s January 19 memo, the

Census Bureau concluded that adding a citizenship question to the 2020 Decennial Census “is

very costly, harms the quality of the census count, and would use substantially less accurate

citizenship status data than are available from administrative sources.” PX-22 at 1 (AR); Nov.

13 Trial Tr. at 885 (Abowd testimony). The Census Bureau determined that using administrative


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records under Alternative C “best meets DoJ’s stated uses, is comparatively far less costly than

Alternative B, does not increase response burden, and does not harm the quality of the census

count.” PX-22 at 1; Nov. 13 Trial Tr. at 886 (Abowd testimony).

1452. Using administrative records will produce more accurate block-level CVAP data than

adding a citizenship question—either alone or in combination with administrative records—for

three reasons. The first reason is that administrative records tend to be more accurate than

survey self-responses as to citizenship status, particularly for noncitizens. Nov. 13 Trial Tr. at

955 (Abowd).

1453. There is sometimes disagreement between a person’s citizenship status as reflected in

administrative records and what is reported for that person in response to the ACS citizenship

question. PX-22 at 7-8; Nov. 13 Trial Tr. at 953-54 (Abowd).

1454. The Census Bureau describes citizenship status as reflected in the administrative records

as “verified,” because the administrative records are a legal document indicating a person’s

citizenship status. PX-22 at 7 (AR); Nov. 13 Trial Tr. at 954 (Abowd testimony).

1455. By contrast, the Census Bureau describes citizenship status as reported in response to the

ACS citizenship question as “unverified” or a “survey response,” because it does not constitute a

legal document. PX-22 at 7 (AR); Nov. 13 Trial Tr. at 954-55.

1456. Dr. Abowd believes that administrative records tend to report more accurate citizenship

status data than do survey records. PX-22 at 7 (AR); PX-162 at 46 (“the survey responses are

more often inaccurate when they disagree”); PX-4 at 7913 et seq (AR); Nov. 13 Trial Tr. at 955.

The Census Bureau has determined that citizenship data gathered based on survey responses to a

citizenship question are of “suspect quality,” while administrative record citizenship data are

“high quality.” PX-25 (AR); Nov. 13 Trial Tr. at 974.




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1457. In the 2016 ACS, individuals whom the administrative records indicate are noncitizens

responded that they were citizens 34.7 percent of the time. PX-22 at 8 (AR). That number rose

even higher on the 2017 ACS. Census Bureau Aug. 29 30(b)(6) Dep. at 91-92; Nov. 13 Trial Tr.

at 915-16 (Abowd testimony). Dr. Abowd estimates that more than 30 percent of noncitizens

provide an inaccurate response to the ACS citizenship question. PX-22 at 8 (AR); Nov. 13 Trial

Tr. at 956.

1458. The Census Bureau has no empirical basis to believe that noncitizens would give more

accurate responses to the citizenship question on the Census than they do on the ACS. Census

Bureau Aug. 29 30(b)(6) Dep. at 93; Nov. 13 Trial Tr. at 956-57. To the contrary, the Census

Bureau believes that there are “definitely indications” that responses by noncitizens to a

citizenship question on the 2020 Decennial Census will be even less accurate than they have

historically been on the ACS. Nov. 13 Trial Tr. at 957.

1459. The Census Bureau estimates that there would be 9.5 million people for whom the survey

self-response and the administrative record would disagree on citizenship status. PX-24 at 4

(AR); Nov. 13 Trial Tr. at 982. For this group, the traditional Census Bureau practice would be

to rely on the survey response rather than the administrative record—a practice that Dr. Abowd

states would be less accurate. PX-25 at 4 (AR); Census Bureau Oct. 5 30(b)(6) Dep. at 416-17;

Nov. 13 Trial Tr. at 982-83 (Abowd). If instead the Census Bureau were to use administrative

records to produce CVAP data and did not include a citizenship question, the Bureau would not

have situations in which there were disagreements between survey responses and administrative

records, and would, on balance, produce higher quality and more accurate CVAP data. Nov. 13

Trial Tr. at 958.




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1460. The Census Bureau has made no determination about how it will address disagreement

between survey responses on a citizenship question on the 2020 Decennial Census and the

administrative records regarding citizenship status when producing block-level CVAP data for

DOJ. Nov. 13 Trial Tr. at 957. There have been no conversations with DOJ about how the

CVAP tabulation will be assembled from the various forms of citizenship data available to the

Census Bureau. Census Bureau Aug. 29 30(b)(6) Dep. at 62; ; Gore Dep. at 273-74; Nov. 13

Trial Tr. at 962-63 (Abowd).

1461. A second reason that Alternative C (relying on administrative records) will produce more

accurate CVAP data than adding a citizenship question to the 2020 Decennial Census (either

alone or in combination with using administrative records) is that adding a citizenship question

will result in lower-quality Census data and fewer people who can be linked to administrative

records. Nov. 13 Trial Tr. at 969.

1462. Because a citizenship question would produce lower-quality personal data because fewer

people will self-respond to the Census, there would also be a reduction in the number of people

whom the Census Bureau can link to administrative records under Alternative D. PX-25 (AR);

Nov. 13 Trial Tr. at 969. The Census Bureau was able to link 93 percent of self-responses to

administrative records in the 2010 Census; by contrast, the Census Bureau was only able to link

33.8 percent of proxy responses obtained through the NRFU responses to administrative records

in the 2010 Census. Id.

1463. The Census Bureau estimates that, under Alternative D, there would be about 36 million

people who cannot be linked to administrative records on citizenship—greater than the number

of people who the Census Bureau estimates would not be able to be linked to administrative

records under Alternative C. PX-24 at 4 (AR); Nov. 13 Trial Tr. at 981. The Census Bureau




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believes that there would be a greater number of people who could not be linked to

administrative records under Alternative D than under Alternative C because a citizenship

question would reduce self-response rates and drive more people into NRFU efforts, which hurts

data quality. PX-24 at 3-4 (AR); Nov. 13 Trial Tr. at 981. This means that, in comparison to

Alternative C, Alternative D would result in more people whose citizenship status cannot be

determined by linking them to administrative records.

1464. ACS item non-response rates and break-off rates indicate that Hispanics as compared to

non-Hispanic whites, are more likely not to respond to a citizenship question on the Census.

Nov. 13 Trial Tr. at 919-20 (Abowd); Nov. 9 Trial Tr. at 737-38 (Barreto). Under Alternative D,

for individuals who do not respond to a citizenship question and cannot be linked to

administrative records, modeling of citizenship status will still be necessary. Nov. 5 Trial Tr. at

35 (Hillygus); Nov. 13 Trial Tr. at 976 (Abowd). The Census Bureau estimates that there will be

13.8 million people who do not provide a response to the citizenship question, and who cannot

be linked to administrative records. PX-24 at 4 (AR).

1465. A third reason that Alternative C (relying on administrative records) will produce more

accurate CVAP data than adding a citizenship question to the 2020 Decennial Census (either

alone or in combination with using administrative records) is that, for people who cannot be

linked to administrative records, modeling citizenship status produces more accurate data in

comparison to self-reported survey responses. Nov. 13 Trial Tr. at 976 (Abowd).

1466. Secretary Ross’ memo claims that a downside to Alternative C—using administrative

records without a citizenship question—is that the Census Bureau would have to impute, or

model, the citizenship status for respondents who cannot be linked to administrative records. PX-

26 at 4 (AR); Nov. 13 Trial Tr. at 970 (Abowd). Secretary Ross’ memo claims that using both a




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citizenship question and administrative records might eliminate the need for modeling

citizenship status for respondents who cannot be matched to administrative records, because the

Census Bureau would be able to rely on survey responses. PX-26 at 5 (AR); Nov. 13 Trial Tr. at

971-3 (Abowd).

1467. The Census Bureau estimated that under Alternative C, the Census Bureau would be able

to link 295 million out of the 330 million people expected to be enumerated in the 2020

Decennial Census to administrative records—meaning that 89.4 percent of the population would

be linked to administrative records and 10.6 percent of the population would fall into an

administrative record gap. PX-24 at 3 (AR); Nov. 13 Trial Tr. at 978-79 (Abowd testimony).

Under Alternative C, then, the Census Bureau has estimated that it would model citizenship

status for about 10.6 percent of the population. PX-24 at 3 (AR); Nov. 13 Trial Tr. at 979.

1468. A major difference between Alternatives C and D, then, is that for respondents who

cannot be linked to administrative records, the Census Bureau under Alternative C would model

respondents’ citizenship status, and under Alternative D would use survey self-responses. Nov.

13 Trial Tr. at 973.

1469. The Census Bureau estimates that under Alternative D there would be 22.2 million people

who couldn’t be linked to administrative records but who would provide a survey response to the

citizenship question—comprising about 6.7 percent of the population. PX-24 at 4 (AR); Nov. 13

Trial Tr. at 981, 984.

1470. The Census Bureau states that one problem with relying on survey responses to fill gaps in

administrative records is that noncitizens have a strong incentive to provide an incorrect answer

to the citizenship question or not answer at all. PX-25 at 4 (AR); PX-162 at 19; Nov. 13 Trial Tr.

at 973 (Abowd testimony). Even a large number of legal permanent residents provide incorrect




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answers to the ACS citizenship question. PX-25 at 4 (AR); Nov. 13 Trial Tr. at 973 (Abowd

testimony). The Census Bureau has concluded that survey-collected citizenship data may not be

reliable for many respondents for whom there are no administrative records. PX-25; Nov. 13

Trial Tr. at 973-74.

1471. Dr. Abowd and the Census Bureau believe that, for individuals who cannot be linked to

administrative records on citizenship, the modeling conducted under Alternative C would be

more accurate than survey responses under Alternative D for respondents who cannot be

matched to administrative records. Nov. 13 Trial Tr. at 975. As such, the Census Bureau would

prefer modeling to survey responses in determining citizenship status for respondents who

cannot be linked to administrative records. Nov. 13 Trial Tr. at 975-76; PX-162 at 46.

1472. There are an estimated 22.2 million people under Alternative D for whom there would be

a survey response to the citizenship question but not an administrative record; for this group, the

Census Bureau believes that relying on the survey response would be less accurate than

modeling their citizenship status. Nov. 13 Trial Tr. at 985.

1473. The Census Bureau estimates that under Alternative D there would be 13.8 million people

who have no administrative record on citizenship and would also provide no survey response to a

citizenship question. PX-24 at 4 (AR); Nov. 13 Trial Tr. at 981. Under Alternative D, modeling

of citizenship status for this group would still be necessary.

1474. The Brown, et al memo contains analyses of various scenarios with respect to Alternatives

C and D, which led to the same conclusion: that it will produce worse quality Census data overall

and worse quality citizenship data specifically. PX-162 at 49-53; Nov. 13 Trial Tr. at 986

(Abowd testimony).




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1475. Secretary Ross’ decision memo stated that including a citizenship question on the 2020

Decennial Census would enable the Census Bureau to model citizenship status more accurately.

PX-26; Nov. 13 Trial Tr. at 977. (Abowd testimony).

1476. No one at the Commerce Department ever discussed Secretary Ross’ contention that a

citizenship question would enable the Census Bureau to model citizenship status more accurately

with Dr. Abowd. Nov. 13 Trial Tr. at 977. Secretary Ross’ conclusion that including a

citizenship question on the 2020 Decennial Census would enable the Census Bureau to model

citizenship status more accurately is based on technical presumptions that the Census Bureau

does not currently endorse. Id. At the time of Secretary Ross’ decision memo, the Census

Bureau had not completed any analysis as to whether or not the inclusion of a citizenship

question would enable the Census Bureau to more accurately model citizenship status for people

who are not listed in administrative records. Id. at 978.

1477. Both Dr. Abowd and the Census Bureau disagree with Secretary Ross’ claim that

Alternative D is justified over Alternative C because Alternative C requires modeling for people

who cannot be linked to administrative records. PX-25 at 5 (AR); Nov. 13 Trial Tr. at 985-86.

When Secretary Ross wrote in his decision memo that Alternative D may eliminate the need for

the Census Bureau to model the citizenship status for millions of people, the Census Bureau had

already communicated its conclusion to Secretary Ross that Alternative D would not eliminate

that modeling need. PX-25 at 5 (AR); Nov. 13 Trial Tr. at 988.

1478. In sum, Dr. Abowd and the Census Bureau concluded that, contrary to the assertions in

Secretary Ross’s decision memo, adding a citizenship question is not necessary to provide a

complete and accurate response to DOJ’s request. Nov. 13 Trial Tr. at 1048 (Abowd testimony).

Compare PX-22 at 1 (AR) (Abowd Memo) with PX-26 at 8 (AR) (Ross Decision Memo).




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1479. Acting AAG Gore also acknowledged that a citizenship question on the Decennial Census

questionnaire is not necessary for DOJ’s VRA enforcement efforts. Gore Dep. at 300.

X.     INJURY TO ORGANIZATIONS AND GOVERNMENTAL PLAINTIFFS

1480. The evidence establishes that adding a citizenship question to the Decennial Census will

cause several types of harms to the NGO and Governmental Plaintiffs. Both sets of Plaintiffs will

be forced to devote more resources to a Decennial Census that includes a citizenship question

than they would have done otherwise. Adding a citizenship question will also harm the NGO and

Governmental Plaintiffs in other ways, including by causing a decline in self-reporting leading to

a differential undercount that will cause them to lose political power from malapportioned

legislative districts. Because adding a citizenship question will cause both a differential

undercount and undermine the accuracy of the count, it will also harm the NGO and

Governmental Plaintiffs by reducing federal funding to their communities and distorting

allocation of resources. And adding a citizenship question to the Decennial Census injures the

NGO Plaintiffs’ members by invading their right to privacy.

           A. Organizational Injuries to NGO Plaintiffs

1481. Each NGO Plaintiff has suffered harm as a result of being required to divert resources

from other organizational priorities and spend more money to address the effects of the fear

created by a citizenship question among community members who are less likely to respond to

the Decennial Census questionnaire. See Plum Aff. (Docket No. 498-19) ¶¶ 12-23; Choi Aff.

(Docket No. 489-1) ¶¶ 14-22; Altschuler Aff. (Docket No. 503-1) ¶¶ 7-11; Khalaf Aff. (Docket

No. 498-16) ¶¶ 15-29; Escobar Aff. (Docket No. 498-3) ¶¶ 15-29.

1482. The NGO Plaintiffs have also proved harm to their organizational missions—all of which

include promoting engagement in and representation of immigrant communities of color—as a




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result of a citizenship question. See Plum Aff. ¶¶ 10-13; Choi Aff. ¶¶ 3-9, 14-15; Altschuler Aff.

¶¶ 11-22; Khalaf Aff. ¶¶ 13-16; Escobar Aff. ¶¶ 15, 20-25.

1483. Moreover, as Dr. Abowd testified, a critical component of the Census Bureau’s outreach

to hard-to-count communities is through its “trusted partners” program, which involves non-

profit organizations such as the NGO Plaintiffs. Census Bureau 30(b)(6) Vol I. Dep. at 453, 462;

Nov. 11 Trial Tr. at 1119.

1484. Dr. Abowd admitted that, as demonstrated by the Census Barriers, Attitudes and

Motivators Survey (CBAMS), the macro-environment has created “significant barriers

associated with self-response that may plausibly and credibly be related to a citizenship

question” which has made outreach more difficult for trusted partners such as the NGO

Plaintiffs. Nov. 11 Trial Tr. at 1123; PX-158 (AR); PX-162; PX-448; PX-662.

1485. As Dr. Abowd testified, many of the trusted partners (including the NGO plaintiffs) will

need to spend their own money and resources to address the negative effects of a citizenship

question. Census Bureau 30(b)(6) Vol I. Dep. at 453, 462; Nov. 11 Trial Tr. at 1121-22.

                     1.      NYIC

1486. Plaintiff NYIC, its member organizations, and the communities NYIC serves all have a

fundamental interest in ensuring as complete and accurate a Decennial Census as possible,

principally because an undercount would diminish crucial governmental funding and political

representation to which immigrant communities are entitled. Choi Aff. ¶¶ 6-7.

1487. NYIC has worked to encourage Decennial Census response rates among noncitizens in

prior Decennial Censuses; in the 2010 Decennial Census cycle, NYIC launched an outreach

campaign to boost immigrant participation in the Decennial Census, held press briefings with

elected officials, and coordinated public service announcements in 24 languages that appeared in

69 newspapers. Id. ¶ 9; Plum Aff. ¶ 10.


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1488. NYIC had planned to engage in similar work in the 2020 Decennial Census in mid-2017

before the announcement of a citizenship question. Choi Supp. Aff. (Docket No. 489-2) ¶ 10.

1489. A citizenship question has substantially increased the amount of resources NYIC felt

necessary to devote to the Decennial Census and has already caused NYIC to divert resources

from other program areas to accelerate its Census education and outreach work for the 2020

Decennial Census. Choi Aff. ¶¶ 16-21; Plum Aff. ¶ 14.

1490. NYIC has also shown that fear in its community due to the addition of a citizenship

question will make their efforts to encourage participation of noncitizens in the 2020 Decennial

Census more difficult. Choi Aff. ¶¶ 12-15; Plum Aff. ¶ 13.

1491. NYIC and several of its member organizations have also reported community members

who have expressed reluctance or unwillingness to respond to the 2020 Decennial Census

because of a citizenship question. Plum Aff. ¶¶ 15-21.

1492. Further, NYIC demonstrated that because of the heightened fear and suspicion created by

a citizenship question, it has expanded plans for Census-related services, programming, and

support to try to reduce the negative effect of this question on the response rate in the noncitizen

community. Choi Aff. ¶¶ 17-21; Plum Aff. ¶ 14.

1493. Prior to the decision to add a citizenship question, NYIC did not anticipate having to

commence significant Census education and outreach work until the Summer of 2019. Choi Aff.

¶ 18.

1494. Instead, as a result of the announcement of Secretary Ross’s decision, NYIC had to

accelerate the start of significant Census work to March 2018. Choi Aff. ¶¶ 10, 18; Plum Aff.

¶ 11.




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1495. The decision to add a citizenship question to the 2020 Decennial Census has required

NYIC both to make substantial and additional investments just to achieve Census participation

rates comparable to what NYIC would have achieved absent a citizenship question, Choi Aff. ¶

16; Plum Aff. ¶ 14, and to hire more staff than previously planned, Choi Aff. ¶ 19.

1496. To alleviate fear and confusion caused by a citizenship question among the immigrant

communities that NYIC and its members serve, NYIC has had to begin its Census education and

outreach efforts substantially earlier and engage many more staff, members, and partners than

planned—i.e., in March 2018, instead of in 2019. Choi Aff. ¶ 18.

1497. Prior to the addition of a citizenship question, NYIC had planned to spend approximately

$625,000 on Census education and outreach over a three-year period ahead of the 2020

Decennial Census. Choi Aff. ¶ 16.

1498. Instead, over the next three years and due to a citizenship question’s addition, NYIC is

planning to spend approximately $1 million on community education and outreach efforts to

work towards a complete and accurate count within the communities that NYIC and its member

organizations serve—representing an increase of approximately 60% over what the organization

would have spent in the absence of a citizenship question. Choi Aff. ¶ 16; Plum Aff. ¶ 14.

1499. So far in 2018, as a result of the decision to add a citizenship question, NYIC has spent at

least $93,000 on Census-related activities that it would have not spent otherwise. Choi Aff. ¶ 17;

Plum Aff. ¶ 14.

1500. NYIC anticipates spending an additional amount in excess of $282,000 between now and

May 2020 as a result of a citizenship question. Choi Aff. ¶ 17.

1501. The fear and confusion brought on by the decision to add a citizenship question prompted

NYIC to hire a dedicated, full-time senior Census fellow at a cost of approximately $36,000 in




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the year to date; absent a citizenship question, NYIC would not have hired such a fellow until

2019. Id. ¶ 19.

1502. NYIC also hired multiple paid Census Interns to engage with NYIC’s ongoing

communications, training, and education needs as they related to a citizenship question, at a cost

of nearly $10,000 in the year to date. Id. ¶ 19.

1503. Without a citizenship question, NYIC would not have hired any Census-focused interns,

but now anticipates spending $50,000 on interns through May 2020. Id.

1504. NYIC also expended resources to broaden the reach of the New York Counts 2020

conference to address concerns among NYIC’s members and their communities arising out of

the decision to add a citizenship question, which cost over $19,000—excluding the cost of the

time for organizational staff or the senior Census fellow. Id.

1505. NYIC is also in the process of hiring a full-time manager of democracy policy, an

estimated 40% of whose time through May 2020 will be spent on work generated by a

citizenship question, costing approximately $41,000. Id.

1506. NYIC has also made or anticipates making considerable and additional expenditures for

communications, training, and travel expenses to educate members of the immigrant

communities it serves about the Decennial Census and a citizenship question in particular—it

anticipates these expenditures will total approximately $100,000. Id. ¶ 20.

1507. Because of these increased expenditures and time commitments, NYIC has shown it will

need to divert resources from other mission critical areas including health care, language access,

and employment issues. Plum Aff. ¶ 23.

1508. NYIC diverted and anticipates continuing to have to divert 10% of the staff time from the

organization’s managers of member engagement for the Long Island, Western New York,




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Hudson Valley, and Central New York regions to address concerns related to a citizenship

question, costing approximately $19,000. Choi Aff. ¶ 19.

1509. Since March 2018, NYIC has had to divert approximately 20% of staff time from the

organization’s director of immigration policy to staff work, at a cost of approximately $14,000 to

the organization. Id.

                        2.   Make the Road New York

1510. Plaintiff MRNY has demonstrated an ongoing commitment to promoting engagement in

the Decennial Census among its members and constituents. Altschuler Aff. ¶ 7.

1511. MRNY has worked to encourage Census response rates among noncitizens in prior

Decennial Censuses, worked on census advisory committees, and planned to engage in similar

work in the 2020 Decennial Census before the announcement of a citizenship question. Id.

1512. A citizenship question has increased the amount of resources MRNY felt necessary to

devote to this area and has already caused MRNY to divert resources from other program areas

to accelerate its Census education and outreach work for the 2020 Decennial Census. Id. ¶ 19.

1513. MRNY has also shown that the fear in its community due to the addition of a citizenship

question will make their efforts to encourage participation of noncitizens in the 2020 Decennial

Census more difficult. Id. ¶¶ 13, 19.

1514. MRNY has reported at least six members who have expressed reluctance or unwillingness

to respond to the 2020 Decennial Census because of a citizenship question. Id. ¶¶ 14-17.

1515. Further, MRNY demonstrated that because of the heightened fear and suspicion created

by a citizenship question, they have expanded plans for Census-related services, programming,

and support to try to reduce the negative effect of this question on the response rate in the

noncitizen community. Id. ¶¶ 13, 19.




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1516. Because of the heightened fear and suspicion created by a citizenship question, MRNY

has begun its 2020 Decennial Census outreach earlier than initially anticipated and will be forced

to expend more resources than initially anticipated to try to reduce the negative effect of this

question on the response rate in the immigrant communities of color it serves. Id. ¶ 19.

1517. MRNY anticipates expending at least double the amount on 2020 Decennial Census

education and outreach that the organization spent on its efforts to encourage participation in the

2010 Decennial Census. Id.

1518. To date, far more than a year out from the 2020 Decennial Census, MRNY has already

created a two-page informational sheet for educational purposes, and its communications team

has spent several hours creating and sharing social media content to educate the public and

encourage them to submit public comments on a citizenship question. Id. ¶ 20.

1519. MRNY’s research team has spent approximately 30 hours researching the impact of an

undercount towards the purpose of informing its communications and outreach efforts to its

members about the 2020 Decennial Census. Id.

1520. Additionally, MRNY has organized nearly 30 organizations statewide—and subsequently

nearly twenty organizations on Long Island—to sign onto letters rejecting the proposed

citizenship question and to release a joint media statement once the question was formally

recommended. Id.

1521. Because of the need to increase the time and money spent on Census outreach due to the

addition of a citizenship question, MRNY has diverted and will continue to divert resources from

other areas critical to its mission including civic engagement and providing legal services. Id. ¶

21.




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1522. MRNY’s Director for Civic Engagement and Research has spent at least 50 hours on

Census-related work that he would have otherwise spent on other civic engagement areas of

work, such as voter registration and voter education. Id. ¶ 22.

1523. MRNY has also already diverted resources with regard to its participation in this lawsuit;

the legal director spent approximately ten hours drafting declarations, communicating with the

litigation team, drafting educational materials, fielding questions from the organization, and

communicating with individual MRNY members about the litigation. Id.

                     3.     ADC/ADCRI

1524. Plaintiffs ADC and ADCRI have both shown the importance to their missions of having

Arab-Americans accurately counted in the Decennial Census; both worked to improve Arab-

American response rates in prior Decennial Censuses and ADC served on Census advisory

committees, and both planned to engage in similar work for the 2020 Decennial Census even

before the announcement of a citizenship question. Khalaf Aff. ¶¶ 13-15.

1525. The announcement of a citizenship question changed the amount of resources both

organizations felt necessary to devote to Census outreach. Id. ¶¶ 15-16.

1526. ADC and ADCRI have also shown that the fear in their community due to the addition of

a citizenship question will make their efforts to encourage participation of Arab-Americans more

difficult—fear documented through forums held in different parts of the country and

conversations with active members and manifested in an increased reluctance to respond to the

2020 Decennial Census. Id. ¶¶ 17-22, 28.

1527. This increased level of fear and likelihood that more Arab Americans will not respond to

the Decennial Census harms the organizational missions of ADC and ADCRI of promoting a

stronger voice for Arab Americans. Id. ¶¶ 6-12.




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1528. Further, ADC and ADCRI demonstrated that because of the heightened fear and suspicion

created by a citizenship question, they have expanded plans for Census-related services,

programming, and support to try to reduce the negative effect of this question on the response

rate in the Arab-American community. Id. ¶¶ 23-28.

1529. Specifically, they are holding public forums, panels and community symposiums, working

in coalition with partner organizations, conducting training for Census enumerators, running

advertisements encouraging participation, holding a strategy symposium, and held a panel

addressing the Census and citizenship question at the 2018 annual national convention. Id. ¶¶ 25-

27.

1530. In total between them, ADC and ADCRI anticipate spending at least $150,000 more on

2020 Decennial Census education and outreach than the organizations spent on its efforts to

encourage participation in the 2010 Decennial Census as a result largely as a result of the

presence of a citizenship question. Id. ¶ 28.

1531. Because of these increased expenditures and time commitments, ADC and ADCRI have

shown they will need to divert resources from other mission critical areas including organizing,

issue advocacy efforts and educational initiatives. Id. ¶ 29.

1532. Additionally, ADC will need to divert resources from its legal work to Census related

matters, resulting in less money to use towards assisting victims of hate crimes and providing pro

bono legal services. Id.

                     4.      CASA

1533. CASA has a long-held commitment to promoting engagement of its members,

constituents, and the communities it serves in the Decennial Census as a core part of its mission

to increase the political power of low-income immigrant communities; a commitment it has




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shown through 30 years of outreach including door-to-door efforts, group education sessions,

and media campaigns. Escobar Aff. ¶¶ 7-9.

1534. The announcement of the addition of a citizenship question to the 2020 Decennial Census

has caused CASA to divert its limited resources to try to address the likely negative impact of the

question in the communities it serves. Id. ¶ 15.

1535. The likelihood of lower response rates in its community due to a citizenship question also

directly harms CASA’s organizational mission of increasing the political voice of immigrant

communities. Id. ¶¶ 7, 15, 25.

1536. CASA has conducted additional outreach because of the tremendous level of fear and

greater unwillingness of its constituents to respond to the Decennial Census due to a citizenship

question in the context of other policies from the Trump Administration targeting them. Id. ¶¶

16-24.

1537. CASA’s substantial effort to address the negative effects of a citizenship question and

increase community participation in the Decennial Census includes conducting neighborhood

meetings, rolling Census education into “Get Out The Vote” activities, and reorganizing its

communications team and staff to address the barriers posed by the addition of the question. Id.

¶¶ 25-28

1538. These increased efforts have caused CASA to divert both personnel and monetary

resources from other organizational priorities to address the addition of a citizenship question. Id.

¶¶ 26, 29.

         B. Organizational Injuries to Governmental Plaintiffs

1539. Similarly, as Dr. Abowd testified, local and state governments are a critical component of

the Census Bureau’s outreach to hard-to-count communities through its “trusted partners”




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program. Dr. Abowd specifically cited the City of New York’s work at the local level as a

“trusted voice to indicate that it’s safe to answer the question.” Nov. 14 Trial Tr. at 1121:1-7.

1540. The governmental plaintiffs have demonstrated that they have or will expend additional

resources to mitigate the adverse effects of a citizenship question on response rates. For example,

the governmental plaintiffs introduced evidence—uncontroverted by Defendants—about the

recent mitigation efforts of New York City and Chicago that indicate that governmental plaintiffs

generally have or intend to devote substantial resources and personnel to respond to the impacts

of a citizenship question. For example, in stark contrast to past Decennial Censuses, New York

City has dramatically expanded its efforts to encourage its residents to participate in the 2020

Census. Nov. 6 Trial Tr. at 317-321.

1541. Dr. Salvo—who serves as the Director of the Population Division at the New York City

Department of City Planning—testified that because of reluctance in some communities to

complete the Decennial Census questionnaire because of a citizenship question, the City has

taken concrete steps to encourage participation. Nov. 6. Trial Tr. at 319, 430. These efforts

include the City creating a specially-designated census office for the first time, staffed with at

least 15 employees, who will help to encourage participation in the census. Id.

1542. In addition, the Plaintiffs offered undisputed evidence that New York City is budgeting

$5.5 million for the 2020 Decennial Census, whereas it did not have any specialized budget for

outreach in 2010 or 2000. Id. at 429-431. The City budgeted $4.3 million of this total after DOJ

made its request to add a citizenship question to the 2020 Decennial Census in December 2017;

after Defendants announced their plans to add a citizenship question to the 2020 Decennial

Census, and in response to that decision, New York City increased its budget for census outreach

efforts by approximately $1.2 million dollars. Id. at 427-29.




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1543. These unprecedented outreach efforts, and concomitant expenditures of time and

resources resulted, in significant part, from New York City’s concern about the impact that a

citizenship question will have on the quality of the data collected during the 2020 Decennial

Census. Id. at 359-61, 427-31.

1544. Likewise, because of the citizenship question, the City of Chicago anticipates the need to

allocate additional resources and staff to encourage Chicagoans to participate in the 2020

Decennial Census. Rodriguez Aff. (Docket No. 488-1) ¶¶ 7, 10, 12, 13. A recently-introduced

City Council resolution specifically designates funds for specialized outreach to immigrant

communities in light of the citizenship question. See id. ¶ 12; Garcia Aff. (Docket No. 498-9)

¶¶ 14-15 (discussing efforts to allocate additional resources to countermand the impact of the

citizenship question on immigrant communities); PX-243 (Cook County resolution to

“Establishing an Emergency Fund to Address the Citizenship Question in the 2020 Census”);

PX-246 (Chicago City Council resolution to establish a $500,000 “emergency fund to address a

citizenship question in the 2020 census” in order to “conduct specialized outreach to immigrant

communities in the City of Chicago”).

1545. In light of the Census Bureau’s own recognition that the addition of a citizenship question

will depress self-response rates among Hispanic and immigrant communities, see infra, both

state and local governmental plaintiffs will be called upon to mitigate the anticipated harm

stemming from those depressed response rates, and many, as the examples of New York City

and Chicago demonstrate, are already devoting considerable resources to that effort. Such

expenditures directly constitute injury to the governmental plaintiffs.




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           C. Injuries Stemming from Undercount

1546. The evidence shows that the addition of a citizenship question to the Decennial Census

will cause a differential undercount of certain persons that will lead to several distinct types of

injuries for plaintiffs. First, the citizenship question will cause the malapportionment of federal

and state legislative districts, diminishing the political power of the Governmental Plaintiffs and

the members of the NGO Plaintiffs that reside in impacted federal, state, and local districts.

Second, the citizenship question will cause a loss of federal funds that will harm the NGO and

Governmental Plaintiffs alike.

               1.      Apportionment and Political Power

1547. Dr. Christopher Warshaw has a Ph.D. in Political Science from Stanford University,

where his graduate training included courses in political science and statistics. Dr. Warsaw also

has a J.D. from Stanford Law School. His academic research focuses on public opinion based on

surveys and census data, as well as the study of representation, elections, and polarization in

American Politics. He has also taught courses on statistical analysis. Dr. Warshaw has

published or forthcoming articles in peer-reviewed journals such as: the American Political

Science Review, the American Journal of Political Science, the Journal of Politics, Political

Analysis, Political Science Research and Methods, the British Journal of Political Science,

Political Behavior, the Election Law Journal, Nature Energy, Public Choice, and edited volumes

from Cambridge University Press and Oxford University Press. He is also on the Editorial Board

of the Journal of Politics. Warshaw Aff. (Docket No. 526) ¶¶ 2-5.

1548. Dr. Christopher Warshaw is qualified to be an expert witness in this case to provide expert

opinions on population projections, apportionment, redistricting, the impact of redistricting on

awards for government funding, and generally statistics and political science. It further finds his

methodology reliable and his opinions helpful to the Court’s fact-finding role.


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1549. Dr. Warshaw calculated the likely population for each state and for a number of local

jurisdictions in 2020 when the Decennial Census is conducted.

           a. The jurisdictions are: Phoenix, AZ; Los Angeles County, CA; Monterey County,

               CA; San Francisco, CA; Miami, FL; Chicago, IL; Prince Georges County, MD;

               New York NY; Columbus, OH; Philadelphia, PA; Pittsburgh, PA; Central Falls,

               RI; Providence, RI; Cameron County, TX; El Paso County, TX; Hidalgo County,

               TX; and Seattle, WA. Warshaw Aff. Table 2, p.8, Table 3, p.9.

           b. Defendants provided no evidence disputing those population projections.

1550. Dr .Warshaw’s testimony about population projections for the 2020 population supports a

conclusion that the population projections reflected in Tables 2 and 3 of his Affidavit are

reasonable and reliable. Warshaw Aff. ¶¶ 18-22. Nov. 13 Trial Tr. at 872:5-25, 873:1-4.

1551. Apportionment of the 435 Congressional House of Representatives seats is done through

the Method of Equal Proportions, which was adopted by Congress in 1941. Warshaw Aff. ¶ 43.

1552. Based on Dr. Warshaw’s testimony, it is well established in the political science research

that jurisdictions in the area of a state that were underrepresented in state legislatures or

Congress due to malapportionment received substantially lower shares of distributive funding.

Warshaw Aff. ¶ 49 (citing PX-325, PX-326).

1553. Using the apportionment method and his population projections, Dr. Warshaw analyzed

the likely population and the Census counts for each state in 2020 if there is an 5.8% undercount

of individuals in households with at least one non-citizen and determined that the impact on the

Census population counts caused by this undercount would cause the State of California to lose a

congressional seat that it will not lose otherwise. Warshaw Aff. Table 6, pg. 23, ¶¶ 42-46. Dr.

Warshaw determined that under this scenario, the State of California would suffer a 1.7%




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decrease in its projected census population count, creating a very high probability that the

California would lose a congressional seat that it would not lose otherwise. Warshaw Aff. Table

6, pg. 23, ¶¶ 42-45, 46, 62(a).

1554. As explained, there is a substantial risk that the addition of a citizenship question will

cause an undercount of at least 5.8% of individuals in households with at least one non-citizen.

See PFOF ¶¶ 1344-1363, 1347, 1349, 1352, 1353, 1355, 1356. Therefore, on the basis of the

calculations reflected in Table 6 presented in Dr. Warshaw’s testimony and his related

explanation of that data, it is more likely than not that the addition of a citizenship question will

cause California to lose a congressional seat that it would not have otherwise lost. Warshaw Aff.

¶¶ 46, 47, 48, 62(a).

1555. Plaintiff ADC has active chapters with members residing in California. Khalaf Aff. ¶ 8.

Specifically, ADC has 1,296 dues paying members in California. Id. ¶ 35.

1556. All of the members of ADC who reside in California will lose political power as a result

of this loss of a Congressional seat. Additionally, Governmental Plaintiffs City and County of

San Francisco, and County of Monterey will also lose political power if California loses a

Congressional seat. Relying on Dr. Warshaw’s testimony that it is a well-established fact of

political science research that the loss of political power causes injury, this loss of political

power due to a loss of a seat in Congress will injure the Governmental Plaintiffs in California

and the ADC members who reside in California. Warshaw Aff. ¶ 49 (citing PX-325, PX-326).

1557. Using the apportionment method and his population projections, Dr. Warshaw analyzed

the likely population and Decennial Census counts for each state in 2020 if there is a 5.8%

undercount of individuals living in noncitizen households and Hispanic individuals, and

determined that the impact on the Census population counts caused by this undercount of both




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these subpopulations would more likely than not cause the State of Texas, in addition to

California, to lose a congressional seat that it will not lose otherwise. Warshaw Aff. Table 6 p.

20, ¶¶ 42-45, 46, 47, 48, 62(a).

1558. As explained, there is a substantial risk that the addition of a citizenship question will

cause an undercount of at least 5.8% of individuals in households with at least one non-citizen

and Hispanic individuals. See PFOF ¶¶ 1344-1363, 1347, 1349, 1352, 1353, 1355, 1356.

Therefore, on the basis of the calculations reflected in Table 6 presented in Dr. Warshaw’s

testimony and his related explanation of that data, it is more likely than not that the addition of a

citizenship question to the Decennial Census will cause Texas to lose a congressional seat that it

would not have otherwise lost. Warshaw Aff. Table 6 p. 20, ¶¶ 46, 47, 48, 62(a).

1559. Plaintiff ADC has active chapters with members residing in Texas. Khalaf Aff. ¶ 8.

Specifically, ADC has 408 dues paying members who reside in Texas. All of the members of

ADC who reside in Texas will lose political power as a result of the loss of this Congressional

seat. Additionally, Governmental Plaintiffs Cameron County, El Paso County, and Hidalgo

County, Texas will also lose political power if Texas loses a Congressional seat. Relying on Dr.

Warshaw’s testimony that it is a well-established fact of political science research, this loss of

political power due to the loss of a seat in Congress will injure the Governmental Plaintiffs in

Texas and the ADC members who reside in Texas. Warshaw Aff. ¶ 49 (citing PX-325, PX-326).

1560. Using the apportionment method and his population projections, Dr. Warshaw analyzed

the likely population Decennial Census counts for each state in 2020 if there is an undercount of

foreign-born and Hispanic individuals equivalent to the non-response observed in Dr. Barreto’s

survey results, see, e.g., PFOF ¶ 1357, and determined that the impact on the Decennial Census

population counts caused by this undercount of these subpopulations would cause the State of




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Florida, in addition to California and Texas, to lose a congressional seat that it will not lose

otherwise. Warshaw Aff. Table 6 p. 20, ¶¶ 42-45, 46, 47, 48, 62(a).

1561. Plaintiff ADC has active chapters with members residing in Florida. Khalaf Aff. ¶ 8.

Specifically, ADC has 551 dues paying members who reside in Florida. Khalaf Aff. ¶ 35. Under

this scenario, all of the members of ADC who reside in Florida will lose political power as a

result of the loss of this Congressional seat. Relying on Dr. Warshaw’s testimony that it is a

well-established fact of political science research, this loss of political power due to the loss of a

seat in Congress would injure the ADC members who reside in Florida. Warshaw Aff. ¶ 49

(citing PX-325, PX-326).

1562. In addition to these interstate impacts, Dr. Warshaw also examined the impact of a

citizenship question on intrastate redistricting. Dr. Warshaw’s analysis shows that even a 2%

undercount of only individuals who live in non-citizen households would lower the population

enumeration of Phoenix, AZ; Los Angeles, CA; Monterey County, CA; Miami, FL; Chicago, IL;

Prince George’s County, MD; New York NY; Columbus, OH; Philadelphia, PA; Pittsburgh, PA;

Central Falls, RI; Providence, RI; Cameron County, TX; El Paso County, TX; Hidalgo County,

TX; and Seattle, WA, thereby lowering each areas’ share of its state population. Warshaw Aff.

Table 7, p. 26, Table 8 p. 28, ¶¶ 53, 54, 55, 57, 58, 59.

1563. As explained, there is a substantial risk that the addition of a citizenship question will

cause an undercount of at least 2% of individuals in households with at least one non-citizen. See

PFOF ¶¶ 1359-1362. Therefore, based on the calculations reflected in Table 8 presented in Dr.

Warshaw’s testimony and his related explanation of that data, it is more likely than not that the

addition of a citizenship question to the Decennial Census will lower the population counts for

Phoenix, AZ; Los Angeles, CA; Monterey County, CA; Miami, FL; Chicago, IL; Prince Georges




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County, MD; New York, NY; Columbus, OH; Philadelphia, PA; Pittsburgh, PA; Central Falls,

RI; Providence, RI; Cameron County, TX; El Paso County, TX; Hidalgo County, TX; and

Seattle, WA, and this in turn will lower each jurisdiction’s share of its state population. Warshaw

Aff. Table 7, p. 26, Table 8 p. 28, ¶¶ 50, 53, 54, 55, 57, 58, 59.

1564. Dr. Warshaw’s analysis also shows that a 2% undercount of individuals who live in non-

citizen households and Hispanics would lower the population enumeration of Phoenix, AZ; Los

Angeles, CA; San Francisco, CA; Monterey County, CA; Miami, FL; Chicago, IL; Prince

George’s County, MD; New York, NY; Columbus, OH; Philadelphia, PA; Pittsburgh, PA;

Central Falls, RI; Providence, RI; Cameron County, TX; El Paso County, TX; Hidalgo County,

TX; and Seattle, WA, thereby lowering most of these areas’ share of their state population.

Warshaw Aff. Table 7, p. 26, Table 8 p. 28, ¶¶ 53, 54, 55, 57, 58, 59.

1565. As explained, there is a substantial risk that the addition of a citizenship question will

cause an undercount of at least 2% of individuals in households with at least one non-citizen and

Hispanics. See PFOF ¶¶ 1359-1362. Therefore, based on the calculations reflected in Table 8

presented in Dr. Warshaw’s testimony and his related explanation of that data, it is more likely

than not that the addition of a citizenship question to the Decennial Census will lower the

population counts for Phoenix, AZ; Los Angeles, CA; San Francisco, CA; Monterey County,

CA; Miami, FL; Chicago, IL; Prince Georges County, MD; New York NY; Columbus, OH;

Philadelphia, PA; Pittsburgh, PA; Central Falls, RI; Providence, RI; Cameron County, TX; El

Paso County, TX; Hidalgo County, TX; and Seattle, WA, and this in turn will lower most of

these jurisdictions’ share of their state population. Warshaw Aff. Table 7, p. 26, Table 8 p. 28, ¶¶

50, 53, 54, 55, 57, 58, 59.




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1566. Dr. Warshaw notes the reductions in share of their state’s population caused by these

undercounts are particularly pronounced for Plaintiffs Central Falls and Providence, Rhode

Island; Cameron, Hidalgo, and El Paso County, Texas, and Phoenix, Arizona and New York

City. Warshaw Aff. ¶¶ 54, 55.

1567. Based on Dr. Warshaw’s testimony that it is a well-established fact of political science

research, these lower population enumerations caused by the addition of a citizenship question

will lead to the dilution of the voting power of these jurisdictions and the individuals who reside

in them because it will result in decreased representation in state legislatures, which is a loss of

intrastate voting power. Warshaw Aff. ¶¶ 51, 54, 57 (citing PX 326), Nov. 13 Trial Tr. at 870:1-

14.

1568. When state legislatures use population enumerations reflecting fewer people than a place

actually has, this means that the area has lost representation. Warshaw Aff. ¶ 57.

1569. This loss of political power is highly likely because the reasonable assumption is that state

governments will not consciously try to remedy any undercounts when they redistrict absent

some specific assertion that they would. Warshaw Aff. ¶ 52.

1570. This loss of political power will result in less distributive government spending to these

locations and the individuals who reside in them, and this will cause injury to these locations.

Warshaw Aff. ¶ 57 (citing PX-326).

1571. It is, therefore, more probable than not that the Plaintiff cities of Phoenix, Chicago, New

York, Columbus, Philadelphia, Pittsburgh, Central Fall, Providence and Seattle, and the Plaintiff

Counties of Monterey County, CA; Cameron County, El Paso County, and Hidalgo County will

be injured by this population undercount of individuals who live in non-citizen households

caused by the addition of a citizenship question. Additionally, it is more probable than not that




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the Plaintiff City of San Francisco will be injured by this population undercount of individuals

who live in non-citizen households and Hispanics caused by the addition of a citizenship

question.

1572. Plaintiff ADC has active chapters with members residing in Phoenix, Arizona, Los

Angeles, California, Miami, Florida, and New York, New York. Khalaf Aff. ¶ 8. Also Plaintiff

ADC has dues paying members who live in Los Angeles County, California; New York, New

York; Miami, Florida; Prince George’s County, Maryland; Phoenix, Arizona; and Chicago,

Illinois. Khalaf Aff. ¶ 5.

1573. Plaintiff MRNY has 23,000 members who reside in New York City, Nassau County,

Suffolk County and Westchester County. Altschuler Aff. ¶ 4. Some of these members live in

New York City, New York. Id. at ¶¶ 25, 26, 27, 28, 29, 30 (describing MRNY members who live

in New York City in Queen County, King County, the Bronx and Brooklyn); Altshuler Supp.

Aff. (Docket No. 503-3) ¶¶ 15, 16, 17-18, 19, 20 (describing the same).

1574. CASA has 32,000 members who reside in Prince George’s County. George Escobar Aff. ¶

14.

1575. It is more probable than not that Plaintiffs ADC, MRNY and CASA’s members who

reside in Los Angeles County, California; New York, New York; Miami, Florida; Prince

George’s County, Maryland; Phoenix, Arizona; and Chicago, Illinois will be injured by the

dilution of the voting power caused by these lower population enumerations resulting from the

addition of a citizenship question. Warshaw Aff. ¶¶ 51, 54, 57 (citing PX-326).

1576. Nearly all the Local Governmental Plaintiffs will experience vote dilution as a result of

even small levels of undercounting caused by the addition of a citizenship question.




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1577. For example, Plaintiff the City of New York is substantially likely to be injured by the

undercount in the Decennial Census caused by the addition of a citizenship question. New York

State has been required since 1969 by its Constitution to base legislative redistricting on the

whole number of persons as reported in the Decennial Census. There is no other source for a

count of the whole number of persons at the block level. New York State would not have the

resources or expertise to substitute its own efforts for those of the Census Bureau. Breitbart Aff.

¶ 4.

1578. In New York State, there is a strong tendency for minority-group voting-age citizens to be

concentrated in the same congressional districts as non-citizens. The five congressional districts

in New York State in which non-citizens constitute the highest percentages of the total

population are, in descending order: CD 14 (population 25.11% non-citizen), where 68.40% of

the citizens of voting-age are members of minority groups; CD 6 (population 21.20% non-

citizen), where 55.73% of the citizens of voting-age are members of minority groups; CD 15

(population 21.08% non-citizen), where 96.58% of the citizens of voting-age are members of

minority groups; CD 7 (population 20.04% non-citizen), where 64.80% of the citizens of voting-

age are members of minority groups; and CD 13 (population 19.23% non-citizen), where 82.74%

of the citizens of voting age are members of minority groups. Breitbart Aff. ¶ 10. All five of

these congressional districts are located entirely in New York City. An undercount differentially

affecting non-citizens would dilute the voting power of those districts, and would be very likely

to lead to less distributive spending to those districts. Warshaw Aff. ¶ 57 (citing PX-326).

1579. In contrast, the five congressional districts in which noncitizens constitute the lowest

percentages of the total population are, in ascending order: CD 27 (population 1.34% non-

citizen), where 6.49% of the citizens of voting-age are members of minority groups; CD 21




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(population 1.59% non-citizen), where 8.23% of the citizens of voting age are members of

minority groups; CD 23 (population 2.22% non-citizen), where 8.51% of the citizens of voting-

age are members of minority groups; CD 22 (population 2.33% non-citizen), where 8.82% of the

citizens of voting-age are members of minority groups; and CD 24 (population 2.70% non-

citizen), where 13.28% of the citizens of voting age are members of minority groups. No part of

these congressional districts is located in New York City.

1580. In the total population estimates created by the Census Bureau with the 2012-16 five-year

ACS estimates, New York State has a total population of 19,697,457, and New York City has a

total population of 8,461,961—42.96% of the state total. New York State is estimated to have a

non-citizen population of 2,020,397, and New York City is estimated to have a non-citizen

population of 1,438,215. Thus, non-citizens are estimated to constitute 10.26% of the state

population, 17.00% of the New York City population, and 5.18% of the total population of the

57 counties outside of New York City. New York City, with 42.96% of the total state population,

has 71.18% of the non-citizen population, while the other 57 Counties, with 57.04% of the total

state population, have 28.82% of the non-citizen population. Breitbart Aff. ¶ 12. An undercount

differentially affecting non-citizens would dilute the voting power of New York City, and would

be very likely to lead to less distributive spending to New York City. Warshaw Aff. ¶ 57 (citing

PX-326), Nov. 13 Trial Tr. at 871:9-14.

1581. As explained, there is a substantial risk that a citizenship question will cause an

undercount of non-citizens. Given that non-citizens in New York State are heavily concentrated

in New York City, it is likely that the voting power of the City will be adversely impacted by the

addition of a citizenship question.




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1582. Within New York City, moreover, Dr. Salvo testified that there are neighborhoods with

large concentrations of immigrants and Hispanics that are vulnerable to the impact of citizenship

question on the 2020 Decennial Census. Nov. 6 Trial Tr. at 376:3-11. These neighborhoods are

at risk of undercounting, while other neighborhoods, with predominantly white populations, are

likely to be overcounted. Nov. 6 Trial Tr. at 407:14-408:8. These differential undercounts at the

neighborhood level can lead to vote dilution for particular communities compared to others.

Nov. 6 Trial Tr. at 417:21-418:20.

1583. As noted above, Dr. Warshaw found that even under a 2% undercount of non-citizens and

Hispanics, several Plaintiff jurisdictions, including the El Paso, Cameron and Hidalgo Counties,

are at risk of losing over 1% of their share of their state’s population. Warshaw Aff. Table 8, p.

28. Central Falls and Providence, Rhode Island will experience significant decreases in the share

of Rhode Island’s population with an undercount of non-citizens, alone. Id.

1584. In addition to the injury caused by the loss of political power that nearly all the Local

Governmental Plaintiffs will experience as a result of undercounting caused by the addition of a

citizenship question, nearly every State Governmental Plaintiff will struggle to distribute voting

power equitably during the next redistricting cycle because of the poor quality of the data

collected through the 2020 Decennial Census. Dr. Warshaw found that a citizenship question

would have the most substantial impact in large metropolitan counties with major cities.

Warshaw Aff. ¶ 61. Specifically, he found that the undercount in these areas would result in a

reduction of their share of the overall population, while increasing the share of rural areas. Id.

This “would reduce the representation of urban counties, and increase the voting power of rural

counties.” Id. As a result, nearly every State Governmental Plaintiff will struggle to distribute




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voting power equitably during the next redistricting cycle, as required by the one person one vote

rule.

1585. For example, Plaintiff the Commonwealth of Virginia relies exclusively on tabulations of

the population produced by the Census Bureau from the Decennial Census to establish legislative

districts, and is required by the Constitution of Virginia to do so. Lucyk Aff. (Docket No. 506-1)

¶ 5.

1586. As of 2016, the total foreign-born population in Virginia was 1.031 million people, or

over 12% of the population. Of this number, only about 45% of the population statewide were

naturalized citizens. Thus, the majority of Virginia's foreign-born residents are non-citizens.

Lucyk Aff. ¶ 8.

1587. Foreign-born residents are not evenly distributed throughout Virginia. For instance, based

on 2010 Decennial Census data, the Northern Virginia region planning district, has 561,718

foreign-born persons, or roughly 64% of the entire immigrant population in Virginia. The

Richmond region planning district has 77,951 foreign-born residents, or 9% of the state total,

while the Tidewater region planning district has 71,130, or 8% of the state total. By contrast, the

very rural Southside and Southwest region planning districts have between one tenth and one

half of one percent of the total immigrant population, while the also rural Upper Shenandoah

Valley and Roanoke Valley region planning districts are home to 0.7 % to 1.5% of the foreign-

born population. Lucyk Aff. ¶ 9.

1588. A differential undercount of non-citizens and foreign-born residents of Virginia in the

2020 Decennial Census would—due to the significantly higher numbers of noncitizens residing

in the Northern Virginia region, as well as the Richmond and Tidewater regions—mean that

these regions will likely lose representation in the Virginia General Assembly, while other, more




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rural parts of the Commonwealth with fewer noncitizen residents would have greater

representation in the General Assembly. Lucyk Aff. ¶ 10.

               2.     Impact of Undercount on Federal Funding

1589. Dr. Andrew Reamer is an expert in how census data influence federal financial assistance

programs. Reamer Aff. (Docket No. 508-1) ¶ 8.

1590. A research professor in the George Washington Institute of Public Policy (GWIPP) at

George Washington University, Dr. Reamer previously spent six years at the Brookings

Institution’s Metropolitan Policy Program and 20 years as a consultant in U.S. regional economic

development and public policy, helping ensure the commencement and continued existence of

the American Community Survey (ACS). Id. ¶¶ 2-3.

1591. Throughout his career, Dr. Reamer prepared strategic analyses and plans that relied

heavily on federal demographic and economic statistics including his current research project

“Counting for Dollars 2020: The Role of the Decennial Census in the Geographic Distribution of

Federal Funds.” Id. ¶ 4.

1592. Prior to the 2010 Decennial Census, Dr. Reamer published a Counting for Dollars study

that identified Census-guided federal financial assistance programs and calculated FY2008

funding flows by program to states, metro areas, and counties. Id. ¶ 5.

1593. Dr. Reamer received a Ph.D. in Economic Development and Public Policy and a Master of

City Planning from the Massachusetts Institute of Technology and a Bachelor of Science in

Economics from the Wharton School, University of Pennsylvania. Id. ¶ 6.

1594. Dr. Reamer is a member of several federal advisory committees—the Bureau of Economic

Analysis (BEA) Advisory Committee, which is part of the Commerce Department, as well as

the U.S. Bureau of Labor Statistics (BLS) Data Users Advisory Committee (former chair) and




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the Workforce Information Advisory Council, both of which are part of the Department of

Labor. Id. ¶ 7.

1595. Based on his education, experience, and knowledge, Dr. Reamer possesses the

qualifications to offer expert opinions in the area of how census survey results influence federal

financial assistance program funds distribution.

1596. Dr. Reamer’s opinions are reliable and helpful to the Court in rendering its decision as it

concerns Plaintiffs’ standing based on loss of federal funding.

1597. Plaintiffs have demonstrated the likely undercount of noncitizen households and

Hispanics, see PFOF VIII, this disparate undercount will harm a number of states and their

residents due to that undercount’s effect on a number of federal domestic financial assistance

programs with census-tied geographic allocation formulas. Reamer Aff. ¶¶ 15-17, 83.

1598. Because Census data influence a large number of federal financial assistance programs, an

undercount in the Decennial Census among non citizens, the foreign born, and Hispanics will

lead to measurable fiscal losses for states with population percentages of these subgroups that are

above the nationwide average. Id. ¶ 18.

1599. A significant portion of federal domestic financial assistance is distributed on the basis of

statistics derived from the Decennial Census, including at least 320 federal domestic assistance

programs that use census derived data and distributed about $900 billion in FY2016. Id. ¶ 9.

1600. Specifically, Dr. Reamer identified and analyzed almost two-dozen federal financial

assistance programs with funding formulas that allocate federal funds geographically in a manner

dependent in part or whole on Decennial Census results. Id. ¶ 10; PX-329.

1601. Eighteen of these programs are “state-share” programs, in that they rely in whole or part

on state share of a U.S. population total. Reamer Aff. ¶¶ 16-17. The relevant state-share




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programs are as follows: Federal Transit Formula Grants, Community Block Development

Grants/Entitlement Grants, Crime Victim Assistance, Title I Grants to Local Educational

Authorities (LEAs), Special Education Grants, Head Start, Supplemental Nutrition Program for

Women, Infants, and Children (WIC), Child Care and Development Block Grant, Supporting

Effective Instruction State Grants, WIOA Youth Activities, Rehabilitation Services: Vocational

Rehabilitation Grants to the States, Unemployment Insurance administrative costs, Block Grants

for Prevention and Treatment of Substance Abuse, Social Services Block Grants, Career and

Technical Education—Basic Grants to States, WIOA Disclosed Worker Formula Grants, Special

Programs for the Aging, Title III, Part C, Nutrition Services. PX-329.

1602. The remaining six programs Dr. Reamer identified use the Federal Medical Assistance

Percentage (FMAP) reimbursement formula. Reamer Aff. ¶¶ 16-17. The relevant FMAP

programs are: Medical Assistance Program (traditional Medicaid), State Children’s Health

Insurance Program (CHIP), Foster and Child Care, Adoption Assistance, and Medicare Part D

Clawback. PX-329.

1603. Because the Decennial Census is carried out once a decade and collects data on a small

number of demographic characteristics, Congress authorized a series of more current and

descriptive census derived datasets for use in funding formulas. Reamer Aff. ¶ 23.

1604. Of particular note, the Census Bureau constructs annual Population Estimates and

Housing Estimates by augmenting decennial population and housing numbers with more recent

data, primarily from vital statistics and tax records. Id. ¶ 26.

1605. While a number of these programs use the Population Estimates datasets directly, many

also use other datasets derived from Population Estimates, including Per Capita Income (PCI).

Id. ¶ 27.




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1606. Additionally, the Census Bureau relies on the Decennial Census in several different ways

to design and implement the American Community Survey (ACS), the Current Population

Survey, and the Consumer Expenditure Survey. Id. ¶ 28.

1607. Therefore, programs that use funding formulas reliant on these surveys are also sensitive

to undercounts in the Decennial Census. Id. ¶¶ 30-31.

1608. There is a strong, direct relationship between the accuracy of the Decennial Census and

the reliability all of these datasets and surveys such that Decennial Census data is an essential

ingredient to their accuracy and reliability. Id. ¶ 11; Nov. 7 Trial Tr. at 514-17.

1609. Using five of these programs as examples, Dr. Reamer performed calculations using a

series of seven potential undercount figures due to the addition of a citizenship question of

individuals living in noncitizen households, these individuals and Hispanics, and Hispanics and

foreign-born individuals, which he applied to 2020 population projections by state. Reamer Aff.

¶¶ 13-15, 32-33.

1610. Dr. Reamer’s analysis shows that the magnitude of the impact varies greatly across states

depending on the nature of the undercount, but that numerous states and programs will be

negatively impacted if the addition of a citizenship question causes any measurable undercount

of individuals living in non-citizen households relative to the population as a whole. Id. ¶¶ 15-

19.

1611. Specifically, for the eighteen state-share programs identified—as Dr. Reamer

demonstrated with the WIC, Social Services Block Grants, and Title I Grants to LEAs

programs—New York, California, Texas, Florida, New Jersey, Nevada, and Hawaii will lose

population share and thus funding under these programs if there is an undercount caused by the




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addition of a citizenship question of individuals living in non-citizen households of least 2

percent. Id. ¶¶ 46-47, 51-52, 61-62.

1612. In fact, these states would lose funding for these programs based on any measurable

undercount of non-citizens, as well as of non-citizens plus Hispanics. Id. ¶¶ 19, 83; Nov. 7 Trial

Tr. at 518-19.

1613. Additionally, for the six FMAP programs, Texas, Florida, Nevada, Hawaii, and Arizona

would see relatively large decreases in their FMAP due to the population share that each state

would lose as a result of any measurable undercount of individuals living in non-citizen

households. Reamer Aff. ¶¶ 70, 71, 81; Nov. 7 Trial Tr. at 518-19.

1614. This would make calculated reimbursement levels fall for these states due to the lower

FMAP, causing these states to lose funding for these programs. Reamer Aff. ¶ 17.

1615. Therefore, these states—New York, California, Texas, Florida, New Jersey, Nevada, and

Hawaii for state-share programs, and Texas, Florida, Nevada, Arizona, and Hawaii for FMAP

programs—and their residents will suffer a loss of federal funding and will be harmed if a

citizenship question is added. Id. ¶¶ 70-71, 81-82.

1616. It is possible that New Mexico, Washington, Maryland, Massachusetts, Connecticut,

Oregon, Illinois, and Georgia may also lose funding under some or all of these programs as a

result of the undercount of non-citizens households, Hispanics and foreign-born residents caused

by a citizenship question. Id.

                           a. Financial Harm to NGO Plaintiffs

1617. Plaintiff ADC has demonstrated that it has individual members who live in all fifty states,

including the states described above that will be negatively impacted regarding funding, and has

identified individual members by name living in California, New York, Florida, Texas, and New

Jersey. Khalaf Aff. ¶¶ 30-31.


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1618. Although their residence in these states is enough to cause them to be harmed due to

federal funding losses to their states, ADC has also shown that its some of its members directly

rely upon affected programs such as Title I educational funds that a citizenship question will

negatively affect in the states where they live. Id. ¶ 36.

1619. As for Plaintiff MRNY, it has 23,000 members residing in New York City, Nassau

County, Suffolk County, and Westchester County, New York, including several specific

members living in New York who will be harmed by the loss of funding to the state due to an

undercount caused by a citizenship question. Altschuler Aff. ¶¶ 4, 23-30.

1620. Several individual MRNY members have also demonstrated reliance on Title I

educational funds and Head Start funding due to their children attending schools and programs

that receive such funding, and thus will be directly harmed when New York loses funding for

this program due to an undercount. Id. ¶¶ 25-28.

1621. Plaintiff CASA has more than 90,000 members in the Mid-Atlantic including in Maryland

(including Prince George’s County and the City of Baltimore), Virginia, and Pennsylvania.

Escobar Aff. ¶ 4.

1622. CASA assists many of its members who use census-related funding programs including

Supplemental Nutritional Assistance Program (SNAP), which provides food assistance to low-

income residents and the Special Supplemental Nutrition Program for Women Infants and

Children (WIC); these members in Maryland will be harmed under several of the undercount

scenarios discussed by Professor Reamer. Id. ¶¶ 10-11.

1623. Both plaintiff NYIC itself as well as a number of its member organizations directly

receive census-influenced funding through programs that will be negatively affected if New




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York state residents are undercounted due to a citizenship question, as this will reduce the pool

of funding available to them through the State. Plum Aff. ¶¶ 5-9; Choi Aff. ¶ 6.

1624. Specifically, NYIC receives census-guided funding through the Corporation for National

& Community Service for 21 positions filled by AmeriCorps VISTA, NYIC member Chhaya

Community Development Corporation receives funding through the Community Development

Block Grant program, and NYIC member Chinese-American Planning Council receives funding

through the Workforce Innovation and Opportunity Act. Plum Aff. ¶¶ 6, 9.

                           b. Financial Harm to Governmental Plaintiffs

1625. The governmental plaintiffs have also shown that they will suffer harm due to losses in

funding from census-related federal programs due to a disproportionate undercount of their states

and localities because of a citizenship question.

1626. Dr. Reamer found that State Governmental Plaintiffs New York State and New Jersey will

consistently lose state-share program funds under each of the undercount scenarios he evaluated.

Reamer Aff. ¶ 16. New York and New Jersey are home to large non-citizen, Hispanic, and

foreign-born populations. As a result, even minimal undercounting resulting from a citizenship

question is likely to impact these states relative to others. Id. ¶ 13.

1627. Dr. Reamer specifically demonstrated potential losses for New York and New Jersey

under the WIC, Social Service Block Grant and Title I LEA Grant Program. Id. Table “Change

in Allocation of WIC Supplemental Food Grants due to Census Undercount, by State, FY2016,”

p. 16, Table “Change in Allocation of Social Services Block Grants due to Census Undercount,

by State, FY2016,” p. 17, Table “Change in Allocation of Title I LEA Grants due to Census

Undercount, by State, FY 2016,” p. 18, ¶¶ 46-47, 51-52, 61-62.




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1628. Dr. Reamer also demonstrated that other State Governmental Plaintiffs will likely lose

funding under particular undercount scenarios, depending on the specific groups impacted by

undercounting in those scenarios.

1629. For instance, even a 2% undercounting concentrated in households with at least one non-

citizen is likely to result in funding losses under the Title I LEA Grant program and the Social

Service Block Grant Program for Illinois, the District of Columbia, Massachusetts, Washington,

and Maryland. Id. Table “Change in Allocation of Social Services Block Grants due to Census

Undercount, by State, FY2016,” p. 17, Table “Change in Allocation of Title I LEA Grants due to

Census Undercount, by State, FY 2016,” p. 18, ¶¶ 51-52, 61-62.

1630. Under the non-citizen only undercount scenario, Illinois will also lose Medicaid funds,

while Oregon and New Mexico will lose Children’s Health Insurance Program (“CHIP”) funds,

and Washington will lose both Medicaid funds and CHIP funds. Id. Table “Change in Federal

Reimbursements for Traditional Medicaid FY 2015,” p. 23, Table “Change in Federal

Reimbursements for CHIP FY 2015,” p.27 ¶¶ 70-71, 81-82.

1631. Dr. Reamer found that New Mexico will be at risk of losing federal funding at minimal

levels of undercounting of non-citizens and Hispanics. Under a 2% undercount of individuals in

households with at least one non-citizen, and Hispanic individuals generally, New Mexico lost

funding under the WIC, Social Service Block Grants, and Title I LEA Grant programs, as well as

the CHIP program. Id. Table “Change in Allocation of WIC Supplemental Food Grants due to

Census Undercount, by State, FY2016,” p. 16, Table “Change in Allocation of Social Services

Block Grants due to Census Undercount, by State, FY2016,” p. 17, Table “Change in Allocation

of Title I LEA Grants due to Census Undercount, by State, FY 2016,” p. 18, Table “Change in

Federal Reimbursements for CHIP FY 2015,” p.27 ¶¶ 46-47, 51-52, 61-62, 81-82.




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1632. Apart from the state-share programs identified by Dr. Reamer, many other federal

programs distribute funds to states on the basis of census-derived information, and are likely to

be impacted by undercounting resulting from the addition of a citizenship question on the 2020

Decennial Census. For instance, the Community-Based Child Abuse Prevention (CBCAP)

Grants and Older Americans Act (OAA) Grants for State and Community Programs on Aging,

Title II Part A and Title IV Part A funding under the Every Student Succeeds Act, Temporary

Assistance for Needy Families (“TANF”) funding, Low-Income Home Energy Assistance

Program (“LIHEAP”) funding, and Community Services Block Grant (“CSBG”) funding are

allocated to states, at least in part, on Decennial Census data. Haney Aff. (Docket No. 498-12)

¶¶ 5-8; PX-329; Harmon Aff. (Docket No. 498-14) ¶¶ 10-13, 17; Franklin Aff. (Docket No. 498-

5) ¶¶ 6-10; Tiema-Massie Aff. (Docket No. 501-1) ¶ 11.

1633. An undercount resulting from the addition of a citizenship question on the 2020 Decennial

Census that reduces a state’s relative share of the relevant population covered by these federal

funding programs would likely result in losses of funding under these programs. Haney Aff. ¶¶

7, 8; Harmon Aff. ¶¶ 9, 13, 17; Franklin Aff. ¶¶ 7-8.

1634. Differential undercounting concentrated among non-citizens and Hispanics will also injure

State Governmental Plaintiffs by preventing the equitable distribution of federal funds to

localities.

1635. Many federal funding programs require states to distribute funds to localities on the basis

of Census-derived information, including, under the Every Student Succeeds Act, Title I LEA

Grants (improving basic programs), Title II Part A funds (supporting effective instruction), and

Title IV Part A funds (student support and academic enrichment grants). Harmon Aff. (Docket

No. 498-14) ¶¶ 3, 5, 6, 10-13, 17; Harmon Supp. Aff. (Docket No. 498-15) ¶ 5.




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1636. Under each of these education-related programs, the State Education Agency is required

to distribute funds to LEAs on the basis, at least in part, of the number of children aged 5-17

living in poverty within each LEA’s jurisdiction. Harmon Aff. ¶¶ 5-6, 12-13, 16, 17; Harmon

Supp. Aff. ¶ 5.

1637. Undercounts, therefore, not only impact the allocation of education funding to the state,

but also have a “negative direct impact” on individual school districts most in need of funding.

Harmon Aff. ¶¶ 13, 17; Harmon Supp. Aff. ¶ 5.

1638. For example, New York State estimates that a decrease of 1.54% in the count of children

in poverty aged 5-17 would result in a loss of nearly $300,999 in Title I LEA funding in a single

year. Harmon Aff. ¶ 9. This loss would not only impact the allocation of funding to New York

State, but also the direct amount received by the locality. Harmon Supp. Aff. ¶ 5. A loss of over

$300,000 for a LEA in New York is the equivalent of losing 6 full-time academic support

teachers paid at the state’s average teachers’ salary. Harmon Aff. ¶ 9.

1639. Moreover, even a decrease as low as 0.02% in the count of children in poverty aged 5-17

residing in an LEA’s jurisdiction can lead to changes in eligibility for federal education grants

that could amount to cuts as large as 40% of an LEA’s Title I Grant. Harmon Aff. ¶ 9.

1640. As explained above, Dr. Warshaw found that undercounting resulting from a citizenship

question is likely to reduce population shares of large metropolitan counties relative to other

areas, and specifically noted reductions for nearly all Plaintiff Cities and Counties relative to

their states, under every undercount scenario. Warshaw Aff. Table 8, p. 28, ¶¶ 59, 60-61.

1641. As a result, the addition of a citizenship question on the 2020 Decennial Census will likely

require State Governmental Plaintiffs to inequitably distribute education funds to localities,

specifically depriving non-citizen and Hispanic students in poverty residing in large metropolitan




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areas, including those located in most of the Plaintiff Cities and Counties, of much needed

education funding.

1642. Similarly, several additional programs require states to use census-derived information to

distribute funds directly to the City and County Plaintiffs. Examples include funding under the

Victims of Crime Act program, Temporary Assistance for Needy Families (“TANF”) program,

Low Income Home Energy Assistance (“LIHEAP”) Program, the Workforce Innovation and

Opportunity Act (“WIOA”) program, and the Community Services Block Grant (“CSBG”).

Franklin Aff. ¶¶ 6-10; Tiema-Massie Aff. ¶ 11.

1643. Localities, including Plaintiff Cities and Counties, receive funds under these programs

based on their relative share of the relevant population within a state. For instance, states are

required to distribute TANF, LIHEAP, WIOA, and CSBG funds to localities based, at least in

part, on the proportion of low-income individuals residing in the jurisdiction. Franklin Aff. ¶¶ 7-

8, 10; Tiema-Massie Aff. ¶ 11.

1644. As a result, the addition of a citizenship question on the 2020 Decennial Census will likely

require State Governmental Plaintiffs to inequitably distribute funding under these and similar

program, disadvantaging residents in need of important services. Franklin Supp. Aff. (Docket

No. 498-6) ¶ 5. Undercounting resulting from the inclusion of a citizenship question on the 2020

Decennial Census thus will also cause Plaintiff Cities and Counties to lose crucial federal

funding under these programs as well.

1645. For example, the City of Phoenix explained that an undercount that results in a 1% cut in

funding under these programs would result in significant losses for the City, including $60,209

under the LIHEAP program, meaning utility assistance payments will not be processed for 109




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households, and $107,518 in WIOA funds available for employment and support services to

adult, youth and displaced workers. Franklin Aff. ¶¶ 8, 10; Franklin Supp. Aff. ¶ 5.

1646. Similarly, the City of Chicago receives significant funding under the CSBG program that

is used to provide services to 26,000 vulnerable families. Tiema-Massie Aff. ¶ 11. Reductions

in these funds would disrupt provision of these services. Id. ¶ 15.

1647. Plaintiff Cities and Counties have also proven that they will lose funding from federal

programs due to a citizenship-question-induced undercount of their cities.

1648. Many federal funding programs provide direct funding to localities based on census-

derived information. These include the Community Development Block Grant (“CDBG”)

program, the Emergency Solutions Grant (“ESG”) program, and the HOME Investment

Partnerships Program. Freedman Aff. (Docket No. 498-7) ¶¶ 7, 10, 12.

1649. Each of these programs provides funding to cities and counties on the basis, at least in

part, of their share of the overall population count relative to other metropolitan areas, and their

share of the population in poverty. Id.

1650. As a result, an undercount resulting from the addition of a citizenship question that

reduces the share of the overall population, or the population in poverty of Plaintiff Cities or

Counties, will impact the Plaintiffs’ funding allocations, and impact critical services.

1651. For example, Plaintiff City of Providence, Rhode Island offered testimony that a 1%

decrease in CDBG funds would result in losses of over $50,000 in critical services, and would

likely force the city to cut free daycare, and after-school programs for low-income families.

Freedman Aff. ¶ 9.

1652. A similar decrease in ESG funding would result in losses of $4,000 and cuts to the hours

of case workers devoted to finding housing for the homeless residents of Providence. Id. ¶ 11.




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1653. A 1% reduction in HOME Investment funding would result in losses of $170,000,

denying approximately 22 low-income families down-payment and closing cost assistance. Id.

¶ 13.

1654. As explained above, Dr. Warshaw found that several City and County Plaintiffs were at

particular risk of undercounting based on the impact of a citizenship question on non-citizens.

Warshaw Aff. ¶ 56. Specifically, Dr. Warshaw showed that Cameron, Hidalgo, and El Paso

Counties in Texas, Monterey County in California, and Providence and Central Falls in Rhode

Island, experienced some of the largest decreases in population counts under the scenario of

estimating 2% undercounting of household with at least one non-citizen. Warshaw Aff. Table 7,

p. 26. As a result, it is likely that these Plaintiff Cities and Counties are at high risk of losing

population relative to other metropolitan areas.

1655. Moreover, cities that are home to large populations of non-citizens and Hispanics,

including Chicago, New York City, Phoenix and San Francisco, also experience significant

losses in population count under Dr. Warshaw’s analysis relative to cities with smaller

proportions of non-citizen and Hispanic residents. Warshaw Aff. Table 7, pg. 26. These

Plaintiff Cities are also at substantial risk of losing population share relative to other less diverse

metropolitan areas.

1656. An undercount of 2% of individuals in non-citizen households and Hispanic individuals

resulting from the inclusion of a citizenship question on the 2020 Decennial Census would result

in losses of funding for several Plaintiff Cities and Counties, by reducing the share of the overall

population, and the population in poverty, relative to cities and counties with fewer non-citizens

and Hispanics.




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1657. The Plaintiff States, Cities and Counties are likely to experience losses of federal funding,

or, for many states, inequitable intrastate distribution of federal funding, as a result of the

addition of a citizenship question on the 2020 Decennial Census.

           D. Injuries Independent from Undercount—Data Quality

                     1.      Adding a Citizenship Question to the Census Will Cause More
                             Respondents to Be Enumerated through NRFU Processes,
                             Resulting in Worse-Quality Census Data

1658. In Dr. Abowd’s January 19 memo, the Census Bureau concluded that adding a citizenship

question to the 2020 Decennial Census “is very costly, harms the quality of the census count, and

would use substantially less accurate citizenship status data than are available from

administrative sources.” PX-22 at 1 (AR); Nov. 13 Trial Tr. at 885 (Abowd testimony).

1659. Dr. Abowd’s March 1 memo confirms that the Census Bureau’s conclusion that adding a

citizenship question will harm Census data quality also applies to the option of adding a

citizenship question in conjunction with using administrative records to develop block-level

CVAP data for DOJ (“Alternative D”). PX-25 at 5 (AR); Nov. 13 Trial Tr. at 953, 968.

1660. Dr. Abowd testified that Alternative D will result in worse data quality and will be worse

for the Census Bureau’s goal of conducting an accurate 2020 Decennial Census, as compared to

Alternative C (relying exclusively on administrative records to produce block-level CVAP data).

Nov. 15 Trial Tr. at 1374-75 (Abowd testimony). He testified that, if one’s goal is to have an

accurate Census, Alternative C is superior to Alternative D. Nov. 13 Trial Tr. at 968-69.

1661. Dr. Abowd’s memos in the Administrative Record indicate that the Census Bureau

concluded that, because a citizenship question will lead to a decline in self-response rates to the

2020 Decennial Census questionnaire, it will result in the enumeration of more people through




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nonresponse follow-up (NRFU) efforts, such as proxy responses. PX-22; PX-25 at 4 (AR). Dr.

Abowd confirmed this point in his trial testimony. Nov. 13 Trial Tr. at 950-52, 968.

1662. The Census Bureau has specifically acknowledged that “nonresponse is highly correlated

with citizenship.” PX-162 at 44. In other words, noncitizens, to the extent that they are

enumerated at all, will disproportionately be enumerated through NRFU efforts.

1663. NRFU efforts produce Census questionnaire responses that are not as reliable as answers

from self-responses. Nov. 13 Trial Tr. at 953. The NFRU process involves the use of proxies,

and the Census Bureau acknowledges “that proxies supply poor quality . . . socioeconomic

characteristic information about the person on behalf of whom they are responding.” PX-162 at

41.

1664. The Census Bureau thus believes that the increased number of enumerations through the

NRFU process in the event of a citizenship question would produce lower-quality personal data

than would a Census without a citizenship question. Nov. 13 Trial Tr. at 968 (Abowd).

1665. The result will be more incorrect enumerations through the NRFU process than there

would be if there were no citizenship question. PX-25 (AR); Nov. 13 Trial Tr. at 968 (Abowd).

1666. Using administrative records to provide DOJ with block-level CVAP data under

Alternative C would not harm the quality of the census data. PX-22 (AR); Nov. 13 Trial Tr. at

958 (Abowd).

                     2.     Secretary Ross’s Choice of Alternative D, which Will Produce
                            Worse Data Quality, Violates OMB Standards

1667. The Census Bureau believes that harming the quality of census data is a bad thing that

should be avoided. Nov. 13 Trial Tr. at 953 (Abowd).

1668. Before Secretary Ross issued his March 26, 2018 decision memo, he was aware of the

Census Bureau’s findings that Alternative C—obtaining citizenship data from administrative



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records—would be less costly and produce more accurate CVAP data than adding a citizenship

question to the census questionnaire. Nov. 13 Trial Tr. at 959 (Abowd).

1669. The Census Bureau is bound by the Office of Management and Budget’s Standards and

Guidelines. Nov. 13 Trial Tr. at 989 (Abowd).

1670. OMB Standard 2.3 states that “[a]gencies must design and administer their data collection

instruments and methods in a manner that achieves the best balance between maximizing data

quality and controlling measurement error while minimizing respondent burden and cost.” PX-

359.

1671. Dr. Abowd has concluded that—within the meaning of OMB Standard 2.3—Alternative D

would result in lower data quality, higher cost, and higher respondent burden than the Census

Bureau’s recommended Alternative C. Nov. 13 Trial Tr. at 989-90.

1672. OMB Guideline 2.3.1 states: “Design the data collection instrument in a manner that

minimizes respondent burden, while maximizing data quality.” PX-359.

1673. Dr. Abowd stated that Alternative C would comport with OMB Guideline 2.3.1. Nov. 13

Trial Tr. at 990-91.

                       3.    Adding a Citizenship Question to the Census Will Damage the
                             Quality of Census Data Relating to Population Characteristics

1674. Dr. Salvo testified that while the Census Bureau collects the count of residents in a

particular neighborhood, it also collects information relating to the attributes or characteristics of

those residents, such as race and age. Nov. 6 Trial Tr. at 303:21-304:4.

1675. The Administrative Record indicates that the Census Bureau determined that a citizenship

question will damage the quality of population characteristic data collected through the 2020

Decennial Census. In the January 19 Abowd Memo, the Census Bureau concluded that lower

self-response and increased NRFU workload resulting from the inclusion of a citizenship



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question, will “degrade data quality because data obtained from NRFU have greater erroneous

enumeration and whole-person imputation rates.” PX-1 at AR 1281 (AR). The Census Bureau

similarly concluded that a citizenship question will reduce data quality in the March 1 Memo

evaluating Alternative D that was ultimately adopted by Secretary Ross. PX-1 at AR 1311 (AR).

And outside of the Administrative Record, the Bureau’s August 6, 2018 White Paper reached the

same conclusion. PX-162 at 54.

1676. Dr. Salvo testified that apart from a citizenship question’s impact on the net differential

undercount, a citizenship question will reduce the data quality of characteristic data and impair

local-level information. Nov. 6 Trial Tr. at 302:8-20.

1677. When the quality of the data relating to characteristics is compromised, sub-groups are no

longer accurately defined. Nov. 6 Trial Tr. at 304:5-7. As a result, even when the total population

of the jurisdiction is accurate, data about subgroups within the jurisdiction may be inaccurate.

Nov. 6 Trial Tr. at 304:5-13.

1678. Such data quality issues can give rise to substantial local-level differential inaccuracies

between neighborhoods in the same jurisdiction. Nov. 6 Trial Tr. at 415:9-17. These inaccuracies

impact the delivery of services and funding. Nov. 6 Trial Tr. at 304:5-13.

1679. Dr. Abowd acknowledges that a citizenship question, by decreasing self-response rates

and thus increasing reliance on NRFU efforts, will reduce the quality of characteristic data

produced during the 2020 Decennial Census. Nov. 13 Trial Tr. at 882:2-5, 952:23-953:14; Nov.

14 Trial Tr. at 1251:9-13. Dr. Abowd conceded that a citizenship question will reduce the

accuracy of the characteristic data collected regardless of whether there is ultimately a net

undercount, or differential net undercount. Nov. 14 Trial Tr. at 1221: 22-1222:1.




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1680. Moreover, Dr. Salvo explained that high rates of proxy response and high imputation rates

in particular neighborhoods diminish the accuracy of census information about demographic

subgroups in those neighborhoods. Nov. 6 Trial Tr. at 395:8-396:14.

                     4.      The Governmental Plaintiffs Require Accurate Characteristics
                             Data to Make Decisions Regarding the Distribution of Resources

1681. Dr. Abowd testified that the data quality with respect to characteristics information is

important for state and local decisions relating to services and funding. Nov. 14 Trial Tr. at

1223:2-1224:23.

1682. For example, when New York City seeks to design services and infrastructure that takes

into account future locations of aging populations in the City; such efforts depend on accurate

census data relating to where those populations reside within the City. Nov. 6 Trial Tr. at 356:15-

21.

1683. Likewise, localities depend on accurate characteristic data—including race and age

information—in order for health departments to allocate resources or decide where to put health

centers. Nov. 6 Trial Tr. at 395:16-396:14, 416:24-417:20.

1684. For example, since particular ethnic populations are particularly at risk for particular

illnesses, the New York City Department of Health requires accurate characteristic data relating

to age and race. Nov. 6 Trial Tr. at 307:6-16. Without accurate characteristics data, “the health

department can’t make good decisions on where to deploy resources.” Nov. 6 Trial Tr. at 308:3-

18.

1685. Accurate census information about the number of children in a jurisdiction is also

critically important. For instance, Dr. Salvo testified that the New York City Department of

Education relies on demographic data from the census to draw school zone boundaries, and that




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inaccurate information about groups such as children under the age six or children of school age

compromises that process. Nov. 6 Trial Tr. at 305:11-21.

1686. Similarly, the Department of Education relies on information about neighborhood

composition by race to understand and react to changes in neighborhood composition; inaccurate

information can compromise that process as well. Nov. 6 Trial Tr. at 305:21-306:10.

1687. Similarly, New York City depends on accurate characteristic data on a neighborhood-by-

neighborhood basis in order to determine where to properly allocate language access services.

No. 6 Trial Tr. at 306:23-308:25.

                     5.      Federal Funding Programs Rely on Accurate Census Data
                             Relating to Characteristics

1688. Dr. Hillygus explained that “there are federal funding decisions made on the basis of the

characteristics of the population, not just the count of the population.” Nov. 15 Trial Tr. at

1401:24-1402:22.

1689. Dr. Reamer identified several federal funding programs that depend on accurate counts of

children. See Reamer Aff. ¶¶ 36, 38, 40, 44, 45, 55, 56, 59. An inaccurate count of children will

impact funding streams under these programs.

1690. For example, under the Head Start program, municipalities and non-profits are required to

use Census data about the number of children aged 0-5 to identify families eligible for

enrollment in the program, and the location of services and slots within a municipality. Franklin

Aff. ¶ 9.

1691. If a city such as Phoenix, New York City, Chicago or Philadelphia experiences a

differential undercount of the population of children aged 0-5 relative to other municipalities, as

New York City and Chicago did in 2010, that undercount would lead to erroneous information




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that would impact the identification of eligible families within the City and could reduce funding

available for necessary services. Franklin Aff. ¶ 9; Harmon Aff. ¶¶ 4-6; PX-346 at 18.

1692. Similarly, the Supplemental Nutrition Program for Women, Infants, and Children (WIC)

funds are apportioned by each state’s share of the nationwide number of infants and children

ages 1-4 at or below 185 percent of poverty. Reamer Aff. ¶ 44. Where a state, like New York,

New Jersey or Illinois experiences a differential undercount of children ages 1-4, as compared to

other states, as New York and Illinois did in 2010, it would lose funding under the WIC program,

regardless of whether the state experienced a net undercount in total population. PX-346 at 17.

1693. Under the Community-Based Child Abuse Prevention (CBCAP) Program, funds are

distributed to states based on the number of children under the age of 18, a figure drawn from the

Decennial Census. Harvell-Haney Aff. (Docket No. 498-12) at ¶ 7. If the population of children

under the age of 18 in a particular state, such as Massachusetts, New York or New Jersey, were

to appear to decrease relative to other states because of an undercount, that state would receive

less in CBCAP funds. Id.

1694. As a result, even if there is little to no net undercounting in the total population nationally

or within the state, if the population of children under 18 within a state like New York or New

Jersey is disproportionately undercounted as compared to other states, that state’s share of

CBCAP funding would decrease. Id.

                     6.      Omissions and Data Quality

1695. Reductions in data quality introduced by the decline in self-response rates can have other

far-reaching implications even when they do not result in a net undercount.

1696. Dr. Salvo noted that respondents are often missed by the Census Bureau, but are offset by

the double counting of dissimilar individuals in other neighborhoods, thereby ensuring a net

undercount close to zero that hides underlying inaccuracies. Nov. 6 Trial Tr. at 411:2-15. The


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number of omissions in the Census, i.e. those households that should have been counted in the

Census but were missed, is an important indicator of local Census accuracy. Nov. 6 Trial Tr. at

403:25-404:2. As Dr. O’Hare explained, omissions can be completely offset by erroneous double

counting of other respondents, known as erroneous enumerations, and whole person imputations,

which would result in no net undercounting. O’Hare Aff. (Docket No. 507-1) at ¶ 15.

1697. However, as Dr. Salvo testified, the households that are omitted are often different

demographically and different in location than the households that are double counted. Nov. 6

Trial Tr. at 412:10-13; 414:11-23.

1698. For instance, Dr. Salvo testified that misidentification of significant amounts of housing

units as vacant in 2010 resulted in vacancy rates suggestive of urban abandonment in several

dynamic neighborhoods in Northwest Queens and South Brooklyn. Nov. 6 Trial Tr. at 309:8-18.

This error resulted in the undercounting of approximately 65,000 people in Northwest Queens

and South Brooklyn. Nov. 6 Trial Tr. at 351:22-352:9; 354:4-13. While these undercounts were

not reflected in the overall net undercounts for Queens and Brooklyn in 2010, both of which

were effectively zero, they nevertheless impacted New York City agencies and services. PX-338

at 39; Nov. 6 Trial Tr. at 355:14-357:2.

1699. In the 2010 Decennial Census, the net undercount in Brooklyn was effectively zero, but

the Census reported that over 10% of the population was omitted while 8.4% was erroneously

enumerated. Nov. 6 Trial Tr. at 412:8-15; 414:2-7; PX-338 at 39.

1700. Dr. Salvo testified that the omissions and erroneous enumerations in Brooklyn likely

occurred in different neighborhoods within Brooklyn. Nov. 6 Trial Tr. at 414:11-23. Specifically,

Dr. Salvo testified that it is likely that the 10.4% of omissions in Brooklyn were concentrated

“heavily in the black communities of Brooklyn followed by areas with large clusters of Hispanic




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population”. PX-267 at Table 7; Nov. 6 Trial Tr. at 414:11-16. Similarly, the 8.4% of erroneous

enumerations were “likely in the non-Hispanic white areas . . . .that tend to show net

overcounts.” PX-267 at Table 7; Nov. 6 Trial Tr. at 414:17-20, 415:3-9.

1701. The differential impacts of omissions—even when balanced out in the final calculus—can

have significant impacts on planning decisions by local agencies. Nov. 6 Trial Tr. at 416:24-

417:11. The Department seeks data from the Census about children in need of services, to

determine where to locate health centers. Nov. 6 Trial Tr. at 417:2-6. Where the data the

Department is relying on has significant omissions, as where Black children are

disproportionately missing from the data, the Department of Health is more likely to shortchange

the undercounted community, meaning “they may not pay attention to a particular neighborhood

that they need to pay attention to.” Nov. 6 Trial Tr. at 417:6-11.

1702. Dr. Abowd has conceded that a citizenship question is likely to increase gross omissions

in the 2020 Decennial Census. Nov. 14 Trial Tr. at 1221:18-19. The differential impact of

increased omissions resulting from a citizenship question is likely to negatively impact the

planning of local services and the distribution of funding.

                     7.      Children are Particularly Vulnerable to Being Omitted from the
                             Census

1703. The Census historically has struggled to obtain accurate information about children.

During the 2010 Decennial Census, the Census Bureau failed to collect accurate information

about children, especially those aged 0-4, even when collecting overall accurate counts for the

population. PX-381 at 6; PX-267 at 18, Table 7; PX-337 at 35.

1704. While the net overcount in 2010 for the total population was near zero, 4.6% of children

between the ages of 0-4 were undercounted, and 10.3% of that demographic was omitted, or

missed. O’Hare Aff. ¶ 18, Table 1.1.



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1705. Moreover, the Census Bureau found that these undercounts were clustered geographically.

Specifically, the undercounts of children in several states, including Arizona, California, Texas,

New York, Illinois, and New Mexico were higher than the national average. PX-346 at 17, 30,

Appendix A. Moreover, counties with a total population of more than a half million total

population in 2010, including Kings, Queens, New York and Bronx boroughs in New York,

Cook County in Illinois, and Philadelphia County, Pennsylvania, accounted for more than 90%

of the national net undercount of the population age 0-4. PX-346 at 18.

1706. The Census Bureau, evaluating the 2010 Decennial Census, found that “the likelihood of

the census missing a young child is higher than the likelihood of missing a person in any other

age or age/sex group” and that “a higher omission rate is a driver for the undercount of young

children.” PX-410 at 15.

1707. Moreover, the Census Bureau found that “census duplication, other enumeration errors,

and whole-person imputations do not offset the high levels of omissions for young children.”

PX-410 at 15.

1708. Within the total population of children aged 0-4, some subgroups were more likely to be

missed than young White children, including Black, American Indian and Alaska Natives, and

Hispanic children. PX-339 at 18, 20; PX-337 at 35. This was especially problematic in 2010, as

Hispanics made up a disproportionate share of children overall, and children aged 0-4. PX-381 at

14, Table 4. In addition, “children who were grandchildren, other relatives (such as a niece,

nephew, or cousin), and nonrelatives of the householder,” were also more likely to be

undercounted in 2010. PX-339 at 18.




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1709. Dr. O’Hare testified that nearly a third of children missed in the 2010 Census were left off

of household self-responses, and nearly two thirds were missed in the NRFU operation. PX-339

at 19, Table 9; Nov. 7 Trial Tr. at 548:5-17.

1710. Significantly, the Census Bureau found that, “NRFU proxy respondents and

misclassification of vacant units may contribute to the undercount of young children.” PX 339 at

18.

1711. Specifically, the Census Bureau found that its evidence suggested that “proxies may not

provide complete and accurate information for the census enumeration,” and that

“unknowledgeable or unwilling proxy respondents may be a key factor in the undercount of

young children.” PX-339 at 19.

1712. A citizenship question will likely contribute to the undercount of children. Dr. Abowd

testified that a citizenship question will likely decrease self-response among noncitizen and

Hispanic households, and increase reliance on flawed NRFU operations, such as proxies, to

capture the characteristics of these households. Nov. 13 Trial Tr. at 881:19-882:5, 919:12-

920:10, 952:23-953:10. As a result, by increasing reliance on proxies, the key factor in the

undercount of young children, a citizenship question will likely contribute to the problem. PX-

339 at 19.

1713. Dr. Abowd also testified that a citizenship question will lead to more gross omissions

during the 2020 Decennial Census. Nov. 14 Trial Tr. at 1221:18-19.

1714. The Census Bureau found that young children are more likely to be missed than any other

age group, and that higher omissions is a driver of the undercount of young children. PX-410 at

15. Moreover, the Census Bureau found that erroneous enumerations and whole person

imputations “do not offset the high level of omissions for young children.” PX-410 at 15. As a




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result, by causing higher omissions, a citizenship question is likely to contribute to the

undercount of children.

1715. As detailed above, the Plaintiff jurisdictions depend on accurate census data relating to

children to ensure appropriate allocations of federal resources that are distributed, in part, based

on the number of children within a particular jurisdiction.

           E. Injury Based on Risk to Privacy

1716. In his March 26, 2018 decisional memo, Secretary Ross called for the institution of a

citizenship question on the 2020 Decennial Census as a means to provide citizenship voting-age

population (CVAP) data at the census block level. PX-26 (AR).

1717. Dr. Abowd testified that census blocks vary significantly in terms of their populations.

Nov. 13 Trial Tr. at 1031.

1718. Both Dr. Abowd and Dr. Handley similarly testified that some census blocks are very

small; some census blocks have just one person in them. Id.; Nov. 13 Trial Tr. at 837; see also

Brower Aff. (Docket No. 498-1) ¶ 6.

1719. For example, according to the 2010 Census Redistricting Data (Public Law 94-171) File,

26,213 blocks in Minnesota contained only one household, while 95,220 blocks in Minnesota

contained between one and nine households. Brower Aff. ¶ 6. In 2010, 63% of the populated

census blocks (i.e., those census blocks with a non-zero population) in Minnesota contained

fewer than ten households. Id.

1720. For another example, according to the 2010 Census PL 94-171 data set, 52,976 census

blocks in New York State—comprising nearly 22% of all populated census blocks in New York

State—had a population of only one to ten persons. Breitbart Aff. ¶ 5.




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1721. The State Demographer for the State of Minnesota testified that if citizenship data is

published at the block level, it will be harder to give people assurances that their responses on the

census questionnaire will be kept safe and confidential. Brower Aff. ¶ 9.

1722. Federal law prohibits the Commerce Secretary—or any other Department of Commerce

employee, bureau, agency, or local government census liaison—from “mak[ing] any publication

whereby the data furnished by any particular establishment or individual . . . can be identified.”

13 U.S.C. § 9(a)(2).

1723. The publication of granular, deeply personal citizenship information could also constitute

a violation of a legally protected interest in confidentiality of Census responses.

1724. As Dr. Hillygus explained, the addition of a citizenship question creates a real increased

risk of disclosure. She testified that “you have policies that can change and you can have

mistakes happen where data are accidentally released . . . there is no doubt you have increased

harm associated with accidental or deliberate disclosure with a citizenship question.” Nov. 5

Trial Tr. at 136:9-24.

1725. The risk created by the potential of disclosure is substantially more than it was without

citizenship information—if, in 2010, somebody accidentally got your individual census level

data they would not have known your citizenship status, but now they would have access to

“what the Census Bureau designates as sensitive information, and the risk of harm is

substantially increased.” Id. at 136:25–137:5.

1726. Moreover, there is an actual increase in the probability of disclosure because now the

Census data will have more information about individual households. Nov. 5 Trial Tr. at 137:9-

14. This makes the potential of disclosure stronger. Nov. 5 Trial Tr. at 138:5-11.




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1727. This potential threat is understood by the general public. For example, George Escobar,

Chief of Programs and Services at CASA, is concerned that by identifying the citizenship status

of individuals living within a very small geographic area, a citizenship question could lead to

immigration enforcement targeting these particular areas and communities and harm the privacy

of CASA members. Escobar Aff. ¶ 24.

1728. A large number of people living in immigrant communities of color—citizens and

noncitizens alike—have expressed significant apprehension about answering the citizenship for

fear that their citizenship status or the citizenship status of their neighbors and loved ones will be

made public and potentially used for law enforcement profiling against people on blocks with

high levels of noncitizens. Escobar Aff. ¶¶ 20-24; Althschuler Aff. ¶¶ 13-18; Vargas Supp Aff.

(Docket No. 498-22) ¶9; PX-662. One U.S. citizen with undocumented parents stated that she

feared that filling out a citizenship question would prompt the Census Bureau and potentially

other governmental entities to check the status of any non-citizens living in her home, and that

the government could use the citizenship question to create a list to separate families and deport

undocumented Virginians. Sarmiento Aff. (Docket 488-3) ¶ 6.

1729. On November 1 and 2, at the National Advisory Committee (“NAC”) Meeting, the Census

Bureau presented its finding from the Census Barriers, Attitudes, and Motivators Surveys

(“CBAMS”). Vargas Supp. Aff. (Docket No. 498-22) ¶ 7. The Census Bureau reported its

finding that focus group participants in the CBAMS expressed concern that the purpose of a

citizenship question was to target certain ethnic groups for purposes of fear and immigration

enforcement. Id. ¶ 8; PX-662 at 20-21, 29-38, 43-46, 56-59, 61.

1730. On June 20, 2018 in Falls Church, Virginia, an undocumented mother with U.S. citizen

children expressed concern to the Executive Director of the Virginia Coalition for Immigrant




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Rights that the Trump Administration could use citizenship data to create a deportation list and

separate families, or potentially round up undocumented individuals and put them in internment

camps. Sarmiento Aff. ¶ 7. She stated that she was not planning to fill out the census form, solely

because of the citizenship question. Id.

1731. On July 12, 2018, a visibly upset undocumented Latino activist stated that he feared

disclosing citizenship information to the government and would therefore likely not fill out the

census form. Id. ¶ 8.

1732. Immigrant communities of color in Virginia have expressed concern that—in light of the

Trump Administration separating families at the border—the Administration would use

citizenship information derived from the census to separate mixed status families. Id. ¶ 9.

1733. Many CASA members have expressed fears that answering a particular census question

could lead to their family being harmed or separated, and have stated that participating in the

Census presents too high a risk to the safety and security of themselves and their families to

justify participating. Escobar Aff. ¶ 21.

1734. One CASA member told a CASA Health Promoter about a family member that he

believed was placed in deportation proceedings shortly after applying for a Driver’s License—a

story this member said made answering a question about immigration status on a federal

government form not worth the risk. Id. ¶ 23.

1735. Since the beginning of the Trump Administration, members of immigrant communities of

color in New Jersey have been increasingly hesitant to share their information with governmental

agencies to help their U.S. citizen family members apply for critical governmental benefits or

services. Cullinane Aff. (Docket 505-1) ¶ 6.




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1736. Enrollment in Supplemental Nutrition Assistance Program has declined across the state of

New Jersey among families where only children apply for the program—typically a marker of an

immigrant household. Id.

1737. A school in Elizabeth, New Jersey that provides Head Start services and is attended

mainly by immigrant children and children of immigrants has experienced an extreme decline in

enrollment. Id.

1738. At Passaic County College, a public community college with a significant number of

immigrant students, enrollment also decreased in 2017. Id.

1739. Make the Road New Jersey found that immigrant clients were increasingly afraid to

access the justice system, out of fear of ICE enforcement around courthouses, including clients

that failed to pursue orders of protection, and clients who had failed to attend court dates

altogether. Cullinane Aff. ¶ 5

1740. Multiple members of immigrant communities of color in New Jersey have asked whether

the government will misuse the information they divulge when filling out the census

questionnaire, while others have asked whether they will be deported if they report that they are

non-citizens. Id. ¶ 8.

1741. The Chinese-American Planning Council (CPC), a member organization of Plaintiff

NYIC, has reported that some of their members have expressed concern that they will receive a

visit from Immigration and Customs Enforcement (ICE) if they indicate that there are

noncitizens in their household. Plum Aff. ¶ 16.

1742. Some CPC members have also expressed concern about answering a citizenship question

because they are aware that Census data was used to identify Japanese-Americans for internment

during World War II. Id.




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1743. Somia Elrowmeim, Adult Education Program Manager of NYIC member organization

Arab-American Association of New York (AAANY), has reported that many of her students are

fearful or apprehensive about having their names disclosed because of their legal status. Id. ¶ 17.

1744. Members of Chhaya Community Development Corporation (“Chhaya”), another NYIC

member organization, have expressed that answering a citizenship question is deeply concerning

to them because they do not trust the federal government with such information. Id. ¶ 18.

1745. A man who emigrated to the United States from Guyana reported to NYIC member

organization Desis Rising Up and Moving that he would not answer a citizenship question

because he feared that the information could be used to target his family members who are non-

citizens for deportation based on his understanding that Census data was used to target Japanese-

American citizens for internment. Id. ¶ 19.

1746. A 30-year-old DACA recipient who lives in a mixed status household reported to NYIC

member organization Little Sisters of the Assumption Family Health Service that he is afraid to

answer a citizenship question because he is concerned that the Trump Administration may use

that data to hurt his family and community. Id. ¶ 20.

1747. A central concern of NYIC’s member organizations and NYIC itself regarding a

citizenship question is the loss of privacy that members in the immigrant communities they serve

would suffer by publishing citizenship data at the block level. Id. ¶ 21.

1748. Members of immigrant communities of color in New York City and New York State are

deeply concerned that citizenship information may be viewed and potentially used for law

enforcement profiling against people on blocks with high levels of noncitizens by ICE or other

parts of the Trump Administration that have been used to intimidate and marginalize immigrants.

Choi Aff. ¶ 22; Altschuler Aff. ¶¶ 13, 18.




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1749. One member of Make the Road New York (MRNY) who is a DACA recipient and lives in

a mixed status household has reported that he is afraid to answer the Census out of fear of

subjecting his household or other households on his block to profiling by immigration

authorities. Altschuler Aff. ¶ 15.

1750. Another MRNY member—a naturalized U.S. citizen and Long Island resident—reported

that she is less likely to respond to the Census if it contains a citizenship question because she is

fearful of the consequences of answering the question for non-citizens in her neighborhood. Id. ¶

16.

1751. At least three other individuals have expressed fear to MRNY about answering the Census

survey if a citizenship question is on it: a 48-year-old non-citizen MRNY member of Honduran

origin who lives in Brooklyn; a 30-year-old woman of Ecuadorian origin with DACA status who

resides in Suffolk County and comes from a mixed status family; and a 54-year-old woman of

Salvadoran origin who is a United States citizen and resides in Suffolk County with her mixed

status family. Id. ¶ 17.

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                                         Respectfully submitted,

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